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  Analyses and Historical Reconstruction of Groundwater Flow,
Contaminant Fate and Transport, and Distribution of Drinking Water
        Within the Service Areas of the Hadnot Point and
   Holcomb Boulevard Water Treatment Plants and Vicinities,
     U.S. Marine Corps Base Camp Lejeune, North Carolina
                                         Chapter A: Summary and Findings




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             front cover: Historical reconstruction process using data, information sources, and
             water-modeling techniques to estimate historical contaminant concentrations.

             Maps: U.S. Marine Corps Base Camp Lejeune, North Carolina; Holcomb Boulevard
             and Hadnot Point areas showing extent of sampling at Installation Restoration Program
             sites (white numbered areas), above-ground and underground storage tank sites
             (orange squares), and water-supply wells (blue circles).

             Photograph (upper):   Hadnot Point water treatment plant (Building 20).

             Photograph (lower): Well house building for water-supply well HP-652.

             Graph: Measured fluoride data and simulation results for Paradise Point elevated
             storage tank (S-2323) for tracer test of the Holcomb Boulevard water-distribution
             system, September 22-October 12, 2004; simulation results obtained using EPANET 2
             water-distribution system model assuming last-in first-out plug flow (LIFO) storage
             tank mixing model. [WTP lab, water treatment plant water-quality laboratory;
             FOH lab, Federal Occupational Health Laboratory]




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  Analyses and Historical Reconstruction of Groundwater Flow,
Contaminant Fate and Transport, and Distribution of Drinking Water
        Within the Service Areas of the Hadnot Point and
   Holcomb Boulevard Water Treatment Plants and Vicinities,
     U.S. Marine Corps Base Camp Lejeune, North Carolina
                  Chapter A: Summary and Findings

 By Morris L. Maslia, Rene J. Suarez-Soto, Jason B. Sautner, Barbara A. Anderson, L. Elliot Jones,
           Robert E. Faye, Mustafa M. Aral, Jiabao Guan, Wonyong Jang, IIker T. Telci,
             Walter M. Grayman, Frank J. Bove, Perri Z. Ruckart, and Susan M. Moore




                       Agency for Toxic Substances and Disease Registry
                        U.S. Department of Health and Human Services
                                        Atlanta, Georgia


                                           March 2013




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Authors
Morris L Maslia, MSCE, PE, llWRE, DEE                               Jiabao Guan, PhD
Research Environmental Engineer and Project Officer                 Research Engineer
Agency for Toxic Substances and Disease Registry                    Georgia Institute of Technology
Division of Community Health Investigations                         School of Civil and Environmental Engineering
Exposure-Dose Reconstruction Project                                Multimedia Environmental Simulations Laboratory
Atlanta, Georgia                                                    Atlanta, Georgia

Rene J. Suarez-Soto, MSEnvE, EIT                                    Wonyong Jang, PhD
Environmental Health Scientist                                      Post Doctoral Fellow
Agency for Toxic Substances and Disease Registry                    Georgia Institute of Technology
Division of Community Health Investigations                         School of Civil and Environmental Engineering
Atlanta, Georgia                                                    Multimedia Environmental Simulations Laboratory
                                                                    Atlanta, Georgia
Jason B. Sautner, MSCE, EIT
Environmental Health Scientist                                      llker T. Te lei, PhD
Agency for Toxic Substances and Disease Registry                    Post-Graduate Research Fellow
Division of Community Health Investigations                         Oak Ridge Institute for Science and Education
Atlanta, Georgia                                                    Agency for Toxic Substances and Disease Registry
                                                                    Atlanta, Georgia
Barbara A. Anderson, MSEnvE, PE
Environmental Health Scientist                                      Walter M. Grayman, PhD, PE
Agency for Toxic Substances and Disease Registry                    Consulting Engineer
Division of Community Health Investigations                         WM. Grayman Consulting Engineer
Atlanta, Georgia                                                    Cincinnati, Ohio

l. Elliott Jones, MS, PE                                            Frank J. Bove, ScD
Hydrologist                                                         Senior Epidemiologist
U.S. Geological Survey                                              Agency for Toxic Substances and Disease Registry
Georgia Water Science Center                                        Division of Toxicology and Human Health Services
Atlanta, Georgia                                                    Atlanta, Georgia

Robert E. Faye, MSCE, PE                                            Perri Z. Rm:kart, MPH
Civil Engineer/Hydrologist                                          Epidemiologist and Principal Investigator
Consultant to Eastern Research Group, Inc.                          Agency for Toxic Substances and Disease Registry
Robert E. Faye and Associates, Inc.                                 Division of Toxicology and Human Health Services
Lexington, Massachusetts                                            Atlanta, Georgia

Mustafa M. Aral, PhD, PE, Phy                                       Susan M. Moore, MS
Director and Professor                                              Environmental Health Scientist and Branch Chief
Georgia Institute ofTechnology                                      Agency for Toxic Substances and Disease Registry
School of Civil and Environmental Engineering                       Division of Community Health Investigations
Multimedia Environmental Simulations Laboratory                     Atlanta, Georgia
Atlanta, Georgia




Suggested citation
Maslia ML, Suarez-Soto RJ, Sautner JB, Anderson BA, Jones LE, Faye RE, Aral MM, Guan J, Jang W, Telci IT, Grayman WM, Bove FJ,
Ruckart PZ, and Moore, SM. Analyses and Historical Reconstruction of Groundwater Flow, Contaminant Fate and Transport, and
Distribution of Drinking Water Within the Service Areas of the Hadnot Point and Holcomb Boulevard Water Treatment Plants and
Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina-Chapter A: Summary and Findings. Atlanta, GA: Agency for Toxic
Substances and Disease Registry; 2013.


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     Foreword
           The Agency for Toxic Substances and Disease Registry (ATSDR), an agency of the
     U.S. Department of Health and Human Services, is conducting epidemiological studies
     to evaluate the potential for health effects from exposures to volatile organic compounds
     (such as tetrachloroethylene, trichloroethylene, and benzene) in drinking (finished) water at
     U.S. Marine Corps Base Camp Lejeune, North Carolina. Historical exposure data needed for
     the epidemiological studies are limited. To obtain estimates of historical exposures, ATSDR
     is using water-modeling techniques and the process of historical reconstruction to quantify
     concentrations of particular contaminants in finished water and to compute the level and
     duration of human exposure to contaminated drinking water.
           Eight water-distribution systems have supplied or currently (2013) are supplying finished
     water to family housing and other facilities at U.S. Marine Corps Base Camp Lejem1e,
     North Carolina. The three distribution systems of interest to this study-Tarawa Terrace,
     Hadnot Point, and Holcomb Boulevard-have historically supplied finished water to the
     majority of family housing units at the Base. During 2007-2009, ATSDR published histmical
     reconstruction results for the Tarawa Terrace housing areas and vicinity. Results for Hadnot
     Point and Holcomb Boulevard family housing areas and vicinities-based on information
     gathering, data interpretations, and water-modeling analyses-are now presented as another
     series of reports supporting ATSDR's health studies at Camp Lejeune. These reports provide
     comprehensive descriptions of information, data analyses and interpretations, and modeling
     results used to reconstruct historical contaminant levels in finished water within the service areas
     of the Hadnot Point and Holcomb Boulevard water treatment plants and vicinities. Each topical
     subject within the historical reconstruction process is assigned a chapter letter (e.g., Chapters A,
     B, C, and D) or presented as supplemental infonnation as part of Chapter A
          • Chapter A: Summary and Findings
            0
              Supplement 1: Descriptions and Characterizations of Data Pertinent to Water-Supply
                Well Capacities, Histories, and Operations
            0
                Supplement 2: Development and Application of a Methodology to Characterize
                Present-Day and Historical Water-Supply Well Operations
            0
                Supplement 3: Descriptions and Characterizations of Water-Level Data and
                Groundwater Flow for the Brewster Boulevard and Castle Hayne Aquifer Systems
                and the Tarawa Terrace Aquifer
            0
                Supplement 4: Simulation of Three-Dimensional Groundwater Flow
            0
                Supplement 5: Theory, Development, and Application of Linear Control Model
                Methodology to Reconstruct Historical Contaminant Concentrations at Selected
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            0
                Supplement 6: Characterization and Simulation of Fate and Transport of Selected
                Volatile Organic Compounds in the Vicinities of the Hadnot Point Industrial Area
                and Landfill
            0
                Supplement 7: Source Characterization and Simulation of the Migration of
                Light Nonaqueous Phase Liquids (LNAPLs) in the Vicinity of the Hadnot Point
                Industrial Area
            0
                Supplement 8: Field Tests, Data Analyses, and Simulation of the Distribution of
                Drinking Water with Emphasis on Intermittent Transfers of Drinking Water Between
                the Hadnot Point and Holcomb Boulevard Water-Distribution Systems




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       Foreword-Continued
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              Aquifer Systems and the Tarawa Terrace Aquifer
            • Chapter C: Occurrence of Selected Contaminants in Groundwater at Installation
              Restoration Program Sites
            • Chapter D: Occurrence of Selected Contaminants in Groundwater at Above-Ground
              and Underground Storage Tank Sites
            Electronic versions of the Hadnot Point-Holcomb Boulevard report series and supporting
       infonnation will be made available on the ATSDR Camp Lejeune Web site at: http://www.atsdr.cdc.
       gov/sites11ejeune/index.html. Readers may request a CD-ROM containing the Hadnot Point-Holcomb
       Boulevard repmi series and supporting information by emailing ATSDRRecordsCenter@cdc.gov.




       Use of trade names and commercial sources is for
       identification only and does not imply endorsement by the
       Agency for Toxic Substances and Disease Registry, the
       U.S. Department of Health and Human Services, or the
       U.S. Geological Survey.

       For additional information write to:
       Project Officer
       Exposure-Dose Reconstruction Project
       Division of Health Assessment and Consultation (proposed)
       Agency for Toxic Substances and Disease Registry
       4770 Buford Highway, Mail Stop F-59
       Atlanta, Georgia 30341-3717



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            Supplement 2: Development and Application of a Methodology to Characterize
                    Present-Day and Historical Water-Supply Well Operations, by: I.T. Telci,
                    J.B. Sautner, R.J. Suarez-Soto, B.A. Anderson, M.l. Maslia, and M.M. Aral
            Supplement 3: Descriptions and Characterizations of Water-Level Data and
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                    Systems and the Tarawa Terrace Aquifer, by: R.E. Faye, L.E. Jones, and
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            Supplement 4: Simulation of Three-Dimensional Groundwater Flow, by:
                    R.J. Suarez-Soto, l.E. Jones, and M.L. Maslia
            Supplement 5: Theory, Development, and Application of Linear Control Model
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                    M.M. Aral, and M.L. Maslia
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                    Hadnot Point Industrial Area and Landfill, by: l.E. Jones,
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            Supplement 7: Source Characterization and Simulation of the Migration of Light
                    Nonaqueous Phase Liquids (LNAPLs) in the Vicinity of the Hadnot Point
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            Reconstructed concentrations of selected voes in finished water at the
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          Conversion Factors
                        Multiply                         By                                   To obtain
                                                           Length
           inch (in.)                                    2.54                 centimeter (cm)
           inch (in.)                                   25.4                  millimeter (mm)
           foot (ft)                                     0.3048               meter (m)
           mile (mi)                                     1.609                kilometer (km)
                                                              Area
           square mile (mi2)                          259.0                   hectare (ha)
           square mile (mi2)                            2.590                 square kilometer (km2)
                                                           Volume
           gallon (gal)                                 3.785                 liter (L)
           gallon (gal)                                 0.003785              cubic meter (m3 )
           million gallons (Mgal)                   3,785                     cubic meter (m 3)
                                                          Flow rate
           foot per day (ft/d)                           0.3048               meter per day (mid)
           cubic foot per day (ft3/d)                    0.02832              cubic meter per day (m3/d)
           gallon per day (gal/d)                        3.785                liter per day (Lid)
           million gallons per day (MGD)                 0.04381              cubic meter per second (m3/s)
           inch per year (in/yr)                        25.4                  millimeter per year (mm/yr)
                                           Density (for water at 4 °C, at sea level)
           pound per cubic foot (lb/fl3)                16.02                 kilogram per cubic meter (kg/m3 )
           pound per cubic foot (lb/ft3)                 0.01602              gram per cubic centimeter (g/cm3 )
                                                   Hydraulic conductivity
           foot per day (ft/d)                           0.3048               meter per day (mid)
                                                     Hydraulic gradient
           foot per mile (ft/mi)                         0.1894               meter per kilometer (m/km)
                                                       Transmissivity*
           foot squared per day (ft2/d)                  0.09290              meter squared per day (m2/d)

           Concentration Conversion Factors
                 Unit                                         To convert to                            Multiply by
           microgram per liter (µg/L)                 milligram per liter (mg/L)                           0.001
           microgram per liter (µg/L)            milligram per cubic meter (mg/m3)
           microgram per liter (µg/L)            microgram per cubic meter (~1g/m3 )                      1,000
           parts per billion by volume           parts per million by volume (ppmv)                       1,000
             (ppbv)
          Temperature in degrees Celsius (°C) may be converted to degrees Fahrenheit (°F) as follows:
          °F = (1.8x°C) +32
          Temperature in degrees Fahrenheit (°F) may be converted to degrees Celsius (°C) as follows:
          °C = (°F-32)/1.8
          Vertical coordinate information is referenced to the National Geodetic Vertical Datum of 1929
          (NGVD 29). Horizontal coordinate information is referenced to the North American Datum of
          1983 (NAO 83).
          Altitude, as used in this report, refers to distance above vertical datum (NGVD 29).
          *Transmissivity: The standard unit for transmissivity is cubic foot per day per square foot times
          foot of aquifer thickness [(ft 3/d)/ft2]ft. In this report, the mathematically reduced form, foot
          squared per day (ft2/ d), is used for convenience.


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Glossary, Abbreviations, and Definitions                          biodegradation Transformation of substances into new
                                                                  compounds through biochemical reactions or the actions
Definitions of terms and abbreviations used throughout this       of microorganisms, such as bacteria. Typically expressed in
report are listed below.                                          terms of a rate constant or half-life (US EPA 2004). The new
                                                                  compounds are referred to as degradation by-products (for
                            -A-                                   example, TCE, 1,2-tDCE, and VC are degradation by-products
                                                                  of PCE)
abandoned      Permanently discontinuing the use of a water-
supply well                                                       black box A term used in science and engineering that
                                                                  refers to a device or system that can be analyzed in terms
all-pipes model A water-distribution system model that            of inputs, transfer properties, and outputs, without specific
contains all pipelines of a water-distribution system network,    knowledge of its internal dynamic workings
typically down to 1-inch or 2-inch residential pipelines; also
see skeletonization                                               BRAGS Basewide Remediation Assessment Groundwater
                                                                  Study (Baker Environmental, Inc. 1998a, b)
AN-Well Semi-analytical method for LNAPL volume
estimation using apparent LNAPL thickness; see Jang et al.        13TEX Benzene, toluene, ethyl benzene, and xylenes.
(2013) for details                                                These compounds are some of the VO Cs found in petroleum
                                                                  derivatives such as gasoline. BTEX compounds typically occur
AS/SVE Air sparging/soil vapor extraction; Air sparging           near petroleum and natural gas production sites, gasoline
is an in situ remedial technology that involves the injection     stations, and other areas with underground storage tanks
of contaminant-free air into the subsurface saturated zone,       (USTs) or above-ground storage tanks (ASTs) containing
enabling a phase transfer of hydrocarbons from a dissolved        gasoline or other petroleum-related products
state to a vapor phase. The air is then vented through the
unsaturated zone. Air sparging is most often used together                                      -C-
with soil vapor extraction (SVE), but it can also be used
with other remedial technologies. When air sparging (AS)          2-COMP A two-component storage-tank mixing mode used in
is combined with SVE, the SVE system creates a negative           the EPANET 2 water-distribution system model (Rossman 2000)
pressure in the unsaturated zone through a series of extraction   C-factor     Hazen-Williams roughness coefficient
wells to control the vapor plume migration. This combined
system is called AS/SVE; http.//www.epa.gov/oust/cat/             CaCl 2     Calcium chloride
airsparg.htm                                                      calibration     See model calibration
AST   Above-ground storage tank                                   CAP      Community assistance panel
ATSDR Agency for Toxic Substances and Disease Registry;           capacity Maximum volume of flow that can be delivered by a
http.//www.atsdr.cdc.gov                                          water-supply well

                            -B-                                   CDC Centers for Disease Control and Prevention;
                                                                  http.//www.cdc.gov
BBLAO     Brewster Boulevard lower aquifer
                                                                  CD-ROM        Compact disc-read-only memory
BBLCU    Brewster Boulevard lower confining unit
                                                                  CERCLA The Comprehensive Environmental Response,
BBUAO     Brewster Boulevard upper aquifer                        Compensation, and Liability Act of 1980, also known
BBUCU     Brewster Boulevard upper confining unit                 as Superfund

benzene A widely used chemical formed from both natural           CFR Code of Federal Regulations; the codification of
processes and human activities. Natural sources of benzene        the general and permanent rules published in the Federal
include volcanoes and forest fires. Benzene is also a natural     Register by the departments and agencies of the U.S. Federal
part of crude oil, gasoline, and cigarette smoke. Long-term       Government
benzene exposure has effects on the bone marrow and can           CHD Time-variant specified-head option; this option
cause anemia and leukemia. The National Toxicology Program        (sometimes also called a package) is used within
(NTP) Report on Carcinogens (NTP 2011) has recognized             MODFLOW-2005 (Harbaugh 2005) to simulate specified head
benzene as a known human carcinogen based on sufficient           boundaries or boundaries where head varies with time; also
evidence in humans                                                see MOD FLOW
bgs   Below ground surface


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CLHDW CDR Camp Lejeune historic drinking water                          DNAPL Dense nonaqueous phase liquids; a class of
consolidated document repository                                        environmental contaminants that have a specific gravity
                                                                        greater than water (Huling and Weaver 1991 ). Immiscible
CLW    Camp Lejeune water document
                                                                        (nonmixing) DNAPls exist in the subsurface as a separate fluid
conservative tracer A chemical compound whose                           phase in the presence of air and water. DNAPLs can vaporize
concentration does not change due biological or chemical                into air and slowly dissolve into flowing groundwater. Examples
processes                                                               of DNAPLs include chlorinated solvents, creosote, coal tar, and
                                                                        PCBs (Pankow and Cherry 1996; Kueper et al. 2003)
consumption The use of water by customers of a water
utility. In a water-distribution system, consumption should             DON     Department of the Navy
equal production if there are no losses through leaks or pipe
                                                                        drinking water     See finished water
breaks; also known as demand
                                                                        DRN Drain package; this package is used within
CSTR A continuously stirred-tank reactor, also referred to as
                                                                        MODFLOW-2005 (Harbaugh 2005) to simulate head-dependent
a complete mixing storage-tank model used in the EPANET 2
                                                                        conditions and is used to represent agricultural drains
water-distribution system model (Rossman 2000)
                                                                        and gaining perennial and intermittent streams; also
                                                                        see MOD FLOW
                              -D-
DCE Dichloroethylene; an industrial chemical that is not                                                 -E-
found naturally in the environment. The USEPA has determined
                                                                        EPANET 2 A water-distribution system (or network) model
that 1, 1-dichloroethylene is a possible human carcinogen
                                                                        developed by the USE PA (Rossman 2000)
       1,1-DCE     1, 1-dichloroethylene or 1, 1-dichloroethene
                                                                        epidemiological study A study to determine whether a
       1,2-DCE     1,2-dichloroethylene or 1,2-dichloroethene           relation exists between the occurrence and frequency of
                                                                        a disease and a specific factor such as exposure to a toxic
       1,2-cDCE     cis-1,2-dichloroethylene or
                                                                        compound found in the environment
                    cis-1,2-dichloroethene
                                                                        EPS Extended period simulation; a type of analysis
       1,2-tDCE    trans-1,2-dichloroethylene or
                                                                        conducted with a water-distribution system model when
                   trans-1,2-dichloroethene
                                                                        system attributes (e.g., filling and emptying of storage tanks)
       total 1,2-DCE    total 1,2-dichloroethylene or                   change over time
                        total 1,2-dichloroethene
                                                                        exposure Pollutants or contaminants that come in contact
degradation by-product      See biodegradation                          with the body and present a potential health threat
delivered water Treated water that is supplied to the
                                                                                                         -F-
water-distribution system. Refers to a volume or rate of water
determined at the WTP. See finished water. In this study, when          fate and transport Also known as mass transport; a process
raw water volume or rate data are unavailable, delivered water          that refers to the migration and transformation of contaminants
data are used                                                           in the subsurface environment
DEM     Digital elevation model                                         FFCA Federal Facilities Compliance Act of 1992; amended
                                                                        the Resource Conservation and Recovery Act (RCRA) of 1992
demand The fractional component of consumption that is
                                                                        and established that federal facilities do not have sovereign
applied to a pipeline location in a water-distribution system
                                                                        immunity from state enforcement of state environmental laws
model. In some water-distribution system analyses, the terms
consumption and demand are used interchangeably                         FIFO A first-in, first-out plug-flow storage-tank mixing
                                                                        model used in the EPANET 2 water-distribution system model
density The mass per unit volume of material, expressed in
                                                                        (Rossman 2000)
terms of kilograms per cubic meter (kg/m 3) or grams per cubic
centimeter (g/cm 3) ; the density of water is 1,000 kg/m 3 (1 g/cm 3)   finished water Groundwater that has undergone treatment
at 5° C, but varies with temperature (Peavy et al. 1985)                at a water treatment plant and subsequently is delivered to
                                                                        a family housing unit or other facility-also referred to as
                                                                        drinking water, finished drinking water, or tap water
                                                                        FOH     Federal Occupational Healtl1 laboratory (Chicago, Illinois)
                                                                        FOLIO    For official use only


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free-phase Indicates the occurrence of light nonaqueous             HPLF     Hadnot Point landfill
phase (LNAPL) hydrocarbon liquids in the subsurface,
                                                                    HPWTP Hadnot Point water treatment plant; also known as
such as gasoline, that remain undiluted by other gases or
                                                                    Building 20
liquids present in the subsurface. Although the physical and
chemical properties of the free-phase product may change            HSSM Semi-analytical hydrocarbon spill screening model
over time, the product nonetheless remains a distinct phase         (Weaver et al. 1996)
of a nonaqueous hydrocarbon liquid in the subsurface. (Also
                                                                    HSSM-KO The LNAPL transport module of HSSM (Weaver
referred to as free-phase hydrocarbon product or free-phase
                                                                    et al. 1996)
benzene or free-phase LNAPL)
                                                                    HSWA       Hazardous and Solid Waste Amendments of 1984
ft    Foot or feet
                                                                    hydraulic gradient The change in potentiometric level per
                                -G-                                 unit of distance in a given direction
gal    Gallon or gallons
                                                                                                     -1-
GC/MS Gas chromatography-mass spectrometry; a method
                                                                    IARC     International Agency for Research on Cancer
that combines the features of gas-liquid chromatography and
mass spectrometry to identify different substances within a         IAS    Initial Assessment Study
test sample
                                                                    IMl++      Iterative sparse matrix solver; see Jang et al. (2013)
GIS     Geographic information system
                                                                    in service An operating water-supply well that is withdrawing
GMS Groundwater Modeling System; a comprehensive                    groundwater from an aquifer and supplying it to a water
graphical user environment for data analyses, data                  treatment plant
interpolation, and groundwater simulation developed by the
                                                                    IR    Installation Restoration
U.S. Army Engineer Research and Development Center (2008)
                                                                    IRP    Installation Restoration Program
gpm      Gallon(s) per minute
GPS      Global positioning system                                                                   -J-
                                                                    junction     See pipeline junction
                                -H-
HBWTP Holcomb Boulevard water treatment plant; also                                                  -K-
known as Building 670
                                                                    Kalman filter A general mathematical approach for integrating
HGL      Hydraulic grade line                                       noisy data in a way that minimizes the mean of the error
                                                                    squared; the method is used in many branches of science and
historical reconstruction Diagnostic analysis used to
                                                                    engineering and allows for efficient estimation of past, present,
examine historical characteristics of groundwater flow,
                                                                    and future states, even when a precise definition of the modeled
contaminant fate and transport, water-distribution systems,
                                                                    system is unknown
and exposure
historical reconstruction period The period of July                                                  -l-
1942-December 1997 when monthly water-supply well
                                                                    LCHAO      Lower Castle Hayne aquifer
operations are derived using a deterministic mass-balance
methodology described in Telci et al. (2013); also referred to as   LCHCU       Lower Castle Hayne confining unit
prediction period
                                                                    LCM Linear control model; a model based on linear control
HPFF Hadnot Point Industrial Area fuel farm, also known as          theory methodology developed to reconstruct historical
Hadnot Point tank farm                                              contaminant concentrations in water-supply wells. Such
                                                                    a model, TechControl, was developed by the Multimedia
HPHB      Hadnot Point-Holcomb Boulevard
                                                                    Environmental Simulations Laboratory, Georgia Institute of
HPIA Hadnot Point Industrial Area; a formally designated            Technology, Atlanta, Georgia; references to LCM in text,
name and acronym used in many Camp Lejeune references               figures, tables, appendixes, and supplemental information
(e.g., Baker Environmental 1994, CH2M HILL 2006). The ATSDR         sections refer to the TechControl linear control model
Hadnot Point-Holcomb Boulevard Chapter reports and
supplemental information texts follow this naming convention


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LHS Latin hypercube sampling; a form of stratified sampling       MOC Method of characteristics; a numerical equation solver
that is typically used to reduce the number of Monte Carlo        used by the MT3DMS contaminant fate and transport model
simulations (realizations) by a significant factor.               code {Zheng and Wang 1999)
UFO A last-in, first-out plug-flow storage-tank mixing            model calibration The process of adjusting model input
model used in the EPANET 2 water-distribution system model        parameter values until reasonable agreement is achieved
(Rossman 2000)                                                    between model-predicted outputs or behavior and field
                                                                  observations
LNAPL Light nonaqueous phase liquids (NAPLs), which are
less dense than water and float; these include lubricants and     model node The representation of the end paint of a section
gasoline, pollutants often associated with leaking gasoline, or   of pipeline in the EPANET 2 water-distribution system model;
oil storage tanks (e.g., benzene)                                 also referred to as junction or pipeline junction
local grid refinement A grid refinement method of the             MODFLOW A family of three-dimensional groundwater-
MODFLOW groundwater-flow model that allows smaller,               flow models, developed by the U.S. Geological Survey.
localized parts of the larger model grid to be refined without    MODFLOW-2005 (Harbaugh 2005) is the specific MODFLOW
refining the entire model grid                                    code used for the Hadnot Point-Holcomb Boulevard study
                                                                  area analyses; references to MODFLOW in text, figures,
lPF The layer property flow package; this package is used
                                                                  tables, appendixes, and supplemental information refer to
in MODFLOW-2005 (Harbaugh 2005) to specify properties
                                                                  MODFLOW-2005
controlling flow between cells; also see MOD FLOW
                                                                  Monte Carlo analysis Also referred to as Monte Carlo
                              -M-                                 simulation; a computer-based method of analysis that uses
                                                                  statistical sampling techniques to obtain a probabilistic
Markov process A process that analyzes the tendency of one
                                                                  approximation to the solution of a mathematical equation or
event to be followed by another event based on the sequence
                                                                  model (USEPA 1997)
of events. Using this analysis, one can generate a new
sequence of random but related events, which will look similar    Monthly mean concentration The representation of
to the original; a stream of events is called a Markov Chain      reconstructed (simulated) VO Cs on a typical day during a
                                                                  month. The use of this term should not be construed to indicate
MC Monte Carlo, as in Monte Carlo simulation or Monte
                                                                  or represent any statistical property associated with a mean or
Carlo analysis
                                                                  expected value.
MCHAO        Middle Castle Hayne aquifer
                                                                  MT3DMS Three-dimensional mass transport, multispecies
MCHCU        Middle Castle Hayne confining unit                   model developed on behalf of the U.S. Army Engineer
                                                                  Research and Development Center. MT3DMS-5.3 (Zheng and
MCL Maximum contaminant level; a legal threshold limit set
                                                                  Wang 1999) is the specific version of MT3DMS code used for
by the USE PA on the amount of a hazardous substance that
                                                                  the Hadnot Point-Holcomb Boulevard study area analyses;
is allowed in drinking water under the Safe Drinking Water
                                                                  references to MT3DMS in text, figures, tables, appendixes, and
Act; usually expressed as a concentration in milligrams or
                                                                  supplemental information refer to MT3DMS-5.3
micrograms per liter (USEPA 2003, 2009)
                                                                  JJQ/L microgram per liter; 1 part per billion, a unit of
MDPH        Massachusetts Department of Public Health
                                                                  concentration
MESL Multimedia Environmental Simulations Laboratory,
School of Civil and Environmental Engineering, Georgia                                          -N-
Institute of Technology, Atlanta, GA; http.//mesf.ce.gatech.edu
                                                                  NAC:IP     Naval Assessment and Control of Installation Pollution
Mgal      Million gallons
                                                                  NAil 83     North American Datum of 1983
MGD       Million gallons per day
                                                                  NaF      Sodium fluoride
mg/l milligram per liter; 1 part per million, a unit of
concentration
mi      Mile or miles




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NAPl Nonaqueous phase liquids; hazardous organic liquids                                         -P-
such as dry cleaning fluids, fuel oil, and gasoline that do
                                                                  PARDISO Pardiso sparse matrix solver; see Jang et al. (2013)
not dissolve in water. Dense NAPLs (DNAPLs), such as the
                                                                  for details
chlorinated hydrocarbons (e.g., PCE, TCE) used in dry cleaning
and industrial degreasing, are heavier than water and sink        PCE Tetrachloroethylene, 1, 1,2,2-tetrachloroethylene, or
through the water column. Hydrocarbon fuels and aromatic          perchloroethylene; also known as PERC® or PERK®. PCE is
solvents are described as light NAPLs (LNAPLs), which are         a manufactured chemical used for dry cleaning and metal
less dense than water and float. These include lubricants and     degreasing. In 2012, following its Guidelines for Carcinogen
gasoline, pollutants often associated with leaking gasoline or    Risk Assessment (USE PA 2005), the USE PA characterized
oil storage tanks (e.g., benzene)                                 PCE as likely to be carcinogenic in humans by all routes of
                                                                  exposure {USEPA 2012)
NAVD 88    North American Vertical Datum of 1988
                                                                  PDF Probability density function; also known as the
NCDENR North Carolina Department of Environment and
                                                                  probability function or the frequency function. A mathematical
Natural Resources
                                                                  function that expresses the probability of a random variable
NGVD 29    National Geodetic Vertical Datum of 1929               falling within some interval
NI-Soil Numerical integration method for LNAPL volume             PEST Model independent, objective parameter estimation
estimation using real (actual) LNAPL thickness; see Jang et al.   and uncertainty analysis code originally developed by
(2013) for details                                                Watermark Numerical Computing (Doherty 2003, 2010);
                                                                  the current version is PEST-12, available at http.//www.
NI-Well Numerical integration method for LNAPL volume
                                                                  pesthomepage.org/Down!oads.php
estimation using apparent LNAPL thickness; see Jang et al.
(2013) for details                                                pH A measure of the relative amount of free hydrogen and
                                                                  hydroxyl ions in water; pH has a range of 0-14 with distilled
NJDHSS New Jersey Department of Health and
                                                                  (or pure) water at 25° C having a pH of 7. A pH of less than
Senior Services
                                                                  7 indicates increasing acidity, and a pH of greater than 7
NPl National Priorities List; the USEPA's official list of        indicates increasing alkalinity
uncontrolled hazardous waste sites which are to be cleaned
                                                                  Pl-IA Public health assessment; an evaluation conducted by
up under the Superfund legislation
                                                                  ATSDR of data and information on the release of hazardous
NTP National Toxicology Program; a program of the U.S.            substances into the environment in order to assess any past,
Department of Health and Human Services, Public Health            present, or future effect on public health
Service, whose mission is to evaluate agents of public health
                                                                  pipeline junction Representation of the end point of a
concern by developing and applying tools of modern toxicology
                                                                  section of pipeline in the EPANET 2 water-distribution system
and molecular biology
                                                                  model; also known as model node
                           -0-                                    potentiometric level      A level to which water will rise in a
                                                                  tightly cased well
0AT One-at-a-time designs or experiments; a particular
approach to sensitivity analysis wherein each model               potentiometric surface An imaginary surface defined by
parameter is varied one at a time from its respective             the levels to which water will rise in a tightly cased well. The
calibrated value, and the resulting impact on model results       water table is a particular potentiometric surface
(e.g., simulated water levels, contaminant concentrations)
                                                                  PP Prediction process; see Supplement 2 for details
is assessed
                                                                  (Telci et al. 2013)
OlS   Ordinary least squares, also known as linear least
                                                                  ppb   Parts per billion
squares; a standard method for approximating the solution to
over-determined systems (sets of equations containing more        prediction period See historical reconstruction period and
equations than unknowns)                                          explanation in Telci et al. (2013)
out of service A water-supply well that is no longer operating    present day The time from January 1998 through June 2008
by withdrawing groundwater from an aquifer and supplying          when daily operational records (data) are available for water-
water to a water treatment plant                                  supply well operations; also referred to as training period. See
                                                                  Supplement 2 for details {Telci et al. 2013)




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production The processing of finished water by a water             SGA Small for gestational age; a term used to describe when
utility and the delivery of the water to locations serviced by     an infant's weight is very low given their gestational week
the water-distribution system. In a water-distribution system,     of birth
production should equal consumption if there are no losses
                                                                   skeletonization A process of representing the major
through leaks, pipe breaks, or non-metered water usage
                                                                   features of a water-distribution system network in a model by
psi     Pound(s)persquare inch                                     removing non-essential pipelines, while still preserving the
                                                                   general hydraulic characteristics and behavior of the water-
PVC Polyvinyl chloride; a type of plastic pipe used in water-
                                                                   distribution system network; also see "all-pipes model"
distribution systems
                                                                   SpillCAD A data management and decision support
                               -0.-                                model for hydrocarbon spills (Environmental Systems &
                                                                   Technologies 1993)
0A/O.C     Quality assurance/quality control
                                                                   SR   Highway or state route
                               -R-                                 surrogate well Water-supply wells serving the HPWTP and
RASA Regional Aquifer-System Analysis; a program of                HBWTP that did not have any recorded operational data for
the U.S. Geological Survey that was initiated in 1978 and          present-day period (January 1998-June 2008). See Telci et al.
was completed in 1995. The purpose of this program was to          (2013) for details
define the regional geohydrology and establish a framework
of background information on geology, hydrology, and                                            -T-
geochemistry of the Nation's important aquifer systems
                                                                   TCE 1, 1,2-Trichloroethene; commonly referred to as
raw water Groundwater that is withdrawn from an aquifer            1, 1,2-trichloroethylene or trichloroethylene. TCE is a colorless
and supplied to a water treatment plant, prior to undergoing       liquid which is used as a solvent for cleaning metal parts. In
treatment                                                          2011, following its Guidelines for Carcinogen Risk Assessment
                                                                   (USE PA 2005), the US EPA characterized TCE as carcinogenic
RCRA      Resource Conservation and Recovery Act of 1976
                                                                   in humans by all routes of exposure (USE PA 2011)
RI    Remedial investigation
                                                                   TEACH Toxicity and exposure assessments for children's
RI/FS    Remedial investigation/feasibility study                  health; a USEPA Web site (http.//www.epa.gov/teach/) of
                                                                   chemical summaries providing a compilation of information
                               -S-                                 derived primarily from USE PA and ATSDR resources, and the
                                                                   TEACH database
SARA      Superfund Amendments and Reauthorization Act of 1981
                                                                   TechContrnl Also referred to as LCM; a model based on
saturated zone Zone or area below ground in which all
                                                                   linear control theory methodology developed to reconstruct
interconnected openings within the geologic medium are
                                                                   historical contaminant concentrations in water-supply wells.
completely filled with water and are under pressure greater
                                                                   TechControl, was developed by the Multimedia Environmental
than that of the atmosphere
                                                                   Simulations Laboratory, Georgia Institute of Technology,
SCADA Supervisory control and data acquisition; an                 Atlanta, Georgia; see Guan et al. (2013) for details
electronic method of compiling water-distribution system
                                                                   TechflowMP Three-dimensional multispecies, multiphase
operations data and controlling the operation of certain
                                                                   mass transport model developed by the Multimedia
facilities (Cesario 1995)
                                                                   Environmental Simulations Laboratory at the Georgia Institute
SDWA Safe Drinking Water Act of 1974, also known as                of Technology, Atlanta, Georgia
Public Law 93-523; the federal legislation enacted to develop a
                                                                   TechMarkovChain A probabilistic analysis model developed
national program to protect the quality of the nation's publicly
                                                                   by the Multimedia Environmental Simulations Laboratory at the
supplied drinking water
                                                                   Georgia Institute of Technology, Atlanta, Georgia, to analyze
sensitivity analysis A method used to ascertain how a given        intermittent connections (1972-1985) of the Hadnot Point and
model output (e.g., concentration) depends upon the input          Holcomb Boulevard water-distribution systems (see Sautner et
parameters (e.g., time-step size, pumping rate). Sensitivity       al. 2013b for details)
analysis is an important method for assessing the quality of a
                                                                   TechNAPLVol LNAPL estimate model developed by the
given model and a powerful tool for analyzing the robustness
                                                                   Multimedia Environmental Simulations Laboratory at the
and reliability model analyses
                                                                   Georgia Institute of Technology, Atlanta, Georgia


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TechWeilOp A specialized code for reconstructing monthly              unsaturated zone Zone or area below ground in which the
water-supply well operations developed by the Multimedia              interconnected openings within the geologic medium contain
Environmental Simulations Laboratory at the Georgia Institute         a mixture of water under pressure less than atmospheric and
of Technology, Atlanta, Georgia {see Telci et al. 2013 for details)   air under atmospheric pressure; sometimes referred to as the
                                                                      vadose zone or the zone above the water table. The capillary
TerrnBase An intuitive, structure query language-compliant
                                                                      fringe is part of the unsaturated zone and sometimes occurs as
relational database application designed for environmental
                                                                      completely saturated
professionals and managers who need to assess and manage
chemical, geological, and spatial data                                USEPA U.S. Environmental Protection Agency;
                                                                      http.//www.epa.gov
TOC     Top of casing
                                                                      USGS    U.S. Geological Survey; http://www.usgs.gov
TP Training process; see Supplement 2 for details
(Telci et al. 2013)                                                   USMCB     U.S. Marine Corps Base; http://www.marines.mil
training period See present day and details in Supplement 2           UST    Underground storage tank
(Telci et al. 2013)
TI    Tarawa Terrace
                                                                                                  -V-
                                                                      variability Observed differences attributable to heterogeneity
TIAO.    Tarawa Terrace aquifer
                                                                      or diversity in a model parameter, an exposure parameter, or
TIHll/ls Total trihalomethanes; the sum of chloroform {CHCI),         a population
bromoform (CHBr 3), bromodichloromethane (CHBrCl 2), plus
                                                                      VC Vinyl chloride or chloroethene; a colorless gas that
dibromochloromethane (CHBrp), which are disinfection by-
                                                                      burns easily, is not stable at high temperatures, and has a
products formed by chlorination of drinking water (Singer 1993)
                                                                      mild, sweet odor. It is a manufactured substance that does not
TIWTP      Tarawa Terrace water treatment plant                       occur naturally. It can be formed when other substances such
                                                                      as TCA, TCE, or PCE undergo biochemical degradation. The
TVD Third-order, total-variation-diminishing; a numerical
                                                                      USEPA has characterized VC as a known human carcinogen
equation solver used by the MT3DMS contaminant fate and
                                                                      (USE PA 2000). The NTP Report on Carcinogens (NTP 2011) has
transport model code (Zheng and Wang 1999)
                                                                      recognized vinyl chloride as a known human carcinogen based
                                                                      on sufficient evidence of carcinogenicity in humans
                             -U-
                                                                      VOC Volatile organic compound; one of a group of carbon-
UCHCU      Upper Castle Hayne confining unit
                                                                      containing compounds that evaporate readily at room
UCHLU     Upper Castle Hayne aquifer-Lower unit                       temperature and can readily be inhaled. Examples of VO Cs
                                                                      include tetrachloroethylene (PCE), trichloroethylene (TCE), vinyl
UCHRBU      Upper Castle Hayne aquifer-River Bend unit
                                                                      chloride (VC), and benzene. These contaminants typically are
UCHRBU&LU        Upper Castle Hayne aquifer-River Bend and            generated from metal degreasing, printed circuit board cleaning,
Lower units                                                           dry cleaning, gasoline, and wood preserving processes. VO Cs
                                                                      are environmental contaminants, and some are classified as
uncertainty lack of knowledge about specific factors,
                                                                      known human carcinogens (e.g., TCE, VC, and benzene)
parameters, or models (for example, one is uncertain about the
mean value of the concentration of PCE at the source)
                                                                                                  -W-
uncertainty analysis Determination of the uncertainty (e.g.,
                                                                      water-distribution system A water-conveyance network
standard deviation) of the output variables' expected value
                                                                      consisting of hydraulic facilities such as wells, reservoirs,
(e.g., mean) due to uncertainty in model parameters, inputs, or
                                                                      storage tanks, high-service and booster pumps, and a network
initial state by stochastic modeling techniques {Schnoor 1996)
                                                                      of pipelines for delivering drinking water
                                                                      water table Also known as the phreatic surface; the surface
                                                                      where the water pressure is equal to atmospheric pressure
                                                                      WCA Water Conservation Analysis; an estimate of 1998
                                                                      water consumption for the Hadnot Point and Holcomb
                                                                      Boulevard water treatment plant service areas {ECG, Inc. 1999)




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well history A chronological record of water-supply well                                  -X,Y,Z-
operations starting from the time the well was placed into
                                                                xylene A colorless, sweet-smelling liquid that catches
service and ending with the time the well was abandoned
                                                                on fire easily; it occurs naturally in petroleum and coal tar.
well packet A packet of information for a water-supply well     Chemical industries produce xylene from petroleum. There
that includes driller's logs, construction drawings, capacity   are three forms of xylene in which the methyl groups vary on
tests, and other well-specific records                          the benzene ring: meta-xylene, art/Jo-xylene, and para-xylene
                                                                (m-, a-, and p-xylenes). These different forms are referred to as
working population Defined in the Water Conservation
                                                                isomers. No health effects have been noted at the background
Analysis report (ECG, Inc. 1999) as military personnel and
                                                                levels that people are exposed to on a daily basis
civilians aboard U.S. Marine Corps Base Camp Lejeune,
North Carolina
WTP    Water treatment plant




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         Analyses and Historical Reconstruction of Groundwater Flow,
       Contaminant Fate and Transport, and Distribution of Drinking Water
               Within the Service Areas of the Hadnot Point and
          Holcomb Boulevard Water Treatment Plants and Vicinities,
            U.S. Marine Corps Base Camp Lejeune, North Carolina

                                         Chapter A: Summary and Findings

        By Morris L Maslia, 1 Rene J. Suarez-Soto, 1 Jason B. Sautner, 1 Barbara A. Anderson, 1 L Elliott Jones,2
         Robert E. Faye,3 Mustafa M. Aral, 4 Jiabao Guan, 4 Wonyong Jang,4 liker T. Telci, 5 Walter M. Grayman, 6
                               Frank J. Bove, 1 Perri Z. Ruckart, 1 and Susan M. Moore 1

Abstract                                                                              quantify concentrations of particular contaminants in finished
                                                                                      water and to compute the level and duration of human expo-
      The Agency for Toxic Substances and Disease Registry                            sure to contaminated finished water.
(ATSDR) is conducting epidemiological studies to evaluate                                   During 2007-2009, ATSDR published historical recon-
the potential for health effects from exposures to volatile                           struction results for contaminants delivered in finished water
organic compollllds (VOCs) in finished water7 supplied                                to Tarawa Terrace family housing areas and vicinity. Cor-
to family housing units at U.S. Marine Corps Base Camp                                responding results for Hadnot Point and Holcomb Boule-
Lejeune, North Carolina (USMCB Camp Lejeune). The core                                vard family housing areas and vicinity are presented here
period of interest for the epidemiological studies is 1968-                           as a series of reports supporting ATSDR's health studies at
1985. VOCs of major interest to the epidemiological studies                           USMCB Camp Lejeune. These reports and associated supple-
include tetrachloroethylene (PCE), trichloroethylene (TCE),                           ments provide comprehensive descriptions of information,
trans-1,2-dichloroethylene (1,2-tDCE), vinyl chloride (VC),                           data analyses and interpretations, and modeling results used
and benzene.                                                                          to reconstruct historical contaminant concentration levels in
      Eight water-distribution systems have supplied or cur-                          finished water delivered within the service areas of the Hadnot
rently (2013) are supplying finished water to family hous-                            Point and Holcomb Boulevard water treatment plants (WTPs)
ing and other facilities at USMCB Camp Lejeune. The three                             and vicinities. This report, Chapter A: Summary and Findings,
distribution systems of interest to this study-Tarawa Terrace,                        summarizes analyses and results ofreconstructed VOC
Hadnot Point, and Holcomb Boulevard-have historically                                 concentrations in groundwater, in water-supply wells, and in
supplied finished water to the majority of family housing units                       finished water delivered by the Hadnot Point WTP (HPWTP)
at the Base. Historical exposure data needed for the epidemio-                        and Holcomb Boulevard WTP (HBWTP) to family housing
logical studies are limited or unavailable. To obtain estimates                       areas and vicinities.
of historical exposure, water-modeling methods are used to                                  Methods and approaches to complete the historical recon-
                                                                                      struction process for the Hadnot Point-Holcomb Boulevard
  1
      Agency for Toxic Substances and Disease Registry, Atlanta, Georgia.             study area included (1) information discovery and data min-
  2
      U.S. Geological Survey, Georgia Water Science Center, Atlanta, Georgia.         ing, (2) three-dimensional, steady-state (predevelopment) and
  3
                                                                                      transient groundwater-flow modeling using MODFLOW-2005
      Eastern Research Group, Inc., Lexington, Massachusetts.
  4
                                                                                      and objective parameter estimation using PEST-12, (3) deter-
    Georgia Institute of Technology, School of Civil and Environmental Engi-
                                                                                      mining historical water-supply well scheduling and operations
neering, Atlanta, Georgia.
   5
                                                                                      using TechWellOp, (4) three-dimensional contaminant fate
     Oak Ridge Institute for Science and Education, Oak Ridge, Tennessee;
                                                                                      and transport modeling for VOCs dissolved in groundwater
formerly with Georgia Institute of Technology, School of Civil and Environ-
mental Engineering, Atlanta, Georgia.                                                 using MT3DMS-5.3, (5) estimating the volume oflight
  6
                                                                                      nonaqueous phase liquid (LNAPL) released to the subsurface
      W.M. Grayman Consulting Engineer, Cincinnati, Ohio.
                                                                                      at the Hadnot Point Industrial Area using TechNAPLVol,
  7
    For this study, finished water is defined as groundwater that has undergone
                                                                                      (6) analysis ofLNAPL and dissolved phase fate and transport
treatment at a water treatment plant and was subsequently delivered to a family
housing unit or other facility. Throughout this report and the Hadnot Point-          using TechFlowMP, (7) reconstruction of water-supply well
Holcomb Boulevard report series, the term finished water is used in place of          concentrations at the Hadnot Point landfill using the linear
terms such as finished drinking water, drinking water, treated water, or tap water.   control theory model (LCM) TechControl, (8) computation of


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Introduction - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

flow-weighted average concentrations ofVOCs assigned to                        HBWTP was out of service, and the HPWTP continuously
finished water delivered by the HPWTP using a materials mass                   supplied finished water to the Holcomb Boulevard housing
balance (simple mixing) model, (9) extended period simula-                     area. During this period, the maximum reconstructed TCE
tion of hydraulics and water quality of the Holcomb Boulevard                  concentration at the HPWTP was 324 µg/L, which resulted
water-distribution system using EPANET 2, (10) sensitivity                     in a maximum reconstructed monthly mean concentration of
analysis of hydraulic, fate and transport, and numerical-model                 66 µg/L within the Paradise Point housing area.
parameter values, (11) uncertainty analysis by coupling
Kalman filtering with Monte Carlo simulation within the LCM
methodology, and (12) probabilistic analysis of intermittent
connections (1972-1985) of the Hadnot Point and Holcomb                        Introduction
Boulevard water-distribution systems using the TechMarkov-
Chain model. 8 The end result of the historical reconstruction                       The Agency for Toxic Substances and Disease Registry
process was the estimation of monthly mean concentrations of                   (ATSDR), an agency of the U.S. Department of Health and
selected VOCs in finished water distributed to housing areas                   Human Services, is conducting epidemiological studies to
served by the HPWTP and HBWTP.                                                 evaluate the potential for health effects from exposures to
      Historical reconstruction results summarized herein                      finished water contaminated with volatile organic compounds
provide considerable evidence that concentrations of several                   (VOCs) at U.S. Marine Corps Base Camp Lejeune (USMCB
contaminants of interest in finished water delivered by the                    Camp Lejeune), North Carolina (Figure Al). 9 The epidemio-
HPWTP substantially exceeded current maximum contaminant                       logical studies require estimates or direct knowledge of con-
levels (MCLs) during all or much of the epidemiological study                  taminant concentrations in finished water at monthly intervals.
period of 1968-1985. Reconstructed concentrations ofTCE                        When direct, past knowledge of contaminant concentrations in
exceeded the current MCL of 5 micrograms per liter (µg/L)                      finished water is limited or unavailable, historical reconstruc-
prior to and during the entire epidemiological study period and                tion is used to provide estimates of contaminant concentra-
reached a maximum reconstructed concentration of 783 µg/L                      tions. At USMCB Camp Lejeune, historical reconstruction
during November 1983. The most likely date that TCE first                      methods include linking materials mass balance (mixing) and
exceeded its current MCL is during August 1953; however,                       water-distribution system models to groundwater-flow and
this exceedance could have been as early as November 1948.                     contaminant fate and transport models (Maslia et al. 2007,
Corresponding finished-water concentrations of PCE exceeded                    2009a). Results obtained from the historical reconstruction
the current MCL of 5 µg/L during most of the period 1975-                      process, along with household information regarding water use
1985 and also reached a maximum concentration of39 µg/L                        and consumption, can be used in the epidemiological studies to
during November 1983. Similar results for 1,2-tDCE and VC                      estimate the level and duration of contaminant exposures. To
were also noted during the period 1975-1985. The maximum                       support these studies, the historical reconstruction covers the
reconstructed concentrations of 1,2-tDCE and VC were 435                       period 1942-2008. The first year, 1942, was chosen because
and 67 µg/L, respectively, and also occurred during Novem-                     operations at USMCB Camp Lejeune began in late 1941. The
ber 1983. The respective current MCLs for these contaminants                   last year, 2008, was chosen to take advantage of more recent
are 100 and 2.0 µg/L.                                                          water-supply well operational data and contaminant concentra-
      Substantial volumes ofliquid hydrocarbon fuels were                      tion data to assist with model calibration.
lost due to leakage to the subsurface within the Hadnot Point                        During 2007-2009, ATSDR published results summariz-
Industrial Area. This area contained as many as 1O active                      ing the historical reconstruction of contaminants delivered
water-supply wells. Despite the large volumes lost, finished-                  in finished water to Tarawa Terrace family housing areas and
water concentrations of benzene only slightly exceeded the                     vicinity (herein referred to as the Tarawa Terrace [TT] study
current MCL of5 µg/L during the period 1980-1985. The                          area). 10 Several reports summarize the historical reconstruction
maximum reconstructed concentration of 12 µg/L of benzene                      of contaminant concentrations delivered by the Hadnot Point
occurred during April 19 84.                                                   water treatment plant (HPWTP) and the Holcomb Boulevard
      Within the HBWTP service area, only TCE routinely                        water-distribution system (herein referred to as the study area
exceeded its current MCL during intermittent periods                           or the HPHB study area). This report, Chapter A: Summary
(1972-1985). The TCE resulted from transfers offinished                        and Findings, is one report of that series and summarizes
water from the Hadnot Point water-distribution system to the                   analyses and results of reconstructed VOC-contaminant con-
Holcomb Boulevard water-distribution system. The maximum                       centrations in water-supply wells and in finished water within
reconstructed TCE concentration of 51 µg/L occurred dur-                       the HPHB study area.
ing June 1978 at the Berkeley Manor housing area. During
the 8-day period of January 28 through February 4, 1985, the
                                                                                 9
                                                                                   For a larger map showing water-supply wells, monitor wells, boreholes, and
  8
                                                                               water-distribution system appurtenances, refer to Faye et al. (201 O, Plate I).
   Specific details pertaining to each of the aforementioned methods and
models are provided in the supplements to this report, located on the accom-     10
                                                                                    The Tarawa Terrace (TT) study area reports are available on the ATS DR
panying CD-ROM.                                                                Camp Lejeune Web site at http://www.atsdr.cdc.gov/sites/lejeune/index.html.


A2                   Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                 Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                                                                                                                                N


                                                                                                                                                i



                Holcomb Boulevard / ' ,
                WTP Service Area
                  (1987-present)




                                  Hosp it
                                   Point

                        Hadnot Point
                      WTP Service Area
                       (1942-present)




                                                        Base from Camp Lejeune                                                         2 KILOMETERS
                                                          GIS Office, June 2003


                                                                                     EXPLANATION
     Historical water-supply areas of Camp Lejeune Military Reservation                    Contamination sites                          Water treatment plant (WTP)
        CJ Montford Point             □ New River Air Station                     CERCLA (Comprehensive Environmental             D      Name and length of operation
                                                                                   Response, Compensation, and Liability
        CJ Tarawa Terrace             D       Rifle Range                          Act of 1980)-lnstallation Restoration
                                                                                                                                          Hadnot Point: 1942-present
                                                                                                                                          Holcomb Boulevard:
        □ Holcomb Boulevard           D       Courthouse Bay                       Program site and identification number
                                                                                   (refer to Faye et al. 2010)
                                                                                                                                            June 1972-present
                                                                                                                                          Tarawa Terrace: 1952-1987
        □ Hadnot Point                D       Onslow Beach                        RCRA (Resource Conservation and
                                                                                   Recovery Act of 1976)-Above-ground           HP-608 0 Water-supply well
        D      Other areas of Camp Lejeune Military Reservation                    and underground storage tank site
                                                                                   and identifier (refer to Faye et al. 2012)
                                                                                                                                          and identifier


        Figure A1. The Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.

Chapter A: Summary and Findings                                                                                                                                         A3
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Purpose of this Report                                                         Description of Hadnot Point-Holcomb
                                                                               Boulevard Study Area Reports
      Results of water-modeling investigations as well as several
preliminary studies and investigations necessary for the comple-                   The development and calibration of groundwater-flow,
tion of water-modeling analyses and the historical reconstruc-                contaminant fate and transport, and water-distribution system
tion process are summarized in this Chapter A report (Summary                 models are integral to the historical reconstruction processes.
and Findings). Supporting information and data are published in               They also require substantial preliminary analyses and inter-
Chapters B (Faye 2012), C (Faye et al. 2010), and D (Faye et al.              pretation of relevant data. These are documented in a series
2012), and detailed analyses are provided in the supplemental                 of reports that provide comprehensive descriptions of the
sections (Supplements 1-8) included as part of this Chapter A.                information, data, and methods used to conduct the historical
      Completion of these chapters and supplemental reports                   reconstruction for the HPHB study area. Additional reports
required the discovery and extraction of data contained in tens               were prepared that describe the development and calibra-
of thousands of documents from numerous sources including                     tion of several water models and related simulation results.
USMCB Camp Lejeune, the Department of the Navy (DON),                         Table Al lists the title and authorship and summarizes the
the North Carolina Department of Environment and Natural                      content of four chapter reports (A-D) and eight supplemental
Resources (NCDENR), the U.S. Environmental Protection                         information sections. The supplemental information sections
Agency (USEPA), and the U.S. Geological Survey (USGS).                        are included as part of this Chapter A. 11 FigureA2 shows the
Accordingly, this Chapter A report includes a description
                                                                                 11
of the methods and approaches of identifying information                            For purposes ofreferencing the supplemental information texts
sources and data mining.                                                      in this Chapter A report, the author-date format is used. For example,
                                                                              Chapter A-Supplement I is referenced as Sautner et al. (2013a) and
                                                                              Chapter A-Supplement 6 is referenced as Jones et al. (2013). Complete
                                                                              reference citations are listed in the References section of this Chapter A report.

Table A1. Summary of ATSDR chapter reports and supplemental information sections, Hadnot Point-Holcomb Boulevard study area,
U.S. Marine Corps Base Camp Lejeune, North Carolina.
[ATS DR, Agency for Toxic Substances and Disease Registry; PCE, tetrachloroethylene; TCE, trichloroethylene; LNAPL, light nonaqueous phase liquid;
IRP, Installation Restoration Program; WTP, water treatment plant; RCRA, Resource Conservation and Recovery Act of 1976; BTEX, benzene, toluene,
ethylbenzene, and xylenes]

      1
        Report             2                                      Chapter or supplemental
                               Authors and reference                                                                       Topical summary
      chapter                                                     information section title
 A                    Masha ML, Suarez-Soto RJ,    Summary and Findings                                  Summary of detailed technical findings (found
                       Sautner JB, Anderson BA,                                                            in Supplements 1-8 and
                       Jones LE, Faye RE, Aral MM,                                                         Chapters B-D) focusing on historical
                       Guan J, Jang W, Telci IT,                                                           reconstruction analyses and present-
                       Grayman WM, Bove FJ,                                                                day conditions of groundwater flow,
                       Ruckart PZ, and Moore SM                                                            contaminant fate and transport, and
                       (Masha et al. 2013)                                                                 distribution of finished water
 A-Supplement 1       Sautner JB, Anderson BA,            Descriptions and Characterizations of          A comprehensive listing and analysis of
                        Suarez-Soto RJ, and                 Data Pertinent to Water-Supply Well             historical through June 2008 water-supply
                        Masha ML (Sautner et al.            Capacities, Histories, and Operations           wells, their capacities, operational histories,
                        2013a)                                                                              and supply of finished water
 A-Supplement 2       Telci IT, Sautner JB,          Development and Application of                      Describes a method that uses recorded data,
                        Suarez-Soto RJ, Anderson BA,   a Methodology to Characterize                       other ancillary information, and a training
                        Masha ML, and Aral MM          Present-Day and Historical Water-                   algorithm to synthesize monthly water-
                        (Telci et al. 2013)            Supply Well Operations                              supply well operations, 1942-2008
 A-Supplement 3       Faye RE, Jones LE, and              Descriptions and Characterizations of          Describes water-level data for the Brewster
                        Suarez-Soto, RJ                     Water-Level Data and Groundwater               Boulevard and Castle Hayne aquifer systems
                        (Faye et al. 2013)                  Flow for the Brewster Boulevard and            and Tarawa Terrace aquifer, analyzes water-
                                                            Castle Hayne Aquifer Systems and               level trends, and presents a potentiometric
                                                            the Tarawa Terrace Aquifer                     surface map derived from the water-level data
                                                                                                           and resulting groundwater-flow directions
 A-Supplement 4       Suarez-Soto RJ, Jones LE,           Simulation of Three-Dimensional                Describes the application and calibration
                        andMasliaML                         Groundwater Flow                               of a three-dimensional groundwater-
                        (Suarez-Soto et al. 2013)                                                          flow model used to simulate steady-state
                                                                                                           (predevelopment) and transient groundwater
                                                                                                           flow for tl1e period 1942-2008


A4                   Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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Table A1.  Summary of ATSDR chapter reports and supplemental information sections, Hadnot Point-Holcomb Boulevard study area,
U.S. Marine Corps Base Camp Lejeune, North Carolina.-Continued
[ATS DR, Agency for Toxic Substances and Disease Registry; PCE, tetrachloroethylene; TCE, trichloroethylene; LNAPL, light nonaqueous phase liquid;
IRP, Installation Restoration Program; WTP, water treatment plant; RCRA, Resource Conservation and Recovery Act of 1976; BTEX, benzene, toluene,
ethylbenzene, and xylenes]

         1
           Report             2
                                                                       Chapter or supplemental
                                  Authors and reference                                                                    Topical summary
         chapter                                                       information section title
 A-Supplement 5          Guan J, Anderson BA,                  Theory, Development, and Application    Describes the model developed using linear
                           Aral MM, and Maslia ML                of Linear Control Model Methodology     control theory that is capable of reconstructing
                           (Guan et al. 2013)                    to Reconstruct Historical Contaminant   historical contaminant concentrations using
                                                                 Concentrations at Selected Water-       limited geohydrologic and aquifer information;
                                                                 Supply Wells                            model is applied to water-supply well HP-651
                                                                                                         in the Hadnot Point landfill area
 A-Supplement 6          Jones T,E, Suarez-Soto                 Source Characterization and Simulation    Describes the application and calibration of
                           RJ, Anderson BA, and                   of Fate and Transport of Selected         three-dimensional models of contaminant
                           MasliaML                               Volatile Organic Compounds in             fate and transport used to reconstruct
                           (Jones et al. 2013)                    the Vicinities of the Hadnot Point        historical groundwater concentrations of
                                                                  Industrial Area and Landfill              PCE, TCE, and benzene in the vicinity of
                                                                                                            the Hadnot Point Industrial Area and landfill
                                                                                                            area for the period 1942-2008
 A-Supplement 7          Jang W, Anderson BA,                   Source Characterization and               Describes the estimation of LNAPL volume
                           Suarez-Soto RJ,                        Simulation of the Migration of            in the subsurface and the development
                           Aral MM, and Maslia ML                 Light Nonaqueous Phase Liquids            and application of a three-dimensional
                           (Jang et al. 2013)                     (LNAPLs) in the Vicinity of the           contaminant fate and transport model used
                                                                  Hadnot Point Industrial Area              to simulate LNAPL and dissolved-phase
                                                                                                            benzene in the vicinity of the Hadnot Point
                                                                                                            Industrial Area for the period 1942-2008
 A-Supplement 8          Sautner JB, Grayman WM,               Field Tests, Data Analyses, and            Describes field tests conducted and data
                           Telci IT, Maslia ML,                  Simulation of the Distribution of          gathered during 2004 for the Hadnot Point
                           andAralMM                             Drinking Water with Emphasis on            and Holcomb Boulevard water-distribution
                           (Sautner et al. 2013b)                Intermittent Transfers of Drinking         systems and simulations of the intermittent
                                                                 Water Between the Hadnot Point             supply of Hadnot Point finished water to
                                                                 and Holcomb Boulevard Water-               the Holcomb Boulevard water-distribution
                                                                 Distribution Systems                       system during the period 1972-1985
 B                       Faye RE (Faye 2012)                   Geohydrologic Framework of the             Describes detailed analyses of well, borehole,
                                                                 Brewster Boulevard and Castle              and geophysical data used to develop the
                                                                 Hayne Aquifer Systems and the              geohydrologic framework of the Brewster
                                                                 Tarawa Terrace Aquifer                     Boulevard and Castle Hayne aquifer systems
                                                                                                            and the Tarawa Terrace aquifer; hydraulic
                                                                                                            characteristics for several geohydrologic
                                                                                                            units are tabulated; hydraulic conductivity
                                                                                                            maps are included
 C                       Faye RE, Anderson BA,                 Occurrence of Selected Contaminants        Detailed accounting of the occurrences of
                           Suarez-Soto RJ,                       in Groundwater at Installation             contaminants of concern and their related
                           and Sautner JB                        Restoration Program Sites                  degradation products in groundwater at IRP
                           (Faye et al. 2010)                                                               sites within the service areas of the Hadnot
                                                                                                            Point and Holcomb Boulevard WTPs
 D                       Faye RE, Suarez-Soto RJ,              Occurrence of Selected Contaminants        Summaries ofRCRA investigations with detailed
                           andMasliaML                           in Groundwater at Above-Ground             accounting of the occurrence and distribution
                           (Faye et al. 2012)                    and Underground Storage Tank Sites         ofBTEX components, such as benzene, within
                                                                                                            the soil and groundwater at selected RCRA
                                                                                                            sites within the service areas of the Hadnot
                                                                                                            Point and Holcomb Boulevard WTPs
   1
     Letter designation of chapters for series, "Analyses and Historical Reconstruction of Groundwater Flow, Contaminant Fate and Transport, and Distribution
of Drinking Water Within the Service Areas of the Hadnot Point and Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp
Lejeune, North Carolina;" supplemental information sections are part of Chapter A, provided on CD-ROM
  2
      See References section for complete reference citation


 Chapter A: Summary and Findings                                                                                                                           A5
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                                                        Chapter A: Summary and Findings
     '                                                      [See Table Al for references]

              A-Supplement 1                      A-Supplement 2                       Chapter B
              Water-supply well        ------+     Reconstructing
                                                                                     Geohydrologic
             capacities, histories,               water-supply well
                                                                                      framework
             and operations data                  operational history


                                                                                                                     Chapter C
              A-Supplement 3                                       A-Supplement 4                              Selected contaminants
                                                                                                      -           in groundwater at
                                                                      Simulation of                            Installation Restoration
             Water-level data and
                                                                   three-dimensional                                 Program sites
              groundwater flow
                                                                    groundwater flow          --


                                                                                                                     Chapter D
                                                                                                      -        Selected contaminants
                                                                                                                 in groundwater at
                                                                                                                     RCRA sites


                                                       Groundwater contamination
                               t                                    t                                     .i
                       A-Supplement 5                       A-Supplement 6                       A-Supplement 7
                    Linear control theory to              Fate and transport at                Migration of LNAPLs
                   reconstruct contaminants              Hadnot Point Industrial                 at Hadnot Point
                     at water-supply wells                  Area and landfill                    Industrial Area


                               1                      Finished-water concentration
                                                 J
                                      Historical reconstruction                      A-Supplement 8
                                   Reconstructed concentrations                    Intermittent transfers
                                     of PCE, TCE, 1,2-tDCE, VC,                    of finished water from
         ~
                                                                                                                                          '
                                   and benzene in finished water                        Hadnot Point to
                                         at the Hadnot Point                        Holcomb Boulevard
                                       water treatment plant                            housing areas



                                                           lEpidemiological studies
                                                                                       l
                                                         Quantified historical exposures
                                                         to PCE, TCE, 1,2-tDCE, VC, and
                                                              benzene derived from
                                                          historical reconstruction and
                                                            water-modeling analyses


     Figure A2.    Relation among Chapter A report (Summary and Findings), Chapter A supplements (1-8), Chapters B-0
     reports, historical reconstruction process, and the ATSDR epidemiological studies, Hadnot Point-Holcomb Boulevard
     study area, U.S. Marine Corps Base Camp Lejeune, North Carolina. [RCRA, Resource Conservation and Recovery Act
     of 1976; LNAPL, light nonaqueous phase liquid; PCE, tetrachloroethylene; TCE, trichloroethylene; 1,2-tDCE, trans-1,2-
     dichloroethylene; VC, vinyl chloride]




A6                  Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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relation of the Chapter reports and supplemental information      xylenes (BTEX). Groundwater within the Holcomb Boulevard
sections to the overall process of historical reconstruction.     WTP (HBWTP) service area remained largely uncontaminated
Chapters B-D present detailed descriptions of a geohydro-         except for intermittent supply by contaminated Hadnot Point
logic framework and selected contaminants in groundwater          water during years 1972-1985. Historical base operations and
at Installation Restoration Program (IRP) and above-ground        waste-disposal practices at USMCB Camp Lejeune have been
and underground storage tank (AST/UST) sites within the           identified as responsible for contamination of groundwater and
HPHB study area. Supplemental information sections 1-8            finished-water supplies within the HPHB study area (Faye et
present detailed analyses and interpretations of data pertinent   al. 2010, 2012).
to groundwater flow, contaminant fate and transport, and the
intermittent transfer of contaminated finished water from the
HPWTP to the Holcomb Boulevard water-distribution system.
Summaries of each chapter report and supplemental informa-
                                                                  Information Sources and Data Mining
tion section are provided in Appendix Al. Readers interested
                                                                        Substantial effort and resources were dedicated to the
in details of a specific topic, for example, the geohydrologic
framework for the study area, groundwater-flow model              task of identifying information sources and extracting data
development, model-calibration procedures, or synoptic maps       because of the voluminous and disparate sources of informa-
showing groundwater migration of benzene from the Hadnot          tion and data pertinent to the HPHB study area. The purpose
Point fuel farm, should consult the appropriate chapter report    was to obtain information and data that could be extracted and
or supplemental information section (Table Al, Appendix Al).      transformed into digital databases in order to conduct histori-
Also provided with this Chapter A report is a compact disc-       cal reconstruction analyses. To assist in locating information
read-only memory (CD-ROM) containing all chapter reports          sources at USMCB Camp Lejeune and at other DON facilities,
(A-D) and supplemental information sections (1-8). Elec-          ATSDR and the DON developed a joint technical workgroup
tronic versions of each chapter report including this Chapter A   during 2010; the specific purpose and goals of the work-
report and supporting information and data will be made           group are detailed in the workgroup charge (U.S. DON and
available on the ATSDR USMCB Camp Lejeune Web site at             ATS DR 2012). 12
http://www.atsdr.cdc.gov/sitesllejeune/index.html.                      By its very nature, information discovery and data mining
                                                                  is not an exact process that can be used or relied upon to
                                                                  identify a single, specific piece of information or data point.
                                                                  Nor can this process be used to state unequivocally that every
Background                                                        piece of information or every data point has been obtained,
                                                                  viewed, categorized, or interpreted. However, it is important
      USMCB Camp Lejeune is located in the Coastal Plain          to describe the process so others can judge the adequacy of
of North Carolina, in Onslow County, south of the City of         the effort.
Jacksonville and about 70 miles northeast of the City of               Numerous information sources were identified, located,
Wilmington, North Carolina (Figure Al). In general, the           and assessed prior to extracting usable model-specific data.
HPHB study area is bordered on the north by Northeast Creek       Once pertinent model-specific data were identified and
and North Carolina Highway 24 (SR 24), to the west by New         extracted, they had to be entered into digital databases. Com-
River, to the south by Frenchs Creek, and generally to the east   puter model-specific input databases were then developed
by the drainage divides of upstream tributaries of Wallace and    from these digital databases. A list of information and data
Frenchs Creeks. Operations began at USMCB Camp Lejeune            sources used to develop model-input databases for the HPHB
during late 1941 (Watson 1995).                                   study area is provided in Appendix A2. The numerous and
      Eight water-distribution systems have supplied or cur-      disparate information sources and databases listed in Appen-
rently (2013) are supplying finished water to family housing      dix A2 are grouped into seven general categories listed below
and other facilities at USMCB Camp Lejeune, North Carolina        along with examples of pertinent information sources or data
(Figure Al). The three water-distribution systems of interest     within each category.
to this study-Tarawa Terrace, Hadnot Point, and Holcomb           1.   ATSDR information requests and selected authored
Boulevard-have historically supplied finished water to the             reports: Historical water-supply well data from wellhead
majority of family housing units at the Base. Two of the three         management program investigations and reports (Geophex
water-distribution systems were contaminated with VOCs.                Ltd. 1991; AH Environmental Consultants 2002);
Groundwater within the Tarawa Terrace WTP service area
                                                                    12
was contaminated mostly with tetrachloroethylene (PCE).                The DON-ATSDR Data Mining Technical Work Group met periodi-
                                                                  cally either in person or by conference call during the period June 2010-
Groundwater within the HPWTP service area was contami-
                                                                  August 2011. Summaries of those meetings are available on the ATS DR Camp
nated with trichloroethylene (TCE), PCE, and refined petro-       Lejeune Web site at http://www.atsdr.cdc.gov/sites/lejeune/data_mining_
leum products, such as benzene, toluene, ethylbenzene, and        workgroup. html.




Chapter A: Summary and Findings                                                                                                       A7
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Information Sources and Data Mining - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

2.   Databases and information portals: USMCB Camp                               reviewing pertinent documents, manually extracting data (in
     Lejeune historic drinking water document reposi-                            most cases), and then entering these data into digital databases.
     tory (CLHDW CDR 2011), underground storage tank                             A generalized three-stage process was developed for reviewing,
     (UST) files (UST Web Management Portal 2010-2012),                          assessing, and extracting information and data. This process is
     TerraBase, and analytical data associated with Base IRP                     shown graphically in Figure A3 and described below.
     provided to Catlin Engineers and Scientists by USMCB                              • Stage 1: A cursory review was conducted to determine
     Camp Lejeune (John R. Townson, USMCB Camp                                           if a particular source of information or data referred to
     Lejeune, written communication, April 9, 2010); 13 , 14                             the HPHB study area; if not, the information source or
3.   Drinking-water system information and data: Reports on                              data was noted and not reviewed;
     drinking-water systems at USMCB Camp Lejeune (AH                                  • Stage 2: Information sources and data pertinent to the
     Environmental Consultants 2001, 2002, 2004a, b, c, 2005),                           HPHB study area were filtered by content and subject
     and historical water utility maps for 1956-1987 (Envi-                              matter (e.g., remedial investigation, lab analysis).
     ronmental Management Division, Camp Lejeune, written                                Depending on the content and subject matter, certain
     communication, July 2006);                                                          files were not reviewed in detail (e.g., meeting notes),
4.   Housing records and information: Historical paper maps                              whereas other files were promoted to a stage 3 review
     showing housing units, additions to housing units, and                              (e.g., site characterization data, laboratory analyses,
     estimated number of housing units for the 1940s-1990s                               groundwater-level data); and
     (USMCB Camp Lejeune, written communications, date                                 • Stage 3: If a file contained certain key words or dates
     unknown; see footnotes in Faye et al. [2010], Table Cl);                            (e.g., water supply, VOC, benzene, underground storage
5.   Map information and data: Digital topographic contour                               tank, 1984 ), it was reviewed in detail by subject matter
     maps (USGS, North Carolina Water Science Center,                                    experts. Pertinent information and data were identified,
     written communication, February 2004) andAutoCAD™                                   and contract staff extracted the information and data
     files ofUSMCB Camp Lejeune features such as topogra-                                and entered it into digital databases. Then, data were
     phy, utility lines, water-distribution systems, and hous-                           extracted from the digital databases and prepared appro-
     ing locations (Environmental Management Division,                                   priate model-input databases. 15 It is important to note,
     Camp Lejeune, written communication, October 2003;                                  however, that even with the aforementioned, three-stage
     Central Coastal Plain Capacity Use Investigation Report                             review process, because of the volume of information,
     [NCDENR 1998]);                                                                     not every document was reviewed, nor was every page
                                                                                         of every document reviewed unless such a review was
6.   North Carolina documents and reports: Detailed soil                                 determined to be critical to extracting information and
     maps for Onslow County, North Carolina (North Carolina                              data pertinent to the historical reconstruction process
     Center for Geographic Information Analysis, written com-                            and specifically to computer model-specific input data-
     munications, November 2003); and                                                    base development. For example, daily water-supply well
                                                                                         operational data available during 1999-2008 consisted
7.   Miscellaneous information, data, and reports: Precipita-
                                                                                         of 10,000 pages of pertinent information, all of which
     tion and evaporation data for the Hoffman/Maysville sta-
                                                                                         were reviewed, evaluated, and transcribed to digital data
     tion, North Carolina (National Climatic Data Center 1945-
                                                                                         (Appendix A2).
     2008), USGS open files on well locations, and water use
     at USMCB Camp Lejeune (USGS, North Carolina Water                                 The types of data reviewed to develop databases and
     Science Center, written communication, March 2004).                         model-input data are listed by category in Table A2. Also
                                                                                 listed are approximate numbers of data values extracted from
     The majority of the information sources listed in Appen-
                                                                                 the information sources. Comparison with the number of data
dix A2 were not in readily usable digital format that could be
                                                                                 values reviewed and extracted from information sources for
directly used for developing input databases for modeling.
                                                                                 the TT study area analyses (Maslia et al. 2007) indicates a ten-
Rather, a time-consuming process was required to extract
                                                                                 to twenty-fold increase in the numbers of relevant data. For
pertinent and usable information. This process consisted of
                                                                                 example, 4,104 groundwater samples were analyzed for chlo-
determining potentially pertinent documents and information,
                                                                                 rinated solvents (PCE, TCE, dichloroethylene [DCE],1 6 and
                                                                                 vinyl chloride [VC]) for the HPHB study area compared with
   13
      TerraBase is an intuitive, structure query language-compliant relational
                                                                                 192 groundwater samples for the TT study area. Similarly,
database application designed for environmental professionals and managers
who need to assess and manage chemical, geological, and spatial data; see
http://www. terrabase. com.                                                        15
                                                                                      Refer to the report section on Historical Reconstruction Methods and
   14
                                                                                 Approaches for a description of specific models applied to the HPHB study area.
      Certain documents have been provided to ATS DR by the Department
of the Navy (Headquarters Marine Corps, Eastern Area Counsel Office, and            16
                                                                                       DCE or dichloroethylene is the common name of a group ofVOCs that
Marine Corps Base Camp Lejeune) under terms of "For Official Use Only"           include: 1,1-dichloroethylene (1,1-DCE), trans-1,2-DCE (1,2-tDCE), and
(FOUO) documents. Some of these documents are not releasable by ATSDR            cis-1,2-DCE (1,2-cDCE). Refer to Lawrence (2007), Faye and Green (2007),
under the terms ofFOUO.                                                          and Faye et al. (2010).


AB                    Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                  Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                                                  Information source
                                                                     or repository

                        Stage 1 review




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                                               to meet 11•---<
                        No review
                                                criteria                area?



                              Stage 2 review                               Yes




                              Stage 3    review




            Failed       No
           to meet
            criteria



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             Stop                                         Detailed review and assessment by ATSDR water-
                                                           modeling staff; data entry by contract workers




                                                                                            Search and
                                                             Document and
                                                                                              query
                                                            model databases



           Figure AJ.  Three-stage process used for identifying relevant information and extracting data for database
           and model development, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp
           Lejeune, North Carolina.



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Base Housing and Water Supply - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Table A2..Number and type of data extracted from information sources and reviewed for historical reconstruction analyses,
Hadnot Point-Holcomb Boulevard and Tarawa Terrace study areas, U.S. Marine Corps Base Camp Lejeune, North Carolina.
[PCE, tetrachloroethylene; TCE, trichloroethylene; DCE, dichloroethylene; VC, vinyl chloride; BTEX, benzene, toluene, ethylbenzene, and xylenes;
MCL, maximum contaminant level]

                                                                                                             Approximate number of data values
                                                                                                                      for study area
                                            Data category
                                                                                                          Hadnot Point-
                                                                                                                                      Tarawa Terrace
                                                                                                        Holcomb Boulevard
 Wells, hydropunch points, and boreholes                                                                         1,979                      222
 Water-level measurements                                                                                      13,833                      789
 Groundwater samples analyzed for chlorinated solvents (PCE, TCE, DCE, VC)                                      4,104                       192
 Groundwater samples analyzed for BTEX                                                                           6,433                      191
 Supply-well and monitor-well aquifer and slug tests                                                              264                           33
 Water-supply wells analyzed for operational history                                                              1100                      2
                                                                                                                                                16
 Historically contaminated water-supply wells (concentration exceeding current the MCL)                             12                           5
 Contaminant source areas characterized                                                                             23
 Number of source contaminants3                                                                                      3
  1
    Hadnot Point and Holcomb Boulevard water-supply wells: 72 wells for Hadnot Point and 24 wells for Holcomb Boulevard; 1 well (HP-656) never put
into service; 1 well (HP-37) was emergency standby for Naval Hospital; 2 wells [R(l950) and S-190A] used for golfcourse irrigation (see Figure AS)
  2
    Tarawa Terrace water-supply wells: 3 wells (#6, #7, and TT-45) external to Tarawa Terrace groundwater-flow model domain, but provided raw water to
Tarawa Terrace Water Treatment Plant ( see Maslia et al. 2007)
  3
      For Hadnot Point-Holcomb Boulevard study area, source contaminants are PCE, TCE, and benzene; for Tarawa Terrace study area, source contaminant is PCE


13,833 water-level measurements were extracted from data                         Point were the first housing units constructed, followed in
sources for the HPHB study area compared to only 789 water-                      1947 by Hospital Point Housing, Berkeley Manor in 1961,
level measurements available for the TT study area. For the                      and Watkins Village in 1978. Housing at Paradise Point was
HPHB study area, data were extracted to compile operational                      improved and expanded during 1947, 1948, and 1962 (Scott R.
chronologies for nearly 100 supply wells compared to only                        Williams, USMCB Camp Lejeune, electronic communica-
16 water-supply well operational chronologies for the TT                         tion, September 3, 2008). A chronology of family housing unit
study area. The substantive increase in the numbers of data                      construction and contemporary population is provided in Faye
values for the HPHB study area compared to the TT study area                     et al. (2010, Table Cl). Family housing occupancy rate was
(Table A2) are indicative of the increase in complexity and dif-                 95 percent or greater in 1998 (ECG, Inc. 1999), and similar
ficulty of reconstructing historical contaminant concentrations                  rates probably have prevailed at USMCB Camp Lejeune since
for the HPHB study area. This point is further highlighted                       the Base was established. Thus, since 1963, the population
given the multiple source contaminants (3) and numerous                          of family housing in the study area has been continuously
contaminant source areas (23) requiring identification and                       maintained at about 4,000 to 8,000 residents, depending on the
characterization for the HPHB study area as described in Faye                    number of available housing units (Faye et al. 2010).
et al. (2010, 2012) and discussed in subsequent sections of                            In 1999, the number of occupants of bachelor housing in
this report.                                                                     the study area totaled 13,427 personnel. Of these, 13,129 per-
                                                                                 sonnel were served by the HPWTP (ECG, Inc. 1999). The
                                                                                 resident bachelor population includes permanently assigned
                                                                                 personnel as well as a substantial number of short-term
Base Housing and Water Supply                                                    transient personnel and, as such, probably varies substantially
                                                                                 from month to month and year to year. Bachelor housing in the
     USMCB Camp Lejeune consists of 15 different housing                         study area is located in the vicinity of Hadnot Point between
areas; families live in base housing for an average of 2 years.                  River Road/Julian C. Smith Road and McHugh Boulevard
Family housing areas currently (2013) served by the HPWTP                        (Faye et al. 2010, Plate 1). Currently (2013) there are 52 bach-
and HBWTP are Berkeley Manor, Hospital Point, Midway                             elor housing units that can house about 14,300 Marines (C.M.
Park, Paradise Point, and Watkins Village (Figure Al).                           Rychak, USMCB Camp Lejeune, electronic communication,
     Construction of family housing at USM CB Camp                               July 11, 2012; S.R. Williams, U.S. Marine Corps Headquar-
Lejeune began in 1942, in conjunction with other major                           ters, electronic communication, July 11, 2012).
infrastructure components at the Base, such as roads, WTPs,                            A summary of water-supply well and water treatment
and the water-distribution network. Midway Park and Paradise                     plant construction chronology for the HPHB study area

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is provided below. 17 Hadnot Point was the original water-                               File #2292, p. 1). During May 1986, the plant capacity also
distribution system, serving the entire Base with finished                               was reported to be 5.0 MGD (Naval Facilities Engineer-
water beginning in the early 1940s. The Tarawa Terrace WTP                               ing Command 1986). Present-day (2013) capacity is about
began delivering finished water during 1952-1953, and the                                5.0 MGD. Figure A4 shows graphs of WTP capacities and
HBWTP began delivering finished water during June 1972                                   monthly delivered finished water in the study area during the
(S.A. Brewer, USMCB Camp Lejeune, written communica-                                     period 1942-2008. A tabular listing of average annual rates
tion, September 29, 2005). Currently (2013), the HPWTP                                   of delivered finished water is provided in Faye et al. (2010,
services the Hadnot Point area, and the HBWTP services the                               Table C3); tabular listings of monthly rates of delivered finished
Holcomb Boulevard and Tarawa Terrace base housing areas                                  water for selected years are provided in Sautner et al. (2013b).
(Figure Al ). 18                                                                               During 1942, the 21 original water-supply wells at
      The HPWTP (Building 20; Figure Al) was constructed                                 USMCB Camp Lejeune (HP-601-HP-621, Figure Al) were
probably during 1941 and 1942, along with much of the                                    placed into operation and provided a total combined capacity
original infrastructure of the Base. Original capacity of the                            of7.3 MGD (CLHDW CDR File #2292, p. 1). Throughout the
HPWTP is unknown. However, a July 21, 1954, USMCB                                        years, additional water-supply wells were brought online to
Camp Lejeune property record card indicates a capacity of                                increase system capacity or to replace abandoned wells. Some
5 million gallons per day (MGD) (Scott R. Williams, USMCB                                of the water-supply wells were removed from service and
Camp Lejeune, written communication, February 22, 2012). A                               eventually were abandoned because of contaminants found in
December 15, 1966, memorandum from the Base maintenance                                  groundwater at nearby disposal sites and in the supply wells
officer states that "The plant has a 5,000,000 gallon per day                            themselves. As of June 2008, 27 wells were supplying ground-
treated water capacity ... " (Camp Lejeune historic drink-                               water to the HPWTP with a total combined capacity of about
ing water consolidated document repository [CLHDW CDR]                                   5.9 MGD and a delivered groundwater (raw water) flow rate of
                                                                                         2.2 MGD (Sautner et al. 2013a). An operational chronology for
   17
      A detailed chronology ofWTPs and water-supply well construction and                water-supply wells in the study area during the period 1942-
relevant activities is provided by Faye et al. (201 0); a detailed description of        2008 is shown in Figure AS. This graph shows dates ofopera-
water-supply well operational chronology is provided in Sautner et al. (2013a).          tion for each well that supplied raw water to the WTPs and the
   18
      The Tarawa Terrace WTP was shut down during 1987 due to contamina-                 dates when some of the wells were permanently taken out of
tion of several water-supply wells (Maslia et al. 2007).                                 service. Detailed operational and chronological information for




                                                                                Epidemiological studies

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                     CL            Note: Delivered capacity includes
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                                   WTP capacity and storage-tank capacity
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                     :3                           EXPLANATION
                                       Water treatment plant (WTP) flows
                                             Hadnot Point WTP
                                       - - Delivered ••••• Capacity
                                           Holcomb Boulevard WTP
                                       - - Delivered - - Capacity
                                                                                    -   Estimated----,




                                                                                        YEAR

                                Figure A4. Water treatment plant capacity and monthly delivered finished water, in million
                                gallons per day, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base
                                Camp Lejeune, North Carolina, 1942-2008. (See Sautner et al. [2013b] for details.)




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                    § Well HP-639 (new) and replacement well HP-662
                      have a reported start of service of October 1984
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                      and November 1984, respectively. Both wells were
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             1940                     1950                        1960                     1970                          1980                         1990                         2000                            2010




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      Water-supply well contributed
       raw water to
            Neither Hadnot Point WTP
             or Holcomb Boulevard WTP
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                                                                  Water-supply well
                                                              Hadnot Point
                                                              Holcomb Boulevard
                                                                                                 EXPLANATION
                                                                                                          Contaminants in
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                                                          e   Not connected to a water-               T Trichloroethylene (TCE)
  D         HadnotPointWTP                                     distribution system
                                                                                                      S        Benzene                                       \ _ s!:~v~cfe\_ E:t~~f:t;~~~~c:nf~r                          In ~rvice as
  D         Holcomb Boulevard WTP
                                                          e   Contaminant present
                                                               (measured) at some                                                                                                     replacement well
                                                                                                                                                                                                                            of June 2008

                                                               time during well operation

  Figure A5. Operational chronology of Hadnot Point and Holcomb Boulevard water-supply wells, Hadnot Point-Holcomb
  Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, 1942-2008.

A12                     Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                    Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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each of the 96 water-supply wells that historically have oper-                  raw water to the HBWTP when it began operations during
ated or were operating as of June 2008 within the HPHB study                    the summer of 1972 (Figures Al and A4). Additional water-
area is tabulated and provided in Sautner et al. (2013a). 19                    supply wells were put into service when the capacity of the
      Until the summer of 1972, all finished water distrib-                     HBWTP was increased during 1985-1987 (FiguresA4 and
uted to bachelor and family housing units and all other                         AS). Between 1998 and 2001, HP-557, HP-558, and HP-584
facilities within the study area was supplied by the HPWTP                      were put into service-most likely to provide additional raw
(Building 20). Subsequent to June 1972, finished water
                                                                                water flow for the HBWTP. As of June 2008, 20 wells were
distributed to Berkeley Manor, Midway Park, Paradise Point,
                                                                                supplying groundwater to the HBWTP with a total com-
and Watkins Village family housing areas was supplied by the
                                                                                bined capacity of about 6.9 MGD and a delivered raw water
HBWTP (Building 670). Also included in the HBWTP service
area are the current U.S. Naval Hospital, the USMCB Camp                        flow rate of 1.9 MGD (Figures A4 and AS; see Sautner et al.
Lejeune high school, and the Brewster Boulevard junior high                     [2013a] for details).
school (Figure Al; Faye et al. 2010, Plate 1).                                        Historical reconstruction results need to be determined
      The HBWTP began operations during summer 1972                             at monthly intervals for the purposes of the ATSDR epi-
with a capacity of about 2 MGD (Scott A. Brewer, USM CB                         demiological studies. That is because standard practice in
Camp Lejeune, written communication, September 29, 2005).                       epidemiological studies of adverse reproductive outcomes is
The treatment capacity of the plant was increased to 5 MGD                      an assessment of exposures (whether environmental, occupa-
probably during 1986 and 1987 (Naval Facilities Engineering                     tional, or diet risk factors) at the monthly or trimester level
Command, Atlantic Division 1986, CLW #4938). Because of                         (Rothman et al. 2008, p. 602-603). Ideally, these analyses
the discovery of several contaminated water-supply wells at                     require monthly contaminant concentrations at water-supply
Tarawa Terrace during 1985, deliveries of finished water from                   wells and at the WTPs. Determining monthly concentrations
the HBWTP to Tarawa Terrace began during the summer of                          at water-supply wells and at the WTPs requires groundwater
1985. After the removal from service of all Tarawa Terrace
                                                                                pumpage data for the historical period and, in particular, the
water-supply wells during February and March 1987, the
                                                                                epidemiological study period of 1968-1985. Pumpage data
HBWTP service area was increased to include all of Tarawa
Terrace family housing and the Camp Knox trailer park                           are limited, however, and are not available on a monthly basis
(Maslia et al. 2007, Plate 1). The HBWTP service area was                       for the entire historical period. Figures A6 and A 7 show the
further increased later in 1987 to include the Camp John-                       number of operating wells on a monthly basis supplying raw
son area, formerly served by the Montford Point WTP and                         water to the WTPs. When daily and monthly well operations
related supply wells (Maslia et al. 2007). The increases in the                 are known (e.g., January 1998-June 2008), the graph con-
HBWTP capacity and monthly delivered finished water flows                       tinuously changes on a monthly basis. When the number of
during 1987 are shown in Figure A4 by the spike in the graph.                   operating wells and corresponding operational histories were
The Holcomb Boulevard water-distribution system is linked to                    estimated or reconstructed, the graph becomes more constant.
the Hadnot Point water-distribution system near McHugh Bou-                     Sautner et al. (2013a) document the operating history for each
levard and Wallace Creek (Marston Pavilion valve) and near                      supply well providing raw water to the HPWTP and HBWTP
Holcomb Boulevard and Wallace Creek at booster pump 742                         (Figure AS), and Telci et al. (2013) describe the methodology
(Figure Al; Naval Facilities Engineering Command, Atlantic                      that was used to reconstruct historical water-supply well
Division 1986; ECG, Inc. 1999). 2°For operational reasons, the
                                                                                operations during the reconstruction period. Figures A6
two water-distribution systems are rarely connected-excep-
                                                                                andA7 also provide the historical monthly well flow (docu-
tions being some documented intermittent connections that
occurred during the late spring and early summer months of                      mented and reconstructed) for each of the two WTPs in the
1978-1986 (Camp Lejeune water documents CLW #6774-                              study area. Based on documented and reconstructed informa-
#8761). Additional discussion of the aforementioned inter-                      tion, an average of 28 wells supplied water each month to the
connection period is provided in this report in the section on                  HPWTP during the period 1942-2008 (Figure A6). For the
Intermittent Transfers of Finished Water from Hadnot Point to                   HBWTP, an average of 8 wells supplied water to the WTP
Holcomb Boulevard and in Sautner et al. (2013b).                                during the period 1972-1985, and an average of 17 wells
      Eight water-supply wells (HP-643, HP-644, HP-645,                         supplied water to the HBWTP during the period 1986-2008
HP-646, HP-647, HP-648, HP-649, and HP-650) provided                            (Figure A 7). Because raw water from all groundwater wells
                                                                                was mixed at the HPWTP prior to treatment and distribution
   19
      Shown on Figure AS are 72 Hadnot Point water-supply wells, 24 Hol-        to housing areas (and intermittently to the Holcomb Boulevard
comb Boulevard water-supply wells, I well (HP-656), which was never put
                                                                                housing areas), the start-up and shut-down dates of specific
into service, I well (HP-37), used as an emergency standby well for the Naval
Hospital, and wells R(l950) and S-190A used for golf course irrigation. Thus,   water-supply wells are critical to accurately determining the
out of 100 total wells, 96 supplied water to the HPWTP and HBWTP.               concentration of contaminants in finished water delivered from
   20
      Booster pump 742 was removed during 2007, but the two systems can         the HPWTP. This information is provided in detail in Sautner
still be interconnected by opening a valve at the same location (Figure Al).    et al. (2013a) and Telci et al. (2013).


Chapter A: Summary and Findings                                                                                                           A13
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Base Housing and Water Supply - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




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                                                                             MONTH ANO YEAR

                    Figures AG. Total monthly well flow (raw water) in million gallons per day and number of operating wells for the
                    Hadnot Point water treatment plant, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp
                    Lejeune, North Carolina, 1942-2008.




A14                            Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                           Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                  1970           1975                1980                 1985              1990              1995         2000                2005              2010

                                                                                       MONTH ANO YEAR

                  Figure A7. Total monthly well flow (raw water) in million gallons per day and number of operating wells for the
                  Holcomb Boulevard water treatment plant, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base
                  Camp Lejeune, North Carolina, 1972-2008.




Chapter A: Summary and Findings                                                                                                                                         A15
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Contaminants of Concern for ATSDR Health Studies - - - - - - - - - - - - - - - - - - - - - - - - - -


Contaminants of Concern for                                                   has identified non-cancer diseases that have been associated
                                                                              with the chemicals found in the finished water at USMCB
ATSDR Health Studies                                                          Camp Lejeune (ATSDR 1997a, b). These include aplastic
                                                                              anemia, generalized skin disorders, infertility, kidney diseases,
      The contaminants of concern for the ATSDR health                        liver disease, lupus, miscarriage, Parkinson's disease, and
studies and historical reconstruction analyses are VOCs and                   scleroderma. A comprehensive literature review for cancer and
belong to a class of chemicals referred to as nonaqueous                      non-cancer endpoints is provided in Bove and Ruckart (2008).
phase liquids, or NAP Ls. The specific compounds of interest
                                                                                    The maximum contaminant level, or MCL, is a legal
are chlorinated alkenes and hydrocarbon fuels. PCE, TCE,
                                                                              threshold set by the USEPA (40 CFR, Section 141.60, Effec-
and their degradation products 1,2-cDCE, 1,2-tDCE, and VC
                                                                              tive Dates, July 1, 2002, edition) to quantify the amount of a
are the chlorinated alkenes of concern (Lawrence 2007). Fuel
                                                                              hazardous substance allowed in finished water under the Safe
components of concern are benzene, ethylbenzene, toluene,
and xylenes (BTEX) and are some of the common ingredients                     Drinking Water Act (SDWA) of 1974. The MCL is based upon
of gasoline and diesel fuel. The chlorinated alkenes-PCE,                     scientific opinion following a careful review of the scientific
TCE, and their degradation products-are part of a group                       literature on the health effects described above. For example,
of compounds classified as dense nonaqueous phase liquids                     the MCL for PCE was set at 5 micrograms per liter (µg/L)
(DNAPLs) and are characterized by densities greater than the                  during 1992 because, given the technology at that time, 5 µg/L
density ofwater. 21 Thus, when occurring in the subsurface,                   was the lowest level that water systems could be required to
DNAPLs are further characterized by an enhanced potential                     achieve. Effective dates for MCLs presented in this report are
for downward vertical migration (Schwille 1988; Pankow and                    as follows: benzene, TCE, DCE, and VC, January 9, 1989;
Cherry 1996). The BTEX components are grouped with com-                       PCE, 1,2-cDCE, and 1,2-tDCE, July 30, 1992 (40 CFR, Sec-
pounds commonly identified as light nonaqueous phase liquids                  tion 141.60, Effective Dates, July 1, 2002, edition). The MCLs
(LNAPLs) and are characterized by densities less than the                     for contaminants of concern in this study and their effective
density of water. Downward vertical migration ofLNAPLs in                     dates are listed in Table A3. In this report, its supplements, and
the subsurface is generally limited to the vicinity of the water              other HPHB chapter reports, the current MCL for a specific
table (Newell et al. 1995).                                                   VOC-for example, 5 µg/L for TCE-is used as a reference
      Because it is confusing to use a variety of names to
identify VOCs-especially among the thousands of documents
                                                                              Table AJ.  Maximum contaminant levels and effective dates for
used for the analyses reported herein-the common or alter-
                                                                              contaminants of concern for the ATSDR health studies, Hadnot
nate names listed in Lawrence (2007) are used in this and all
                                                                              Point-Holcomb Boulevard study areas, U.S. Marine Corps Base
HPHB reports and supplemental information texts. The use of
common or alternate names to identify VOCs is accomplished                    Camp Lejeune, North Carolina.
in the HPHB report series for ease of reference to, and recogni-              [ATS DR, Agency for Toxic Substances and Disease Registry]
tion of, previously published reports, documents, and labora-
tory analyses that pertain to the study area described herein.                                                         Maximum
                                                                                                                     contaminant
                                                                                          Contaminant                                        Effective
                                                                                                                     level (MCL), 1
                                                                                           of concern                                          date2
Health Effects and Maximum Contaminant Levels                                                                       in micrograms
                                                                                                                        per liter
     Both the USEPA and the National Toxicology Program                        Tetrachloroethylene (PCE)                      5         July 30, 1992
(NTP) Report on Carcinogens classify benzene and VC as
                                                                               Trichloroethylene (TCE)                        5         January 9, 1989
known human carcinogens based on sufficient evidence in
humans (NTP 2011). Most recently, following its Guidelines                     1, 1-dichloroethylene (DCE)                    7         January 9, 1989
for Carcinogen Risk Assessment (USEPA 2005), the USEPA                         cis-1,2-dichloroethylene                      70         July 30, 1992
characterized TCE as carcinogenic in humans by all routes of                      (1,2-cDCE)
exposure (USE PA 2011) and PCE as likely carcinogenic in                       trans-1,2-dichloroethylene                   100         July 30, 1992
humans by all routes of exposure (USEPA 2012). NTP lists                          (1,2-tDCE)
TCE and PCE as reasonably anticipated to be human carcino-                     Vinyl chloride (VC)                            2         January 9, 1989
gens (NTP 2011 ). 22 The International Agency for Research on                  Benzene                                        5         January 9, 1989
Cancer (IARC) classifies TCE as "carcinogenic to humans"
                                                                               Toluene                                    1,000         July 30, 1992
and PCE as "probably carcinogenic to humans" (Guha et al.
2012). In addition to cancer, a review of the scientific literature            Ethylbenzene                                 700         July 30, 1992
                                                                               Xylenes (total)                          10,000          July 30, 1992
                                                                                1
  21
    The density of water is 1,000 kilograms per cubic meter (I gram per          EPA 816-F-03-016 (USEPA 2003); EPA 816-F-09-004 (USEPA2009).
cubic centimeter) at 5° C, but varies with temperature (Peavy et al. 1985).   Up-to-date information on all MCLs for drinking water is available at the
                                                                              U.S. Environmental Protection Agency Web site at http://water.epa.gov/drink/
  22
     Additional information and data resources on toxicity and exposure       contaminants/index.cfm (accessed February 12, 2013)
assessment for children's health (TEACH) for TCE, VC, and benzene are           2
                                                                                    40 CFR, Section 141.60, Effective Dates, July I, 2002, edition
available at the USEPA TEACH Web site: http://www.epa.gov/teach/.


A16                   Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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concentration to compare historically measured data and                       February 26, 1985; Camp Lejeune Water Documents CLW
historical reconstruction results. These comparisons are not                  #4546-#4557). Locations of historically contaminated water-
intended to imply (1) that the MCL was in effect at the time of               supply wells within the HPHB study area are shown in
sample measurement or simulated historical concentration or                   Figure AS.
(2) that a measured or simulated concentration above an MCL                         Discovery of contaminated water supplies at USMCB
was necessarily unsafe. Hereafter, the use of the term MCL                    Camp Lejeune initiated a series of assessments of groundwater
should be understood to mean the current MCL associated                       contamination within the HPHB study area. Under the Instal-
with a particular contaminant. A complete list ofMCLs for                     lation Restoration Program (IRP), assessments of groundwater
common VOCs can be found in USEPAreports EPA 816-F-                           contamination were conducted under the auspices of the
03-016 (2003) and EPA 816-F-09-004 (2009). A complete list                    Comprehensive Environmental Response, Compensation, and
of effective dates for MCLs can be found in 40 CFR Sec-                       Liability Act (CERCLA). Additional assessments of ground-
tion 141.60, Effective Dates, July 1, 2002, edition. 23 '                     water contamination by refined petroleum products from leak-
                                                                              ing above-ground and underground storage tanks (AST/UST)
                                                                              were conducted under the auspices of the Resources Conser-
Investigations and Occurrence of
                                                                              vation and Recovery Act (RCRA). Faye et al. (2010) describe
Groundwater Contamination                                                     soil and groundwater contaminants at 18 IRP (CERCLA)
                                                                              sites by PCE, TCE, and their degradation products, as well as
      With the signing on December 16, 1974, of the Safe
                                                                              BTEX components, such as benzene. In a companion report,
Drinking Water Act (SDWA)-known as Public Law 93-523-
national standards were established for the levels of con-                    Faye et al. (2012) summarize the results of investigations
taminants in drinking water. As part of the SDWA of 1974,                     at 64 designated RCRA study areas and describe the occur-
water-supply wells and sole-source aquifers were protected.                   rence and distribution ofBTEX components, such as benzene,
Under the SDWA, the USEPA set forth national primary                          within groundwater of the HPHB study area.
drinking-water regulations, which included MCLs for drinking                        The historical reconstruction analyses presented and
water (Pontius 2003). With the promulgation of the 2nd national               discussed herein will be focusing primarily in two general
interim public drinking-water regulation on November 29,                      areas (within the HPHB study area) that contributed most
1979 (also referred to as the total trihalomethanes [TTHM]                    substantially to water-supply well contamination-the
rule), the USEPA set an interim MCL for TTHMs of0.l mil-                      Hadnot Point Industrial Area (HPIA) and the Hadnot Point
ligram per liter (mg/L) as an annual average (USEPA 1979). 24                 landfill (HPLF) area (Figure AS). 26 The spatial distribution
This rule applied to any community water system serving at                    of groundwater sample locations for PCE, TCE, and ben-
least 10,000 people that adds a disinfectant to drinking water                zene and ranges of PCE, TCE, and benzene concentrations
during any part of the treatment process. The USM CB Camp                     at monitor and water-supply wells for IRP sites within the
Lejeune water utility began testing its drinking water for                    HPHB study area are shown in Figure A9 for the HPIA and
TTHMs during October 1980 (CLW #436) to comply with the                       in Figure Al 0 for the HPLF area. (See also Faye et al. [2010,
USEPA TTHM rule. During December 1980-March 1981,                             2012] for additional data and discussion pertinent to ground-
as part of the sampling program for TTHMs, USMCB Camp                         water contaminant sample locations.) In addition, Figure A9
Lejeune water utility documents indicated "heavy organic                      shows locations of fuel-related free product in groundwater
interference at CHCl2Br", "you need to analyze for chlori-                    and former fuel lines from the former HPIA fuel farm (HPFF)
nated organics by GC/MS", and "water highly contaminated                      to other locations within the HPIA. Concentrations ofTCE
with other chlorinated hydrocarbons (solvents)!" (USMCB                       at IRP locations were detected in groundwater ranging from
Camp Lejeune Water Documents CLW #438, #441, and #443,                        about 1 µg/L to 180,000 µg/L. Similarly, PCE was detected in
respectively). 25 These and other documents indicate that the                 groundwater at concentrations ranging from less than 1 µg/L
HPWTP was substantially contaminated with TCE and PCE                         to 170,000 µg/L. Concentrations of benzene in groundwater
during May 1982 (USMCB Camp Lejeune Water Docu-                               were detected at 10 of 18 IRP sites at concentrations ranging
ments CLW #5176-#5182). Sampling of raw and finished                          from less than 1 µg/L to 43,000 µg/L (Faye et al. 2010, 2012).
water at Hadnot Point was initiated in early December 1984                    VOCs were detected in 12 supply wells by sampling and
(E. Betz, USMCB Camp Lejeune, written communication,                          analyses (Figures A5, AS). Since 1984 when sampling began,
                                                                              detected TCE concentrations ranged from less than 1.0 µg/L
  23
     Up-to-date information on all MCLs for drinking water can be found by
                                                                              to 18,900 µg/L (Figure AS; Table A4), and PCE concentra-
accessing the USEPA Web site at http://water.epa.gov/drink/contaminants/      tions ranged from 1.5 µg/L to 400 µg/L in the contaminated
index.cfm#List.                                                               water-supply wells (Table AS). Detected concentrations of
   24
      Total trihalomethanes, or TTHMs, is the sum of chloroform (CHCl3 ),
bromoform (CHBr3), bromodichloromethane (CHBrClz), and dibromochloro-           26
                                                                                   The Hadnot Point Industrial Area (HPIA) is a formally designated name
methane (CHBr2 Cl), which are disinfection by-products formed by chlorina-
                                                                              and acronym used in many Camp Lejeune references (e.g., Baker Environ-
tion of drinking water (Singer 1993).
                                                                              mental, Inc. [1994], CH2M HILL [2006]), and theATSDR HPHB Chapter
   2
     'GC/MS, gas chromatography/mass spectrometry; a method that combines     reports and Chapter A supplements follow this naming convention. The
the features of gas-liquid chromatography and mass spectrometry to identify   acronym HPLF is used in the ATSDR HPHB report series for brevity and
different substances within a test sample.                                    convenience to identify the Hadnot Point landfill.


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      Base modifed from U.S. Marine Corps                                                                              2,500           5,000 FEET
      digital data files
                                                                                                                 500           1,000   1,500 METERS

                                                                    EXPLANATION
               Historical water-supply areas of       [ I ] IRP site and number                          o Water-supply well-Well number
                  Camp Lejeune Military Reservation                                                           and contaminant, if detected
      D         Holcomb Boulevard
                                                             ■   Water treatment plant (WTP)    HP-645 e     Benzene

      D         Hadnot Point                                     AST/UST and selected           HP-603 e    Trichloroethylene (TCE)
                                                       820
                                                                  building numbers-See                       Benzene and TCE
      D        Other areas of Camp Lejeune                        Faye et al. 2010, Plate 1
                                                                                                HP-608 •

                 Military Reservation                                                           HP-660 ()   Tetrachloroethylene (PCE) and TCE
                                                                                                HP-602 e     Benzene, PCE, and TCE


      Figure AB. Locations of historically contaminated water-supply wells, Installation Restoration Program (IRP) sites, and
      above-ground and underground storage tank (AST/UST) sites, Hadnot Point-Holcomb Boulevard study area, U.S. Marine
      Corps Base Camp Lejeune, North Carolina.



A18                Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
               Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                                                                                                       EXPLANATION
                                                                                                                       Area of fuel-related
                                                                                                                        free-phase product

                                                                                                            - ~ - Installation Restoration
                                                                                                                   Program site and number

                                                                                                            - - Former location of fuel
                                                                                                                 lines from Hadnot Point
                                                                                                                 fuel farm to other sites

                                                                                                                       Well and identifier
                                                                                                                        Water supply
                                                                                                            •1s-GW74     Monitor (see
                                                                                                                         Faye et al. 201 0)

                                                                                                                       TCE concentration, in
                                                                                                                        micrograms per liter
                                                                                                                        No detection
                                                                                                                        <10
                                                                                                                  o     10 to 100
                                                                                                               o        100 to 1,000
                                                                                                               •        1,000 to 10,000
                                                                                                              •         10,000 to 200,000


                                                                                                                       Benzene concentration,
                                                                                                                        in micrograms per liter
                                                                                                                        No detection
                                                                                                                        <10
                                                                                                                  o     l0to 100
                                                                                                               o        100 to 1,000
                                                                                                               •        1,000 to 10,000
                                                                                                              e         10,000 to 43,000




       Base modifed from U.S. Marine Corps                                500    1,000 1,500   2,000 FEET
       digital data files
                                                                                250       500 METERS




       Figure A9.   Sampling data for trichloroethylene (TCE), benzene, and fuel-related free product in groundwater for the
       Hadnot Point Industrial Area, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune,
       North Carolina. (See Figure A8 for location and Figure A13 for selected building numbers.)



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          N


          t                                                                                                                      EXPLANATION
                                                                                                                  - lg - Installation Restoration
                                                                                                                                  Program site boundary
                                                                                                                                  and number

                                                                  @                                                             Well and identifier
                                                                                                                  • HP-651       Water supply
                                                           82                 0 .                                .s2- □ RW03     Monitor (see
                                      0
                                                                                                                                  Faye et al. 2010)

                                                  ~2-DRW03                                                                      PCE concentration, in
                                                                                                                                  micrograms per liter
                                                  ~      06-GW
                                                  (@                                                                        o    No detection
                                                                                                                            0    <10
                                                                                                                            0    lOto 100
                                                                                                                        Q        100 to 1,000

                                                                                                                        •        1,000to 10,000




                                                                                                                                TCE concentration, in
                                                                                                                                  micrograms per liter
                                                                                                                            o    No detection
                                                                                                                            0    <10

                                                           82                                                               Q    lOto 100

                                                                                                                        Q        100 to 1,000




                                              •
                                                       82-DRW03
                                                                                                                        •        1,000 to 10,000

                                                                                                                    -            10,000 to 200,000
                                                  @ 06-GW27DW




      Base from U.S. Marine Corps and                                               300     600       900 FEET
      U.S. Geological Survey digital data files
                                                                                     100      200 METERS


      Figure A10.     Sampling data for tetrachloroethylene (PCE) and trichloroethylene (TCE) in groundwater for the Hadnot Point
      landfill area, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina. (See
      Figure A8 for location.)




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                                                                                                    Contaminants of Concern for ATSDR Health Studies

Table A4.    Water-supply wells with reported detections of tetrachloroethylene (PCE), trichloroethylene (TCE), 1, 1-dichloroethylene
(1,1-DCE), trans-1,2-dichloroethylene (1,2-tDCE), cis-1,2-dichloroethylene (1,2-cDCE), total 1,2-dichloroethylene (total 1,2-DCE), or
vinyl chloride (VC), Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina. 1
[<, constituent is less than the detection limit. Number following the "<" is the detection limit; - , constituent concentration not determined in laboratory
analysis; ND, constituent not detected; J, estimated concentration; D, sample diluted for analysis]
                                                                               2
      Well             Sample                                                      Concentration, in micrograms per liter
      name              date               PCE               TCE              1,1-DCE            1,2-tDCE         1,2-cDCE        Total 1,2-DCE           vc
 HP-602            7/6/1984                 <1.9               <1.4             <1.3                   7.8                                                <0.9
                   11/30/1984               24              1,600                 2.4J             630                                                    18
                   12/10/1984             <500                540             <500                 380                                                  <500
                   12/13/1984                3.2              300                                   11 0
                   12/14/1984              <50                340              <50                 230                                                   <50
                   2/4/1985                  1.5J              38              <10                   74                                                  <10
                   11/12/1986               <4.1                2.2             <2.8                 14                                                    <4.9
                   1/22/1991                <5.0                0.7J            <5.0                                                   12                <10
 HP-603            12/4/1984               <10                  4.6J           <10                 <10                                                   <10
                   12/12/1984              <10                <10              <10                 <10                                                   <10
                   1/16/1985               <10                <10              <10                 <10                                                   <10
                   8/11/1988               <10                <10              <10                 <10                                                   <10
                   6/26/1990                <5.0               <5.0             <5.0                                                                     <10
                   1/22/1991                <5.0                l.0J            <5.0                                                  <5.0               <10
                   9/20/1995                <0.50               3.0             <0.50              <0.50               2.4                                 <0.50
 HP-608            12/4/1984               <10                110              <10                   5.4J                                                <10
                   12/10/1984              <10                 13              <10                   2.4J                                                <10
                   2/4/1985                <10                  9.0            <10                <10                                                    <10
                   11/12/1986               <4.1               66               <2.8                 8.5                                                   <4.9
 HP-610            2/4/1985                <10                <10              <10                <10                                                    <10
                   10/1/1992                <1.0               37                                                                                          <2.0
 HP-634            12/4/1984               <10                <10              <10                 <10                                                   <10
                   12/10/1984              <10                <10              <10                   2.3J                                                <10
                   1/16/1985                10              1,300              <10                 700                                                      6.8
                   11/12/1986               <4.1               <1.9             <2.8                 2.9                                                   <4.9
                   1/22/1991                <5.0               <5.0             <5.0                                                    l.0J             <10
 HP-637            12/4/1984               <10                <10              <10                 <10                                                   <10
                   12/10/1984              <10                <10              <10                 <10                                                   <10
                   1/16/1985               <10                <10              <10                 <10                                                   <10
                   1/22/1991                <5.0                0.90J           <5.0                                                  <5.0               <10
                   8/26/1992                <5.0               <5.0             <5.0                <5.0             <5.0                                  <5.0
 HP-651            1/16/1985               386              3,200              187               3,400                                                    655
                   2/4/1985                307             17,600             <200               8,070                                                    179
                   2/4/1985                400             18,900             <200               7,580                                                    168
                   11/12/1986               45                 32                7.0               140                                                    140
                   1/22/1991                53                 13                2.0J                                                 75                   70
 HP-652            1/16/1985               <10                  9.0            <10                 <10                                                   <10
                   11/12/1986               <3.0               <3.0             <2.8                <1.6                                                   <1.0
                   1/22/1991                <5.0               <5.0             <5.0                                                  <5.0               <10
                   9/20/1995                <0.50              <0.50            <0.50               <0.50            <0.50                                 <0.50
                   12/11/2001               <0.50              <0.50            <0.50               <0.50            <0.50                                 <0.50
 HP-653            1/16/1985               <10                  5.5            <10                 <10                                                   <10
                   11/12/1986               <4.1                2.6             <2.8                <1.6                                                   <4.9
                   1/22/1991                <5.0               <5.0             <5.0                                                  <5.0               <10
 HP-660            12/4/1984                 5.0J             210              <10                  88                                                   <10
                   12/10/1984                4.4J             230              <10                  99                                                   <10
                   1/16/1985               <10                 26              <10                  88                                                   <10
                   11/12/1986               <4.1               <1.9             <2.8                <1.6                                                   <4.9
                   1/22/1991                <5.0                l.0J            <5.0                                                    2.0J             <10
  1
    See Faye et al. (2010) for a complete tabulation of contaminants in water samples collected at water-supply wells in the Hadnot Point-Holcomb Boulevard study area
  2
    Concentrations above the detection limit are highlighted in red


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Table A5. Water-supply wells with reported detections of benzene, toluene, ethylbenzene, or total xylenes, Hadnot Point-Holcomb
Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina. 1
[<, constituent is less than the detection limit. Number following the "<" is the detection limit; - , constituent concentration not determined in laboratory
analysis; ND, constituent not detected; J, estimated concentration]

                                                                                       2
                                                                                           Concentration, in micrograms per liter
         Well name                 Sample date
                                                                 Benzene                     Toluene                Ethyl benzene              Total xylenes
                                                       Hadnot Point Water Treatment Plant Service Area
 HP-602                       7/6/1984                            380                           10                         8.0
                              11/30/1984                          120                            5.4J                   <10
                              12/10/1984                          720                        <500                     <500
                              12/13/1984                           <1.0                        <1.0                      <2.0
                              12/14/1984                          230                           12J                     <50
                              2/4/1985                           <10                          <10                       <10
                              11/12/1986                           50                          <6.0                      <7.2                      <12
                              1/22/1991                            17                          <5.0                      <5.0                       <5.0
 HP-603                       12/4/1984                          <10                          <10                       <10
                              12/10/1984                         <10                          <10                       <10
                              1/16/1985                          <10                          <10                       <10
                              8/11/1988                          <10                          <10                       <10                        <10
                              6/26/1990                            <5.0                        <5.0                      <5.0                       <5.0
                              1/22/1991                            <5.0                        <5.0                      <5.0                       <5.0
                              9/20/1995                            <0.50                       <0.50                     <0.50                      <0.50
 HP-608                       12/4/1984                             3.7J                      <10                       <10
                              12/10/1984                            4.0J                      <10                       <10
                              2/4/1985                              1.6                       <10                       <10
                              11/12/1986                           <4.4                        <6.0                      <7.2                      <12
 HP-651                       1/16/1985                          <10                          <10                       <10
                              2/7/1985                           <10                          <10                       <10
                              11/12/1986                           <4.4                        <6.0                      <7.2                      <12
                              1/22/1991                            <5.0                          0.9J                    <0.5                       <0.5
                                                   Holcomb Boulevard Water Treatment Plant Service Area
 HP-645                       2/4/1985                           <10                          <10                       <10
                              11/6/1986                            20                            7.5                           ND                         ND
                              2/17/1987                           290                           15                        38                         36
 HP-706                       9/19/1995                             0.60                       <0.50                     <0.50                      <0.50
                              1/13/1998                             6.1
  1
    See Faye et al. (2010) for a complete tabulation of contaminants in water samples collected at water-supply wells in the Hadnot Point-Holcomb Boulevard
study area
  2
      Concentrations above the detection limit are highlighted in red




A22                     Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                    Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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benzene ranged from less than 1 µg/L to 720 µg/L. Concentra-                     quantified by Jang et al. (2013), all estimates of mass (and vol-
tions ofTCE detected in finished water at the HPWTP ranged                       ume) in the subsurface should be considered minimum values
from less than 1 µg/L to 1,400 µg/L. Concentrations of PCE                       because (1) the amount of mass removed from the underlying
detected in finished water at the HPWTP ranged from less than                    aquifers at Hadnot Point and vicinity by water-supply wells dur-
4 µg/L to 100 µg/L. Benzene contamination also was detected                      ing 1942-1985 is unknown and (2) biodegradation of PCE and
in HPWTP water, although the treatment status was unknown.                       TCE into their respective daughter products (Lawrence 2007)
Benzene concentrations in water at the HPWTP ranged from                         probably occurred prior to the years used for computing mass
1 µg/L to 2,500 µg/L (Faye et al. 2010). 27                                      estimates listed in Table A6. Estimates of contaminant mass
      Faye et al. (2012) report that concentrations ofBTEX                       like those listed in Table A6 (with the exception of the benzene
components detected during investigations of groundwater                         computation as previously noted) typically represent only a
contamination at RCRA-designated locations are relatively                        small fraction of the total mass in the subsurface (Pankow and
high in the vicinity of Buildings 645, 820, 1115, and 1613,                      Cherry 1996). Mackay and Cherry (1989, Table 1) list dissolved
and at the former HPFF (Figures AS and A9). Note, Build-                         mass and volume of seven organic contaminant plumes charac-
ings 1115 and 1613 are located within the HPIA while Build-                      terized as "relatively well-documented." 29 The estimated mass
ings 645 and 820 are located external to the HPIA (Figure AS).                   and volume ofTCE and PCE in the subsurface at the HPIA
Maximum observed benzene concentrations in monitor wells                         and HPLF area typically exceed-in some cases substantially
ranged from 3,650 µg/L near Building 645 to 43,000 µg/L at                       exceed-those reported by Mackay and Cherry (1989, Table 1).
Building 1115. Corresponding maximum concentrations in
the vicinity of Buildings 820 and 1613 were 36,000 µg/L and
17,300 µg/L, respectively. The maximum observed benzene                          Identification and Characterization of
concentration in monitor wells at the former HPFF was                            Contaminant Sources
29,000 µg/L. These relatively high benzene concentrations in
groundwater are not necessarily indicative of the occurrence                           Identified information sources such as site assessments,
of free-phase hydrocarbon product. 28 Rather, the existence                      remedial investigations, and leaking underground storage tank
and extent of free-phase hydrocarbon product is based on                         reports (Appendix A2), in addition to contaminant source
interpretations of free product thickness, as presented in Faye                  inventories and histories that have been published for IRP and
(2012, Figures D23-D25). Plumes ofBTEX components                                AST/UST sites within the study area (Faye et al. 2010, 2012),
were also observed at each of these locations. Occurrences of                    were used to characterize contaminant sources. An inven-
BTEX components greater than detection limits also occurred                      tory of potential contaminant source areas in the vicinity of
at various times in supply wells proximate to Buildings 645,                     historically contaminated water-supply wells for the HPHB
1115, and 1613 (Figure AS) and ranged from 1.6 µg/L of ben-                      study area (Figure AS) is listed in Table A 7. Identification of
zene in well HP-608 to 720 µg/L of benzene in well HP-602                        documented source areas, associated timelines, and reference
(Table AS). Concentrations of chlorinated alkenes such as                        documents pertinent to source identification for primary con-
PCE and TCE also occur in conjunction with plumes ofBTEX                         taminants of concern to this study (PCE, TCE, and benzene)
components, and respective plumes are probably mixed at                          are listed in Table AS. Locations of historically contaminated
several locations. In general, detected concentrations of chlo-                  water-supply wells and IRP and AST/UST sites for the study
rinated alkenes were less than 10 µg/L, and most are less than                   area also are shown in Figure AS for the study area and in Fig-
detection limits.                                                                ures A9 and Al O for the HPIA and HPLF area, respectively. In
                                                                                 addition to the contaminant source information summarized
      Detailed analyses of concentrations of selected VOCs,
                                                                                 herein and presented in detail in Jones et al. (2013), additional
including PCE, TCE, and benzene, within the HPIA and HPLF
                                                                                 background information for these sites is provided in Faye et
area were used to estimate mass and volume of the aforemen-
                                                                                 al. (2010, 2012).
tioned contaminants in groundwater and in VOC recovery
                                                                                       The HPIA source areas include (1) TCE and benzene
wells (Table A6). With the exception of volumes of benzene
                                                                                 releases around building 1601, (2) TCE releases around build-
                                                                                 ings 901, 902, and 903, (3) benzene releases in the fuel farm
   27
      A benzene concentration of 2,500 µg/L was obtained at the HPWTP on
                                                                                 area, (4) benzene releases in Building 1613, and (5) possible
November 19, 1985, when all contaminated water-supply wells were reported
to have been shut down (Camp Lejeune Water Documents CLW #1406-1407,
                                                                                 TCE releases around Buildings 1115 and 1401 (Figure AS).
ITC Environmental Consultants, Inc. 1985).                                       Building 1601 was constructed during the 1940s and was
   28
                                                                                 originally used as a garage for motor vehicles and a vehicle
      The term free-phase hydrocarbon product (also referred to as free-phase
product, free-phase benzene, or free-phase LNAPL) as used in the HPHB
                                                                                 maintenance facility. Disposal of waste oil and other chemicals
report series indicates the occurrence oflight nonaqueous phase (LNAPL)          in a 1,600-gallon (gal) underground storage tank (UST 1601)
hydrocarbon liquids in the subsurface, such as gasoline, that remain undiluted   was probably the source for detections ofTCE-and possibly
by other gases or liquids present in the subsurface. Although the physical and
chemical properties of the free-phase product may change over time, the prod-
                                                                                   29
uct nonetheless remains a distinct phase of a nonaqueous hydrocarbon liquid           Reference is to the last column of Table 1 in Mackay and Cherry (1989),
in the subsurface. When specific concentrations of chemicals of concern are      which lists estimated chemical mass dissolved in a plume as equivalent dense
presented and discussed, the term BTEX or BTEX component is used.                nonaqueous phase liquid volume in liters or equivalent 55-gallon drums.



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                                                                                                                                                                                                                  n
                                                                                                                                                                                                                  s=
Table AG. Summary of estimates of subsurface contaminant mass pertinent to fate and transport in groundwater, Hadnot Point-Holcomb Boulevard study area, U.S. Marine                                              0

Corps Base Camp Lejeune, North Carolina. 1
                                                                                                                                                                                                                  3
[USMCB, U.S. Marine Corps Base; ATSDR, Agency for Toxic Substances and Disease Registry; LNAPL, light nonaqueous phase liquid; UST, underground storage tank; Georgia Tech, Georgia Institute of                  :i"
Technology; lbs, pounds; VOCs, volatile organic compounds; GMS, Groundwater Modeling System software; TCE, trichloroethylene; PCE, tetrachloroethylene]                                                           =
                                                                                                                                                                                                                  Ill

                                                                                                                                                                                                                  Eh
                                     Contaminant          2
                                                                  Estimated mass,     23
                                                                                           Estimated volume,
                                                                                                                                                                                                                  s.
  Source area      Contaminant
                                                              ~                        •
                                                                                                                                         3
                                                                                                                                             Basis                                      Reference                 n
                                    mass component                 in kilograms               in gallons
                                                                                                                                                                                                                  0
                                                                                                                                                                                                                   =
                                                                                                                                                                                                                  C")

                                                                                    Hadnot Point Industrial Area (HPIA)                                                                                           5l:
 Hadnot Point
   fuel farm
                  Benzene          Contmninant 111ass
                                      in total fuel
                                                                      27,500                    8,280          Reported total fuel recovery of 414,118 gallons from
                                                                                                                 HPFF /Building 1115 area remediation systems as of
                                                                                                                                                                              USMCB Camp Lejeune
                                                                                                                                                                                (July 2010)
                                                                                                                                                                                                                  -=
                                                                                                                                                                                                                  ~
                                                                                                                                                                                                                  ~
   (HPFF)                             recovered                                                                  July 2010                                                                                        Cl)
                                                                                                                                                                                                                  C
                  Benzene          Contaminant mass
                                     in subsurface free
                                                                  55,100-72,600             16,600-21,900      Calculated free product (LNAPL) volume estimate of
                                                                                                                 830,324-1,096,901 gallons developed by using analytical
                                                                                                                                                                              Baker (not dated)
                                                                                                                                                                                (UST File #01185,
                                                                                                                                                                                                                  =
                                                                                                                                                                                                                  ::c
                                                                                                                                                                                                                  CD
                                     product                                                                     methodology in SpillCAD software                               p. 526-563)                       ~
                                                                                                                                                                                                                  ::S-
                  Benzene          Contaminant                    26,500-72,900             8,000-22,000       Calculated order-of-magnitude estimate of the amount of        CH2M HILL 2001                      CI)
                                     mass in total
                                     subsurface fuel
                                                                                                                 fuel in the subsurface (400,000-1,100,000 gallons of fuel)     [UST File #670]
                                                                                                                                                                                                                  =-~
                                                                                                                                                                                                                  c;·
                                                                                                                                                                                                                  en
                  Benzene          Contaminant mass               59,700-93,400             18,000-28,200      Calculated amount ofLNAPL (901,000-1,408,000 gallons)          Jang et al. (2013)
                                     in subsurface                                                               in the subsurface based on a semi-analytical
                                     LNAPL                                                                       solution using apparent LNAPL thickness in wells
                                                                                                                 (TechNAPLVol model)
                  Benzene          Contaminant mass               59,700-93,400             18,000-28,200      Calculated amount of LNAPL (901,000-1,409,000 gallons)         Jang et al. (2013)
                                     in subsurface                                                               in the subsurface based on a three-dimensional numerical
                                     LNAPL                                                                       integration using apparent LNAPL thickness in wells
                                                                                                                 (TechNAPLVol model)
                  Benzene          Contaminant mass               62,000-107,000            18,700-32,400      Calculated amount ofLNAPL (935,000-1,618,000 gallons)          Jang et al. (2013)
                                     in subsurface                                                               in the subsurface based on a three-dimensional
                                     LNAPL                                                                       numerical integration using actual LNAPL thickness in
                                                                                                                 soil (TechNAPLVol model)
 Building 1601    Benzene          Contaminant mass                     43                       13            Calculated amount of benzene based on 96.2 lbs                 ATS DR calculation utilizing
                                     from reported                                                               cumulative total VOCs reportedly recovered as of               data contained in Rhea
                                     voe recovery                                                                July 2011 from 78 South remediation system. (Assumed           Engineers and Consultants,
                                                                                                                 total VOCs equivalent to benzene for calculation)              Inc. (2011a)
                  Benzene          Contaminant mass                   10-17                      3-5           Calculated from groundwater-quality data for benzene           U.S. Army Engineer
                                     in groundwater                                                              during 1984-1988 (pre-remediation). Methods: three-            Research and Development
                                     (dissolved and                                                              dimensional interpolation (GMS software)                       Center (2008)
                                     sorbed phase)
                  TCE              Contaminant mass                     44                        8            Calculated amount ofTCE based on 96.2 lbs cumulative           ATS DR calculation utilizing
                                     from reported                                                               total VOCs reportedly recovered as of July 2011 from           data contained in Rhea
                                     voe recovery                                                                78 South remediation system. (Assumed total VOCs               Engineers and Consultants,
                                                                                                                 equivalent to TCE for calculation)                             Inc. (2011a)
                  TCE              Contaminant mass                  388-521                   70-94           Calculated from groundwater-quality data for TCE during        U.S. Army Engineer Research and
                                     in groundwater                                                              1984-1988 (pre-remediation). Methods: two- and three-           Development Center (2008);
                                     (dissolved and                                                              dimensional interpolation techniques (Surfer®and                Golden Software, Inc. (2011 b)
                                     sorbed phase)                                                               GMS software)




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::s-
ill     Table AG. Summary of estimates of subsurface contaminant mass pertinent to fate and transport in groundwater, Hadnot Point-Holcomb Boulevard study area, U.S. Marine
"S      Corps Base Camp Lejeune, North Carolina. 1-Continued
 ~
 ~      [USM CB, U.S. Marine Corps Base; ATS DR, Agency for Toxic Substances and Disease Registry; LNAPL, light nonaqueous phase liquid; UST, underground storage tank; Georgia Tech, Georgia Institute of
Cl)     Technology; lbs, pounds; VOCs, volatile organic compounds; GMS, Groundwater Modeling System software; TCE, trichloroethylene; PCE, tetrachloroethylene]
C
 3
 3                                               Contaminant          23
                                                                       •   Estimated mass,    23
                                                                                               •   Estimated volume,                             3
Ill       Source area         Contaminant                                                                                                            Basis                                     Reference
<Ill                                            mass component              in kilograms              in gallons
=
=-                                                                                   Hadnot Point Industrial Area (HPIA)-Continued
'Tl
 s·      Building 901/       TCE               Contaminant mass                 61                       11            Calculated amount ofTCE based on 129.2 lbs cumulative         ATSDR calculation utilizing
 =-
 s·
           902/903 area                          from reported                                                           total VOCs reportedly recovered as of July 2011 from          data contained in Rhea
=en                                              voe recovery                                                            78 South remediation system. (Assumed total VOCs              Engineers and Consultants,
                                                                                                                         equivalent to TCE for calculation)                            Inc. (2011a)
                             TCE               Contaminant mass              388-2,440                 70-440          Calculated from groundwater-quality data for TCE during       U.S. Army Engineer Research
                                                 in groundwater                                                          1984-1988 (pre-remediation). Methods: two- and three-         and Development Center
                                                 (dissolved and                                                          dimensional interpolation techniques (Surfer®and              (2008); Golden Software,
                                                 sorbed phase)                                                           GMS software)                                                 Inc. (2011b)

                                                                                                Hadnot Point landfill (HPLF)
                             PCE               Contaminant mass              461-3,690                 75-600          Calculated from groundwater-quality data for PCE during       U.S. Army Engineer Research
                                                 in groundwater                                                          1984-1995 (pre-remediation). Methods: two- and three-         and Development Center
                                                 (dissolved and                                                          dimensional interpolation techniques (Surfer®and              (2008); Golden Software,
                                                 sorbed phase)                                                           GMS software)                                                 Inc. (2011b)
                             TCE               Contaminant mass               168,000                   16,800         Calculated amount ofTCE based on 205,143 lbs                  ATSDR calculation utilizing
                                                 from reported                                                           cumulative total VOCs from remediation system.                data contained in Rhea
                                                 voe recovery                                                            (Assumed total VOCs equivalent to TCE for calculation)        Engineers and Consultants,
                                                                                                                                                                                       Inc. (2011a, b)
                             TCE               Contaminant mass            12,200-31,600             2,200-5,700       Calculated from groundwater-quality data for TCE in           U.S. Army Engineer Research
                                                 in groundwater                                                          groundwater data during 1984-1995 (pre-remediation).          and Development Center
                                                 (dissolved and                                                          Methods: two- and three-dimensional interpolation             (2008); Golden Software,     n
                                                                                                                                                                                                                    0
                                                                                                                         techniques (Surfer®and GMS software)                          Inc. (2011b)
                                                 sorbed phase)                                                                                                                                                      =
                                                                                                                                                                                                                    s
           1
             With the exception of the benzene mass estimates derived from Jang et al. (2013) analyses, the contaminant mass estimates listed should be considered minimum values. Contaminant mass                 3
        estimates developed from reported remediation system recoveries do not include any adjustment factor for remediation efficiency                                                                             s·
                                                                                                                                                                                                                    Ill
          2
             Values rounded to a maximum of three significant digits; the following factors are used to convert from mass units (kg) to foot-pound volume units (gal): I gal ~3.875 L; IL~ 1,000 cm3 ;              =
                                                                                                                                                                                                                    Eh
        and chemical densities in g/cm3 are specified below. Therefore, volume (gal)~mass (kg) x 1,000 g/kg+density (g/cm3 )+ 1,000 cm3/L+ 3.785 L/gal
          3
              The following reference values and conversion factors were utilized for calculations:
                                                                                                                                                                                                                    s.
                                                                                                                                                                                                                    n
                    A benzene content of 2 percent by volume was utilized to convert fuel/LNAPL volume estimates into benzene volume estimates. Unleaded gasoline typically contains 1-2 percent                    0

                         benzene by volume (ATSDR 2007).
                                                                                                                                                                                                                    =
                                                                                                                                                                                                                    C")

                    Density ofhenzene, 0.876 grams per cubic centimeter (g/cm 3 ); density of TCR, 1.464 g/cm3; density of PCR, 1.623 g/cm 3 (T .awrence 2007).                                                     ~
                                                                                                                                                                                                                    =
          Sources:                                                                                                                                                                                                  ~
                 Agency for Toxic Substances and Disease Registry 2007
                 ATSDR-DON Data Mining & Discovery Technical Work Group Meeting, USMCB Camp Lejeune, July 21-22, 2010                                                                                               ~
                                                                                                                                                                                                                    Cl)
                 Baker Environmental, Inc., Preliminary Draft Report [not dated] (UST Management Web Portal File #01185, p. 526-563)                                                                                C
                 CH2M HILL 200 I
                                                                                                                                                                                                                    =
                                                                                                                                                                                                                    ::c
                                                                                                                                                                                                                    CD
                    Lawrence 2007
                                                                                                                                                                                                                    ~
                                                                                                                                                                                                                    ::S-
                    Rhea Engineers and Consultants, Inc. 201 lb
                                                                                                                                                                                                                    CI)

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Table A7.  Inventory of potential contaminant-source areas in the vicinity of historically contaminated water-supply wells, Hadnot
Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.
[AST/UST, above-ground storage tank/underground storage tank; IRP, Installation Restoration Program; PCE, tetrachloroethylene; TCE, trichloroethylene;
HPFF, Hadnot Point fuel farm; Bldg, Building; J, laboratory qualifier indicating concentration was estimated]

  'Historically                                Number of     Statistics for detected concentrations, in micrograms per liter        Potential source locations
                     Contam-
 contaminated                        Sample    detections/
                      inants                                  . .           25th        50th           75th                        'AST/UST        'IRP sites
 water-supply                         dates    number of                                                         Maximum
                     detected                                Mimmum      percentile   percentile    percentile                       sites       (source areas)
      wells                                     analyses
                                                              Hadnot Point Industrial Area (HPIA)
 HP-602             Benzene         7/1984-       6/8           17        67.5          175         342.5             720           HPFF,           Site 78
                    PCE              1/1991       3/8            1.5       2.4            3.2        13.6              24         Bldg lll5,    (Bldg 901/902
                    TCE                           7/8            0.7J     20.1          300         440             1,600         Bldg 1101      area), Site 21
 HP-603             TCE             12/1994-      3/7            I.OJ      2.0             3.0         3.8               4.6J     Bldg 1613,        Site 78
                                     9/1995                                                                                        Bldg 61,      (Bldg 1601),
                                                                                                                                  Bldg 1502,        Site 94
                                                                                                                                  Bldg 1601,
                                                                                                                                  Bldg 1607
 HP-608             Benzene         12/1984-      3/4            1.6       2.7             3.7         3.9               4        Bldg 1601,        Site 78
                    TCE              11/1986      4/4            9.0      12              39.5        77              110         Bldg 1502,     (Bldg 1601),
                                                                                                                                  Bldg 1607,        Site 24
                                                                                                                                  Bldg Sl856
 HP-634             PCE             12/1984-      1/5           10        10             10           10               10         Bldg 738,         Site 78
                    TCE              1/1991       1/5        1,300      1,300         1,300        1,300            1,300         Bldg 900,     (Bldg 901/902
                                                                                                                                  Bldg 903       area), Site 21
 HP-660             PCE             12/1984-      2/5            4.4       4.6            4.7         4.9               5.0       Bldg lll5,        Site 78
                    TCE              1/1991       4/5            I.OJ     19.8          118         215               230         Bldg 1401,     (Bldg 1601),
                                                                                                                                  Bldg 1502,        Site 94
                                                                                                                                  Bldg 1601,
                                                                                                                                  Bldg 1613
                                                                Hadnot Point landfill area (HPLF)
 HP-651             PCE             1/1985-       5/5          45         53            307          386              400         Unknown            Site 6,
                    TCE             1/1991        5/5          13         32          3,200        17,600          18,900                            Site 82
 HP-653             TCE             1/1985-       2/3            2.6       3.3             4.1         4.8               5.5      Unknown          Unknown
                                    1/1991
 HP-610             TCE             2/1985-       1/2          37         37              37          37                37        Unknown            Site 6
                                    10/1992
                                                                           HP-645 Area
 HP-645             Benzene         11/1986-      2/3          20         87.5          155         222.5             290         Bldg 645,          Site 2
                                     2/1987                                                                                        Bldg 40
                                                                           Other areas
 HP-637             TCE             12/1984-      1/5            0.9J      0.9J            0.9J        0.9J              0.9J     Unknown            Site 6,
                                     8/1992                                                                                                          Site 9,
                                                                                                                                                     Site 78
 HP-652             TCE             1/1985-       1/5            9.0       9.0             9.0         9.0               9.0      Unknown          Unknown
                                    12/2001
 HP-706             Benzene         9/1995-       2/2            0.6       2.0             3.4         4.7               6.1      Unknown          Unknown
                                     1/1998
  1
      See Figure AS for locations
  2
    Sites managed under the AST/UST program at Camp Lejeune. At these sites, an environmental release has occurred and subsequent investigations and/or remedi-
ation activities are conducted under the auspices of the Resource Conservation and Recovery Act (RCRA) and within the North Carolina Department of Environment
and Natural Resources underground storage tank regulatory framework; refer to Faye et al. (2012) for additional details on selected AST/UST sites at Camp Lejeune
   3
     Sites managed under the IRP at Camp Lejeune. At these sites, an environmental release has occurred and subsequent investigations and/or remediation
activities are conducted within the Comprehensive Environmental Response, Compensation, and Liability Act of 1980 (CERCLA) regulatory framework. Within
Site 78, specific local source areas are listed parenthetically; refer to Faye et al. (2010) for additional details on IRP sites at Camp Lejeune




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Table AB.  Identification of documented source areas, timelines, primary contaminants, and location of major dissolved-phase
sources, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.
[HPFF, Hadnot Point fuel farm; UST, underground storage tank; AS/SVE; air sparging/soil vapor extraction; MW, monitor well; µg/L, microgram per liter;
gal, gallon; LUST, leaking underground storage tank; CERCLA, Comprehensive Environmental Response, Compensation, and Liability Act of 1980;
TCE, trichloroethylene; PCE, tetrachloroethylene]

                                                                    Primary
                   1
                     Source-area timeline                         contaminant;
                                                                                                 Location of major dissolved-phase sources
                   [reference documents]                           number of
                                                                  major sources
                                                     Hadnot Point Industrial Area (see Figure A13)
 Hadnot Point fuel farm events                                       Benzene;        HPFF/Building 1115/Building 110 I free product footprint
   1941, HPFF USTs installed [UST #669, UST #670]                  three sources     Building 1613 free product footprint
   1942, Building 1115 USTs installed [UST #670]                                     Building 160 I locations of maximum measured
   1993 January, HPFF and Building 1115 USTs                                           benzene in groundwater (78-GW75-l and 78-GW74)
     removed [UST #1186, UST #670]                                                     and former location ofUSTs and dispenser island at
  2000 December, Piping removal (extensive) at                                         southeast comer of building;
     HPFF/Building lll5 [UST #417]                                                     MW 78-GW75-l (5,500 µg/L in 2003; 3,200 µg/L in 2004);
                                                                                       MW 78-GW74 (3,200 µg/L in 2004)
 Building 1613 events
   1950s, USTs installed [UST #548, UST #546]                                        (See Figure A9 for building and monitor well [MW] locations)
   1995 January, USTs and contaminated soil removed
      [UST #535, UST #548]
   1998-2004, AS/SVE remediation system operated

 Building 1601 events
   1940s, Building 1601 built [UST #172, UST #195]
      UST removal date unknown
 Building 1601 events                                                 TCE;           Building 1601 locations of maximum measured TCE in ground-
   1940s, Building 1601 built [UST #172, UST #195]                 two sources         water (MW 78-GW09-l (old) and (new)) and former location
   1942, 1,500-gal UST install date listed in LUST                                     of 1,500-gal waste UST on north side of building;
     study completed in 1990 by Geraghty and Miller                                    MW 78-GW09-l (old) (5,000-14,000 µg/L during 1987-1991);
     [UST #504, UST #507]                                                              MW 78-GW09-l (new) (at/above 1,000 µg/L during 1993-1996)
   1993 June 29, UST excavated/removed [UST #624]
                                                                                     Building 901/902/903 locations of max measured TCE in
 Building 901/902/903 events                                                           groundwater (MW 78-GW23; 13,000 µg/L in 1987), maximum
   1948, Buildings 900, 901, 902, 903 constructed                                      measured vinyl chloride in groundwater (MW 78-GW44;
     [CERCLA#258, p. 149]                                                              1,600-6,700 µg/L during 2000-2004), and former locations
   TCE UST installation date unknown; removal/                                         ofUSTs containing TCE/solvent waste at Building 901 and
     abandonment date unknown, but probably occurred                                   between Buildings 902/903.
     prior to onset of remediation efforts around
                                                                                     (See Figure A9 for building and monitor well [MW] locations)
     January 1995 [Sovereign Consulting, Inc. 2007]

                                                       Hadnot Point landfill area (see Figure A14)
 Landfill                                                         PCE and TCE;       Location of maximum measured concentration of TCE
   1940s, reportedly used as a waste disposal area                 one source          and PCE in groundwater (MW 06-GW0ID)
     (Site 6 and Site 82; Figure A8) beginning in                                      TCE ranged from 6,400 to 180,000 µg/L during 1992-2004;
     the 1940s                                                                         PCE ranged from 210 to 6,500 µg/L during 1992-2004

                                                                                     (See Figure AIO for monitor well [MW] locations)
  1
  UST# refers to UST Web Management Portal file number (see References section of this report for complete details); CERCLA # refers to CERCLA
Administrative Record file number (provided on digital video disc [DVD] in Maslia et al. 2007)




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benzene-in well HP-608. 30 The steel tank (UST 1601) was                         application of the aforementioned TCE sources in the HPIA
installed in 1942 according to Geraghty and Miller (1990)                        for contaminant fate and transport modeling is discussed
and removed during remediation activities performed during                       herein in the section on Trichloroethylene (TCE) Concentra-
June 1993 (UST File #624). Two additional tanks and fuel                         tions in Groundwater and in detail in Jones et al. (2013).
dispenser islands located southeast from Building 1601 could                           The area identified in this report as the HPLF (Figures AS
have also contributed to the contamination of benzene detected                   andAlO) consists of part ofIRP site 6 (Storage/Disposal
in HP-608. It is likely that these UST systems developed leaks                   Lot 203) and IRP site 82 (VOC Disposal Area at Piney Green
in joints, valves, or other system components over time.                         Road), which are described in Faye et al. (2010). These IRP
      TCE releases around Buildings 901, 902, and 903 proba-                     sites were actively used as waste disposal areas beginning
bly occurred from the leaking of two USTs and the degreasing                     during the 1940s. Maximum measured TCE concentrations in
activities around this area (Figure A9). A 440-gal UST located                   groundwater have been detected at monitor well 06-GW0lD
east of Building 901 could have possibly contributed to the                      and ranged from 6,400 to 180,000 µg/L (Table AS). Corre-
contamination ofTCE in the area (Environmental Science and                       sponding concentrations of total 1,2-dichloroethylene (1,2-
Engineering, Inc. 1988). Similarly, a UST of unknown capac-                      DCE) and VC ranged from 730 to 36,000 µg/L and from 10 to
ity between Buildings 902 and 903 could have contributed to                      800 µg/L, respectively, indicating that degradation pathways
the TCE contamination in the area. The installation date of                      were essentially complete at IRP site 6 as early as 1993.
these tanks is unknown; however, the buildings surrounding                       Concentrations of PCE at IRP site 6 detected in monitor well
this area were constructed around 1948, and presumably the                       06-GW0lD ranged from an estimated 210 to 6,500 µg/L.
tanks were installed at the same time. The highest concentra-                    Other monitor wells contained detections ofTCE and (or) PCE
tion ofTCE around this area (13,000 µg/L) corresponds to an                      at concentrations greater than detection limits. For example,
unpaved area southeast of Building 901 where contaminants                        total VOCs at monitor well 06-GW0lD are reported in Faye et
could have entered the subsurface due to degreasing activi-                      al. (2010, Figures C21 and C22) to exceed 12,100 µg/L during
ties near Building 901. The contaminants probably entered                        January 2002 and 22,900 µg/L during July 2004. Areal distri-
the groundwater system near the sources identified previously                    butions ofTCE are also provided in Faye et al. (2010, Fig-
and migrated west and northwest in the direction of ground-                      ures C23 and C24) and indicate that TCE distributions within
water flow. Around 1963, groundwater flow in this area was                       the Upper Castle Hayne aquifer-River Bend unit exceeded
affected by the onset of pumping in well HP-634, causing the                     50,000 µg/L during January 2000.
TCE plume to migrate somewhat backward toward the water-                               Specific data pertinent to the timing of initial deposition
supply well. Sources around Buildings 901-903 were prob-                         of contaminants to the ground or subsurface, chronologies of
ably removed prior to remediation efforts that began around                      waste-disposal operations, such as dates and times when con-
January 1995 (Sovereign Consulting Inc. 2007), but specific                      taminants were deposited in the HPLF, or descriptions of the
installation and removal dates are unknown (Table AS).                           temporal variation of contaminant concentrations in the sub-
      TCE releases around Buildings 1115 and 1401 have                           surface generally are not available. Determining these types
been documented to a lesser degree. The presence of chlori-                      of source identification and characterization data becomes part
nated alkenes around Building 1115 is documented by Faye                         of the historical reconstruction process, whereby simulation
et al. (2012, Table D5), and the concentrations varied from                      tools such as models are used to test source locations, varying
below detection limits to maximum values of 160 µg/L for                         concentrations, and beginning and ending dates for leakage
TCE, 11 µg/L for PCE, 110 µg/L for total DCE, and 6 µg/L                         and migration of source contaminants to the subsurface and
for VC. The chlorinated alkenes found around Building 1115                       the underlying groundwater-flow system. The aforementioned
are presumably the result of natural attenuation ofTCE. The                      contaminant-source information, along with details on site
                                                                                 histories provided in Faye et al. (2010, 2012), was used to
  30
     UST 160 I tank capacity is reported as 1,600 gal in Catlin and Associates
                                                                                 identify contaminant sources for placement in simulation
(1996) and as 1,500 gal in Geraghty and Miller (1990). The 1,600-gal capacity    models of contaminant fate and transport described in Jones et
(Catlin and Associates 1996) is used in theATSDR analyses (Jones et al. 2013).   al. (2013) and Jang et al. (2013).




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Historical Reconstruction Methods                                  Water-Modeling Process
and Approaches                                                           The water-modeling process is characteristically itera-
                                                                   tive and described by a five-step approach shown graphically
      Given the limited number of historical contaminant-          in Figure Al 1. The five steps of the process are (1) review
specific data measurements during most of the period relevant      information sources, (2) extract information and data and
to the epidemiological studies, ATSDR used historical recon-       develop databases, (3) develop, simulate, and calibrate model,
struction to estimate the spatial and temporal distributions of    (4) determine if model conceptualization or calibration issues
contaminant-specific concentrations in groundwater and fin-        exist, and if they do, use subject matter experts (ATSDR
ished water serving the HPHB study area. Characteristically,       water-modeling staff) to iteratively refine model databases and
historical reconstruction includes the application of simulation   search for additional information sources, and (5) assess when
tools, such as models, to re-create or represent past condi-       sufficient agreement exists between water-level and contami-
tions (Rodenbeck and Masha 1998; McLaren/Hart-ChemRisk             nant concentration data (historical and present-day) and model
2000; Costas et al. 2002; Reif et al. 2003; Kopecky et al. 2004;   results. At that point, historical finished-water concentration
Maslia et al. 2005; Sahmel et al. 2010). To achieve the goal of    simulation results are extracted from model-output databases
reconstructing historical finished-water concentrations, five      and provided to ATSDR health studies staff for use in the
tasks were undertaken:                                             USMCB Camp Lejeune epidemiological analyses. 31 This
1.   Identifying chemical compounds and their sources (con-        iterative five-step water-modeling process was applied to all
     taminants of concern) that contaminated finished water at     historical reconstruction analyses for USMCB Camp Lejeune.
     USMCB Camp Lejeune,                                                 The analyses and simulation tools used as part of the
                                                                   historical reconstruction process for the HPHB study area
2.   Estimating when contaminated groundwater arrived at           are listed in Table A9. Brief descriptions of each analysis and
     water-supply wells and the duration of the contamination,     simulation tool, the type of analysis (e.g., data analysis, inter-
                                                                   pretation, simulation), and supporting references also are listed
3.   Determining the distribution of contaminated finished         in Table A9. For specific details pertinent to a particular model
     water throughout the water-distribution systems serving       or model code, refer to the appropriate Chapter A supplement
     the HPHB study area,                                          listed in the reference citations in Table A9. Using the data
4.   Quantifying the spatial and temporal distributions of         extracted from various information sources (Appendix A2),
     monthly finished-water contaminant concentrations, and        the following components (listed in Table A9) composed the
                                                                   water-modeling process shown in Figure Al 1.
5.   Computing contaminant concentration ranges (or bounds)        1.   Geohydrologic framework information, aquifer and confin-
     based on conducting sensitivity and uncertainty analyses.          ing unit hydraulic data, and climatic data were used to
      Groundwater was used as the sole source of water sup-             determine predevelopment (prior to 1942) groundwater-flow
ply for USM CB Camp Lejeune. Of critical need, in terms of              characteristics. 32 Detailed analyses of well and geohydro-
historical reconstruction, was information and data on the              logic data used to develop the framework of the Brewster
monthly raw water production of supply wells (to enable com-            Boulevard and Castle Hayne aquifer systems and Tarawa
putation of flow-weighted finished-water concentrations) and            Terrace aquifer are described in Faye (2012).
the distribution of finished water to family housing areas. The
supply of finished water for the HPHB study area was com-          2.   Water-level data were used to characterize groundwater
posed of the following: (1) supply of water from groundwater            flow in the study area. Detailed water-level data and
wells to the HPWTP (1942-present) and the HBWTP (1972-                  analyses are presented in Faye et al. (2013).
present), (2) delivery of finished water from the WTPs through     3.   To simulate predevelopment groundwater-flow conditions,
a network of pipelines and storage tanks to housing areas and           the code MODFLOW-2005 (Harbaugh 2005)-a three-
other facilities, and (3) intermittent transfers of Hadnot Point        dimensional groundwater-flow model code-was used. 33
finished (contaminated) water through connecting pipelines              Estimates of model parameter values also were obtained
to the Holcomb Boulevard water-distribution system during
late spring and early summer months for years 1972-1985.             31
                                                                        ATSDR water-modeling staff was blinded to the status and locations of
Because the ATSDR epidemiological studies need finished-           cases and controls of the epidemiological studies.
water concentrations of contaminants of concern at monthly            32
                                                                         Predevelopment or steady-state refers to groundwater conditions prior to
intervals, the use and application of numerical and compu-         or after the cessation of all water-supply well pumping activity.
tational models-herein referred to as the "water-modeling             33
                                                                         MODFLOW-2005 (Harbaugh 2005) is the specific MODLFOW code used
process"-was designed to provide historical finished-water         for the HPHB study area analyses; references to MODFLOW in text, figures,
concentrations at these monthly intervals.                         tables, appendixes, and supplemental information refer to MODFLOW-2005.




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                                                         0
                                                  Extract pertinent
                                                    information
                                                      and data

                    0                                                                            0
                                                                                                Model                           Extract model
                 Information                                                                 development,                         results for
                   sources                                                                  simulation, and                    epidemiological
                                                   Build electronic                           calibration                          analyses
                                                     databases


                                                                                                                            *Water-modeling
                                                                                                                             process step number
                                                                                                                             (see text for details)
               Search additional                    Build model-
             information sources                    specific input
                                                      data files


                                                                       Modify               Subject matter
                                    Modify                                                     expert
                                                                      parameter
                               conceptualization
                                                                       values


                                                    Feedback loop
                                                (iterative refinement)

            Figure A11. Water-modeling process used for reconstructing historical finished-water concentrations,
            Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.


      using the objective parameter estimation code PEST-12                          pumping during the late 1990s and 2000s) also were
      (Doherty 2003, 2010). 34 For predevelopment groundwater                        simulated using the MODFLOW three-dimensional
      flow, the study area was characterized using a model grid                      groundwater-flow model code. Water-supply well opera-
      consisting ofuniform finite-difference cells of 300 feet                       tions were accounted for and could vary on a monthly
      (ft) x 300 ft (152 rows, 172 columns, and 7 layers). Total                     basis. To address historical water-supply well operations
      model area is 84 square miles (mi 2), and the active model                     and the absence of nearby hydrologic boundaries, the
      domain area is 50 mi 2 (Table AlO). Details are provided in                    active model domain (Figure Al2) was further discretized
      Suarez-Soto et al. (2013).                                                     into two individual variably spaced grid models, one for
                                                                                     the HPIA and one for the HPLF. Grid cell sizes ranged
4.    To simulate the transient (unsteady) effects caused                            from 300 ft x 300 ft in areas distant from the HPIA and
      primarily by the onset and continued operation ofwater-                        HPLF area to uniform grid cells of 50 ft x 50 ft within
      supply wells in the study area, historical water-supply                        the HPIA and HPLF area. The uniform 50-ft x 50-ft
      well operating schedules were developed. This was                              cell model areas for the HPIA and the HPLF are herein
      accomplished by documenting water-supply well capaci-                          referred to as the contaminant fate and transport sub-
      ties and histories (Sautner et al. 2013a) and reconstructing                   domain model areas. (A single variably spaced grid
      operating schedules on a monthly basis for the period                          model that contained both the HPIA and HPLF area with
      1942-2008 (Telci et al. 2013); operational chronologies                        50-ft x 50-ft cell areas was not developed due to computa-
      for all water-supply wells in the study area also are shown                    tional limitations. 35 ) The HPIA variably spaced grid model
      in Figure AS.                                                                  is characterized by 288 rows, 298 columns, and 7 layers;
5.    Transient groundwater conditions primarily caused by                         35
                                                                                      The Tarawa Terrace study demonstrated that finite-difference cells could
      the onset and continued operation of water-supply wells
                                                                                not have larger dimensions than 50 fix 50 ft (Faye 2008) to satisfy numerical
      within the HPHB study area (and the onset of remediation                  fate and transport simulation properties associated with the Peclet number
                                                                                (Daus and Frind 1985; Zheng and Bennett 2002). This cell-size dimen-
   34
      PEST-12 (Doherty 2003, 2010) is the specific PEST code used for param-    sion constraint also was applied to the HPIA and HPLF subdomain areas
eter estimation; references to PEST in text, figures, tables, appendixes, and   (Figure Al2). See additional discussion in the Sensitivity Analysis section of
supplemental information refer to PEST-12.                                      this report and in Jones et al. (2013).


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Table A9. Analyses and simulation tools used to reconstruct historical finished-water concentrations, Hadnot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.
[ft, foot; HPIA, Hadnot Point Industrial Area; HPLF, Hadnot Point landfill; VOC, volatile organic compound; BTEX, benzene, toluene, ethylbenzene, and xylenes; IRP,
Installation Restoration Program; AST/UST, above-ground storage tank/underground storage tank; TCE, trichloroethylene; PCE, tetrachloroethylene; GIS,
geographic information system; LNAPL, light nonaqueous phase liquid; 1,2-tDCE, trans-1,2-dichloroethylene; VC, vinyl chloride; WTP, water treatment plant]

                                                                                                          Analysis type and                    1
            Analysis                                       Description                                                                             Reference
                                                                                                           simulation tool
Geohydrologic framework          Detailed analyses of well and geohydrologic data used to           Data analysis and                 Faye (2012)
                                   develop framework of the Brewster Boulevard and Castle             interpretation
                                   Hayne aquifer systems and Tarawa Terrace aquifer
Water-level analyses and         Characterizations of water-level data and groundwater flow         Data analysis and                 Faye et al. (2013)
  groundwater flow                                                                                    interpretation
Predevelopment                   Steady-state, three-dimensional groundwater flow, occurring        Simulation using                  Harbaugh (2005);
  groundwater flow                 prior to initiation of water-supply well activities (1942)         MODFLOW-2005                      Suarez-Soto
                                   using a grid of uniform cells of 300 ft x 300 ft                                                     et al. (2013)
Historical water-supply          Documenting water-supply well capacities, histories, and           Data analysis, interpretation,    Sautner et al. (2013a);
  well operations                  reconstructing operating schedules on a monthly basis              and simulation using              Telci et al. (2013)
                                   for the period 1942-2008                                           TechWellOp
Transient groundwater            Unsteady-state, three-dimensional groundwater flow                 Simulation using                  Harbaugh (2005);
  flow                             occurring primarily because of the initiation and                  MODFLOW-2005                      Suarez-Soto
                                   continued operation of water-supply wells (July 1942-                                                et al. (2013)
                                   June 2008), using a variably spaced grid ranging in area
                                   from 300 ft x 300 ft to 50 ft x 50 ft in the HPIA and HPLF
                                   model subdomain areas
Properties ofVOCs                Properties of degradation pathways of common organic               Literature survey                 Lawrence (2007)
  in groundwater                   compounds in groundwater
Occurrence of selected           Description and summaries of groundwater contaminants of           Data analysis                     Faye et al.
  contaminants in                  selected VOCs and BTEX components at IRP and AST/                                                    (2010, 2012)
  groundwater                      UST sites; listing of water-supply and monitor well
                                   location and construction data
Computation of mass for          Estimates of mass (volume) ofTCE, PCE, and benzene in              Site investigation data,          Ricker (2008);
  PCE, TCE, and benzene            groundwater using field data and a variety of analytical            GIS spatial analyses,            Faye et al. (2010, 2012);
                                   and numerical techniques (Tables A6, Al 5, and Al6)                 LNAPL volume analyses            Jones et al. (2013);
                                                                                                       (TechNAPLVol)                    Jang et al. (2013)
Fate and transport ofTCE,        Simulation of the fate and migration ofTCE and benzene             Simulation using                  Zheng and Wang (1999);
  PCE, and benzene                 from sources in the HPIA; simulation of the fate and                MT3DMS-5.3                       Zheng (2010);
                                   migration of PCE from the HPLF                                                                       Jones et al. (2013)
Fate and transport of            Simulation of the fate and migration of benzene as an LNAPL        Simulation using                  Jang and Aral (2007,
  benzene (LNAPL)                  from sources at the Hadnot Point fuel farm in the HPIA             TechF!owMP                        2008a, b);
                                                                                                                                        Jang et al. (2013)
Concentrations of PCE,       Reconstructing concentrations of PCE, TCE, 1,2-tDCE, and       Simulation using                          Guan et al. (2009,
   TCE, 1,2-tDCE, and VC       VC in water-supply well HP-651 (HPLF) using a linear           TechControl                               2010, 2013)
   in a water-supply well      control model (LCM) methodology
TCE, PCE, 1,2-tDCE, VC, Computations of concentrations ofTCE, PCE, 1,2-tDCE, VC, Materials mass balance                   Masters (1998);
   and benzene in WTP          and benzene in drinking water from the Hadnot Point WTP        model using principles of     Jones et al. (2013)
   finished water              using results from fate and transport and linear control       conservation of mass and
                               model simulations                                              continuity-algebraic
Parameter sensitivity and    Assessment of parameter sensitivity and uncertainty            One-at-a-time sensitivity     Saltelli et al. (2000);
   uncertainty                 associated with model simulations of groundwater flow,         analysis (OAT), Monte         Suarez-Soto et al. (2013);
                               fate and transport, and water distribution                     Carlo (MC) simulation using   Jones et al. (2013);
                                                                                              Latin hypercube sampling      Sautner et al. (2013b)
                                                                                              (LHS), and MC simulation
Intermittent pump            Probabilistic analysis of the occurrence of pumping operations Probabilistic Markov analysis Ross (1977);
   operation for transfer of   during the period 1972-1985 for transferring Hadnot Point      using TechMarkovChain         Sautner et al. (2013b)
   finished water              finished water to Holcomb Boulevard housing areas
Distribution of TCE, PCE, Simulation of hydraulics and water quality in the water-          Simulation using EPANET 2 Rossman (2000);
   1,2-tDCE, VC, and           distribution system serving the Holcomb Boulevard                                            Sautner et al. (2013b)
   benzene throughout the      housing areas, 1972-1985; intermittent pumping
   Holcomb Boulevard           operations estimated by using data and Markov analysis
   housing areas
  1
      Refer to Table Al for correspondence between references and HPHB study area chapter reports and supplement designations

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Table A10.   Description and characteristics of model properties used to simulate three-dimensional groundwater flow and contaminant
fate and transport, Hadnot Point-Holcomb Boulevard and Tarawa Terrace study areas, U.S. Marine Corps Base Camp Lejeune, North
Carolina.
[ft, foot; mi2, square mile; TCE, trichloroethylene; PCE, tetrachloroethylene; - , not applicable]
                                                                  1
                                                                      Hadnot Point-Holcomb Boulevard study area
                                                                                                                                                 4
                                                           3
                                                               Variably spaced grid             Fate and transport model subdomain                Tarawa
             Model feature              2
                                            Uniform                                                                                              Terrace
                                                       Hadnot Point Hadnot Point                  Hadnot Point               Hadnot Point       study area
                                             grid
                                                      Industrial Area landfill area              Industrial Area             landfill area
 Number of rows                                152               288              348                    132                         204              200
 Number of columns                          172               298                 268                    168                          132            270
 Number of layers                             7                 7                   7                      7                            7              7
 Total number of finite-                183,008           600,768             652,848                155,232                      188,496        378,000
   difference cells
 Number of active domain                108,695           453,654             532,287                155,232                      188,496        191,927
   or subdomain cells
 Finite-difference cell size            300x300         300x300-             300x300-                 50x50                        50x50             50x50
   (ftxft)                                               50x50                50x50
 Total model or subdomain                       84           84                   84                        2.0                        2.4               4.8
   area (mi2)
 Active domain area (mi2)                       50                50               50                     2.0                         2.4            2.5
 Contaminant-source areas                                                                  Building 900 (TCE);           Hadnot Point        ABC One-Hour
   (contaminants)                                                                            Building 1115 (TCE);          landfill (PCE,     Cleaners
                                                                                             Building 1401 (TCE);          TCE)                (PCE)
                                                                                             Building 1601 (TCE,
                                                                                             benzene) 5
  1
    Groundwater-flow simulation using MODFLOW-2005 (Harbaugh 2005); fate and transport simulation using MT3DMS (Zheng and Wang 1999);
see Figure Al2 for locations of active model boundaries and contaminant fate and transport model subdomains
     2
         Uniform grid of 300-ftx300-ft cells used for simulating and calibrating predevelopment (steady-state) groundwater flow
     3
         Variably spaced grid used for simulating and calibrating transient groundwater flow and contaminant fate and transport
     4
   Groundwater-flow simulation using MODFLOW-96 (Harbaugh and McDonald 1996); fate and transport simulation using MT3DMS (Zheng and Wang
1999); uniform and coincident grids used for groundwater-flow and fate and transport simulations, refer to Maslia et al. (2007), Faye and Valenzuela (2007),
and Faye (2008)
  'Benzene occurs as a light nonaqueous phase liquid (LNAPL) at Building 1115 and at the Hadnot Point fuel farm (HPFF); see Jang et al. (2013) for
modeling details.


           the corresponding HPLF area model is characterized by                             and benzene (as single species) dissolved in groundwater
           348 rows, 268 columns, and 7 layers. The HPIA subdo-                              using the model code MT3DMS-5.3 (Zheng and Wang
           main model is 2.0 mi2 in area and consists of 132 rows,                           1999; Zheng 2010). 36 In addition, the fate and transport
           168 columns, and 7 layers; the corresponding HPLF                                 of PCE and TCE from source areas in the HPLF area to
           area subdomain model is 2.4 mi 2 in area and consists of                          water-supply well HP-651 was also simulated using the
           204 rows, 132 columns, and 7 layers. Descriptions and                             MT3DMS code. As explained above, variably spaced
           characterizations of the groundwater-flow model dis-                              finite-difference grids were used for HPIA and HPLF con-
           cretization properties used to simulate three-dimensional                         taminant fate and transport model subdomain areas so that
           groundwater flow and contaminant fate and transport in                            grid cell sizes would be uniform at 50 ft x 50 ft. Details
           the HPHB study area and comparison with the model used                            pertaining to the fate and transport model calibration and
                                                                                             reconstruction of PCE, TCE, and benzene dissolved in
           in the TT study area are listed in Table AlO. A map of the
                                                                                             groundwater are provided in Jones et al. (2013). The HPIA
           active model domain for groundwater flow and the HPIA
                                                                                             and HPLF contaminant fate and transport model subdo-
           and HPLF area subdomain model areas selected for tran-
                                                                                             main areas, contaminant sources, and nearby historically
           sient groundwater flow and contaminant fate and transport
                                                                                             operated water-supply wells are shown in Figures Al3 and
           is shown in Figure Al 2.
                                                                                             Al 4, respectively.
6.         Groundwater velocities or specific discharges derived from                      36
                                                                                              MT3DMS-5.3 (Zheng and Wang 1999; Zheng 2010) is the specific ver-
           the calibrated transient groundwater-flow model were used                    sion of the MT3DMS code used for the HPHB study area analyses; references
           in conjunction with contaminant source, fate, and property                   to MT3DMS in text, figures, tables, appendixes, and supplemental informa-
           data in the HPIA to simulate the fate and transport ofTCE                    tion refer to MT3DMS-5.3.


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7.   The occurrence of benzene as an LNAPL in the subsur-               water-supply wells within the HPWTP service area was
     face in the vicinity of the HPFF and HPIA is described             mixed at the HPWTP prior to treatment and distribution.
     in Faye et al. (2010 and 2012). Estimates of subsurface            Details of this method are described in a subsequent sec-
     LNAPL volume were developed using historical mea-                  tion of this report.
     surements ofLNAPL thickness over time-monitor well
     data-in the HPIA combined with the TechNAPLVol                 10. Intermittent operations of booster pump 742 and the open-
     code that uses semi-analytical and numerical methods               ing of the Marston Pavilion valve transferred contaminated
     in a three-dimensional domain (Jang et al. 2013). The              Hadnot Point finished water to Holcomb Boulevard family
     resulting saturation profile from the LNAPL volume                 housing areas and other facilities (Figure A 1). Owing to
     analysis was used within the TechFlowMP model code                 missing data related to pump and valve operations, proba-
     (Jang and Aral 2007, 2008a, b) to simulate the dissolu-            bilistic analyses of the intermittent water transfers during
     tion ofLNAPL constituents and the fate and transport of            the period 1972-1985 were conducted using a Markov
     dissolved-phase benzene. Details pertinent to the applica-         analysis (Ross 1977) and the code TechMarkovChain.
     tion ofTechFlowMP to the HPIA subdomain area and                   Results provided probabilistic estimates of the intermit-
     historical reconstruction results for the fate and transport       tent transfer of contaminated Hadnot Point finished water
     of benzene are described in detail by Jang et al. (2013).          to the Holcomb Boulevard family housing areas. Details
     The historical area of free product (fuel) and location of         of the application of the TechMarkovChain code to the
     former fuel lines from the HPFF to other sites within the          HPHB study area are described in Sautner et al. (2013b).
     HPIA are shown in Figure Al 3.
                                                                    11. Using the reconstructed monthly mean concentrations of
8.   An alternative method, a linear state-space representation         PCE, TCE, 1,2-tDCE, VC, and benzene in finished water
     of a contaminated aquifer system designated as the linear          from the HPWTP and the Markov analysis to estimate
     control model (LCM) methodology, was developed to                  the occurrence of intermittent water transfers, extended
     reconstruct contaminant concentrations in water-supply             period simulations of hydraulics and water quality for the
     wells (Guan et al. 2013). Using the model code Tech-               water-distribution system serving the Holcomb Boulevard
     Control, this simplified approach was used to reconstruct          housing areas and other facilities during the period 1972-
     historical contaminant concentrations, including PCE,              1985 were conducted using the model code EPANET 2
     TCE, 1,2-tDCE, and VC, in water-supply well HP-651                 (Rossman 2000). Details pertaining to these analyses are
     in the HPLF area (Figure Al4). Details pertinent to
                                                                        presented in Sautner et al. (2013b) and are summarized in
     the development, testing, and application of the LCM
                                                                        a subsequent section of this report.
     methodology are presented in Guan et al. (2013). Results
     from the LCM application at water-supply well HP-651           12. Assessment of parameter sensitivity, variability, and uncer-
     are compared to simulated PCE and TCE concentrations               tainty associated with model simulations of groundwater
     obtained using the MT3DMS numerical fate and transport             flow, contaminant fate and transport, and water-distribution
     code (item 6, above) later in this report.                         system analyses were conducted using one-at-a-time (and a
9.   Reconstructed (simulated) monthly mean concentrations              variation of the one-at-a-time) sensitivity analysis (Saltelli
     of PCE, TCE, 1,2-tDCE, VC, and benzene for finished                et al. 2000), Monte Carlo simulation (Tung and Yen 2005),
     water at the HPWTP were determined by using a mate-                and the parameter estimation code PEST (Doherty 2003,
     rials mass balance model (simple mixing) to compute                2010). Details relevant to the application of parameter
     the flow-weighted average concentration of the afore-              estimation and sensitivity and uncertainty analyses for
     mentioned contaminants. This computational method is               the HPHB study area models are provided in Guan et al.
     based on the principles of continuity and conservation             (2013), Jang et al. (2013), Jones et al. (2013), Sautner et
     of mass (Masters 1998). The use of the materials mass-             al. (2013b), and Suarez-Soto et al. (2013), and are sum-
     balance method is justified because all raw water from             marized in subsequent sections of this report.




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                                2 KILOMETERS

         Base from U.S. Marine Corps digital data files


                                                                   EXPLANATION
                   Historical water-supply areas of          [TI IRP site and number           HP- 608 0   Water-supply well
                     Camp Lejeune Military Reservation                                                       and identifier
                                                             [TI Other site, not categorized
          D Montford Point                                      as IRP                             ■       Water treatment plant (WTP)
          D Tarawa Terrace                              - - Active model domain                    11      AST/UST
          D Holcomb Boulevard                                 Contaminant fate and
          D Hadnot Point                                        transport model
          CJ Other areas of Camp Lejeune Military Reservation   subdomain


        Figure A12.  Groundwater-flow model domain, contaminant fate and transport model subdomains, Installation
        Restoration Program (IRP) sites, above-ground and underground storage tank (AST/UST) sites, and water-supply
        wells, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.


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         Base modifed from U.S. Marine Corps                                                                     500     1,000   1,500   2,000 FEET
         digital data files
                                                                                                                        250         500 METERS
                                                                           EXPLANATION
                                [ I ] Installation Restoration Program                      Former location of fuel lines
                                           site and number                                    from HPFF to other sites

                                         Historical area of free product (fuel)       ♦     Trichloroethylene (TCE) source for fate and
                                           measured in wells (approximate)                    transport simulations (approximate locations)
                                                                                      900   Above-ground and underground storage tank
                                -        Former locations of USTs, fuel lines,
                                                                                             and number and associated building number
                                           and dispensers at the HPFF
                                                                                   o HP-634 Water-supply well and number


         Figure A13. Contaminant fate and transport model subdomain for the Hadnot Point Industrial Area (H PIA) and
         vicinity, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.
         [HPFF, Hadnot Point fuel farm; MRFF, Michael Road fuel farm; UST, underground storage tank]


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         digital data files
                                                                                                                     250             500 METERS
                                                                        EXPLANATION
                          [ I ] Installation Restoration Program               El S889   Above-ground and underground
                                        site and number                           S891
                                                                                          storage tank and number
                             l!I"".]   Tetrachloroethylene (PCE) source
                                                                               o HP- 635 Water-supply well and number
                             [;jjjl    Trichloroethylene (TCE) source


         Figure A14. Contaminant fate and transport model subdomain for the Hadnot Point landfill (HPLF) area and
         vicinity, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.




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Model Calibration Approach                                                   Linear Control Model Methodology to Reconstruct
                                                                             Water-Supply Well Concentrations
      Detailed discussions pertinent to model calibration
approaches and good model calibration practice are provided                        The typical approach used to simulate water-supply well
in Hill and Tiedeman (2007). Calibrations of models used                     concentrations for contaminants dissolved in groundwater is to
for the HPHB study area analyses were accomplished in a                      (1) apply a groundwater-flow model (e.g., MODFLOW) to the
hierarchical or step-wise approach consisting of four succes-                study area containing pumping water-supply wells, (2) extract
sive stages or levels. Simulation results achieved for each                  groundwater velocities from the groundwater-flow model
calibration level were refined by adjusting model parameter                  simulation results, and (3) use the temporally and spatially
                                                                             varying velocities in conjunction with contaminant-source,
values and comparing these results with simulation results of
                                                                             fate, and transport properties with a fate and transport model
previous levels until results at all levels were within ranges
                                                                             code (e.g., MT3DMS) to quantify contaminant concentrations
of reasonable calibration measures. The step-wise order of                   at water-supply wells. This was the approach used for the TT
model-calibration levels consisted of simulating (1) predevel-               study area (Faye and Valenzuela 2007; Faye 2008) and also is
opment (steady or nonpumping) groundwater-flow conditions,                   the approach applied to the HPHB study area. An alternative
(2) transient (time varying or pumping) groundwater-flow                     computational method to reconstruct contaminant concentra-
conditions, (3) the fate and transport (migration) ofVOCs                    tions in water-supply wells also was investigated because
(PCE, TCE, and benzene) from their sources at the HPIA and                   (1) perhaps a simpler computational method requiring fewer
HPLF areas to Hadnot Point water-supply wells, and (4) the                   resources could yield reliable historical reconstruction results
concentrations ofVOCs in finished water at the HPWTP. 37                     and (2) results from an alternative computational method, if
During the period 1972-1985, the intermittent transfer of                    reliable, could be used to assess confidence in results derived
                                                                             from the MODFLOW and MT3DMS simulations. For these
contaminated Hadnot Point finished water to Holcomb Boule-
                                                                             reasons, the linear control model (LCM) methodology,
vard family housing areas was also simulated using calibrated
                                                                             which is a linear state-space representation of a contaminated
finished-water concentrations at the HPWTP from step 4                       groundwater aquifer system, was developed and applied to
above. Detailed discussion of calibration procedures, calibra-               water-supply well HP-651 (Figure Al 4) using the HPLF area
tion results and statistics, and simulation results are provided             contaminant data (Guan et al. 2009, 2010, 2013). The LCM
in the respective Chapter A supplemental information sections                methodology, which is based on linear control theory (Aliev
(Table Al, Appendix Al). Ofnote are the following five Chap-                 and Larin 1998; Pardalos and Yatsenk 2008), does not require
ter A supplemental information sections that readers can refer               site-specific knowledge of the spatial distribution of aquifer
to for specific details pertinent to model input data, calibration           and transport properties (e.g., hydraulic conductivity, poros-
procedures, and historical reconstruction results:                           ity, contaminant source concentration). Rather, it relies on
                                                                             two matrices to describe (1) the subsurface movement of a
      • Three-dimensional groundwater flow (predevelopment                   contaminant under predevelopment or natural conditions and
        and transient)-described in Suarez-Soto et al. (2013);               (2) the effects of pumping operations on contaminant concen-
                                                                             trations. This method, therefore, characterizes the aquifer, con-
      • Three-dimensional contaminant fate and transport of
                                                                             taminant sources, and the dynamics of contaminant migration
        PCE, TCE, and benzene in the vicinities of the HPIA
                                                                             as a "black box." 38 The LCM methodology can be applied to
        and HPLF area-described in Jones et al. (2013);                      individual water-supply wells to reconstruct historical concen-
                                                                             trations; however, this method does require contaminant con-
      • Linear control theory methodology to reconstruct con-
                                                                             centration data from the water-supply well and some nearby
        taminant concentrations of PCE, TCE, 1,2-tDCE, and
                                                                             monitor wells once the water-supply well has ceased pumping.
        VC in water-supply well HP-651---described in Guan                   Details of the LCM methodology development and application
        et al. (2013);                                                       to the HPLF area are provided in Guan et al. (2013). Com-
                                                                             parisons between results obtained using a numerical model,
      • Dissolution of benzene from an LNAPL source area
                                                                             MT3DMS, and the LCM are presented and discussed in the
        and subsequent three-dimensional fate and transport of
                                                                             section on Historical Reconstruction Analyses and Results.
        dissolved-phase benzene in the HPIA-described in
        Jang et al. (2013); and

      • Distribution of finished water from the HPWTP to
        the Holcomb Boulevard water-distribution system-
        described in Sautner et al. (2013b ).
  37                                                                           38
     A detailed discussion of the aforementioned hierarchical approach of         In science and engineering, the term "black box" refers to a device or sys-
model calibration is provided in Maslia et al. (2007), Faye and Valenzuela   tem that can be analyzed in terms of inputs, transfer properties, and outputs,
(2007), and Faye (2008).                                                     without specific knowledge of its internal dynamic workings.


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Computation of Contaminated Finished-Water                                      service area. This approach was used by Maslia et al. (2007)
                                                                                to reconstruct historical finished-water concentrations for the
Concentrations
                                                                                TT study area and is represented by the schematic diagram
       Two approaches were utilized to compute historical                       shown in "A. Mixing-model approach" in FigureA15. This
concentrations of finished water delivered to housing areas                     approach was tested and confirmed by Maslia et al. (2009b) by
within the HPHB study area. The specific approach depended                      comparing mixing-model results with EPANET 2 (Rossman
on whether or not water was transferred from the Hadnot                         2000) water-distribution system model results. (The schematic
Point to the Holcomb Boulevard water-distribution system                        representation of the network model is shown in "B. Network-
(i.e., the intermittent connection of the aforementioned two                    model approach" in FigureA15.) Maslia et al. (2009b) demon-
                                                                                strated that after 2 weeks, spatially distributed concentrations
water-distribution systems). Groundwater from all water-
                                                                                throughout the TT water-distribution system-computed
supply wells was mixed at the HPWTP prior to treatment
                                                                                using EPANET 2-were identical to the concentrations at the
and distribution. Therefore, a materials mass balance (simple
                                                                                TTWTP computed using the mixing-model approach (Fig-
mixing) model, which is based on the principles of continu-
                                                                                ure Al5A). Because study epidemiologists require monthly
ity and conservation of mass (Masters 1998), was used as
                                                                                finished-water concentrations, the mixing-model approach was
one approach to compute monthly mean concentrations of
                                                                                considered a useful method to compute historical finished-
finished water delivered to base housing and other facilities
                                                                                water concentrations at the HPWTP and at locations serviced
during the period 1942-May 1972. Application of the simple
                                                                                by the HPWTP for any given historical month. 39
mixing model presumes that the computed concentrations of
finished water at the WTP are nearly equal to the concentra-                      39
                                                                                     Prior to the onset of service at the HBWTP during June 1972 (Scott A.
tions of finished water at any location throughout the WTP                      Brewer, USMCB Camp Lejeune, written communication, September 29, 2005).




            A. Mixing-model approach                                                             8. Network-model approach
      (Hadnot Point water-distribution system)                                           (Holcomb Boulevard water-distribution system)

 Elevated                                                                                                                                Elevated
 storage                                                                                                                                 storage
   tank                                                                                                                                    tank




                                                        CDS= CWTP
                                                         HPWTP                      Pump
                                                                                                                                            Transferred
                                                                                                                                           contaminated
                                                                                                                                           Hadnot Point
                                                                                                                                          finished water

                                                                                                                                         Pump



                                                                                                                                         c,


                                                                  EXPLANATION

                      Da ,c Uncontaminated well discharge (Q)-              HPWTP Hadnot Point water treatment plant
                            4   4                                           HBWTP Holcomb Boulevard water treatment plant
                                     Concentration (C) is zero
                                                                            PRV    Pressure-reducing valve
                      ■
                          0 4' C4 Contaminated well discharge (Q)
                                   and concentration (C)
                                                                            CDs    Uniform concentration within distribution system
                                                                            CWTP   Concentration of finished water
                        /           Demand                                  C1__ 5 Distributed concentration of finished water
                                                                            CT     Concentration of finished water in storage tank

 Figure A15.   Schematic node-link representations for water-distribution systems: (A) mixing-model approach used for the
 Hadnot Point water treatment plant analyses and (8) network-model approach used for the Hadnot Point-Holcomb Boulevard
 interconnection analyses, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.



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    The materials mass balance (mixing model) approach is             Historical Reconstruction Analyses
based on the following equations:
                                                                      and Results
                                                              (Al)          Summaries of results of the historical reconstruction
                                                                      investigations within the HPHB study area are discussed and
                                                                      presented in the following sections of this Chapter A report.
and
                                                                      Results are presented for the following: (1) simulation of
                                    NWP
                                L   i=l
                                          C.,Q,.
                                                              (A2)
                                                                      three-dimensional groundwater flow within the study area,
                                                                      (2) simulations of the migration ofTCE within the HPIA fate
                                     QT
                                                                      and transport model subdomain, (3) estimation ofLNAPL
                                                                      volumes in the subsurface using semi-analytical solutions
where
                                                                      and numerical integration, LNAPL dissolution, and migration
        NWP        is the number of water-supply wells simulated
                                                                      of benzene within the HPIA fate and transport model subdo-
                       as operating (pumping) during the month
                                                                      main, (4) simulation of the migration of PCE and TCE within
                       of interest,
                                                                      the HPLF fate and transport model subdomain, (5) simula-
                   is the simulated groundwater pumping rate of
                                                                      tion of concentrations of PCE, TCE, 1,2-tDCE, and VC at
                       water-supply well i,
                                                                      water-supply well HP-651, located within the HPLF area
                   is the total simulated groundwater pumping
                                                                      (Figure Al4), (6) computation of contaminant mass balances
                       rate from all operating water-supply wells
                                                                      derived from using the MT3DMS fate and transport model
                       during the month of interest,
                                                                      code, (7) computation of monthly mean finished-water con-
           c, is the simulated concentration of a                     centrations of PCE, TCE, 1,2-tDCE, VC, and benzene at the
                       contaminant for water-supply well i, and
                                                                      HPWTP, and (8) reconstructed concentrations of PCE, TCE,
        CWTP       is the concentration of finished water delivered
                                                                      1,2-tDCE, VC, and benzene within the Holcomb Boulevard
                       from the HPWTP for the month of interest.
                                                                      housing areas during periods of intermittent water trans-
      Equation Al is known as the continuity equation, and
                                                                      fers from the HPWTP to the HBWTP service areas during
EquationA2 describes the conservation of mass (Masters 1998).
In addition to contaminated water-supply wells (Figures AS            1972-1985.
and AS), all other operating water-supply wells for each month              A listing of reconstructed (simulated) monthly mean
of the historical reconstruction that were not contaminated           concentrations in groundwater at historically contaminated and
(C; = 0.0 µg/L, in Equation A2) are included in the calculations      other selected water-supply wells in the HPIA and HPLF area
of Equations Al and A2 to derive the monthly mean finished-           (HP-601, HP-602, HP-603, HP-608, HP-634, HP-651, and
water concentrations delivered by the HPWTP.                          HP-660) is provided in Appendix A3 .40 Maps showing recon-
      Alternatively, if water from all supply wells is not com-       structed (simulated) water levels and distributions ofTCE and
pletely mixed at the WTP, then a more rigorous and complex            benzene within the HPIA fate and transport model subdomain
water-distribution system modeling approach must be used              are provided in Appendixes A4 and AS, respectively. Maps
to quantify the spatial distribution of contaminant concentra-        showing reconstructed water levels and distributions ofTCE
tions within each water-distribution system and, specifically,        and PCE within the HPLF area contaminant fate and transport
within each pipeline of a water-distribution system network.          model subdomain are provided in Appendix A6. A listing of
A schematic node-link representation of the interconnection           reconstructed monthly mean concentrations of PCE, TCE,
between the Hadnot Point and Holcomb Boulevard water-                 1,2-tDCE, VC, and benzene in finished water at the HPWTP is
distribution systems is shown in Figure Al5B, representing            provided in Appendix A 7. Finally, a listing of the monthly fin-
a hypothetical variation in finished-water concentrations             ished-water concentrations of PCE, TCE, 1,2-tDCE, VC, and
within a water-distribution system network. In this situation,        benzene for years 1972-1985 for Holcomb Boulevard housing
a numerically-based water-distribution system model, such as          areas is provided in Appendix AS. For more detailed analyses
EPANET 2 (Rossman 2000), is routinely applied and calibrated          of results pertinent to a specific simulation (e.g., migration of
to determine the spatial and temporal distributions offinished-       TCE within the HPIA), readers should refer to the appropriate
water concentrations within the water-distribution system. A          Chapter A supplemental text (Table Al, Figure A2).
detailed description and discussion of the application of the
                                                                        40
EPANET 2 model to the distribution of contaminated finished                Reconstructed monthly mean concentrations represent model output of
                                                                      concentration on the last day of the month for each month. For example, the
water within the Holcomb Boulevard water-distribution system
                                                                      reconstructed TCE concentration at water-supply well HP-651 for Novem-
during intermittent water transfers for 1972-1985 are provided        ber 1984 of 6,895 µg/L represents the concentration occurring on Novem-
in Sautner et al. (2013b ).                                           ber 30, 1984.




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Historical Reconstruction Analyses and Results - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Simulation of Three-Dimensional                                                          A calibrated predevelopment water-level model-
                                                                                   input database was a pre-requisite for conducting transient
Groundwater Flow
                                                                                   groundwater-flow and contaminant fate and transport simu-
      A three-dimensional groundwater-flow model was devel-                        lations-specifically in the HPIA and HPLF subdomain
oped and calibrated based on interpretations of geohydrologic                      areas (Figure Al2). Predevelopment groundwater flow was
data (Faye 2012), analyses and interpretations of water-level                      conceptualized using approximately 773 water-level mea-
data, and the conceptual model of groundwater flow for the                         surements, which are listed in Faye et al. (2013). A prede-
study area (Faye et al. 2013). The groundwater-flow model of                       velopment (steady-state) potentiometric surface map of the
the study area consists of 7 layers that were correlated with                      Brewster Boulevard aquifer system for the study area was
geologic and hydro geologic units (Table Al 1). Model layers                       developed (Figure Al6) by using these water-level data along
1, 3, 5, and 7 are correlated with water-bearing units or aqui-                    with stream-gage data, climatic data (e.g., precipitation and
fers, and corresponding model layers 2, 4, and 6 are correlated                    evapotranspiration data obtained from sources listed in Appen-
with semi-confining units or aquitards. Reference to "model                        dix A2), and the geohydrologic framework (Table Al 1). This
layer" in subsequent figures, tables, and appendixes refers to
                                                                                   potentiometric surface map shows water-level measurements
the model-layer numbering scheme listed in Table Al 1 for the
                                                                                   that were used as control points, water-level contours (blue
study area. Calibrated model parameter values used for simulat-
                                                                                   lines), and the generalized directions of groundwater flow
ing groundwater flow and contaminant fate and transport for
                                                                                   (blue arrows) used as the basis for calibrating the predevel-
the HPHB study area are listed in Table Al 2. Readers should
refer to the appropriate Chapter A supplemental text (Table Al)                    opment, three-dimensional groundwater-flow model for the
for specific details on derivation and justification for calibrated                HPHB study area (see Suarez-Soto et al. [2013] for details).
model values listed in Table Al 2. Calibrated model input files                          The simulated predevelopment potentiometric contours for
for groundwater flow and contaminant fate and transport for use                    the Brewster Boulevard aquifer system, derived from simulated
with the MOD FLOW (Harbaugh 2005) and MT3DMS (Zheng                                water levels located at the centroids of the finite-difference grid
and Wang 1999; Zheng 2010) model codes, respectively, are                          cells for the active model domain, also are shown in Figure Al 7.
provided on the CD-ROM that accompanies this report.                               Suarez-Soto et al. (2013) assess the goodness of fit of the

Table A11.  Correlation between geologic and hydrogeologic units and model layers, Hadnot Point-Holcomb Boulevard study area,
U.S. Marine Corps Base Camp Lejeune, North Carolina.
[-, not applicable]
                       1                                                      1                                         1
                           Geologic units                                         Hydrogeologic units                       Thickness   2
                                                                                                                                            Model layer
       System               Series             Formation                   Aquifer and confining unit                 Range, in feet         number
                        Holocene
  Quaternary                                Undifferentiated     Brewster Boulevard upper aquifer                            4 to 42
                       Pleistocene
                        Pliocene                Absent           Absent                                                      Absent
                                                                                                                                                I
                                             Pungo River         Brewster Boulevard upper confining unit                     I to 22
                                              Formation,
                                            undifferentiated     Brewster Boulevard lower aquifer                            4 to 48
                           Miocene
                                               Belgrade          Brewster Boulevard lower confining unit                     2 to 30            2
                                              Formation,
                                            undifferentiated     Tarawa Terrace aquifer (upper part)
                                                                                                                             8 to 86            3
                                                                 Tarawa Terrace aquifer (middle and lower parts)
                                              River Bend
                                                                 Upper Castle Hayne confining unit
                       Oligocene              Formation,
                                                                   (previously designated the Tarawa Terrace                 4 to 40            4
                                            undifferentiated
      Tertiary                                                     confining unit in Faye [2007])
                      Late Eocene              Unnamed           Upper Castle Hayne aquifer-River Bend unit                  16 to 70
                                                                 Local confining unit                                         8 to 23           5
                                                                 Upper Castle Hayne aquifer-Lower unit                       10 to 48
                                             Castle Hayne        Middle Castle Hayne confining unit                          12 to 27           6
                     Middle Eocene
                                              Formation          Middle Castle Hayne aquifer                                62 to 122           7
                                                                 Lower Castle Hayne confining unit                           18 to 38
                                                                 Lower Castle Hayne aquifer                                  64 to 86
                                                                                                                                             Base of
                                               Beaufort                                                                                      model
                                                                 Beaufort confining unit
                       Paleocene              Formation,                                                                       -
                                                                   (generally occurs at top of Beaufort Formation)
                                            undifferentiated
   1
       From Faye (2012)
   2
       From Suarez-Soto et al. (2013)


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Table A12. Calibrated model parameter values used to simulate groundwater flow and contaminant fate and transport, Hadnot Point-
Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina. 1
[-, not applicable; in/yr, inch per year; ft, foot; ft 3 , cubic foot; d, day; g, gram; mg, milligram; L/kg, liter per kilogram; PCE, tetrachloroethylene; TCE,
trichloroethylene; HPIA, Hadnot Point Industrial Area; HPLF, Hadnot Point landfill]

                                                                                                  3
            2
                                                                             Model layer number
                Model parameter
                                                       2               3               4             5              6                                             7
            4
              Pre-development (steady-state) groundwater-flow model, conditions prior to 1942-Uniform grid (300-ftx300-ft cells)
 Horizontal hydraulic                0.5-46.8       1.0-20.0      1.0-50.0         1.0-35.0      2.3-50.0       1.0-20.0                                     20.0
   conductivity, Kxx (ft/d)
 Ratio of vertical to horizontal                  1:10               1:15              1:10               1:15            1:10             1:15              1:10
    hydraulic conductivity, K,/Kxx
 Infiltration (recharge), 1,_ (in/yr)           2.5-22.0
                                1
                   4
                Transient groundwater-flow model, January 1942-June 2008-Variably spaced grid (300-ftx300-ft- 50-ftx50-ft cells)
 Specific yield, SY                         0.05
 5
   Specific storage, S, (lift) range                   1.3 x 10-5 to 4.3 X lQ- 6 tO I.Ox 10-5 to 4.0 X lQ- 6 tO l.4xl0-5 to     3.4xl0- 6 to
    of values                                           1.9 X 10- 4   3.6 X lQ-S     3.8 X lQ-S   8.3 X lQ- 6    3.6 X lQ-S      7.7 X lQ- 6
 Infiltration (recharge), 1,_ (in/yr)     Varies 6
                             1
 7
   Pumpage, Q (ft3/d)                     Varies          Varies        Varies         Varies       Varies         Varies          Varies
                      4
                        Contaminant fate and transport models, January 1942-June 2008-Subdomain area (50-ftx 50-ft cells)
 8
   Distribution coefficient,Kd (ft3/mg):
    PCE                                  1.1 X 10-s     1.1 X 10-s     1.1 X 10-s     1.1 X 10-s  1.1 X 10-s     1.1 X 10-s      1.1 X 10-s
      TCE                                      5.3 X 10-9         5.3 X 10-9        5.3 X 10-9          5.3 X 10-9      5.3 X 10-9      5.3 X 10-9        5.3 X 10-9
   Benzene                                     4.0 X 10-  9       4.0 X 10- 9       4.0 X 10- 9         4.0 X 10- 9     4.0 X 10- 9     4.0 X 10- 9       4.0 X 10-9
 Bulk density, pb (g/ft3)                        46,700            46,700            46,700              46,700          46,700          46,700             46,700
 Effective porosity, nE                            0.2               0.2                0.2                0.2             0.2              0.2               0.2
 Biodegradation, Jc (d- 1):
      HPIA(TCE)                                2.0 X 10-3         2.0 X 10-3        2.0 X 10-3          2.0x 10-3       2.0 X 10-3      2.0 X 10-3        2.0x 10-3
      HPIA (benzene)                           1.0 X lQ-4         1.0 X lQ-4        1.0 X lQ-4          1.0 X lQ-4      1.0xl0-4        1.0 X lQ-4        I.Ox 10-4
      HPLF (PCE and TCE)                        1.4 X lQ-4        l.4xl0-4          1.4 X lQ-4          1.4 X lQ-4      1.4 X lQ-4      l.4x 10-4         1.4 X lQ-4
 Effective molecular diffusion                  1.0 X 10-3        1.0 X 10-3        I.Ox 10-3           1.0 X 10-3      I.Ox 10-3       l.OxlQ-3          1.0 X 10-3
   coefficient, D*(ft2/d)
 Dispersivity (ft):
      Longitudinal, a L                            25                25                 25                 25              25               25                25
      Transverse, a r                              2.5               2.5                2.5                2.5             2.5              2.5               2.5
   Vertical, a v                                  0.25               0.25              0.25               0.25            0.25             0.25              0.25
 Source concentration, C (mg/L):
      HPIA(TCE)                                    640               640               640                  0               0                0                    0
      HPIA (benzene-dissolved)                     1.7
      HPIA (benzene-LNAPL)                        17
      HPLF (PCE)                                42-105             33-83             27-66               18-46           6-16              0                 0
      HPLF (TCE)                               256-384            256-384           256-384             256-384         256-384         256-384           256-384
  1
      Refer to Suarez-Soto et al. (2013), Jones et al. (2013), and Jang et al. (2013) for details
  2
      Symbolic notation used to describe model parameters obtained from Harbaugh (2005), Zheng and Wang (1999), and Zheng (2010)
  3
   See Table Al I for correlation between geologic and hydrogeologic units and model layers for the HPHB study area; refer to Faye (2012) and Suarez-Soto et al
(2013) for details; aquifers are designated as model layers I, 3, 5, and 7; confining units are designated as model layers 2, 4, and 6
  4
      See Figures Al2-Al 4 for groundwater-flow model domain and contaminant fate and transport model subdomains
  5
    Specific storage (S) was specified as input for MODFLOW-2005 (Harbaugh 2005); based on cell-by-cell thicknesses, storage coefficient (or storativity) of
4 x 10- 4 determined using the equation S ~s, x b, where Sis the storage coefficient (dimensionless), S, is specific storage (I/ft), and bis the cell thickness (ft)
   'Transient infiltration was varied on a monthly basis using the ratio of monthly precipitation divided by average, long-term precipitation; see Suarez-Soto (2013)
for details
  7
    Pumpage varies by month and model cell; refer to Sautner et al. (2013a) and Telci et al. (2013) for details on the derivation of historical monthly water-supply
well operations; refer to Suarez-Soto et al. (2013) for details pertaining to assigning monthly water-supply well pumpage to cells and model layers using the multi-
node well-flow package for MODFLOW-2005
  8
    Refer to Jones et al. (2013) for derivation of KD values based on a survey reported in the scientific literature; to convert from model KD units of ft 3/mg to units of
L/kg reported in Jones et al. (2013), multiply modelKD values by 28,381,652.21.

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                              Hadnot Point
                               Industrial
                                  Area
                                 (HPIA)

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            Base from U.S. Marine Corps and U.S. Geological Survey digital data files                                             2 MILES
            Map coordinates are North Carolina State Plane coordinates
            North American Datum of 1983
                                                                                                                      2 KILOMETERS
                                                                               EXPLANATION
                                - - - Active model domain
                                              Contaminant fate and transport model subdomain
                                - 1 0 - Potentiometric contour-Shows altitude at which water level would have stood
                                         in tightly cased wells. Contour interval 3 feet. Datum is NGVD 29

                                 -----+ Generalized direction of groundwater flow
                                              Water measurement used as control point



             Figure A16.  Estimated predevelopment (steady-state) potentiometric surface and generalized directions
             of groundwater flow, Brewster Boulevard aquifer system, Hadnot Point-Holcomb Boulevard study area,
             U.S. Marine Corps Base Camp Lejeune, North Carolina (see Faye et al. 2013 for details).


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                         Industrial
                            Area             306
                           (HPIA)


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                  -20     -15-10    -5                   10   15     20
                                Residual, all model layers
                    (Observed water level minus simulated water level)


              Base from U.S. Marine Corps and U.S. Geological Survey digital data files                                                              2 MILES
              Map coordinates are North Carolina State Plane coordinates
              North American Datum of 1983
                                                                                                                                        2 KILOMETERS
                                                                                   EXPLANATION
                        - - - Active model domain                                         Residual          Residual statistics, all model layers
                                                                                     •    >7.5              Number of terms             773
                                  Contaminant fate and transport
                                    model subdomain
                                                                                     o    5to7.5            Minimum                     -17.5feet
                                                                                     o    2.5 to 5
                                                                                                            Maximum                     11.5 feet
                                  Simulation results                                 o    2.5 to -2.5
                                                                                                            Average residual            0.5 feet
                        -10-           Potentiometric contour-Contour                o    -2.5to-5



                          -
                                        interval 3 feet Datum is NGVD 29             o    -5to-7.5          Standard deviation          3.34
                                       Direction of groundwater flow                 •    <-7.5             Root-mean square residual   3.39 feet


               Figure A17.  Simulated predevelopment (steady-state) potentiometric surface, directions of groundwater flow,
               and water-level residuals derived from the calibrated three-dimensional groundwater-flow model, Brewster
               Boulevard aquifer system, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp
               Lejeune, North Carolina (see Suarez-Soto et al. 2013 for details).

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predevelopment calibration by calculating residuals between                         Trichloroethylene (TCE) Concentrations
measured and simulated water levels. Results of the residual
                                                                                    in Groundwater
analysis are also shown on this map of the study area (Fig-
ure Al 7). Within the areas of interest for contaminant fate and                         Within the HPIA fate and transport model subdomain
transport (the HPIA and HPLF areas), the resulting residuals                        area (Figure Al3), four TCE source locations were identified
generally range within ±5 ft. For the entire active model domain,                   from numerous potential contaminant sources for inclusion
nearly 90 percent of the residuals are within a range of ±5 ft,                     in contaminant fate and transport model simulations. These
which is indicative of an acceptable calibration. Also shown in                     sources are located near the Building 900 area and near Build-
Figure Al 7 are simulated directions of groundwater flow, which                     ings 1115, 1401, and 1601 (FiguresA9 andA13; TableA13).
indicate groundwater originating in the highlands areas and                         For historical reconstruction and modeling purposes, TCE
discharging to streams, creeks, and the New River, and flowing                      sources were introduced to the HPIA subdomain area during
through the HPIA and HPLF area. Comparing the simulated                             January 1951 (Buildings 1115, 1401, and 1601) and Janu-
directions of groundwater flow (Figure Al 7) with the estimated                     ary 1957 (Building 900 area); sources were removed from
directions of groundwater flow (Figure Al 6) indicates general                      model simulations during June 1993 (Buildings 1115 and
agreement between model results and the conceptual model of                         1601 ), December 1993 (Building 1401 ), and December 1994
groundwater flow for the HPHB study area.                                           (Building 900 area). All contaminated water-supply wells were
      The transient-state groundwater-flow model simulates                          removed from service by December 1985 and were similarly
monthly conditions starting in January 1942 and ending in                           accounted for during model simulations. Contaminant source
June 2008. Transient conditions include the effects of pump-                        locations, concentrations, and durations for historical recon-
ing from 96 water-supply wells that operated in the study area                      struction simulations are listed in Table Al 3.
during different periods from January 1942 through June 2008                             Figure Al 8 shows the reconstructed (simulated) TCE
and the stress induced by variations in infiltrations (recharge).                   concentrations for selected water-supply wells at the HPIA
Water-supply well pumpage and operational data were                                 (wells HP-601/660, HP-602, HP-608, and HP-634). 43 Monthly
obtained by reconstructing historical monthly water-supply                          reconstructed TCE concentration results for selected water-
well operations and are described in Sautner et al. (2013a)                         supply wells also are tabulated and listed in Appendix A3.
and Telci et al. (2013). Comparison of transient model results                      These results are simulated values that occur on the last day of
with continuous water-level data useful for assessment and                          the month (e.g., January 31 ); they are interpreted as being rep-
calibration of the transient model are provided in Suarez-Soto                      resentative of simulated values on any given day of that month.
et al. (2013). Simulated three-dimensional specific discharge41                     The results are designated and referred to herein as "monthly
derived from the calibrated, three-dimensional, transient                           mean concentrations ofTCE." 44 The reconstructed concentra-
groundwater-flow model was then used to determine ground-                           tions at water-supply wells are flow-weighted concentration
water velocities, 42 which are required to simulate contaminant                     values for supply wells that are open to multiple water-bearing
fate and transport within the HPIA and HPLF subdomain                               units (Jones et al. 2013; Suarez-Soto et al. 2013). As can be
model areas. Details are provided in Suarez-Soto et al. (2013)                      seen in the graphs ofFignre Al 8, observation data in water-
and Jones et al. (2013).                                                            supply wells are very limited and in some instances provide as
                                                                                    few as one data point by which to compare reconstructed TCE
                                                                                    concentrations (e.g., HP-634). For water-supply wells HP-602
Simulation of Contaminant Fate and Transport-                                       and HP-608, measurements were taken 1 day apart or within a
Hadnot Point Industrial Area                                                        1-month or less time span (Table A4), whereas model results
                                                                                    represent a mean concentration over an entire month. Not only
      The area identified as the HPIA contaminant fate and                          does this make it difficult to calibrate a numerical model that
transport model subdomain includes the area formally des-                           at best only approximates the physics, chemistry, and biology
ignated as the HPIA and contains IRP sites 21, 24, 78, and                          of"real-world" conditions, but it calls into question which
94, about 15 AST/UST sites, and 11 water-supply wells                               observation data and data values should be used for compari-
(Figure Al 3). In addition, the HPIA contains IRP site 22, which                    sons with simulated concentrations. Given the aforementioned
is formally named the Hadnot Point Industrial Area fuel farm                        limitations and constraints, the reconstructed (simulated) TCE
(HPFF) or the Hadnot Point tank farm. Descriptions and site                         concentrations provide reasonable agreement with observed
histories for IRP and AST/UST sites are contained in Faye et al.                    data and "real-world" conditions.
(2010, 2012). Detailed water-supply well operational histories
are provided Sautner et al. (2013a) and Te lei et al. (2013).                         43
                                                                                         Water-supply well HP-660 replaced HP-601 and probably operated from
                                                                                    July 1984 to December 1984-see Figure AS and Sautner et al. (2013a).
  41
       Specific discharge also is known as seepage velocity or Darcy velocity.        44
                                                                                         The designation of "monthly mean concentration" also applies to other con-
  42
       Groundwater velocity is defined as specific discharge divided by porosity.   taminants of concern listed inAppendixA3 (PCE, 1,2-tDCE, VC, and benzene).




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Table A13.  Contaminant sources, locations, concentrations, and durations used for historical reconstruction of TCE, PCE, and benzene
concentrations in groundwater, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina. 1
[TCE, trichloroethylene; PCE, tetrachloroethylene; mg/L, milligram per liter; LNAPL, light nonaqueous phase liquid; µg/L, microgram per liter;
°C, degree Celsius; g/cm3 , gram per cubic centimeter]

                                                                                    2
                                                                                 Source                      3
                                                                                                               Number of
              Source location                     Contaminant                 concentration                                               Source duration
                                                                                                            model sources
                                                                                 (mg/L)
                                                                Hadnot Point Industrial Area (Figure All)
 Building 900 area                          TCE                                         640                       3                   Jan. 1957-Dec. 1994
 Building 1115                              TCE                                         640                                           Jan. 1951-June 1993
 Building 1401                              TCE                                         640                                           Jan. 1951-Dec. 1993
 Building 1601                              TCE                                         640                                           Jan. 1951-June 1993
 Building 1601                              Benzene (dissolved)                           1.7                                         Jan. 1951-Dec. 1994
 Building 1115                              Benzene (LNAPL) 4                            17                   Multiple4               Jan. 1951-June 2008
 Building 1613                              Benzene (LNAPL) 4                            17                   Multiple4               Jan. 1964-June 2008
 Hadnot Point fuel farm                     Benzene (LNAPL) 4                            17                   Multiple4               Jan. 1951-June 2008
                                                                  Hadnot Point landfill area (Figure A12)
                                                                                6
 5
   Source 1                                 TCE                                     256-384                       2                   Jan. 1948-June 2008
 5
   Source 2                                 PCE                                                                   2                   Jan. 1948-June 2008
     1
    All model sources are specified concentration (type 1) boundary conditions; model simulation time is January 1942-June 2008; refer to Jones et al. (2013) and Jang
et al. (2013) for details
  2
    Current maximum contaminant level (MCL) for TCE, PCE, and benzene is 5 µg/L; density (20 °C): TCE, 1.464 g/cm3 ; PCE, 1.623 gicm3 ;
benzene, 0.876 g/cm3 (Lawrence 2007); solubility in water (25 °C): TCE, 1,280 mg/L; PCE, 210 mg/L; benzene, 1,780 mg/L (Lawrence 2007)
     3
         Referto Jones et al. (2013) and Jang et al. (2013) for details
     4
         Benzene source for model is areally distributed based on LNAPL distribution; refer to Jang et al. (2013) for details
     5
   There are no designated building numbers within the Hadnot Point landfill; location of sources based on Installation Restoration Program Site 82 history and
contaminant analyses (Faye et al. 2010) and model calibration (Jones et al. 2013)
     6
         Source concentration values vary by model layer; refer to Table Al2 and Jones et al. (2013) and Jang et al. (2013) for details


     Areal distributions of reconstructed TCE concentrations                                  from the early onset of pumping (January 1951) to substan-
for model layers 1, 3, and 5 for four periods-January 1951,                                   tial impact ofTCE on water-supply wells (January 1968
January 1968, November 1984, and June 2008-are shown                                          and November 1984), to dilution and reduction in the TCE
in Figure Al 9. Model layers 1, 3, and 5 represent major                                      concentration at the end of the historical reconstruction
water-bearing units in the study area and are correlated with                                 simulation (June 2008) because of the cessation of pumping of
the Brewster Boulevard aquifer system, the Tarawa Terrace                                     historically contaminated HPIA water-supply wells. Larger-
aquifer, and the Upper Castle Hayne aquifer, respectively                                     scale maps showing additional HPIA details such as building
(Table Al 1). Water-supply wells in the study area were open                                  identifications are provided in Appendix A4.
to water-bearing units corresponding to model layers 3 and 5.                                       Summary statistics for reconstructed (simulated) TCE con-
The specific simulation dates noted above were selected
                                                                                              centrations at HPIA water-supply wells HP-602, HP-608, and
to show typical historical reconstruction results because
                                                                                              HP-634 are listed in Table Al 4. Maximum reconstructed TCE
(1) January 1951 represents an early time period after the
                                                                                              concentrations range from 50 µg/L at water-supply well HP-608
onset of pumping, (2) January 1968 represents the start of
the core period for the epidemiological studies, (3) Novem-                                   to more than 650 µg/L at water-supply wells HP-602 and
ber 1984 represents the month prior to the shutdown of many                                   HP-634. During the core period of interest to the epidemiologi-
of the contaminated water-supply wells, and (4) June 2008                                     cal studies (1968-1985), TCE concentrations at all HPIA water-
represents the end of the historical reconstruction simulation                                supply wells listed in Table Al 4 exceeded the current MCL for
and a time when all contaminated water-supply wells had                                       TCE (5 µg/L) by factors ranging from about 5 to more than
been removed from service for more than 20 years. Viewed                                      130. Reconstructed concentrations exceeded the current MCL
synoptically, the maps in Figure Al9 illustrate a progression                                 for TCE at HPIA water-supply wells for durations ranging from
in the areal distribution ofTCE by model layer at the HPIA                                    283 months (about 24 years) to 390 months (about 33 years).




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      1,000


                     HP-660 replaced HP-601
                     (near same location) and
                     probably operated from
                     July 1984to November 1984                                                 1,000
                     (Sautner et al. 2013a)
       100
                                                                           Measured
                                                                           values for                                                    I

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              1940        1950       1960        1970   1980        1990       2000     2010       1940   1950    1960   1970   1980          1990   2000   2010


               Figure A18.   Reconstructed (simulated) and measured concentrations of trichloroethylene (TCE) at selected water-
               supply wells within the Hadnot Point Industrial Area, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps
               Base Camp Lejeune, North Carolina. Groundwater-flow simulation using MOD FLOW (Harbaugh 2005) and contaminant
               fate and transport simulation using MT3DMS (Zheng and Wang 1999). (See Figure A13 for well locations.)




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                                     January 1951                                            January 1968                                    November 1984                                     June 2008
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                 digital data files                                                                                 EXPLANATION                                                                            250     500 METERS
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                                                                  Installation Restoration       -   B-     Simulated potentiometric contour-                TCE concentration, in                                                s·
                                                                    Program site boundary                     Shows simulated potentiometric                   micrograms per liter                                                =
                                                                                                                                                                                                                                   )>
                                                                    and number                                surface. Hachures indicate                      1 to 5                                                               =
                                                                                                                                                                                                                                   Ill
                                                                                                              depression. Contour interval 1 foot.
                                                       • HP-634   Water-supply well                           Datum is National Geodetic
                                                                                                                                                              Greater than 5to 50                                                 <en
                                                                                                                                                         •    Greater than 50to 500                                               CD
                                                                   and number                                 Vertical Datum of 1929                                                                                              en
                                                                                                                                                         •    Greater than 500 to 5,000                                           Ill
                                                                                                                                                         •    Greater than 5,000to 1,000,000                                      =
                                                                                                                                                                                                                                  =-
                Figure A19. Reconstructed (simulated) water levels and distribution of trichloroethylene (TCE) within the Hadnot Point Industrial Area fate and transport model
                                                                                                                                                                                                                                  =
                                                                                                                                                                                                                                  CD
t
.....           subdomain, model layers 1, 3, and 5, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1951, January 1968,
                                                                                                                                                                                                                                  en
                                                                                                                                                                                                                                  C
                                                                                                                                                                                                                                  ii
                November 1984, and June 2008. (See Figure A13 for location and building numbers; see Appendix A4 for more detailed maps and results.)
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Table A14.  Summary statistics for reconstructed contaminant concentrations at selected water-supply wells and the Hadnot Point
water treatment plant, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.1-2
[MCL, maximum contaminant level; TCE, trichloroethylene; PCE, tetrachloroethylene; VC, vinyl chloride; 1,2-tDCE, trans-1,2-dichloroethylene;
NIA, not applicable; µg/L, microgram per liter]

                                Reconstructed (simulated) concentration, in micrograms per liter
                                                                                                                             2
                                                                                                                              Duration
                                             3
                                                 July 1942-June 1996                              Range during                                  Date well
      Water-supply                                                                                                           in months
                                                                                                   health study                                  stopped
      identification          Maximum                                                                                     exceeding MCL
                                                                              Standard          period of interest                              pumping
      (contaminant)            (date of                Mean                                                             (month and year first
                                                                              deviation          (January 1968-                                 in model
                              maximum)                                                                                    exceeding MCL)
                                                                                                 February 1985)
                                                                 4
                                                                     Hadnot Point Industrial Area (HPIA)
 HP-602 (TCE)                    658                    359                       222                  357-499                 390              Dec. 1984
                             (Jan. 1959)                                                                                    (Oct. 1951)
 HP-608 (TCE)                     50                     25                        20                      28-50               307              Dec. 1984
                             (Sept. 1972)                                                                                   (Aug. 1957)
 HP-634 (TCE)                    659                    391                       170                  212-659                 283              Dec. 1984
                             (Oct. 1968)                                                                                    (Aug. 1960)
 HP-602 (benzene)               236                      53                        65                  48-236                   309             Dec. 1984
                             (Nov. 1984)                                                                                    (July 1958)
 HP-603 (benzene)               179                      29                        43                      6-129               345              June 1996
                             (May 1996)                                                                                     (Aug. 1967)
 HP-608 (benzene)                 11                      4                         4                          6-11             201             Dec. 1984
                             (Sept. 1979)                                                                                   (June 1966)
                                                                        4
                                                                            Hadnot Point landfill (HPLF)
                                                                                                           5
 HP-651 (PCE)                    353                    249                       122                          0-353            142             Feb. 1985
                             (Dec. 1982)                                                                                    (Apr. 1973)
                                                                                                       5
 HP-651 (TCE)                   7,135                 5,831                     2,071                      1-7,135             150              Feb. 1985
                             (Dec. 1978)                                                                                    (Aug. 1972)
 HP-651                         4,037                 3,284                       572              5
                                                                                                       69-4,037                150              Feb. 1985
   (1,2-tDCE)                (Dec. 1984)                                                                                    (Aug. 1972)
                                                                                                           5
 HP-651 (VC)                     660                    391                       173                          8-660            151             Feb. 1985
                             (Nov. 1984)                                                                                    (July 1972)
                                                          6
                                                              Hadnot Point water treatment plant (HPWTP)
 HPWTP(PCE)                      39                       4                         8                          0-39             114             NIA
                             (Nov. 1983)                                                                                    (Aug. 1974)
 HPWTP(TCE)                     783                     107                       180                      0-783               374              NIA
                             (Nov. 1983)                                                                                    (Aug. 1953)
 HPWTP                          435                      53                        95                      0-435               128              NIA
   (1,2-tDCE)                (Nov 1983)                                                                                     (Nov 1972)
 HPWTP(VC)                       67                        6                       13                          0-67             144             NIA
                             (Nov. 1983)                                                                                    (Nov. 1972)
 HPWTP                            12                      2                         3                          0-12              63             NIA
   (benzene)                 (Apr. 1984)                                                                                    (Jan. 1979)
   1
     For periods of time when concentrations are equal to or exceed the current MCLs for TCE, PCE, and benzene; non-rounded concentration values used to
calculate statistics
  2
      Current MCLs are as follows: vinyl chloride, 2 µg/L; PCE, TCE, and benzene, 5 µg/L; 1,2-tDCE, 100 µg/L (see Table A3)
  3
      Statistics are computed solely for periods of operation
  4
      See Appendix A3 for complete listing
  'Water-supply well HP-651 did not start pumping until July 1972; values shown represent dates of July 1972-February 1985
  6
      Finished-water concentrations; see Appendix A 7 for complete listing




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Benzene Concentrations in Groundwater                                              data and the model TechNAPLVol, (2) simulation of the dis-
                                                                                   solution of benzene from LNAPL and the subsequent fate and
      Benzene contamination of groundwater within the HPIA                         transport of dissolved benzene using the model TechFlowMP
occurred primarily as a result of operations in and around the                     at the HPFF, and in Building 1115 and Building 1613 areas,
HPFF and Building 1115 areas. The HPFF area, designated                            and (3) simulation of the fate and transport of dissolved-phase
as IRP site 22 under the CERCLA program, and UST Build-                            benzene in groundwater in the Building 1601 area using the
ing 1115, regulated under the RCRA program (Figures Al2                            model MT3DMS.
andA13), are interconnected by an underground fuel pipeline.                             Data on the thickness of floating product or "free"
Benzene occurs as free product (or "floating LNAPL") in                            LNAPLs at the HPIA have been collected since 1988. During
vicinity of the HPFF, Building 1115, and IRP site 94/Build-                        the period 198 8-1999, a total of 373 observations were
ing 1613 areas and as dissolved-phase benzene contamina-                           recorded, with 96 of those measurements indicating free
tion in the vicinity of Building 1601 (Faye et al. 2010, 2012).                    LNAPL (Jang et al. 2013). Previous investigations, listed in
Figure A9 shows the location of the HPFF, fuel lines from the                      Table Al 5, have documented fuel losses based on inventory
HPFF to other areas within the HPIA, the distribution of ben-                      losses (Water and Air Research, Inc. 1983; O'Brien and Gere
zene sample data, and the general location of historical areas                     Engineers, Inc. 1988, 1990; CH2M HILL, Inc. 2001) and
of free product measured in wells. Of the BTEX components                          have estimated volumes of subsurface LNAPL by using an
of fuel, benzene is a known human carcinogen (NTP 2011)                            analytical modeling approach (CH2M HILL, Inc. 2001; Catlin
and is of special interest to the ATSDR health studies (the cur-                   Engineers and Scientists 2010 45 ). Documented inventory
rent MCL for benzene is 5 µg/L). Because benzene occurs as
                                                                                   losses have ranged from 20,000 gal to 50,000 gal. Modeling
both free product and dissolved phase within the HPIA, three
                                                                                   estimates of subsurface LNAPL have indicated a range of
modeling approaches were necessary to reconstruct benzene
concentrations in groundwater: (1) estimation of the volume                         45
                                                                                       Draft report by Baker Environmental, Inc., contained in UST Manage-
of fuel loss and mass of LNAPL in the subsurface using site                        ment Web Portal File #01185, p. 526-562.




Table A15.  Estimates of fuel loss, free product in the subsurface, and fuel recovery at the Hadnot Point Industrial Area fuel farm,
Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.
[USM CB, U.S. Marine Corps Base; HPFF, Hadnot Point fuel farm; ATS DR, Agency for Toxic Substances and Disease Registry]

                                                                                Volume,
                           Type of estimate                                                                                 Reference
                                                                               in gallons
                                                                       Fuel-loss estimates
 USMC documentation of known release from                                   20,000-50,000              Water and Air Research, Inc. (1983)
   underground fuel line in 1979
 USMC documentation of known fuel releases and                              23,150-33,150              O'Brien and Gere Engineers, Inc. (1988, 1990),
   inventory losses during 1979-1987                                                                     CH2M HILL (2001)
                                                                    Model-derived estimates
 1
  SpillCAD™ model estimate of free product (LNAPL)                        830,324-1,061,901            UST Management Web Portal Files (2010-2012)2
   in the subsurface using free product measurements
   collected during 1988-1995
 Order-of-magnitude estimate of total fuel in the                         400,000-1, 100,000           CH2M HILL (2001)
   subsurface based on available documentation as of
   2001 (specific methodology not described)
                                                                     Fuel recovery estimate
                                                                                                       3
 Reported total fuel recovery from HPFF /Building 1115                          414,118                 USMCB Camp Lejeune (July 2010)
   area remediation systems as of July 2010
     1
         SpillCAD™ was developed by Environmental Systems & Technologies (1993)
     2
         Draft report by Baker Environmental, Inc., contained in UST Management Web Portal File #01185, p. 526-562
     3
         From information presented at the ATSDR-DON Data Mining & Discovery Technical Work Group Meeting, USM CB Camp Lejeune, July 21-22, 2010




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830,324 gal (1988-1991 data) to 1,061,901 gal (1992-1995                                  • Measured LNAPL thickness data in wells,
data) using the SpillCAD™ model (ES&T 1993; Catlin Engi-
neers and Scientists 2010). An order of magnitude approach                                • LNAPL and water densities,
for quantifying fuel in the subsurface resulted in estimates                              • Gas-water, gas-LNAPL, and LNAPL-water displace-
ranging from 400,000 gal to 1,100,000 gal (CH2M HILL,
                                                                                            ment pressures,
Inc. 2001). Most recently (July 2010), USMCB Camp Lejeune
estimated total fuel recovery from the HPFF /Building 1115                                • Surface tensions between the aforementioned phases, and
area remediation systems to be 414,118 gal (Table Al 5).
      The ATSDR volume estimates ofLNAPL in the subsur-                                   • Soil coefficients for the Brooks-Corey equation (Brooks
face at the HPFF and in the vicinity of Buildings 1115 and                                  and Corey 1964, 1966) in a three-dimensional domain.
1613 are based on using measured LNAPL thickness in wells                                 Because of uncertainty and variability of soil param-
(373 observations, 96 of which indicated free LNAPL) for                            eters, seven cases for each solution method were analyzed
1988-1999. With the aforementioned data, three computa-                             whereby entry pressures and the Brooks-Corey equation
tional methods were used to quantify and estimate LNAPL                             coefficients (Brooks and Corey 1964, 1966) were varied
volumes: (1) a semi-analytical solution described in Farr et                        (Jang et al. 2013). Results of the ATSDR volume estimates
al. (1990), (2) numerical integration of the semi-analytical                        are listed in Table Al6 showing the minimum, maximum,
equation (Farr et al. 1990, Equation 6) in a three-dimensional
                                                                                    and mean LNAPL volume estimates based on the solution
porous medium domain using the "apparent" LNAPL thick-
                                                                                    methodology (semi-analytical or numerical integration) for
ness from well data, and (3) numerical integration in a
                                                                                    each volume estimate. LNAPL volumes in the subsurface
three-dimensional porous medium using the "actual" LNAPL
                                                                                    range from 939,000 gal to 1,618,000 gal (depending on the
thickness from soil data. Results from the three methods are
                                                                                    method of estimation); the means range from 1,174,000 gal to
referred to as Scheme 1, Scheme 2, and Scheme 3, respec-
                                                                                    1,348,000 gal. It should be noted that the estimates listed in
tively, in Table Al 6. The three methods for LNAPL volume
estimation are contained in the model code TechNAPLVol.                             Table Al 6 are based on the assumption of fresh gasoline (Farr
Data and parameters used to calculate total floating LNAPL                          et al. 1990). For aged gasoline, values listed in Table Al6
volume and LNAPL volume in the subsurface included the                              increase about 20 percent; for specific estimates using aged
following (Jang et al. 2013):                                                       gasoline, refer to Jang et al. (2013).



Table A16.    Estimated volumes of light nonaqueous phase liquid in the subsurface, using semi-analytical solutions and numerical
integration, Hadnot Point Industrial Area fuel farm, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp
Lejeune, North Carolina. 1
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                                                                                                      Light nonaqueous phase liquid (LNAPL) volume, in gallons
                                1
                                    Method and model (scheme number)
                                                                                                         Minimum              Maximum                  Mean
3
 Analytical solution using depth ofLNAPL in wells; TechNAPLVol model; (Scheme 1)                           939,000            1,408,000              1,174,000
Numerical integration of three-dimensional domain using LNAPL depth in wells                               939,000            1,409,000              1,174,000
  (apparent thickness); TechNAPLVol model; (Scheme 2)
Numerical integration of three-dimensional domain using LNAPL depth in soil                              1,079,000            1,618,000              1,348,000
  (actual thickness); TechNAPLVol model; (Scheme 3)
  1
    Results listed are a summary of multiple simulation scenarios. Refer to Jang et al. (2013) for details and descriptions of each scheme; see Jang et al. (2013,
Tables S7.6 and S7.7) for full range ofresults and seven different simulation scenarios; also see Jang et al. (2013, Figure S7.12)
    2
        Volumes reported are for fresh gasoline; for aged gasoline, minimum volumes increase about 20 percent
    3
        Analytical solution derived by Farr et al. (1990)




A50                       Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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      The LNAPL source area characterized using the Tech-                                         (Table AS). A comprehensive summary of analyses for BTEX
NAPLVol model served as input to the three-dimensional                                            in water samples collected from Hadnot Point and Holcomb
finite-element model, TechFlowMP (Jang and Aral 2005,                                             Boulevard water-supply wells is provided in Faye et al. (2010).
2007), which was used to reconstruct benzene concentra-                                                Figure A20 shows reconstructed (simulated) benzene
tions in groundwater and at historically operated water-supply                                    concentrations in water-supply wells HP-602, HP-603, and
wells within the HPIA contaminant fate and transport sub-                                         HP-608. Reconstructed (simulated) monthly mean benzene
domain (Figure Al3). Additionally, the three-dimensional                                          concentrations in these water-supply wells also are listed in
finite-difference model, MT3DMS (Zheng and Wang 1999;                                             Appendix A3 for the entire historical reconstruction period
Zheng 2010), was used to reconstruct benzene concentrations                                       (January 1942-June 2008). The maximum reconstructed
within the HPIA subdomain where the benzene source was                                            groundwater concentration of benzene in water-supply well
characterized as dissolved-phase benzene in the vicinity of                                       HP-602 was 236 µg/L during November 1984 (Table Al 4,
Building 1601 (FigureA9, FigureA13, TableA13). Within the                                         Figure A20, Appendix A3). This well was permanently taken
HPIA, concentrations of benzene greater than detection limits                                     out of service on November 30, 1984, because of benzene
were determined in water samples collected from water-supply                                      contamination (Camp Lejeune Water Document CLW
wells HP-602 and HP-608. Benzene concentrations were below                                        #4913). By comparison, the maximum measured concentra-
detection limits in water samples collected from well HP-603                                      tion at water-supply well HP-602 when it was in continuous


                                                                   Simulation using TechFlowMP (Jang et al. 2013)
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                                                                                                        measured concentrations of benzene at selected



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       cc                                                                                               water-supply wells, Hadnot Point Industrial
               10                                                                                       Area, Hadnot Point-Holcomb Boulevard study
                                                                                                        area, U.S. Marine Corps Base Camp Lejeune,
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                                                                                                        North Carolina. (See Figure A13 for well locations
                                                                       'J                               and Table A5 for measured concentrations.)
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                     1940      1950       1960    1970     1980             1990    2000        2010




Chapter A: Summary and Findings                                                                                                                                           A51
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Historical Reconstruction Analyses and Results - - - - - - - - - - - - - - - - - - - - - - - - - - - -

service was 380 µg/L during July 1984 (Table A5), 46 and the                 of water-supply well HP-603 to benzene finished-water con-
reconstructed benzene concentration for July 1984 is 231 µg/L                centrations was also tested using a sensitivity analysis.
(Appendix A3). During November 1984, 32 water-supply                               The areal distributions of reconstructed benzene concen-
wells provided water to the HPWTP. The reconstructed com-                    trations for model layers 1, 3, and 5 for four periods-Janu-
bined flow rate for all wells was 417,012 cubic feet per day                 ary 1951, January 1968, November 1984, and June 2008-are
(ft 3/d), whereas the corresponding flow rate for well HP-602                shown in Figure A21. As previously noted, model layers 1, 3,
was 10,012 ft 3/d. Comparison of the combined flow rate for                  and 5 represent major water-bearing units in the study area and
all water-supply wells to the flow rate for well HP-602 for                  are correlated with the Brewster Boulevard aquifer system,
November 1984 indicates that the benzene contribution from                   the Tarawa Terrace aquifer, and the Upper Castle Hayne
water-supply well HP-602 to the finished water benzene
                                                                             aquifer, respectively (Table Al 1). Benzene characterized as an
concentration at the HPWTP is substantially reduced by dilu-
                                                                             LNAPL occurred near the water table at depths correspond-
tion, both under actual and simulated operating conditions.
                                                                             ing to model layer 1; water-supply wells HP-602, HP-603,
Additional discussion and results pertinent to measured and
                                                                             and HP-608 were open to water-bearing units corresponding
reconstructed finished-water concentrations are presented in
this report in the section on Computation of Finished-Water                  to model layers 3 and 5. Viewed synoptically, the maps in
Concentrations-Hadnot Point Water Treatment Plant.                           Figure A2 l illustrate a progression in the areal distribution of
       Simulated (reconstructed) benzene concentrations in                   benzene by model layer at the HPIA from the early onset of
water-supply wells HP-602 and HP-603 (Figure A20, Appen-                     pumping (January 1951) to benzene affecting water-supply
dix A3) indicate approximately the same range of concentra-                  wells (January 1968 and November 1984). After contaminated
tions during the core period of interest (1968-1985) to the epi-             water-supply wells (e.g., HP-602) were taken out of service,
demiological studies. Reconstructed benzene concentrations                   a substantial volume of free-product (LNAPL) benzene still
for well HP-602 are in reasonable agreement with field data.                 remained near the water table and in the shallow subsurface,
However, reconstructed benzene concentrations for water-sup-                 thereby providing an infinite benzene source to the underlying
ply well HP-603 are inconsistent with field data (Figure A20,                aquifers. This condition resulted in increased benzene con-
Table AS). Potential explanations for the apparent discrepancy               centrations and areal distributions of benzene in the subsur-
between simulated results and field data at water-supply well                face and model layers 1, 3, and 5 as seen in Figure A21 for
HP-603 are presented in the Discussion section of this report.               June 2008. Additionally, the ATSDR benzene analyses did not
To assess factors that may provide some explanation for this                 simulate remediation of benzene (removal ofLNAPL) as this
discrepancy, variations in source area, location, strength, and              was not a goal of the ATSDR water-modeling effort, so there
release date were tested using a sensitivity analysis (see report            is no reduction in LNAPL volume between November 1984
section on Sensitivity Analysis). In addition, the contribution              and June 2008 as seen in Figure A2 l. Larger-scale maps of
  46
                                                                             benzene concentrations in groundwater showing additional
     A benzene concentration of 720 µg/L was measured on December 10,
1984 (Table AS). At that time, well HP-602 was reported as out of service;   HPIA details such as building identifications are provided in
sampling protocol and methodology are not available.                         Appendix AS.




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                 Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                                                 Installation Restoration       -   B-     Simulated potentiometric contour-                Benzene concentration, in                                             s·
                                                                   Program site boundary                     Shows simulated potentiometric                   micrograms per liter                                                 =
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                                                                   and number                                surface. Hachures indicate                      1 to 5                                                                =
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                                                                                                             depression. Contour interval 1 foot.          • Greater than 5 to 50                                                 <en
                                                      • HP-634   Water-supply well                           Datum is National Geodetic                    • Greater than 50 to 500                                               CD
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                                                                  and number                                 Vertical Datum of 1929                        • Greater than 500 to 5,000                                            Ill
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              Figure A21. Reconstructed (simulated) water levels and distribution of benzene, Hadnot Point Industrial Area fate and transport model subdomain, model
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              layers 1, 3, and 5, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1951, January 1968, November 1984,                                                      ii
              and June 2008. (See Figure A13 for location and building numbers; see Appendix A5 for more detailed maps and results.)
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Simulation of Contaminant Fate and Transport-                                   30,000

Hadnot Point Landfill Area                                              a:      10,000
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     The area designated as the Hadnot Point landfill (HPLF)            ::::;
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contains IRP sites 3, 6, 10, 74, and 82; one AST/UST site               CL
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(tanks S889 and S89 l ); and 13 water-supply wells. All are             :;;;     1,000
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included within the ATSD R contaminant fate and transport               a:
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model subdomain for the HPLF area (Figures Al2 andA14).                 a:
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Descriptions and site histories for IRP and AST/UST sites are           ~         100
contained in Faye et al. (2010, 2012). Detailed water-supply            ~
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well operational histories are provided in Sautner et al. (2013a).      D
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Trichloroethylene (TCE) Concentrations
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in Groundwater                                                          D
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      Two TCE sources within IRP Sites 6 and 82 were identi-
                                                                                     1940    1950       1960        1970   1980          1990   2000   2010
fied for inclusion in contaminant fate and transport model
simulations of the HPLF (Tables A 7 and AS). The areas                                                             EXPLANATION
of highest contaminant concentrations and corresponding                                                 Concentration in groundwater
model source locations are shown in Figures Al 0 and Al 4,                                          Measured         Reconstructed       Type
respectively. Well HP-651 was the primary water-supply well
                                                                                                          0                               PCE
affected by groundwater contamination at the HPLF. For
historical reconstruction and modeling purposes, the two TCE                                              •                               TCE

sources were introduced to the HPLF model during January                                        Notes:
                                                                                                Groundwater-flow simulation using
1948 (Table Al3). Specific details pertinent to representa-
                                                                                                 MOOFLOW (Harbaugh 2005)
tion of the TCE sources in the contaminant fate and transport
                                                                                                 Contaminant fate and transport simulation
model are presented in Jones et al. (2013).                                                       using MT30MS (Zheng and Wang 1999; Zheng 2010)
      Figure A22 shows the reconstructed (simulated) TCE
concentrations at water-supply well HP-651, located to the east         Figure A22.     Reconstructed (simulated) and measured
of the TCE contaminant sources and the HPLF (FigureA14).                concentrations of tetrachloroethylene (PCE) and
Monthly reconstructed results for water-supply well HP-651              trichloroethylene (TCE) at water-supply well HP-651, Hadnot
also are listed in Appendix A3. Historical reconstruction results       Point landfill area, Hadnot Point-Holcomb Boulevard study area,
for the HPLF should be interpreted as monthly mean concen-              U.S. Marine Corps Base Camp Lejeune, North Carolina. (See
trations ofTCE dissolved in groundwater. The reconstructed              Figure A14 for well location and Table A4 for measured data.)
concentrations at water-supply well HP-651 are based on              subdomain representing the HPLF was assigned to model
groundwater flow from the model cell coincident with the loca-       layers 1-7 (Table Al2). Viewed synoptically, the maps in
tion of water-supply well HP-651 because this well is open to        Figure A23 illustrate a progression in the vertical (by model
the Upper Castle Hayne aquifer, River Bend and Lower units,          layer) and areal distribution ofTCE within the HPLF area.
which are correlated solely with model layer 5 (Table Al 1;          January 1968 coincides with the start of the core period for
refer to Jones et al. [2013] for details). As previously noted,      the epidemiological studies, but a time prior to the onset of
observation data at water-supply wells are limited, and in the       pumping at well HP-651. By January 1968, TCE contamination
case ofHP-651, three of the five water-quality samples were          within the HPLF area had migrated vertically downward to the
obtained between January 16 and February 4, 1985, and range          Upper Castle Hayne aquifer, corresponding to model layer 5
from 3,200 µg/L to 18,900 µg/L (Table A4). Given the data            (Table Al 1 and Figure A23). June 1978 and November 1984
measurement limitations, substantial variation in concentration      represent periods of substantial impact of water-supply well
range within a 1-month period, and interpretive constraints, the     HP-651 on groundwater flow and the migration ofTCE within
reconstructed (simulated) TCE concentrations shown in Fig-           the HPLF area. In the model, water-supply well HP-651 is
ure A22 (and listed in Appendix A3) are in reasonable agree-         pumping 100 percent from the Upper Castle Hayne aquifer
ment with observed data and "real world" conditions.                 (layer 5), and this effect is seen by the large cone of depres-
      The areal distributions of reconstructed TCE concentra-        sion centered at, and migration ofTCE to, well HP-651 during
tions for model layers 1, 3, and 5 for four periods-Janu-            June 1978 and November 1984 (Figure A23). Reduction in
ary 1968, June 1978, November 1984, and June 2008-are                TCE concentrations began when well HP-651 was taken out
shown in Figure A23. Model layers 1, 3, and 5 represent major        of service during February 1985 (Camp Lejeune Water Docu-
water-bearing units in the study area and are correlated with the    ment CLW #4913; Sautner et al. 2013a). By June 2008, a shift
Brewster Boulevard aquifer system, the Tarawa Terrace aquifer,       in the center of mass of the TCE plume in a northwesterly
and the Upper Castle Hayne aquifer, respectively (Table Al 1).       direction from well HP-651 is clearly seen in Figure A23. This
The TCE source occurring within the fate and transport model         shift in the center of mass ofTCE is primarily caused by the

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                                                                Installation Restoration     -   B-    Simulated potentiometric contour-              TCE concentration, in                                                           0
                                                                  Program site boundary                  Shows simulated potentiometric                 micrograms per liter                                                          =
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                                                                  and number                             surface. Hachures indicate                    1 to 5                                                                         2
                                                                                                         depression. Contour interval,           •     Greater than 5to 50                                                            !l
                                                      .HP-651 Pumping water-supply well                                                                                                                                               s·
                                                                and identification
                                                                                                         in feet, is variable. Datum is          •     Greater than 50 to 500                                                          =
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               Figure A23. Reconstructed (simulated) water levels and distribution of trichloroethylene (TCE), Hadnot Point landfill area fate and transport model subdomain,                                                         Ill
               model layers 1, 3, and 5, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1968, June 1978,                                                                     =
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               November 1984, and June 2008. (See Figure A14 for location; see Appendix A6 for more detailed maps and results.)                                                                                                       =
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influence of Wallace Creek (Figure Al4 and Appendix A6)                         for the HPLF area also should be interpreted to represent
on local groundwater flow and is more pronounced in model                       monthly mean concentrations of PCE dissolved in groundwater
layers 1 and 3. Note, remediation extraction well operations                    at the aforementioned water-supply well. Water-supply well
began during October 199647 and pumped from model layer 5.                      HP-651 is modeled as withdrawing water solely from model
Larger-scale maps showing additional HPLF area details such                     layer 5, which is correlated with the Upper Castle Hayne
as remediation well locations are provided in Appendix A6.                      aquifer-River Bend and Lower Units (Table Al 1; Jones et al.
      Summary statistics for reconstructed (simulated) ICE con-                 2013). As previously noted, observation data at water-supply
centrations at water-supply well HP-651 are listed in Table Al 4                wells are limited, and in the case ofHP-651, three of the five
(simulated historical monthly mean concentrations are listed                    water-quality samples were obtained between January 16 and
in Appendix A3). Maximum reconstructed ICE concentration                        February 4, 1985. Unlike the ICE water-quality sample data,
was simulated as 7,135 µg/L during December 1978. After the                     PCE values are relatively consistent, ranging in value from 307
onset of pumping at water-supply well HP-651 (July 1972), ICE                   µg/L to 400 µg/L (Table A4). The reconstructed (simulated)
concentrations during the period of interest to the ATSDR health                PCE concentrations shown in Figure A22 (and listed in Appen-
studies substantially exceeded the current MCL for ICE (5 µg/L)                 dix A3) provide good agreement with observed data.
by factors ranging from about 1 to more than 1,400. The current                       The areal distributions of reconstructed PCE concentra-
MCL for ICE was first exceeded at water-supply well HP-651                      tions for model layers 1, 3, and 5 for four periods-Janu-
during August 1972 and exceeded the MCL for 150 months                          ary 1968, June 1978, November 1984, and June 2008-are
(about 13 years). For specific data and operational information                 shown in Figure A24. Viewed synoptically, the maps in Fig-
on water-supply well HP-651, refer to Sautner et al. (2013a); for               ure A24 illustrate a progression in the vertical (by model layer)
detailed analyses and discussions pertinent to the fate and trans-              and areal distribution of PCE within the HPLF area. In the
port ofTCE within the HPLF area, refer to Jones et al. (2013).                  model, water-supply well HP-651 is pumping 100 percent from
                                                                                the Upper Castle Hayne aquifer (layer 5), and this effect is seen
                                                                                by the large cone of depression centered at, and migration of
Tetrachloroethylene (PCE) Concentrations
                                                                                PCE to, well HP-651 during June 1978 and November 1984.
in Groundwater                                                                  The effect of water-supply well HP-651 pumping from model
      At the HPLF, two PCE sources within IRP Sites 6 and 82                    layer 5 also is seen in model layer 3 and, to a lesser degree,
were identified for inclusion in contaminant fate and transport                 model layer 1 when compared with January 1968 historical
model simulations (Tables A 7 and AS). The source locations                     reconstruction results. Like ICE, reduction in PCE concentra-
are shown in Figure Al 4. Water-supply well HP-651 was the                      tions began when well HP-651 was taken out of service during
primary water-supply well affected by groundwater contami-                      February 1985 (Camp Lejeune Water Document CLW #4913;
nation within the HPLF area (Figure Al 0). Measured concen-                     Sautner et al. 2013a). By June 2008, a shift in the center of
trations from water-quality sampling of the well on January 16                  mass of the PCE plume in a northwesterly direction from well
and February 4, 1985, indicate PCE concentrations substan-                      HP-651 is clearly seen in Figure A24. This shift in the center
tially exceeded the current MCL for PCE of 5 µg/L (Table A4).                   of mass is primarily caused by the influence of Wallace Creek
However, the measured PCE concentrations are more than an                       (Figure Al4 and Appendix A6) on local groundwater flow as it
order of magnitude lower in value than corresponding ICE                        is more pronounced in model layers 1 and 3. Shallow and deep
concentrations measured during the same period of Janu-                         remediation extraction wells began operating during Octo-
ary-February 1985. This is evidence, therefore, that ICE was                    ber 1996. Comparisons of the vertical and areal distributions
not a degradation by-product of PCE and that PCE should be                      of PCE (Figure A24) with those ofTCE (Figure A23) clearly
characterized and modeled as a different contaminant source                     indicate the substantially lower concentrations of PCE in all
within the HPLF area-described in Jones et al. (2013). 48                       model layers and the substantially reduced areas of dispersion
For historical reconstruction and modeling purposes, the two                    of PCE within each of the model layers. Larger-scale maps of
PCE sources (locations shown in Figure Al4) were assigned                       the vertical and areal distributions of PCE showing additional
to HPLF model layers 1-5 (Table Al2) and were introduced                        HPLF area details are provided in Appendix A6.
during January 1948 (Table Al3). Specific details pertinent to                        Summary statistics for reconstructed PCE concentra-
representation of the PCE sources in the contaminant fate and                   tions at water-supply well HP-651 are listed in Table Al 4
transport model are presented in Jones et al. (2013).                           (simulated historical monthly mean concentrations are listed
      Figure A22 shows the reconstructed (simulated) PCE                        in Appendix A3). Maximum reconstructed PCE concentration
concentrations at water-supply well HP-651, located to the east                 was estimated to be 353 µg/L during December 1982. After the
of the PCE contaminant sources within the HPLF area (Fig-                       onset of pumping at water-supply well HP-651 (July 1972),
ures AlO andA14). Monthly reconstructed results for water-                      PCE concentrations during the period of interest to the ATS DR
supply well HP-651 also are listed in Appendix A3. As with                      health studies exceeded the current MCL for PCE (5 µg/L) by
results obtained for the HPIA, historical reconstruction results                a factor of more than 70. At water-supply well HP-651, the
                                                                                current MCL for PCE was first exceeded during April 1973
  47
     Refer to Faye et al. (2010, p. C46-C51) for details and location ofreme-   and exceeded the MCL for 142 months (about 12 years). For
diation extraction wells.                                                       specific data and operational information on water-supply well
  48
     As documented in Lawrence (2007) and Jang and Aral (2008b), under
                                                                                HP-651, refer to Sautner et al. (2013a); for detailed analyses
anaerobic biodegradation, PCE transforms (degrades) to TCE, 1,2-cDCE or         and discussions pertinent to the fate and transport of PCE
1,2-tDCE, VC, and ethene.                                                       within the HPLF area, refer to Jones et al. (2013).

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                                                                                                              EXPLANATION                                                                         100    200 METERS          0
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                                                                Installation Restoration     -   B-    Simulated potentiometric contour-              PCE concentration, in
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                                                                  Program site boundary                  Shows simulated potentiometric                 micrograms per liter                                                 2
                                                                  and number                             surface. Hachures indicate                                                                                          !l
                                                                                                                                                       1 to 5                                                                s·
                                                      .HP-651 Pumping water-supply well
                                                                                                         depression. Contour interval,           •     Greater than 5to 50                                                    =
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               Figure A24. Reconstructed (simulated) water levels and distribution of tetrachloroethylene (PCE), Hadnot Point landfill area fate and transport model                                                         =
               subdomain, model layers 1, 3, and 5, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1968,                                                            =-
               June 1978, November 1984, and June 2008. (See Figure A14 for location; see Appendix A6 for more detailed maps and results.)
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Linear Control Model Methodology to                                      Methodology to Reconstruct Water-Supply Concentrations.)
Reconstruct Concentrations at Water-Supply                               Deactivation of water-supply well HP-651 (Figure AS)
                                                                         presented an opportunity to test and apply the LCM because
Well HP-651                                                              there were sufficient, although limited, observation data once
      An alternative and simpler computational method, Linear            the well was secured and taken out of service on February 4,
Control Model (LCM) methodology, which is a linear state-                1985 (Camp Lejeune Water Document CLW #4913; Sautner
space representation of a contaminated groundwater aquifer               et al. 2013a). Measured data for PCE, TCE, 1,2-tDCE, and
system, was developed to reconstruct contaminant concen-                 VC are listed in Table A4 and are also shown graphically in
trations in water-supply wells and compare results with the              Figure A25. Reconstructed historical monthly concentrations
MODFLOW-MT3DMS numerical modeling approach. (See                         at water-supply well HP-651, derived using the LCM, are
previous discussion in the section Linear Control Model                  shown in Figure A25 for PCE, TCE, 1,2-tDCE, and VC. For




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                                                                    EXPLANATION
                                                         Model used to simulate concentration
                                                  - - MT3D MS-Numerical contaminant fate and
                                                       transport model (Jones et al. 2013)
                                                  - - LCM-Linear control model (Guan et al. 2013)

                                                     •     Measured concentration (see Table A4)

               Figure A25.   Reconstructed (simulated) concentrations of tetrachloroethylene (PCE), trichloroethylene (TCE),
               trans-1,2-dichloroethylene (1,2-tDCE), and vinyl chloride (VC) at water-supply well HP-651 using numerical
               (MT3DMS) and linear control methodology (TechControl) models, Hadnot Point-Holcomb Boulevard study area,
               U.S. Marine Corps Base Camp Lejeune, North Carolina. (See Figure A14 for well location.)

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PCE and TCE, corresponding concentrations reconstructed            dissolved benzene using the TechFlowMP model (Jang et al.
(simulated) using the numerical contaminant fate and trans-        2013) wherein less than 2 percent of the benzene dissolved
port model MT3DMS (Zheng and Wang 1999; Zheng 2010)                into groundwater from the LNAPL source. Furthermore, simi-
also are shown for comparison. The results shown in Fig-           lar to the plots shown in Figure A26 where pumping removes
ure A25 demonstrate very good agreement between the LCM            the least mass (prior to the onset of remediation extraction-
results, the numerical contaminant fate and transport model        well pumping), the TechFlowMP benzene LNAPL simulations
(MT3DMS) results, and observation data for water-supply            show that only 0.005 percent of the dissolved benzene mass is
well HP-651. Corresponding monthly historical concentrations
                                                                   removed by pumping (Jang et al. 2013).
for 1,2-tDCE and VC derived from the LCM analyses also are
                                                                         Quantitative results for mass balance terms obtained from
listed in Appendix A3. Thus, the application of the LCM to a
contaminated water-supply well such as HP-651 demonstrates         contaminant fate and transport simulations using MT3DMS
that historical contaminant concentrations can be reconstructed    are listed in Table Al 7. Results are listed for the core period of
using a simpler modeling approach; results are reliable when       interest to the ATSDR health studies (January 1968-Decem-
compared with field data and historical reconstruction results     ber 1985) and for the end of the simulation period (June
from a numerical contaminant fate and transport model              2008). The mass in the aquifer should approximately equal
(MT3DMS). Details on the development of the LCM meth-              the mass contributed by the sources minus the mass removed
odology and application to water-supply well HP-651 are            through by biodegradation, supply wells, and drains (in the
presented in Guan et al. (2013).                                   case of the HPLF area). For example, during December 1985
                                                                   for the HPLF area, the TCE mass in the aquifer is simulated
                                                                   as 2,254 kilograms (kg), which is about equal to the mass
Estimates of Contaminant Mass in Groundwater
                                                                   contributed by the contaminant source (4,501 kg) minus the
      Estimates of subsurface contaminant mass pertinent to        total mass removed through biodegradation (1,438 kg), supply
fate and transport in groundwater were previously discussed        wells (686 kg), and drains (125 kg) or 2,252 kg. At the HPIA,
and are listed in Table A6. Results of simulated contaminant       during the period January 1968-December 1985, 3.3 kg of
mass in groundwater for calibrated fate and transport models       TCE were removed by water-supply wells49 near the Building
(MT3DMS) for the HPIA and HPLF areas for dissolved con-            1601 area, and 26 kg were removed by water-supply wells near
taminants (TCE, PCE, and benzene) are shown in Figure A26          the Building 900 area. This TCE mass, which was dissolved
and are listed in Table Al 7. In these mass balance graphs,        in groundwater, was the raw water source for contaminated fin-
positive-valued plots indicate mass added to the aquifer (from     ished water supplied by the HPWTP to base housing and other
contaminant sources), and the negative-valued plots indicate       facilities and intermittently supplied to the Holcomb Boulevard
mass removed from the aquifer. At the HPIA, for TCE, most          water-distribution system. Ofnote, in the HPLF area, 686 kg
mass (by volume) was removed through biodegradation; the           ofTCE were removed by water-supply well HP-651 during
least amount of mass was removed through pumping ofwater-          the core period of interest to the ATS DR health studies (Janu-
supply wells. For the HPLF area, most mass was removed
                                                                   ary 1968-December 1985), which is more than 20 times more
by sorption until remediation activities were initiated around
                                                                   than the mass removed by HPIA water-supply wells (about
1996. Then, most of the mass in the aquifer was removed
                                                                   30 kg) operating near Buildings 1601 and 900.
through pumping of remediation extraction wells. Very little
dissolved benzene was added to the aquifer, when compared to          49
                                                                         The figure of 3 .3 kg is arrived at by computing the difference in mass
the other contaminants. This is consistent with results obtained   removed by supply wells between January 1968 (2.5 kg) and December 1985
from the historical reconstruction analyses ofLNAPL and            (5.8) for Building 1601.




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                                                                       0.6
                                                                                                           Removed by pumping of wells
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      c:(                                                                                                  Removed by sorption
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      -'                                                                                          Positive values represent addition of mass; negative
      ::::,
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      ::::,                                                                                        to benzene dissolved in groundwater (see Jang et al.
      u                                                                -0.2
                                                                                                   2013 for LNAPL analysis of benzene)
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      c:(                                                                                          specified-head boundary conditions are negligible
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                    1950      1960    1970   1980   1990   2000      2010                  1950       1960     1970    1980      1990     2000      2010



                       Figure A26.    Reconstructed (simulated) cumulative mass balance and volumes of tetrachloroethylene
                       (PCE), trichloroethylene (TCE), and benzene in groundwater, Hadnot Point-Holcomb Boulevard study
                       area, U.S. Marine Corps Base Camp Lejeune, North Carolina.




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Table A17.   Reconstructed (simulated) cumulative mass balance and volumes of tetrachloroethylene (PCE), trichloroethylene (TCE),
and dissolved benzene, derived from contaminant fate and transport simulations using MT3DMS, Hadnot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.
[kg, kilogram; gal, gallon]

                                                                                Simulated cumulative mass and volume
             Mass term                             January 1968                               December 1985                         June 2008
                                             kg                   gal                    kg               gal              kg                    gal
                                    Hadnot Point Industrial Area (HPIA) fate and transport subdomain (see Figure A13)
                                                            Building 1601-Trichloroethylene (TCE)
 Source                                     637               115                    1,379               249              1,684                  304
 Removed by biodegradation                  520                   94                 1,248               225              1,675                  302
 Removed by wells                              2.5                 0.5                    5.8                  1.1              5.8                 1.1
 Removed by sorption                         98                   18                   151                27               171                    31
                     1
 Mass in aquifer                            117                   21                   130                23                    0.9                0.2
                                                                        Building 1601-Benzene
 Source                                        1.3                 0.4                    2.7                 0.8               3.4                 1.0
 Removed by biodegradation                     0.2                 0.1                    0.5                 0.2               1.2                0.4
 Removed by wells                              0.3                 0.1                    0.9                 0.3               0.9                0.3
 Removed by sorption                           0.5                 0.1                    0.9                 0.3               1.5                0.5
 Mass in aquifer 1                             0.9                 0.3                    1.3                 0.4               1.3                0.4
                                                            Building 900-Trichloroethylene (TCE)
 Source                                     441                   80                 1,012               183              1,251                  226
 Removed by biodegradation                  305                   55                   873               158              1,209                  218
 Removed by wells                             19                   3                    45                    8             45                     8
 Removed by sorption                         91                   17                   160                29               190                    34
 Mass in aquifer 1                          120                   22                   101                    18                0.9                0.2
                                      Hadnot Point landfill (HPLF) area fate and transport subdomain (see Figure A14)
                                                                       Tetrachloroethylene (PCE)
 Source                                      97                   16                   184                30               426                    69
 Removed by biodegradation                    14                   2                    41                    7             80                    13
 Removed by wells                              0                   0                    30                    5            231                    38
 Removed by sorption                         61                   10                   119                    19           188                    31
 Removed by drains                             0                   0                                          0.2               5                  0.9
 Mass in aquifer 1                           83                   13                   113                    18           106                    17
                                                                         Trichloroethylene (TCE)
 Source                                   2,514               454                    4,501               812             11,031                 1,990
 Removed by biodegradation                  520                   94                 1,438               259              2,611                  471
 Removed by wells                              0.0                 0.0                 686               124              6,414                 1,157
 Removed by sorption                      1,180               213                    2,043               369              3,030                  547
 Removed by drains                             7                                       125                23               331                    60
                     1
 Mass in aquifer                           1985               358                    2,254               407              1,666                  301
  1
      Mass in aquifer includes sorbed and dissolved




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Computation of Finished-Water Concentrations-                                        the range in values for reconstructed and measured concentra-
                                                                                     tions span several orders of magnitude, FigureA27 is plotted
Hadnot Point Water Treatment Plant
                                                                                     using a logarithmic ordinate (y-axis). Ofnote in Figure A27
      Using reconstructed (simulated) water-supply well con-                         is the effect of the contribution of contaminated ground-
centrations previously discussed (Figures Al 8, A20, A22, A25,                       water when pumping began at water-supply well HP-651
and Appendix A3 ), monthly mean concentrations of PCE,                               (July 1972). TCE concentrations in finished water at the
TCE, 1,2-tDCE, VC, and benzene were estimated for finished                           HPWTP ranged from about 10 to 30 µg/L for the period 1955-
water at the HPWTP. These estimates were computed using a                            1972, prior to the onset of pumping from water-supply well
materials mass balance model (simple mixing) to compute the                          HP-651 (Figure A27, Appendix A7). Subsequent to the onset
flow-weighted mean concentrations ofVOCs as described ear-                           of pumping of water-supply well HP-651 during July 1972,
lier in the section on Computation of Contaminated Finished-                         finished-water concentrations increased to a maximum com-
Water Concentrations.                                                                puted value of 783 µg/L during November 1983 (Table Al8
      Reconstructed (simulated) monthly mean concentrations                          and Appendix A 7). Measured concentrations of PCE, TCE,
of PCE, TCE, 1,2-tDCE, VC, and benzene in finished water                             1,2-tDCE, VC, and benzene and historical reconstruction
delivered by the HPWTP and measured concentrations in                                (simulated) results for the HPWTP are listed in Table Al 8.
finished water ofVOCs are shown in Figure A27. The current                           Given the limited number of measured finished-water concen-
MCL for each contaminant (Table A3) also is shown. Monthly                           tration data and their substantial variations, there is reasonable
reconstructed concentrations at the HPWTP for the entire his-                        agreement between measured finished-water concentrations
torical period (1942-2008) are listed in Appendix A 7. Because                       and historical reconstruction results for the HPWTP.
Table A18.   Selected measured and reconstructed (simulated) concentrations of tetrachloroethylene (PCE), trichloroethylene (TCE),
trans-1,2-dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene at the Hadnot Point water treatment plant, Hadnot Point-
Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.
[µg/L, microgram per liter; J, estimated]

                                     1                                       2                                           2
                                         Measured data                           Reconstructed (simulated)                   Reconstructed (maximum value)
      Contaminant                                Concentration,             Simulation          Concentration,               Simulation        Concentration,
                             Sample date
                                                    in 11g/L                   date                in 11g/L                     date              in 11g/L
 PCE                        5/27/1982 3                   15                 May 1982                   21                   Nov. 1983                39
                            7/27/1982 4                  100                 July 1982                  27
                            12/4/1984 6                    3.9J              Nov. 1984                  31
                            2/5/1985 7                     7.5J              Jan. 1985                  16
 TCE                        5/27/1982 3               1,400                  May 1982                 438                    Nov. 1983               783
                            7/27/1982 5                  19                  Aug. 1982                670
                            7/27/1982 6                  21                  Aug. 1982                670
                            12/4/1984 5                  46                  Nov. 1984                639
                            12/4/1984 6                 200                  Nov. 1984                639
                            12/12/1984 6                  2.3J               Dec. 1984                 43
                            12/19/1984                    1.2                Dec. 1984                 43
                            2/5/1985 7                  429                  Jan. 1985                324
 1,2-tDCE                   12/4/1984 6                   83                 Nov. 1984                358                    Nov. 1983               435
                            12/4/1984 5                   15                 Dec. 1984                 26
                            12/12/19846                    2.3J              Dec. 1984                 26
                            2/5/1985 7                   150                 Jan. 1985                163
 vc                         2/5/1985 7                     2.9J              Jan. 1985                  31                   Nov. 1983                67
 Benzene                    11/19/1985 7•8•9          2,500                  Nov. 1985                   3                   Apr. 1984                12
                            12/10/1985 7                 38                  Dec. 1985                   3
                            12/18/1985 7                  1.0                Dec. 1985                   3
  1
     Data from Faye et al. (2010, Tables Cll and Cl2)
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     Simulation results represent the last day of each month ( e.g., May 31 ); results reported for simulation month nearest the sample date; refer to Appendix A 7
for complete listing ofreconstructed finished-water concentrations
   3
     Water sample collected at Building NH-1; data reported as unreliable
   4
     Water sample collected at Building FC-530
   5
     Untreated water
   6
     Treated water
   'Treatment status unknown
   'Laboratory analysis noted with: "Sample appears to have been contaminated with benzene, toluene, and methyl chloride" (ITC Environmental Consultants 1985)
   'Data noted with: "Not Representative" (U.S. Marine Corp Base Camp Lejeune Water Document CLW #1356)

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                                        Maximum contaminant level
                                        for PCE, TCE, and benzene




                                           Maximum contaminant
                                                level for VG




                    1950                      1960                      1970                    1980                1990             2000

                                                                               EXPLANATION
                           Concentration in finished water at water treatment plant           Model                 See for
                             Contaminant          Measured      Rec on stru cted               code              result details
                                                 (Table A18)
                               PCE                   0                                 MT3DMS                    Jones et al. 2013

                               TCE                   ■                                 MT3DMS                    Jones et al. 2013
                               1,2,-tDCE             A                                 TechControl (LCM)         Guan et al. 2013
                               vc                    T                                 TechControl (LCM)         Guan et al. 2013
                               Benzene               ♦                                 MT3DMS [dissolved]        Jones et al. 2013
                                                                                       TechFlowMP [LNAPL]        Jang et al. 2013


                        Figure A27. Reconstructed (simulated) finished-water concentrations of tetrachloroethylene (PCE),
                        trichloroethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene, and
                        measured concentrations, Hadnot Point water treatment plant, Hadnot Point-Holcomb Boulevard study
                        area, U.S. Marine Corps Base Camp Lejeune, North Carolina. (Note: See Appendix A7 for monthly mean
                        finished-water concentration and Table A3 for detailed list of current maximum contaminant levels.)
                        [J, estimated; LCM, linear control model; LNAPL, light nonaqueous phase liquid]




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Intermittent Transfers of Finished Water from                                                Because of the interconnection of the Hadnot Point
                                                                                       and Holcomb Boulevard water-distribution systems, a more
Hadnot Point to Holcomb Boulevard                                                      complex analysis was necessary (compared to the simple
                                                                                       mixing-model approach described by Equations Al and A2) to
      During the period June 1972-December 1985, the Hadnot
                                                                                       determine the concentration of finished water in the Holcomb
Point and Holcomb Boulevard water-distribution systems were
                                                                                       Boulevard water-distribution system (Figure Al5) during
intermittently interconnected during dry spring and summer
                                                                                       periods of interconnection. 50 This required the application of
months. During these periods, contaminated Hadnot Point                                the EPANET 2 water-distribution system model (Rossman
finished water (Figure A27) was transferred to and distributed                         2000) and extended period simulation (EPS). The EPANET 2
within the uncontaminated Holcomb Boulevard water-distribu-                            water-distribution system model was calibrated for the Hol-
tion system. The interconnection of the two water-distribution                         comb Boulevard water-distribution system using field data
systems was primarily accomplished by operating booster                                collected by the ATSDR water-modeling team; field data
pump 742, although on rare occasions, the valve at Marston                             represented operational conditions during 2004 (Sautner et al.
Pavilion (near Wallace Creek) also was opened (Figure Al).                             2005, 2007, 2013b). EPSs were used to reconstruct water-
Operational records indicating booster pump 742 operations                             distribution system flow and mass transport patterns during
and Marston Pavilion valve openings are only partially docu-                           discrete interconnection events (Figure A28) when booster
mented. Interconnection information and data that are available                        pump 742 (Figure Al) was intermittently operated, resulting
were obtained from the USMCB Camp Lejeune water utility                                in the transfer of contaminated finished water from the Hadnot
log books (Camp Lejeune Water Documents CLW #7023-                                     Point water-distribution system to the "uncontaminated"
                                                                                       Holcomb Boulevard water-distribution system. Pipelines
CLW #8735). These data, representing the number of intercon-
                                                                                       represented in the water-distribution system network models
nection events, are shown graphically in Figure A28. Note, all
contaminated Hadnot Point water-supply wells were taken out                              50
                                                                                            See section on Computation of Contaminated Finished-Water
of service after February 1985 (Sautner et al. 2013a).                                 Concentrations.


                  20

                                                                                                                                                          19
                                                            EXPLANATION
                  18
                                12      Number of           Notes:
                                         interconnection    (1) Wallace Creek/Marston Pavilion valve

                  16



                  14
                              D
                                I        events (booster
                                         pump 742
                                         operated)
                                        No information
                                                                and booster pump 742 opened for 8 continuous
                                                                days, January28-February4, 1985
                                                            (2) Information and data from Camp Lejeune
                                                                water utility log books (CLW #7023-CLW #8735)
                                                            (3) Average operational hours for
                                                                booster pump 742 are 17:15-23:00

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                    1965         1972           1974           1976             1978               1980             1982           1984                   1986


                       Figure A28. Number of interconnection events when Hadnot Point finished water was transferred
                       to the Holcomb Boulevard water-distribution system, Hadnot Point-Holcomb Boulevard study area,
                       U.S. Marine Corps Base Camp Lejeune, North Carolina, 1972-1986.

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are coincident with locations of streets within the HPHB study                             probability and number of monthly interconnection events that
area (Figure Al) (e.g., see Maslia et al. [2009b, Figure 13].)                             occurred during the months of April-August for years 1972-
The network representation of the "real world" Hadnot Point                                1985. 52 Table Al 9 lists the number of recorded interconnection
and Holcomb Boulevard water-distribution systems was                                       events and the number of events predicted by using a Markov
simplified by representing the Hadnot Point water-distribution                             Chain analysis for the period 1972-1985. Details of the Markov
system as an infinite reservoir on the upstream side of booster                            process are provided in Sautner et al. (2013b ).
pump 742; this allowed for shorter EPANET 2 model run-                                          Using the Markov Chain analysis when data were unavail-
times. To simulate the estimated percentage of Hadnot Point                                able or unknown, EPANET 2 EPSs were conducted for each
contaminated water at locations throughout Holcomb Boule-                                  month when water transfers occurred by operating booster
vard, 100 units (e.g., 100 µg/L) of a conservative tracer51 were                           pump 742 (interconnection event). Note, for the 8-day period
placed in the model's reservoir location, which represented                                of January 28-February 4, 1985, the HBWTP was shut down
finished (contaminated) Hadnot Point water that would have                                 (Camp Lejeune Water Documents CLW #8109 and #8ll 7).
been transferred to the Holcomb Boulevard water-distribution                               During this period, all Holcomb Boulevard family housing
system through booster pump 742. For the 8-day period, Janu-                               areas were continuously supplied with contaminated Hadnot
ary 28-February 4, 1985, the bypass valve at Marston Pavil-                                Point finished water. Results for each Holcomb Boulevard
ion (Figure Al) was documented to have been open, thereby                                  housing area for 1972-1985 are listed in Table A20. 53 Results
allowing finished (contaminated) Hadnot Point water to flow                                should be interpreted as monthly mean concentrations for
freely through the bypass valve to the Holcomb Boulevard                                   a specific housing area assuming a source (Hadnot Point
water-distribution system.
      Because information pertaining to times when intercon-                                  52
                                                                                                 A Markov process analyzes the tendency of one event to be followed by
nection events occurred is limited, and for some years unknown                             another event based on the sequence of events. Using this analysis, one can
(e.g., 1972-1977, Figure A28), a Markov process (Ross                                      generate a new sequence of random but related events, which will look similar
1997) was applied using available information to estimate the                              to the original. A stream of events is called a Markov Chain.
                                                                                              53
                                                                                                 Holcomb Boulevard housing areas and their designations for which
  51
     A conservative tracer is a chemical compound whose concentration does                 results are provided are Paradise Point (PP), Midway Park (MP), Berkeley
not change due to biological or chemical processes.                                        Manor (BM), and Watkins Village (WV); see Figure Al for locations.



Table A19.   Number of recorded and predicted interconnection events when Hadnot Point finished water was transferred to the
Holcomb Boulevard water-distribution system, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune,
North Carolina, 1972-1985.
[Rec., recorded; Pred., predicted; NI A, not applicable; - , data not available]

                                 April                       May                             June                           July                         August               I
       Year          1                   2
                         Rec.                Pred.   Rec.          Pred.           Rec.             Pred.          Rec.            Pred.        Rec.              Pred.       I
       19723          NIA                    NIA     NIA           NIA             -                  0             -               0            -                 0
       1973              -                    0      -              0              -                   1            -               0            -                 0
       1974              -                    0      -              0              -                  0             -               0            -                 0
       1975              -                    0      -              0              -                  0             -               0            -                 0
       1976              -                    0      -              0              -                   1            -               0            -                 0
       1977              -                    1      -               1             -                   1            -                1           -                  1
       1978                  0                0          3          2              12                 3                 1            1               0             2
       1979              -                    1      -               1             -                  2             -                1           -                  1
       1980                  0                0          0           1                 4              2                 0            1           -                 2
       1981              -                   16      -               3             -                  3             -                1           -                  1
       1982              -                    2      -               5             -                  2             -               2                0              1
       1983                  0                1          4           4                 1              7                 1           2                1             2
       1984                  1                1          0           3                 0              3                 0           2                0             2
       19854                 5                5          4           3                 7              5                 2           2                1              1
  1
      Recorded values obtained from Camp Lejeune water utility log books (U.S. Marine Corps Base Camp Lejeune Water Documents CLW #7025-CLW #8735)
  2
      Predicted interconnection events derived from application of Markov Chain analysis; refer to Sautner et al. (2013b)
  3
      Prior to June 1972, the Hadnot Point water treatment plant (WTP) supplied all of the finished water to Holcomb Boulevard family housing areas
  4
   For the period of January 28-February 4, 1985, booster pump 742 operated continuously due to shut down of Holcomb Boulevard WTP; this continuous
event is not included in the Markov Chain analysis


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Table A20.  Reconstructed (simulated) monthly mean percentage of finished Hadnot Point water treatment plant water transferred
through Booster Pump 742 and distributed to Holcomb Boulevard family housing areas during interconnection events, U.S. Marine
Corps Base Camp Lejeune, North Carolina, 1972-1985.1-2
[Values in percent; PP, Paradise Point; MP, Midway Park; BM, Berkeley Manor; WV, Watkins Village; - , not applicable]


 Month
                      2
                          1972                          1973                            1974                           1975                           1976                I
            pp     MP        BM      'WV     pp    MP      BM        'WV      pp   MP      BM      'WV     pp    MP        BM      'WV     pp    MP          BM   'WV     I
  Jan.     100     100       100     -       0      0           0     -       0    0           0   -        0      0          0    -       0      0          0    -



  Feb.     100     100       100     -       0      0           0     -       0    0           0   -        0      0          0    -       0      0          0    -



  Mar.     100     100       100     -       0      0           0     -       0    0           0   -        0      0          0    -       0      0          0    -



  Apr.     100     100       100     -       0      0           0     -       0    0           0   -        0      0          0    -       0      0          0    -



  May      100     100       100     -       0      0           0     -       0    0           0   -        0      0          0    -       0      0          0    -



  June     100     100       100     -       0      I           I     -       0    0           0   -        0      0          0    -       0      I           I   -



  July        6       I          2   -       0      0           0     -       0    0           0   -        0      0          0    -       0      0          0    -


  Aug.        0       0          0   -       0      0           0     -       0    0           0   -        0      0          0    -       0      0          0    -



  Sept.       0       0          0   -       0      0           0     -       0    0           0   -        0      0          0    -       0      0          0    -



  Oct.        0       0          0   -       0      0           0     -       0    0           0   -        0      0          0    -       0      0          0    -



  Nov.        0       0          0   -       0      0           0     -       0    0           0   -        0      0          0    -       0      0          0    -



  Dec.        0       0          0   -       0      0           0     -       0    0           0   -        0      0          0    -       0      0          0    -



                          1977                          1978                            1979                           1980                           1981
 Month
            pp     MP        BM      'WV     pp    MP      BM        'WV      pp   MP      BM      WV      pp    MP        BM      WV      pp    MP          BM   WV
  Jan.        0       0          0   -       0      0           0         0   0    0           0       0    0      0          0        0   0      0          0        0
  Feb.        0       0          0   -       0      0           0         0   0    0           0       0    0      0          0        0   0      0          0        0
  Mar.        0       0          0   -       0      0           0         0   0    0           0       0    0      0          0        0   0      0          0        0
  Apr.        0       I          I   -       0      0           0         0   0    I           I       I    0      0          0        0   0      I          15   11
  May         0       0          I   -       0      I           2         I   0    0           I       I    0      0          0        0   0      I          4        3
  June        0       0          I   -       I      7          15     11      0    I           2       I    0      2          4        3   0      I          3        2
  July        0       1          1   -       0      0           0         0   0    0           1       1    0      0          0        0   0      0           1       1
  Aug.        0       I          I   -       0      0           0         0   0    0           I       I    0      0          0        0   0      0           I       I
  Sept.       0       0          0   -       0      0           0         0   0    0           0       0    0      0          0        0   0      0          0        0
  Oct.        0       0          0   -       0      0           0         0   0    0           0       0    0      0          0        0   0      0          0        0
  Nov.        0       0          0   -       0      0           0         0   0    0           0       0    0      0          0        0   0      0          0        0
  Dec.        0       0          0   -       0      0           0         0   0    0           0       0    0      0          0        0   0      0          0        0

 Month
                          1982                          1983                            1984                           4
                                                                                                                       1985                           1986                1
            pp     MP        BM      WV      pp    MP      BM        WV       pp   MP      BM      WV      pp    MP        BM      WV      pp    MP          BM   WV
  Jan.        0       0          0       0   0      0           0         0   0    0           0       0   10     10          10   10
  Feb.        0       0          0       0   0      0           0         0   0    0           0       0   20     16          17   17
  Mar.        0       0          0       0   0      0           0         0   0    0           0       0    0      0          0        0
  Apr.        0       I          2       2   0      0           0         0   0    0           I       I    0      I           5       4
  May         0       I          4       3   0      I           3         2   0    0           0       0    0      2          4        3
  June        0       I          2       I   0      0           0         0   0    0           0       0    I      3          7        6
  July        0       I          2       I   0      0           0         0   0    0           0       0    0      0           I       I
  Aug.        0       0          I       I   0      0           I         I   0    0           0       0    3      I           I       I
  Sept.       0       0          0       0   0      0           0         0   0    0           0       0    0      0          0        0
  Oct.        0       0          0       0   0      0           0         0   0    0           0       0    0      0          0        0
  Nov.        0       0          0       0   0      0           0         0   0    0           0       0    0      0           I       I
  Dec.        0       0          0       0   0      0           0         0   0    0           0       0    0      0          0        0
   1
     Based on a concentration of 100 micrograms per liter of a dissolved conservative contaminant in Hadnot Point finished water being transferred through Booster
Pump 742. To obtain a specific concentration for Holcomb Boulevard family housing area, multiply concentration of Hadnot Point finished water by percent (in decimal
form) for month of interest
   2
     Monthly percentages rounded to nearest whole number
   3
     Values for January-June 1972 represent Hadnot Point finished water without any mixing (dilution) with Holcomb Boulevard water treatment plant (WTP) finished water
because the Holcomb Boulevard WTP came online after June 1972 (Scott A. Brewer, U.S. Marine Corps Base Camp Lejeune, written communication, September 29, 2005)
   'Watkins Village housing was not built and occupied until about 1978 (Faye et al. 2010) and the first documented interconnection occurs during May 1978 (U.S. Marine
Corps Base Camp Lejeune Water Documents CLW #7023, #7031, and #7033)
   5
     For period of January 28-F ebmary 4, 1985, booster pump 742 operated continuously owing to the shutdown of the Holcomb Boulevard water treatment plant; this
continuous event is not included in the Markov Chain analysis


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finished water) concentration of 100 units (100 µg/L). Know-                    Spatial distributions ofTCE within Holcomb Boulevard
ing a specific reconstructed finished-water concentration at the          housing areas for three time periods-June 1978, May 1982,
HPWTP, the resulting finished-water concentration at a specific           and February 1985-are shown in Figure A29. These histori-
Holcomb Boulevard housing area was calculated for the period              cal reconstruction results were obtained using the EPANET 2
July 1972-February 1985. This result was determined by mul-               water-distribution system model previously discussed for
tiplying the reconstructed finished-water concentration at the            interconnection events (see Sautner et al. [2013b] for detailed
HPWTP with the percentage of Hadnot Point finished water at               discussion). The Holcomb Boulevard reconstructed finished-
each Holcomb Boulevard housing area (Table A20). For exam-                water mean TCE concentrations for the Berkeley Manor and
ple, the reconstructed (simulated) finished water TCE concen-             Watkins Village housing areas during June 1978 are 51 µg/L
tration at the HPWTP for May 1982 was 438 µg/L (Table Al 8).              and 38 µg/L, respectively. 55 For May 1982, the Berkeley
Based on the percentage of Hadnot Point water distributed to              Manor and Watkins Village housing areas show reconstructed
the Paradise Point, Midway Park, Berkeley Manor, and Watkins              mean TCE concentrations of20 µg/L and 13 µg/L, respec-
Village housing areas of 0, 1, 4, and 3 percent, respectively             tively. During the 8-day period of January 28-February 4,
(Table A20, May 1982), the resulting concentrations ofTCE                 1985 (represented by the February 1985 map in Figure A29),
(rounded) would be O µg/L for Paradise Point, 4 µg/L for                  when the HBWTP was shut down, the reconstructed mean
Midway Park, 18 µg/L for Berkeley Manor, and 13 µg/L for                  TCE concentrations in all housing areas exceeded 50 µg/L
Watkins Village. Using this process, specific values for PCE,             with the exception of the northernmost extent of Paradise
TCE, 1,2-tDCE, VC, and benzene concentrations in finished                 Point and a small area to the north of the Marston Pavilion
water distributed to the Holcomb Boulevard housing areas were             valve. Overall, during intermittent transfers of contaminated
computed and are listed in Appendix AS (Tables A8. l-A8.5,                Hadnot Point finished water, the Paradise Point family housing
respectively) for each month, January 1972-December 1985.                 area shows the lowest reconstructed mean TCE concentra-
For selected months when concentrations are non-zero for any              tions, whereas Berkeley Manor followed by Watkins Vil-
of the Holcomb Boulevard housing areas, a summary listing                 lage show the greatest reconstructed mean TCE concentra-
of Appendix AS results is provided as Table A2 l. Note, of                tions (except for the pipeline that directly connects booster
the five contaminants of concern to the ATSDR health studies              pump 742 to the Holcomb Boulevard water-distribution
(PCE, TCE, 1,2-tDCE, VC, and benzene), only TCE and VC                    system along Holcomb Boulevard). Spatial distribution maps
exceed their current MCLs (5 µg/L and 2 µg/L, respectively)               for the other contaminants of concern (similar to Figure A29)
in finished water distributed to Holcomb Boulevard family                 are provided in Sautner et al. (2013b ), although reconstructed
housing areas. This is due to very low concentrations of PCE,             concentrations for the other contaminants of concern (PCE,
1,2-tDCE, and benzene in Hadnot Point finished water when                 1,2-tDCE, VC, and benzene) rarely equaled or exceeded their
it mixes with uncontaminated finished water in the Holcomb                current MCLs during interconnection periods of interest to the
Boulevard water-distribution system. TCE is the predominant               ATSDR health study (Table A21). Selected calibrated model
contaminant of concern for the Holcomb Boulevard housing                  input files for the distribution of contaminants within the
area and exceeds the current MCL by factors of about 2-12                 Holcomb Boulevard water-distribution system for use with the
during intermittent water transfers occurring during the period           EPANET 2 (Rossman 2000) model code are provided on the
July 1972-February 1985 (TableA21). 54                                    CD-ROM that accompanies this report.

                                                                            55
  54
     Values for January-June 1972 represent Hadnot Point finished water          Refer also to Table A21 and Appendix TableAS.2.
without any mixing (dilution) with HBWTP finished water because the
HBWTP came online during June 1972 (Scott A. Brewer, USMCB Camp
Lejeune, written communication, September 29, 2005).




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Table A21.    Reconstructed (simulated) mean concentrations of tetrachloroethylene, trichloroethylene, trans-1,2-dichloroethylene,
vinyl chloride, and benzene in finished water distributed to Holcomb Boulevard family housing areas for selected months, Hadnot Point-
Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, 1972-1985. 1•2
[µg/L, microgram per liter; PP, Paradise Point; MP, Midway Park; BM, Berkeley Manor; WV, Watkins Village; - , not applicable]

      Month             Concentration, in 11g/L             Month                 Concentration, in 11g/L         Month                Concentration, in 11g/L        1
       Year       pp         MP       BM                    Year            pp         MP       BM                 Year          pp         MP       BM
                                                                                                     4
                                                                    Tetrachloroethylene (PCE)
  June 1978        0                   2              2   May 1982           0          0                        Jan. 1985 5      2           2       2           2
  June 1980        0          0                           June 1982          0          0                    0   Feb. 1985 5      3           3       3           3
  Apr. 1981        0          0        2                  July 1982          0          0                    0
  May 1981         0          0                       0   May 1983           0          0        I           0
                                                                       Trichloroethylene (TCE) 4
  Jan. 1972       22         22       22          -       May 1978           0          2        6           4   Apr. 1982        0           3       9           7
  Feb. 1972       21         21       21          -       June 1978          3         23       51          38   May 1982         1           6      20          13
  Mar. 1972       17         17       17          -       July 1978          0          0        I           I   June 1982        0           4      10           7
  Apr. 1972       24         24       24          -       Apr. 1979          0           I       2           I   July 1982        0           4      12           8
  May 1972        19         19       19          -       May 1979           0           I       3           2   Aug. 1982         I          3       6           4
  June 1972       19         19       19          -       June 1979          0          2        6           4   May 1983          I          5      14          10
  July 1972         I         0        0          -       July 1979          0           I       4           2   June 1983        0           0       2           2
  June 1973        0          0         I         -       Aug. 1979          0           2       5           3   July 1983        0           0       3           2
  June 1976         I         2        3          -       June 1980          2           8      17          13   Aug. 1983        0           2       5           3
  Apr. 1977        0           I       2          -       Apr. 1981          0           4      39          28   Apr. 1984        0           2       5           3
  May 1977          I          I       3          -       May 1981           0           4      13          10   Jan. 1985 5     34         31       32          34
  June 1977         I         2        3          -       June 1981          0           4      10           7   Feb. 1985 5     66          53      54          56
  July 1977         I         2        3          -       July 1981          0          2        4           3
  Aug. 1977         I         2        4          -       Aug. 1981          0          2        6           4
                                                          Trans-1,2-dichloroethylene (1,2-tDCE) 4
  Jun<e 1973       0           1        1         -       Jun<e 1979         0           1       3           2   Jun<e 1982       0           2       6           4
  June 1976        0           I       2          -       July 1979          0          0        I           I   July 1982        0           2       6           4
  Apr. 1977        0           I        I         -       Aug. 1979          0           I       2           I   Aug. 1982        0           2       3           2
  May 1977         0           I        I         -       June 1980           I         3        7           5   May 1983         0           3       8           5
  June 1977        0           I        I         -       Apr. 1981          0          2       16          12   June 1983        0           0        I          I
  July 1977        0           I       2          -       May 1981           0          2        6           4   July 1983        0           0       2           I
  Aug. 1977        0           I       2          -       June 1981          0          2        4           3   Aug. 1983        0           I       3           2
  May 1978         0           I       3              2   July 1981          0           I       2           I   Apr. 1984        0           I       2           2
  June 1978        2         10       22          17      Aug. 1981          0           I       3           2   Jan. 1985 5     17          16      16          17
  Apr. 1979        0           I        I             I   Apr. 1982          0           2       4           3   Feb. 1985 5     33         27       27          27
  May 1979         0          0         I             I   May 1982           0          3       10           7
                                                                      Vinyl chloride (VC) 4
  June 1978        0           I       3              2   June 1981          0          0        I           0   July 1982        0           0        I          I
  June 1980        0           I        I             I   Apr. 1982          0          0        I           0   May 1983         0           0        I          I
  Apr. 1981        0          0        3              2   May 1982           0          0        1           1   Jan. 1985'       3           3       3           3
  May 1981         0          0         I             I   June 1982          0          0        I           I   Feb. 1985 5      6           5       5           5
                                                                                  Benzene 4
  Jan. 1972        3          3        3                  Apr. 1972          3          3        3               June 1978        0           0                   0
  Feb. 1972        3          3        3                  May 1972           3          3        3               Apr. 1981        0           0
  Mar. 1972        2          2        2                  June 1972          3          3        3               Feb. 1985 5
  1
     See Appendix A8 (Tables A8. l-A8.5) for complete monthly listing, January 1972-December 1985
   'Values for January-June 1972 represent Hadnot Point finished water without any mixing (dilution) with Holcomb Boulevard water treatment plant (WTP) fin-
ished water because the Holcomb Boulevard WTP came online after June 1972 (Scott A. Brewer, U.S. Marine Corps Base Camp Lejeune, written communication,
September 29, 2005)
   3
     Watkins Village housing was not built and occupied until about 1978 (Faye et al. 2010), and the first documented interconnection occurs during May 1978
(U.S. Marine Corps Base Camp Lejeune Water Documents CLW #7023, #7031, and #7033)
   4
     Currentmaximum contaminant level (MCL) for PCE, TCE, and benzene is 5 µg/L; current MCL for 1,2-tDCE is 100 µg/L; current MCL forVC is 2 µg/L; see
TableA3
   5
     For the 8-day period January 28-February 4, 1985, the Holcomb Boulevard water treatment plant was shut down, and contaminated Hadnot Point finished water
was continuously provided to Holcomb Boulevard family housing areas



A68                   Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                  Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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- - - - - - - - - - - - - - - - - - - - - - - - - - - - Historical Reconstruction Analyses and Results




        24,000

                   June 1978                                                         May 1982

        20,000                          Naval                                                                       Naval



        16,000
  ti,
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  ~-    12,000
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  fl
 0
         8,000




         4,000
                                                             Booster                                                                            Booster
                                                            Pump 742                                                                           Pump 742
                                                           (333 µg/L TCE)                                                                     (438 µg/L TCE)


                          5,000     10,000        15,000         20,000     25,000           5,000              10,000          15,000              20,000          25,000
                                      Distance, in feet                                                          Distance, in feet



        24,000                                                                                              EXPLANATION
                    February 1985                                                            b,. Elevated storage tank
                                                                                            O    Holcomb Boulevard water treatment
        20,000                                                                                    plant (HBWTP)

                                                                                                 TCE concentration, in micrograms per
                                                                                                   liter (pg/L), at EPANET 2 model nodes
        16,000
                                                                                             •       Oto 5
  ti,                                                                                        •       5 to 30
 .l'c
 .0:                                                                                         •       30 to 50
  ~-    12,000
  C
                                                                                             •       50to 100
  fl                                                                                         •       Greater than 100
 0
         8,000
                                                                                                                     Calibrated concentrations,
                                                                                                                        in micrograms per liter
                                                                                      Housing area                (average value for a housing area)
         4,000       N
                                                                                                                June 1978        May 1982            February 1985

                     t                                       Booster
                                                            Pump 742
                                                           (324 µg/L TCE)
                                                                                     Paradise Point
                                                                                     Midway Park                    23
                                                                                                                         3                1
                                                                                                                                          6
                                                                                                                                                               66
                                                                                                                                                               53
                          5,000     10,000        15,000         20,000     25,000   Berkeley Manor                 51                   20                    54
                                     Distance, in feet                               Watkins Village                38                   13                    56




                 Figure A29.  Reconstructed (simulated) distribution of trichloroethylene (TCE) contamination within the Holcomb
                 Boulevard water treatment plant service area resulting from supply of contaminated Hadnot Point finished water,
                 Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, June 1978,
                 May 1982, and February 1985. (See Figure Al for location.)




Chapter A: Summary and Findings                                                                                                                                      A69
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Sensitivity Analysis - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


Sensitivity Analysis                                                                       analyses conducted by using calibrated model-input parameter
                                                                                           values. 56 Some of the sensitivity analyses reported herein were
      Best modeling practice requires that evaluations be                                  conducted to explore certain model-input parameter value
conducted to ascertain confidence in models and model results                              assignments (e.g., horizontal hydraulic conductivity [K,J or
by assessing parameter sensitivity, variability, and uncertainty                           historical monthly pumping [Qmonthly]) and some sensitivity
associated with the modeling process and with the outcomes                                 analyses were conducted to explore specific scenarios viewed
attributed to models (ASTM 1994; Saltelli et al. 2000). There                              as important in model conceptualization (e.g., contaminant
are numerous methods for characterizing a model's sensitivity                              source-release date or cell-size discretization). The sensitivity
and uncertainty based on variations of calibrated parameter                                analyses conducted as part of the historical reconstruction pro-
values (ASTM 1994; Cullen and Frey 1999; Salltelli et al.                                  cess are shown in Figure A30 and are categorized by the type
2000; Tung and Yen 2005; Hill and Tiedeman 2007). These                                    of parameter being varied (physical or numerical) and by the
methods are generally classified into two groups: (1) sensitiv-                            type of simulation model for which the parameter sensitivity
ity analysis, wherein calibrated model parameter values are                                is tested (groundwater flow, contaminant fate and transport, or
varied either manually or through some automated method,                                   water-distribution system). Additionally, the figures or tables
and (2) probabilistic uncertainty analysis, wherein probabilis-                            in this report where results of the sensitivity analysis are found
tic methods are used to characterize and quantify the input and
                                                                                           are provided in Figure A30. The specific types of sensitivity
output parameter variation and uncertainty.
                                                                                           analysis conducted are summarized below and described in
      The purpose of this report section is to summarize the
                                                                                           subsequent sections of this report.
characterization of model output sensitivity (e.g., simulated
water levels, finished-water concentrations) due to model input                               56
                                                                                                 Probabilistic uncertainty analysis is described and discussed in the Uncer-
parameter variability by reporting on a series of sensitivity                              tainty Analysis section of this report.




                                                                                         TYPE OF VARIATION
                                                           Physical parameters                                              Numerical parameters


                                  Historical monthy pumping: Qm,nthly (Tables A22-A24, Figures A31 and A32             Cell size: Ax, 1'.y (Figure A38)
          -'
          w                       Input parameters/hydraulics: Kxx, I (Figure A33)
          Cl
          0
          ~
                    a,
          z                       Input parameters/fate and transport: pb, nE, o.L, KIY A, C (Figure A34)              Cell size: 1'.x, 1'.y (Figure A39)
          0         -"'   t0
          ~
                    C     C.

          -'
                    Ctl
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                          "'
                          C       Benzene source area and release (Table A25, Figures A35 and A36)                     Time-step size: M (Table A26)
                    ·-    Ctl
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          ~         Ctl "C
                                  Trichloroethylene source-release date (Figure A37)
                    -     C
          u5        §     Ctl

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                                  Pipe roughness: C-factor (Maslia et al. 2009b, Figure 113)                           Demand factor (Maslia et al. 2009b,
          i:'.=
                                                                                                                         Figures 115 and 116)
                                  Storage-tank mixing (Maslia et al. 2009b, Figure 114)



                                                                                          EXPLANATION
                                                                                            Parameters
                                                Kxx     horizontal hydraulic conductivity             0.L      longitudinal dispersivity
                                                I       infiltration                                  KD       distribution coefficient
                                                Qmonthly
                                                         historical monthly pumping                   A        biodegradation rate
                                               1'.x, 1'.y finite diffference cell size                C        source concentration
                                               Pb       bulk density                                  M       time-step size
                                                nE      porosity
                                                       *Sensitivity analyses using water-distribution system model conducted as part of
                                                        the Tarawa Terrace study area (Maslia et al. 2009b)


                                Figure AJO.  Types of sensitivity analyses applied to model parameters, Hadnot Point-Holcomb
                                Boulevard study area, U.S. Marine Corps Base Camp Lejeune.




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                  Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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1.   Statistical analysis of historical monthly pumping:                   distribution system model used to reconstruct contaminant
     monthly water-supply well pumping rates (Qmonthly) were               concentrations in the Holcomb Boulevard family housing
     varied by using a statistical analysis to assess the variation        areas during intermittent periods of water transfers from
     of the calibrated water-supply well monthly pumpage on                Hadnot Point to Holcomb Boulevard (1972-1985). These
     finished-water concentrations ofTCE at the HPWTP.                     sensitivity analyses are described in detail in Maslia et al.
                                                                           (2009b) as part of the Tarawa Terrace study area historical
2.   Groundwater-flow model parameters: groundwater-
                                                                           reconstruction effort and are not presented in this report.
     flow model parameters of horizontal hydraulic conduc-
                                                                           Figure A30 provides specific information as to associated
     tivity (Kx) and infiltration (/) were varied to assess the            figures in Maslia et al. (2009b) that are pertinent to the
     sensitivity of calibrated parameter-value variation on                water-distribution system model sensitivity analysis.
     simulated water levels, groundwater velocities, and recon-
     structed contaminant concentrations.                                   For the sensitivity analyses conducted for the HPHB
                                                                      study area, a model-input parameter (e.g., Kxx, Qmonthly) was
3.   Fate and transport model parameters: fate and                    adjusted or varied from its calibrated value, and the effect of
     transport parameters of source concentration (C), bulk           this variation was then assessed on model output parameter
     density (A), porosity (nE), longitudinal dispersivity            values (e.g., water-supply well concentration). This particu-
     (aL), distribution coefficient (KD), and biodegradation          lar sensitivity analysis method is referred to as one-at-a-time
     rate (A) were varied to assess the sensitivity of calibrated     (OAT) designs or experiments, and details can be found in
     parameter-value variation on PCE and TCE concentra-              Saltelli et al. (2000). The aforementioned physical and numeri-
     tions in groundwater and in finished water at the HPWTP.         cal parameters were varied from their respective calibrated
                                                                      values (e.g., Table Al2) using the OAT sensitivity analysis
4.   Benzene source-area and source-release variation:                method (and a variation on the OAT sensitivity analysis
     sensitivity analyses were conducted to assess the effects        method by grouping several parameters together). The cor-
     of varying contaminant-source area size, location, and           responding effects of this variation on the change in recon-
     release date on reconstructed benzene concentrations at          structed concentrations of contaminants of concern (e.g., PCE,
     water-supply well HP-603 and at the HPWTP.                       TCE, benzene) at selected water-supply wells and in finished
                                                                      water at the HPWTP are presented and summarized below.
5.   Trichloroethylene source-release-date variation:
                                                                      Details of the sensitivity analyses summarized in this report
     sensitivity analyses were conducted to assess the effects
                                                                      section are described in Suarez-Soto et al. (2013), Guan et al.
     of varying the calibrated TCE source-release date (9
                                                                      (2013), Jones et al. (2013), Jang et al. (2013), and Sautner et
     years after UST system installation and 7 years after site
                                                                      al. (2013b ).
     development for the HPLF area) on reconstructed TCE
     finished-water concentrations at the HPWTP.
                                                                      Statistical Analysis of Historical
6.   Finite-difference grid cell-size variation: the finite-
     difference cell size of 50 ft per side (used in the calibrated   Pumping Variation
     groundwater-flow and contaminant fate and transport
                                                                            Pumping schedules (Figures A6 and A 7) that were
     HPIA and HPLF subdomain model areas) was reduced
                                                                      derived on a monthly basis for water-supply wells for present-
     to 25 ft and 12.5 ft per side to assess the sensitivity of
                                                                      day period (1998-2008) and the historical reconstruction
     varying a numerical parameter on water levels in supply
                                                                      period (1942-1998) are described in Telci et al. (2013).
     wells (25-ft cell size), on TCE concentration at water-
                                                                      Because historical pumping records are incomplete-monthly
     supply well HP-651 (25-ft and 12.5-ft cell sizes), and on
                                                                      data are only available from 1980 through 2008 (Table A22)-
     computed contaminant mass in water-supply well HP-651
                                                                      the calibrated HPHB study area models are based on uncertain
     (25-ft and 12.5-ft cell sizes).
                                                                      and variable pumping rates. The sensitivity of the calibrated
7.   Time-step size variation: the calibrated model time              models to variations in calibrated pumping rates was assessed
     step of a calendar month (e.g., 31 days for January) was         using a statistical analysis approach by developing a procedure
     reduced to 1 day to assess the sensitivity of time-step          for analyzing historical pumping schedule variation using
     variation on simulated concentrations of PCE and TCE             available Hadnot Point and Holcomb Boulevard pumpage data
     at water-supply well HP-651 during the period Novem-             (TableA22). 57 Results of the statistical analysis were then used
     ber 1984-January 1985.                                           to assess variation of contaminant concentrations in HPWTP
                                                                      finished water. The statistical analysis procedure applied to the
8.   Water-distribution system parameters: water-distribution         HPHB study area is similar to the procedure applied to the TT
     system model-calibrated parameters of pipe roughness             study area reported by Maslia et al. (2009b ).
     (C-factor), storage-tank mixing model type, and demand
     factor were varied to assess the effects of varying these          57
                                                                           Numerous data sources were used to assemble the data listed in
     model parameters on the calibrated EPANET 2 water-               Table A22; data sources are listed in Sautner et al. (2013a, Table SI.I).




Chapter A: Summary and Findings                                                                                                                   A71
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 ::c            Table A'll.. Historical record of total monthly raw water (groundwater) delivered to water treatment plants, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps          =
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                Base Camp Lejeune, North Carolina.                                                                                                                                                <en
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                                                                    Monthly groundwater pumping demand (Qmonthi)' in cubic feet per day                                                 Annual
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 =- 0                         January     February    March         April        May        June         July      August       September   October   November   December
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 ... C")                                                                                   Hadnot Point water treatment plant
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 CD :=
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 !!0               1981        475,497     459,470    469,572       459,817     473,333     457,847     508,426     427,916      438,098                                    4,169,975   463,331
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 CD
 ::::s   ~-        1983        432,750     418,038                  395,637     403,120     447,883     458,386     465,868      413,688               417,734    478,085   4,331,189   433,119
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 "ti~              1984        490,112     481,291    449,188       463,738     494,972     512,772     480,702     496,830      462,232    485,140    417,012    430,128   5,664,117   472,010
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                   1987
                   1988
                               425,441
                               539,742
                                           554,774
                                           449,323
                                                      465,726
                                                      431,676
                                                                    458,221
                                                                    401,113
                                                                                439,680
                                                                                442,358
                                                                                            486,628
                                                                                            413,670
                                                                                                        453,673
                                                                                                        423,108
                                                                                                                    504,894
                                                                                                                    460,818
                                                                                                                                 562,670
                                                                                                                                 439,711
                                                                                                                                            634,745
                                                                                                                                            430,223
                                                                                                                                                       602,360
                                                                                                                                                       430,612
                                                                                                                                                                  587,578
                                                                                                                                                                  477,425
                                                                                                                                                                            6,176,391
                                                                                                                                                                            5,339,778
                                                                                                                                                                                        514,699
                                                                                                                                                                                        444,982
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 <""               1995        411,240     432,648    428,877       413,296     411,809     431,828     416,631     399,248      384,064    403,323    422,096    421,857   4,976,917   414,743
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                   1996        412,258                428,209       424,476     443,888     406,171     376,173     388,282      384,889    369,178    402,312    410,869   4,446,704   404,246
c;· 3              1997        397,186     409,063    428,770       407,748     406,730     403,439     399,287     395,302      406,407    374,159               397,199   4,425,289   402,299
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                   1998        373,124     380,784    412,383       418,434     428,614     453,498     433,522     431,551      414,780    373,771    386,644    418,821   4,925,926   410,494
 c::a
 j:n ci'           1999        409,878     378,793    380,502       386,845     394,189     413,920     395,186     400,649      428,393                                    3,588,355   398,706
    =
 s: :E             2000                    408,219    407,575       393,146     425,354     452,460     407,018     513,510      420,760    397,044    418,184    398,096   4,641,366   421,942
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                   2001        412,732     405,043    421,719       411,990     406,755     420,158     402,585     415,621      400,926    391,132    412,948    382,818   4,884,428   407,036
 n-                2002        405,074     398,196    387,803       396,737     412,180     408,800     441,499     443,781      437,666    406,492    405,734    406,712   4,950,674   412,556
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'i::I    Cl)       2003        431,995     421,409    366,746       343,733     341,972     376,845     389,424     392,991      379,189    369,187    375,495    369,588   4,558,575   379,881
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                   2004        402,590     373,596    370,407       345,493     339,251     356,829     347,600     353,633      323,035    336,056    332,361    320,950   4,201,799   350,150
 en n
 CD      CD        2005        345,047     369,388    342,153       344,713     328,897     346,594     363,956     357,147      339,901    330,924    339,526    343,020   4,151,266   345,939
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                   2006        346,539     348,687    369,881       342,427     341,903     349,931     337,000     388,631      353,977    337,138    314,430    318,285   4,148,829   345,736
   5l
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                   2007        336,431     317,730    315,857       302,457     301,885     316,310     321,536     341,675      326,341    304,429    315,696    314,041   3,814,388   317,866
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                   2008        321,204     312,213    316,042       316,756     292,101     295,688     323,046     332,533      297,573    282,846    326,011    328,708   3,744,721   312,060
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3       Table A11.. Historical record of total monthly raw water (groundwater) delivered to water treatment plants, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps
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        Base Camp Lejeune, North Carolina.-Continued
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                                                                         Monthly groundwater pumping demand (Qmonth,), in cubic feet per day                                                   Annual
                                                                                                                                                                                    Annual     monthly
=en           Year
                                                                                                                                                                                     total      mean
                         January       February        March             April        May          June        July       August    September      October   November   December
                                                                                                                                                                                               (Qmean)
                                                                                               Holcomb Boulevard water treatment plant
              1980        116,738        114,587        114,120          121,382     142,741      163,286     145,375     183,660        178,303   146,376    127,148    108,165   1,661,881   138,490
              1981        133,676        125,072        112,361          259,492     167,398      207,851     144,750     150,783        173,139                                   1,474,522   163,836
              1983        140,869        181,992                         151,821     211,026      231,651     193,160     199,839        151,692              139,531    135,380   1,736,960   173,696
              1984        127,738        151,986        162,258          147,303     177,562      215,858     190,555     188,265        168,237   148,217    139,513    132,383   1,949,876   162,490
              1987        118,799         66,950       241,725           276,576     351,239      407,129     412,163     337,587        273,644   170,848    184,314    169,705   3,010,679   250,890
              1988        251,867        334,561       300,337           295,225     307,724      366,405     312,239     286,848        269,955   266,628    267,303    267,663   3,526,755   293,896
              1995        305,400        349,236       299,677           362,871     379,355      339,700     362,718     414,858        339,375   321,066    298,197    300,548   4,073,002   339,417
              1996        320,117                      330,652           320,602     346,052      348,630     337,345     346,767        334,977   278,112    266,488    267,581   3,497,323   317,938
              1997        286,210        302,963       304,744           340,783     302,372      306,008     296,008     300,993        278,853   255,796               249,129   3,223,859   293,078
              1998        261,289        254,370       274,075           266,688     293,619      331,835     296,469     300,410        293,808   252,234    254,969    263,515   3,343,281   278,607
              1999        274,317        250,260       254,821           287,703     289,953      335,520     351,830     382,732        325,606                                   2,752,741   305,860
              2000        296,844        295,540       305,094           296,606     342,973      361,085     332,740     334,861        291,740   285,408    278,604    268,392   3,689,885   307,490
              2001        280,738        260,104       279,526           307,630     290,639      303,357     296,603     252,669        228,692   214,393    207,098    205,234   3,126,683   260,557
              2002        217,804        209,606        198,516          230,572     227,615      231,481     215,454     223,022        204,696   195,609    198,066    214,255   2,566,698   213,891
              2003        247,055        187,945        189,330          215,203     222,776      228,371     236,101     233,635        215,765   212,694    219,967    200,348   2,609,192   217,433
              2004        217,425        222,500       222,181           217,953     245,045      229,218     215,420     216,442        206,897   211,888    204,656    194,648   2,604,272   217,023
              2005        201,569        210,556       205,872           212,325     213,121      221,273     228,141     253,018        242,118   210,055    191,974    179,408   2,569,431   214,119
              2006        168,912        170,409        180,564          204,041     189,184      194,233     204,980     197,696        200,481   175,717    174,587    150,680   2,211,483   184,290
              2007        171,361        205,472        193,820          191,435     199,839      214,740     211,578     269,013        259,568   272,510    227,774    201,957   2,619,065   218,255
              2008        211,142        204,527       202,306           196,092     208,727      260,592     221,832     240,332        219,677   201,465    183,784    157,704   2,508,180   209,015
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              Refer to Sautner et al. (2013a, Table SI. I) for data sources
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Sensitivity Analysis - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

      Historical records for total groundwater withdrawals that      (stress periods 7 fJuly 19421 through 798 f}une 20081). For
supplied raw water to the HPWTP and HBWTP are incom-                 the groundwater flow and contaminant fate and transport
plete for the period covering model simulation for Hadnot            simulations, the total pumpage demand during months of
Point (1942-2008) and for Holcomb Boulevard (1972-2008).             data availability reflects the pumpage demand data listed in
However, nearly complete monthly pumping records are                 Table A22 (annual total). For all other monthly stress peri-
available for years 1980-2008, with complete daily pump-             ods, the historically reconstructed monthly pumpage demand
age records available for years 1998-2008. Using histori-            (Telci et al. 2013) was multiplied by the Qmonthly I Qmean ratios
cal monthly pumpage data, ratios of monthly groundwater              for each month of the year. This schedule was characterized
pumping rates (Qmonthz) to annual monthly mean pumping               with statistical properties of a mean and standard deviation
rates (Qmea) were computed, and these ratios (Qmonthly I Qmea)       based on the analyses of ratios listed in Table A24 and shown
are listed in Table A23 for the HPWTP and HBWTP. The                 in Figure A3 l. Results of the reconstructed finished-water
Qmonthly I Qmean ratios were computed by dividing total monthly      concentrations for PCE and TCE at the HPWTP-based
raw water delivered to the HPWTP and HBWTP (Qmonthly;                on the statistical methodology applied to monthly pumpage
monthly entries listed in Table A22) by the annual monthly
                                                                     variation-are shown in Figure A32. In these graphs, the
mean pumping rates (Qmean; entries from last column in
                                                                     calibrated PCE and TCE finished-water concentrations are
Table A22). Statistical analyses are summarized in Table A24
                                                                     those derived during the historical reconstruction process,
using the Qmonthly I Qmean ratios listed in Table A23 for the
                                                                     previously discussed (e.g., Figure A27); concentration values
HPWTP and HBWTP. The Qmonthly I Qmean ratios and monthly
                                                                     are located on the left ordinate (y-axes). The range of varia-
mean values also are shown graphically in Figure A3 l. The
results of the statistical analysis indicate that pumping demand     tion, which is represented by differences between maximum
is higher in spring and summer for the HBWTP service area.           and minimum simulated concentrations for a specific month,
This is consistent with the observed higher demand conditions        is computed by applying the Qmonthly I Qmean ratios (Figure A3 l)
during these months that required additional water supply,           to historical monthly pumpage. These variations in concentra-
which has been documented by the intermittent transfer of            tions for PCE and TCE are values located on the right ordinate
finished water from Hadnot Point to Holcomb Boulevard dur-           (y- axes) of graphs in Figure A32. Overall, it appears from the
ing the period 1972-1980 (previously discussed in the section        results of the statistical analysis of historical pumping varia-
on Intermittent Transfers of Finished Water from Hadnot Point        tion that finished-water concentrations are not very sensitive
to Holcomb Boulevard). Note that during the 12-month period          to monthly pumpage variation within the HPIA and HPLF
shown in Figure A3 l, the mean value of raw-water delivery to        model subdomain areas. The maximum range of variation for
the HPWTP and HBWTP (mean value of groundwater pump-                 PCE (maximum minus minimum concentrations) is less than
ing demand) is indicated by a value for the ratio Qmonthly I Qmean   or equal to the MCL for PCE (5 µg/L). The maximum range of
of 1.0. For the HPWTP, during the months of January-March            variation for TCE occurs solely during the onset of pumping
and June-August, the annual monthly mean is exceeded;                at water-supply well HP-651 and is about 100 µg/L. Model
during the remaining months of the year, the Qmonthly I Qmean        sensitivity owing to monthly pumpage variation because of
ratios are equal to or less than the annual monthly mean             data uncertainty and possibly measurement error is well within
(see Table A23 for specific values). For the HBWTP, during           the accuracy needed for the epidemiological studies when
the months of April-September, the annual monthly mean               compared to the maximum reconstructed TCE concentration
is exceeded; during the remaining months of the year, the            of about 800 µg/L. Furthermore, results shown in Figure A32
Qmonthly I Qmean ratios are less than the annual monthly mean.       indicate that variation in reconstructed finished-water concen-
    Results of the statistical analysis listed in Table A23 and      trations due to monthly water-supply well operation variations
shown in Figure A3 l were used to generate total pumping             is substantially less than reconstructed finished-water concen-
demand for each stress period in which pumping occurred              trations and measured data variation.




A74                Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
               Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                                                                                                                          Sensitivity Analysis

Table A23.   Ratios of historical monthly groundwater pumping rates to annual monthly mean pumping rates, (Q rnonih!/QrncaJ, for water
treatment plants, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.
[-, data not available]

                               1
                                   Ratio of monthly groundwater pumping rate to annual monthly mean pumping rate (QmonthI /Qm,a.l
 Year
            January      February       March      April       May         June         July        August     September      October     November December
                                                               Hadnot Point water treatment plant
 1980         1.006        1.179         1.064     1.034       0.939       0.981        1.094        0.936        0.926        0.860        1.006        0.976
 1981         1.026        0.992         1.013     0.992       1.022       0.988        1.097        0.924        0.946
 1983        0.999         0.965                   0.913       0.931       1.034        1.058        1.076        0.955                     0.964         1.104
 1984         1.038        1.020         0.952     0.982       1.049       1.086        1.018        1.053        0.979         1.028       0.883        0.911
 1987        0.827         1.078         0.905     0.890       0.854       0.945       0.881         0.981         1.093        1.233       1.170         1.142
 1988         1.213        1.010         0.970     0.901       0.994       0.930       0.951         1.036        0.988        0.967        0.968         1.073
 1995        0.992         1.043         1.034     0.997       0.993       1.041        1.005        0.963        0.926        0.972        1.018         1.017
 1996         1.020                      1.059     1.050       1.098       1.005       0.931         0.961        0.952        0.913        0.995         1.016
 1997        0.987         1.017         1.066     1.014       1.011       1.003       0.993         0.983         1.010       0.930                     0.987
 1998        0.909         0.928         1.005     1.019       1.044       1.105        1.056        1.051         1.010       0.911        0.942         1.020
 1999         1.028        0.950         0.954     0.970       0.989       1.038       0.991         1.005         1.074
 2000                      0.967         0.966     0.932       1.008       1.072       0.965         1.217        0.997        0.941        0.991        0.943
 2001         1.014        0.995         1.036     1.012       0.999       1.032       0.989         1.021        0.985        0.961        1.015        0.941
 2002        0.982         0.965         0.940     0.962       0.999       0.991        1.070        1.076         1.061       0.985        0.983        0.986
 2003         1.137        1.109         0.965     0.905       0.900       0.992        1.025        1.035        0.998        0.972        0.988        0.973
 2004         1.150        1.067         1.058     0.987       0.969       1.019       0.993         1.010        0.923        0.960        0.949        0.917
 2005        0.997         1.068         0.989     0.996       0.951       1.002        1.052        1.032        0.983        0.957        0.981        0.992
 2006         1.002        1.009         1.070     0.990       0.989       1.012       0.975         1.124         1.024       0.975        0.909        0.921
 2007         1.058        1.000         0.994     0.952       0.950       0.995        1.012        1.075         1.027       0.958        0.993        0.988
 2008         1.029        1.000         1.013     1.015       0.936       0.948        1.035        1.066        0.954        0.906        1.045         1.053
                                                           Holcomb Boulevard water treatment plant
 1980        0.843         0.827         0.824     0.876       1.031       1.179        1.050        1.326         1.287        1.057       0.918        0.781
 1981        0.816         0.763         0.686     1.584       1.022       1.269       0.884         0.920         1.057
 1983        0.811         1.048                   0.874       1.215       1.334        1.112        1.151        0.873                     0.803        0.779
 1984        0.786         0.935         0.999     0.907       1.093       1.328        1.173        1.159         1.035       0.912        0.859        0.815
 1987        0.474         0.267         0.963     1.102       1.400       1.623        1.643        1.346         1.091       0.681        0.735        0.676
 1988        0.857         1.138         1.022     1.005       1.047       1.247        1.062        0.976        0.919        0.907        0.910        0.911
 1995        0.900         1.029         0.883     1.069       1.118       1.001        1.069        1.222        1.000        0.946        0.879        0.885
 1996         1.007                      1.040     1.008       1.088       1.097        1.061        1.091        1.054        0.875        0.838        0.842
 1997        0.977         1.034         1.040     1.163       1.032       1.044        1.010        1.027        0.951        0.873                     0.850
 1998        0.938         0.913         0.984     0.957       1.054       1.191        1.064        1.078        1.055        0.905        0.915        0.946
 1999        0.897         0.818         0.833     0.941       0.948       1.097        1.150        1.251        1.065
 2000        0.965        0.961          0.992     0.965       1.115       1.174        1.082        1.089        0.949        0.928        0.906        0.873
 2001         1.077       0.998          1.073     1.181       1.115       1.164        1.138        0.970        0.878        0.823        0.795        0.788
 2002         1.018       0.980          0.928     1.078       1.064       1.082        1.007        1.043        0.957        0.915        0.926         1.002
 2003         1.136       0.864          0.871     0.990       1.025       1.050        1.086        1.075        0.992        0.978        1.012        0.921
 2004         1.002        1.025         1.024     1.004       1.129       1.056       0.993         0.997        0.953        0.976        0.943        0.897
 2005        0.941         0.983         0.961     0.992       0.995       1.033        1.065        1.182         1.131       0.981        0.897        0.838
 2006        0.917         0.925         0.980     1.107       1.027       1.054        1.112        1.073         1.088       0.953        0.947        0.818
 2007        0.785         0.941         0.888     0.877       0.916       0.984       0.969         1.233         1.189        1.249       1.044        0.925
 2008         1.010        0.979         0.968     0.938       0.999       1.247        1.061        1.150        1.051        0.964        0.879        0.755
  1
      Ratios of Qmoothiy !Qm,~ computed by dividing monthly total raw water delivered to treatment plant (Qm,nthly) by annual monthly mean (Qm,~) listed in Table A22




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Sensitivity Analysis - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


Table A24.   Statistical analyses of ratios of historical monthly groundwater pumping rates to annual monthly mean pumping rates,
(Qmonih/QmeaJ,  for water treatment plants, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune,
North Carolina. 1
                                                     2
                                                         Ratio of monthly groundwater pumping rate to mean annual monthly pumping rate
                                                          Hadnot Point                                                    Holcomb Boulevard
      Month
                                                Standard                                                              Standard
                                Mean                               Minimum           Maximum            Mean                             Minimum           Maximum
                                                deviation                                                             deviation
 January                        1.022             0.083              0.827              1.213           0.908            0.141             0.474              1.136
 February                       1.019             0.061              0.928              1.179           0.917            0.181             0.267              1.138
 March                          1.003             0.049              0.905              1.070           0.945            0.095             0.686              1.073
 April                          0.976             0.047              0.890              1.050           1.031            0.159             0.874              1.584
 May                            0.981             0.055              0.854              1.098           1.072            0.103             0.916              1.400
 June                           1.011             0.045              0.930              1.105           1.163            0.151             0.984              1.623
 July                           1.010             0.055              0.881              1.097           1.090            0.146             0.884              1.643
 August                         1.031             0.068              0.924              1.217           1.118            0.117             0.920              1.346
 September                      0.991             0.049              0.923              1.093           1.029            0.102             0.873              1.288
 October                        0.966             0.079              0.860              1.233           0.937            0.114             0.681              1.249
 November                       0.988             0.061              0.884              1.170           0.894            0.076             0.735              1.044
 December                       0.998             0.064              0.911              1.142           0.850            0.079             0.676              1.002
  1
      Statistical analyses based on pumpage data 1980-2008; refer to Sautner et al. (2013a, Table SI.I) for data sources
  2
    Ratios of Qm,nthi/ Qmwn computed by dividing monthly total raw water delivered to water treatment plant (Qm,n thly) by annual monthly mean (Qmoon)
listed in Table A22




                            Hadnot Point water treatment plant                                          Holcomb Boulevard water treatment plant
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      □ cl                                                                                        1.7
      I- "
      ~       ~                                                                                   1.6
      ~       l       1.3
      ~C)l                                                                                        1.5
      Z LLJ
      0::: !:;:       1.2                                                                         1.4
      ~ a:
      ~ ~                                                                                         1.3
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      - ' CL
                      1.1                                                                         1.2
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      ;:;~                                                                                       0.9
      ii: ::j
      ~~              0.9                                                                        0.8
      ~ z
      :co                                                                                        0.7
      ~:'.;           0.8
                                                                                                 0.6
      0    c:(
      i= ::::,                                   EXPLANATION
      c:(Z                                                                                       0.5
      c,:z
         c:(          0.7                 D Range of minimum to maximum
                                          -   Monthly mean value                                 0.4
                                                                                                 0.3

                              JAN. FEB. MAR. APR. MAY JUNE JULY AUG. SEPT. OCT. NOV. DEC.                 JAN. FEB. MAR. APR. MAY JUNE JULY AUG. SEPT. OCT. NOV. DEC.

                            Figure A31. Results of statistical analysis of ratios of historical monthly pumping ( Qmanthty) to annual monthly mean
                            pumping (Qmea) for water treatment plants, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base
                            Camp Lejeune, North Carolina. (See Sautner et al. 2013a, Table Sl.1 for historical pumpage data sources.)




A76                              Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                             Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                    Tetrachloroethylene (PCE)
                              120                                                                                         120


                                                        EXPLANATION

                              100           - - Calibrated
                                            - - Variation range-Maximum
                                                                                            •                             100

                                                    to minimum concentration
                                              •    Measured concentration
                               80                   (Table A 18; Faye et al. 2010)                                        80




                               60                                                                                         60




                               40                                                                                         40    -~
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                                                                                                                                  C.
                                                                                                                                 V,

                    -~                                                                                                           E
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                      ~        20                                                                                         20      Cl
                      C.
                     V,
                                                                                                                                 e
                                                                                                                                 u
                     E                                                                                                           E
                      ~                  Maximum contaminant level for PCE
                                                                                                                                  C
                      Cl
                     e          0                                                                                         0
                     u                                                                                                           E
                                                                                                                                  ::::,
                     E                                                                                                           E
                      C             Trichloroethylene (TCE)                                                                       C
                      c'      800                                                                                         800    E
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                    ;                                                                                                            E
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                     u                                                                                                            ctJ
                      C
                      0
                                                                                                                                 E
                    u                                                                                                             C
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                              600                                                                                         600   ·.;:::;
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                                                                                                                                  ctJ
                                                                                                                                >
                              500                                                                                         500



                              400                                                                                         400



                              300                                                                                         300



                              200                                                                                         200



                              100                                                                                         100
                                                                                                Maximum contaminant
                                                                                                 level for TCE (5 µg/L)
                                0                                                           •                             0
                                 JAN.               JAN.             JAN.            JAN.          JAN.               JAN.
                                  1950              1960             1970            1980          1990               2000


                                    Figure A32.    Concentrations and variations of tetrachloroethylene
                                    (PCE) and trichloroethylene (TCE) in finished water at the Hadnot
                                    Point water treatment plant derived from calibrated water-supply
                                    well pumpage and statistical analysis of water-supply well pump age
                                    variation, Hadnot Point-Holcomb Boulevard study area, U.S. Marine
                                    Corps Base Camp Lejeune, North Carolina. [J, estimated]

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Sensitivity Analysis - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Groundwater-Flow Model Parameters                                                                            shown in graphs of Figure A33 represent upper and lower
                                                                                                             limits (global range) of the sensitivity analyses, along with the
     For the HPIAand HPLF model subdomain areas (Fig-                                                        calibrated concentrations previously discussed (Figure A27).
ures Al2), groundwater-flow model parameters Kxx and/                                                        Results represent monthly mean concentrations in finished
were varied by using the OAT sensitivity analysis because as                                                 water at the HPWTP when reconstructed concentrations
reported in Suarez-Soto et al. (2013), calibrated water levels                                               equaled or exceeded 1 µg/L. Also shown in Figure A33 are
were deemed to be most sensitive to variations in calibrated                                                 reported water-quality data from sampling events (Faye et al.
values of K and/. Results for simulated concentrations of                                                    2010). Model codes used to derive the sensitivity analyses
PCE and TCE in finished water at the HPWTP are shown in                                                      results shown in Figure A33 are MODFLOW, MT3DMS, and
Figure A33. 58 In conducting the sensitivity analyses, ground-                                               the mixing model for the HPWTP. Results of the sensitiv-
water-flow model parameters were varied from calibrated                                                      ity analyses showing concentrations in finished water at the
values (Table Al2), and then results were extracted to provide
                                                                                                             HPWTP indicate concentration variations of about an order
a global range of finished-water concentration values. Results
                                                                                                             of magnitude (about a factor of 10) or less. By comparison,
   58
      Results of the OAT sensitivity analysis at selected water-supply wells
                                                                                                             water-quality data shown indicate variations ranging from
(e.g., HP-602, HP-634, HP-651) are provided in Suarez-Soto et al. (2013) and                                 about 1 µg/L to more than 1,000 µg/L, or nearly 3 orders of
Jones et al. (2013).                                                                                         magnitude (Figure A33).




                                         Epidemiological studies


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       I-
       ::;
                        PCE
                        Model results                                                                         1,000
                                                                                                                         TCE
                                                                                                                         Model results
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       a:
       LU
       CL
             100        from MT3DMS
                        (Jones et al. 2013)                            •                                                 from MT3DMS
                                                                                                                         (Jones et al. 2013)
       Cl)
       ~
       c:(
       a:
       ~
       0                                                                                                       100
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       u
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       ~
              10
       z'
       0

       ~
       a:                                                                          J      Maximum
                                                                                                                10
       1-
       z                                                                                 contaminant
       LU                                                                                    level
       u
       z
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       u
               1 L....l__j__J_JllLJLJ.......jL....l----L-'-...J._J.......J----L_J_-'---L-J........1__J__J
               JAN.                  JAN.                 JAN.                  JAN.                 JAN.                       JAN.            JAN.         JAN.    JAN.        JAN.
                1970                 1975                  1980                 1985                  1990        1940           1950           1960         1970     1980       1990


                   Figure A31 •Variations in calibratecrtiriished-water                                                                           EXPLANATION
                                                                                                                                         -     Upper limit
                   concentrations of tetrachloroethylene (PCE) and
                   trichloroethylene (TCE) derived using one-at-a-time                                                           ,,,,.-,4-     Calibrated concentration
                   sensitivity analysis, Hadnot Point water treatment                                                           f ••• -        Lower limit
                   plant, Hadnot Point-Holcomb Boulevard study area,                                                               • -         Measured concentration
                   U.S. Marine Corps Base Camp Lejeune. [J, estimated]                                                                          (Table A18)




A78                     Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                    Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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Hydraulic, Fate, and Transport Model                                                     For hydraulic parameters (Kxx and/), values of varia-
                                                                                   tion were determined from the sensitivity analyses conducted
Parameters
                                                                                   on the predevelopment (steady-state) model described in
      Contaminant fate and transport model parameters for                          Suarez-Soto et al. (2013) and ranged from 0.1 to 10 times the
source concentration (C), bulk density (pb), porosity (nE), lon-                   calibrated Kxx values for model layer 3 and from about 0.6 to
gitudinal dispersivity (aJ, distribution coefficient (KD), and                     1.3 times the calibrated/ values. (All calibrated values are
biodegradation rate (A) were varied to assess the sensitivity of                   listed in Table Al2.) For fate and transport parameters (C, nE,
calibrated parameter-value variation on PCE and TCE concen-                        aL, KD, and A), a minimum value (e.g., 2.5 percentile) and a
trations in groundwater and in finished water at the HPWTP.                        maximum value (e.g., 97.5 percentile) were chosen from prob-
Because simulation of the migration of contaminants requires                       ability density functions (PDFs) used to describe each param-
values for specific discharge (and hence groundwater velocity)                     eter (Jones et al. 2013). Two contaminant fate and transport
derived from the groundwater-flow model, horizontal hydrau-                        simulations for each of the aforementioned scenarios were
lic conductivity (Kx) for model layer 359 and steady-state                         conducted-one simulation using the minimum PDF value
(predevelopment) long-term infiltration(/) were also varied                        (2.5 percentile) for a parameter and one simulation using the
for the contaminant fate and transport model parameter sensi-                      maximum PDF value (97.5 percentile) for each parameter.
tivity analyses. Three different scenarios were constructed to                           Results of the contaminant fate and transport model
explore parameter sensitivity. In each scenario, the minimum                       sensitivity analysis for scenarios 1, 2, and 3 are shown in
and maximum finished water PCE and TCE concentrations                              Figure A34 for PCE and TCE finished-water concentrations
at the HPWTP were computed for each month of the histori-                          at the HPWTP. Variations about the calibrated reconstructed
cal simulations. Calibrated model parameter values that were
                                                                                   concentrations (monthly mean) are generally about an order of
varied for each scenario are listed below:
                                                                                   magnitude (a factor of about 10). For scenarios 1 and 2, varia-
                                                                                   tions in finished-water concentrations are about the same. For
                                                                                   scenario 3, when variations in all hydraulic, fate, and transport
      • Scenario 2: Kxx, I, C, KD, and A; and
                                                                                   parameters are included (Ka,/, C, nE, aL, KD, and A), varia-
                                                                                   tions in finished-water concentrations from calibrated values
                                                                                   increase. For calibrated TCE finished-water concentrations of
   59
      Sensitivity analyses on Kn using the groundwater-flow model indicated        about 20 µg/L or less (prior to July 1972), there is a greater
that the most sensitive model layer to Kxx variation was model layer 3. There-
                                                                                   variation when compared to TCE concentrations simulated
fore, for the analysis scenarios where hydraulic, fate, and transport parameters
were varied in combination, Kxx for model layer 3 was chosen to be varied.         subsequent to the onset of pumping at water-supply well
Refer to Suarez-Soto et al. (2013) for details.                                    HP-651 (July 1972).




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Sensitivity Analysis - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

                                 Tetrachloroethylene (PCE)                                                 Trichloroethylene (TCE)
                                                          Scenario 1 (Parameters of variation: K=, I, nE, aL)
                  100 ~~~~~~~~~~~__,_~~~                                             10,000 ~~~~~~~~~~~~~~~
                                  Epidemiological studies


                                                                                      1,000




                  10                                                                    100




                                                            contaminant
                                                               level                     10
         a:
         LU
         I-
         ::;
         a:
         LU
         CL
         Cl)

         ~
         c:(                                           Scenario 2 (Parameters of variation: K=, I, C, KD, 2)
         a:       100 ~~~~~~~~~~~---.~~~                                             10,000   ~~~~~~~~~~~~~~~
         ~
         0
         a:
         u
         ~
         z
                                                                                      1,000
         1-'
         z
         c:(
         -'
         CL
         1-
         z        10                                                                    100
         LU
         ~
         l-
         e:(
         LU
         a:
         I-
         C,:
                                                                                         10
         LU
         l-
         e:(
         s
         l-
         e:(
         z
         0
         i==                                       Scenario 3 (Parameters of variation: K=, I, C, nE, aL, KD, 2)
         c:(
         a:       100 ~~~~~~~~~~~---.~~~                                             10,000
         1-
         z
         LU
         u
         z
         0
         u                                                                            1,000




                  10                                                                    100




                                                                                         10




                   1                                                                      1
                   JAN.   JAN.     JAN.    JAN.    JAN.      JAN.      JAN.   JAN.        JAN.      JAN.        JAN.      JAN.     JAN.      JAN.
                   1972   1974      1976   1978    1980      1982      1984   1986        1940      1950        1960       1970     1980     1990

                   Figure A34.      Concentrations of tetrachloroethylene (PCE)                                          EXPLANATION
                   and trichloroethylene (TCE) in finished water at the Hadnot                                   -     Maximum-Derived using
                   Point water treatment plant derived from model calibration                                           parameters of variation
                   and hydraulic, fate, and transport model parameter sensitivity                          ~ Calibrated parameters
                   analysis, Hadnot Point-Holcomb Boulevard study area,                                          -     Minimum-Derived using
                   U.S. Marine Corps Base Camp Lejeune, North Carolina.                                                 parameters of variation
                   [Kxx' horizontal hydraulic conductivity; /, infiltration; C, source
                                                                                                            •          Measured concentration
                   concentration; nE' porosity; a 1, longitudinal dispersivity;                                         (Table A18)
                   K0 , distribution coefficient; A, biodegradation rate; J, estimated]

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Benzene Source-Area and Source-Release                            ffi   1,000 ITTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTTT7TTTITTTTTTTTTT1
                                                                  I-
Sensitivity Analysis                                              ::;
                                                                  a:
                                                                  LU
                                                                  CL
                                                                  Cl)
      As previously discussed, simulated results for water-       ~
                                                                  c:(
supply well HP-602 provide reasonable agreement with field        a:
                                                                  ~

data, whereas simulated results for water-supply well HP-603      ~      100
                                                                  u
are inconsistent with field data (Figure A20). Therefore,         ~
sensitivity analyses were conducted to assess the effect of       ~
                                                                  z'
varying contaminant-source area size, location, and release       0


date on reconstructed benzene concentrations at water-supply      ~
                                                                  a:
                                                                  1-      10
                                                                  z                    Maximum
well HP-603 and at the HPWTP. Additionally, the sensitiv-         LU
                                                                                   contaminant level
                                                                  u
ity analysis included assessing the effect of the contribution    z
                                                                  0
                                                                  u                                           Measured values below
of benzene-contaminated groundwater from well HP-603              LU


on benzene concentrations in finished water at the HPWTP.         ~
                                                                  N
                                                                  z
Benzene is documented as occurring as free-phase LNAPL in         LU
                                                                  cc
                                                                            1940       1950     1960       1970      1980      1990      2000      2010
the vicinity of Building 1613 (Faye et al. 2012; also see Fig-
ure Al3 for location of Building 1613). To simplify sensitiv-                                            EXPLANATION
                                                                                                               Model
ity analyses simulations, MT3DMS was used to simulate the
                                                                                   - - TechFlowMP (calibrated results, see Jang et al. 2013)
dissolved-phase benzene rather than using the more complex                         - - MT30MS, source assigned to 4 cells
(and computationally expensive) TechFlowMP that simulates                               (HPGW-6, Figure 014, Faye et al. 2012)
the dissolution of free-phase benzene into dissolved-phase                         - - MT30MS, source assigned to 1 cell
                                                                                        (HPGW-6, Figure 014, Faye et al. 2012)
benzene. Figure A35 shows results for an MT3DMS source
area of one cell, four cells, and a source-area location change                Figure A35.   Effect of contaminant-source
of about 150 ft (downgradient from the calibrated location).                   area variation at Building 1613 on simulated
Figure A35 also shows calibrated results obtained using Tech-                  concentrations of benzene at water-supply well
FlowMP. Results indicate that varying model source area and                    HP-603, Hadnot Point Industrial Area, Hadnot
location provides some improvement between reconstructed                       Point-Holcomb Boulevard study area, U.S. Marine
benzene concentrations in water-supply well HP-603 and field                   Corps Base Camp Lejeune, North Carolina. (See
data (Table AS) for the scenario where the contaminant source                  Figure A13 for well and building location.)
is assigned to one model cell.




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Sensitivity Analysis - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

      Sensitivity analysis results for varying assigned source                          to finished-water concentrations at the HPWTP, the mixing-
concentration value (from a calibrated value of 17,000 µg/L)                            model results were derived by removing the flow and con-
and source-release date (from the calibrated release date of                            taminant mass contribution from well HP-603. Reconstructed
January 1, 1964) are listed in Table A25. These results indicate                        benzene concentration results shown in Figure A36 indicate
a small improvement in reconstructed benzene concentrations                             that the contribution from benzene-contaminated water-supply
at well HP-603 compared to calibrated results (Figure A20)                              well HP-603 to finished-water concentrations at the HPWTP
and field data (Table AS). Perhaps more important, however,                             was minimal. The effects of varying the source-release date
in the context of the overall project is that the effect of these                       (from January 1964 to January 1976) on benzene concentra-
contaminant-source variations on finished-water benzene                                 tions at the HPWTP also are shown in Figure 36 and are listed
concentrations at the HPWTP is minimal (Figure A36). To                                 in Table A25. These results also indicate very little model
assess the contribution of reconstructed (simulated) benzene-                           sensitivity (at water-supply well HP-603 and the HPWTP) to
contaminated groundwater from water-supply well HP-603                                  changes in benzene source-release dates.




Table A25.   Reconstructed (simulated) concentrations of benzene at water-supply well HP-603 and at the Hadnot Point water
treatment plant for varying source concentrations of benzene and release dates at Building 1613, Hadnot Point Industrial Area,
Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina. 1
[µg/L, microgram per liter; HPWTP, Hadnot Point water treatment plant; LNAPL, light nonaqueous phase liquid]

                                                                     2
                                                                         Source concentration, in micrograms per liter
         3
             Release                           17,000                                       15,000                                     10,000
              date                                 Reconstructed benzene concentration (maximum value), in micrograms per liter
                             4                          5
                                 Well HP-603                HPWTP             Well HP-603            HPWTP               Well HP-603            HPWTP
              1964                  196                      12                   173                 11                    115                     7
              1968                  193                      12                   170                 11                    114                     7
              1972                  189                      11                   167                 10                    111                     6
              1976                  182                      11                   161                 10                    107                     6
  1
    All results shown are derived by using MT3DMS for dissolved-phase benzene in groundwater. Calibrated values for 1964 and 17,000 µg/L at well HP-603
and at the HPWTP are 125 µg/L and 12 µg/L, respectively, derived using TechFlowMP to simulate free-phase LNAPL (Appendix A3; Jang and Aral 2013)
   2
     Source location is Building 1613 (see FigureA13 for building location; see Faye et al. 2012, Figure D14 for details on benzene contamination
at Building 1613)
  3
      All release dates begin on January I of year listed
  4
      See Figure Al3 for location
  5
    HPWTP, maximum computed finished-water concentrations at the Hadnot Point WTP (see Figure Al2 for location); mixing model used to compute
finished water concentrations of benzene (see text for details on mixing-model approach)




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                                  Source concentration of 17 11g/L, release date January 1, 1964
                            40
                            39
                                                    Epidemiological studies
                            38
                            37
                                                                                       •
                            36
                            12

                            11

                            10




                     a:
                     LU
                     I-
                     ::;
                     a:
                     LU
                     CL
                     Cl)

                      ~
                      c:(
                     a:
                      ~
                     0
                     a:
                     u
                      ~
                      ~
                                  Sou~c e ?o n~e~t~a~i~n 0~ 1~ ~g~'. r~l~a~~ dat e ~a n~a~y 1, 1~7~ 1
                     0
                      z     40
                            39
                                        1
                                             1              1




                                                                                       .
                                                                                       1   1   1          1   1




                                 1
                     l-
                      e:(   ~
                     a:
                     1-     37
                      z
                     LU
                     u      36
                      z     12
                     0
                     u
                     LU     11
                      z
                     LU
                      N     10
                      z
                     LU
                     cc




                                 1965       1970        1975        1980           1985            1990           1995      2000

                                                                   EXPLANATION
                                        Model code                Contaminant phase                See for result details
                                        TechFlowMP                         LNAPL                      Jang et al. 2013
                                         (calibrated results)
                                        MT3DMS                             Dissolved                  Jones et al. 2013
                                        MT3DMS (no contribution            Dissolved                  Jones et al. 2013
                                         from well HP-603)

                                    •   Measured concentration                                        Table A18; Faye et al. 2010

                             Figure A36.    Variations in reconstructed (simulated) benzene concentrations
                             in finished water based on variations in benzene concentrations at water-
                             supply well HP-603 and source-release dates, Hadnot Point water treatment
                             plant, U.S. Marine Corps Base Camp Lejeune, North Carolina. (See Figure A13
                             for well location.) [LNAPL, light nonaqueous phase liquid]

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Sensitivity Analysis - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Trichloroethylene Source-Release-Date                                     Four sensitivity analysis simulations were conducted
Sensitivity Analysis                                                using the HPIA and HPLF area TCE contaminant source-
                                                                    release dates (Table Al3). For these sensitivity analyses, the
      Historical records delineating the timing and volume of       calibrated source-release date (9 years for suspected UST sys-
inadvertent releases of solvents during routine operations,         tem sources and 7 years for HPLF area sources) was decreased
from leaking UST systems, or from disposal of solvent waste,        by 5 and 9 years and increased by 5 and 9 years (7 years
spent dry cleaning filters, or other materials were not available   for the HPLF area sources) (Figure A37). In the case of the
for the HPHB study area. For modeling purposes, a median            HPLF area sources, the calibrated source-release date was
source-release date of9 years from the date of UST system           decreased by 7 years, to coincide with Base development in
installation or site development (in the case of the HPLF area)     1941. Results indicate that reconstructed TCE concentrations
was used in the contaminant fate and transport models (Jones        of finished-water for the HPWTP at the start of the epidemio-
et al. [2013] and Jang et al. [2013]). This source-release date     logical studies (January 1968) display little variation, except
formulation is consistent with empirical data indicating that       for a source-release-date increase of 9 years. The maximum
the median timeframe for leak development in UST systems            reconstructed TCE concentration during the time frame (1968-
(typically in piping and joint components) is 9 years from          1985) of the epidemiological studies varies by about 5 percent
installation date (USEPA 1986, 1987; Gangadharan et al.             or less from the calibrated maximum value of783 µg/L (Fig-
1987). UST systems were not the source of contaminants in           ure A37). Decreasing the source-release date by 9 years from
the HPLF area. However, given the lack of historical informa-       its calibrated value (Figure A3 7) implies that contaminant
tion, a similar source-release time frame, in this case 7 years
                                                                    leakage in the HPLF area would have started during or imme-
from site development, was applied to HPLF-area sources
                                                                    diately following the onset of construction (1941/1942) of
within the model (Jones et al. 2013). The shorter source-
                                                                    USMCB Camp Lejeune, which is not an unrealistic scenario
release time frame acknowledges that landfill disposal likely
                                                                    given landfill-construction technologies that existed during
encompassed a range of contained and uncontained source
                                                                    the 1940s and 1950s. Results from this scenario indicate that
materials, in contrast to the engineered tank and piping system
sources discussed previously.                                       the MCL for TCE in finished water at the HPWTP would
      To assess the effect of source-release-date variation         have been exceeded during November 1948, compared to
on TCE concentrations in finished water at the HPWTP, a             the calibrated exceedance date of August 1953. Variations in
sensitivity analysis was conducted whereby the source-release       source-release dates of ±9 years show MCL exceedance-date
date was modified from the calibrated source-release date.          variations of about 5 years earlier to 14 years later than the
For example, a decrease of 5 years from the calibrated median       calibrated TCE MCL exceedance date (August 1953). In terms
of 9 years indicates a source-release date of 4 years from the      of historical reconstruction results of interest to the ATS DR
estimated installation date for a UST system. Conversely,           epidemiological studies (finished-water concentrations of TCE
an increase of 5 years from the calibrated median of 9 years        during the period 1968-1985), the variation (and uncertainty
indicates a source-release date of 14 years from the estimated      due to a lack of data) in source-release dates does not appear
UST installation date.                                              to have a substantial effect.




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                                                                                                          Epidemiological     •
                                                                                                              studies
                       1,000                      EXPLANATION
                                               Change from calibrated
                                                release date, in years
                er:                             -9
                LU
                I-
                ::;                             -5
                er:                             0 (calibrated)
                LU
                a..
                Cl)
                                                +5
                2                               +9
                <1'.
                er:     100               •    Measured concentration
                C.!l
                0
                er:                             (Table A18)
                u
                ~
                ~
                z'
                0

                ~
                er:                                                                                                           I
                1-
                z
                LU
                u        10
                z
                0
                u
                LU                                                                                          Maximum contaminant level (MCL)
                u
                I-




                           1940                      1950                 1960                     1970                1980                   1990


                                                                                                                 Maximum concentration
                                  'Change from                                Concentration at start of          during epidemiological
                                    calibrated           First month           epidemiological study                   study period
                                  release date,        exceeding MCL             (January 1968), in                  (January 1968--
                                     in years                                  micrograms per liter                December 1985), in
                                                                                                                  micrograms per liter

                                   -9                   November 1948                       26                                800
                                   -5                        April 1953                     26                                798
                                    0 (calibrated)          August 1953                     27                                783
                                    +5                      August 1963                     23                                748
                                    +9                      August 1967                       7                               740

                                  'Calibrated release date varies by source location (Table A13)

                                  Note:
                                     -9 years means 9 years earlier than calibrated-source release date
                                     +9 years means 9 years after calibrated-source release date



                               Figure A37. Reconstructed (simulated) finished-water concentrations of
                               trichloroethylene (TCE) derived from variations in contaminant-source release
                               dates, Hadnot Point water treatment plant, Hadnot Point-Holcomb Boulevard study
                               area, U.S. Marine Corps Base Camp Lejeune, North Carolina. [J, estimated]




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Sensitivity Analysis - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Finite-Difference Grid Cell-Size Variation                                                                   water-supply wells and contaminant sources. The cell dimen-
                                                                                                             sions of the refined grid were 25 ft along each cell side for
      A sensitivity analysis was conducted to determine if the                                               groundwater flow (see Suarez-Soto et al. [2013] for maps show-
finite-difference cell size of 50 ft per side, which was used                                                ing 25-ft-cell grid locations for the HPIA and HPLF subdomain
for the calibrated groundwater-flow and contaminant fate and                                                 model areas). Water levels simulated using the refined model
transport models in the HPIA and HPLF subdomain areas                                                        grid (25-ft cells) were compared to water levels simulated
(Figure Al2), was appropriate in terms of simulating the water                                               using the calibrated model grid (50-ft cells) in wells HP-602
levels and contaminant concentrations in a pumping well when                                                 for the HPIA model subdomain and HP-651 for the HPLF
compared to a smaller cell size. For this analysis, refined model                                            model subdomain. Comparisons were made for January 1968
grids-within the HPIA and HPLF subdomain areas-con-                                                          and November 1984 for water-supply well HP-602 and for
sisting of smaller cell sizes were used in the areas containing                                              July 1972 and November 1984 for well HP-651 (Figure A3 8).


                                                                                         Hadnot Point Industrial Area
                                                                                                              15 - - - - - - - - - - - - - - - - ~
                                                                     N
                                                                     0

                        January 1968                                 "-'°                                             November 1984
                                                                     :r:                                      14
                11
                                                                     10
                10                                                                                            13


                                                                                                              12


                                                                                                              11

       "'
       N
       Cl
       >                                                                                                      10
       ~
       z
       I
       s
       Cl
                            EXPLANATION
       -'               -     25-foot cell,
       LU
       CCI                     model row 123                         -5.3feet                                                                                     - - 7.9feet
       a:               -     50-foot cell,                                                                                                                       --7.3feet
       Cl
       LU                      model row 114                         --4.6feet                                                                                1
                                                                 I                                                                                            I
       >
       Cl
       CCI
       c:(     2,498,000      2,499,000      2,500,000               2,501,000      2,502,000    2,503,000    2,498,000    2,499,000      2,500,000               2,501,000      2,502,000   2,503,000
       I-
       LU
       LU
       u...
       ~                                                                                 Hadnot Point Landfill Area
       _,-
       LU       20 - - - - - - - - - - - - - - - - ~                                                          20 - - - - - - - - - - - - - - - - ~
       >
       LU
       -'               July 1972                                                                             15      November 1984
       a:       15
       LU
                                                                                                              10
       ~
       S        10
       Cl
       LU

       ~
       -'
       ::::,                                                                                                  -5
       ~
       Cl)                                                                                                   -10
               -5                                                                                            -15

                                                                                                             -20
               -10
                                                                                                             -25
               -15 f - - - - - - - ~
                                                                                                             -30
                            EXPLANATION
                                                                                                             -35                                          -           -33.3feet
               -20      -     25-foot cell,                  -              - 19.2feet
                               model row 169                                                                 -40                                          - - -40.8 feet
               -25      -     50-foot cell,              - - -24.6 feet                                                                               I
                               model row 160             I                                                   -45                                      I
                                                         I                                                                                            I
               -30 ~ - - - ~ - - ~ ~ - - - ~ - - - ~                                                         -50 ~ - - - ~ - - - ~ - - - ~ - - - ~
               2,500,000         2,502,000          2,504,000                    2,506,000       2,508,000    2,500,000       2,502,000         2,504,000                     2,506,000      2,508,000

                                                                                             EASTING, IN FEET NAD 83

                     Figure A38.  Simulated water levels along designated model row containing water-supply wells HP-602 and
                     HP-651 using finite-difference cell dimensions of 50 feet per side and 25 feet per side, Hadnot Point-Holcomb
                     Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.

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The graphs show little difference in water levels simulated                             In a three-dimensional groundwater-flow system, the
using the refined and calibrated model grids (5O-ft and 25-ft                      dispersion coefficient (D) in Equation A3 is represented
cells, respectively). For example, during January 1968, the                        by a dispersion tensor and contains nine terms (Zheng and
simulated water level in well HP-6O2 using the calibrated                          Bennett 2002):
model grid was 5.3 ft; for the refined model grid, the simulated
water level was 4.6 ft. Sensitivity to a SO-percent reduction in
cell dimension (75-percent reduction in cell area) throughout
the model subdomain areas is apparent only at cells where                                                                                      (AS)
pumpage is assigned. The difference in simulated water levels
at these cells is small compared to total simulated drawdown.
Simulated differences, with a maximum of7.5 ft in the HPLF
area for November 1984 (FigureA38) are within the transient                        where D is the dispersion tensor. The dispersion tensor
model calibration ranges.                                                          components (e.g., Dxx' Dxy) are defined in terms of groundwater
      Contaminant fate and transport simulations can exhibit                       velocity (V) and its directional components (V,X V,y and V),Z

numerical instabilities related to spatial discretization (finite-                 horizontal, transverse, and vertical dispersivity (aL' ar and
difference grid cell size), which in turn can affect simulated                     av; e.g., Table Al2), and the effective molecular diffusion
concentrations and computed contaminant mass. The Peclet                           coefficient (D*, TableA12). Ifthe axes ofthe computational
number (P) provides a criterion for controlling numerical                          grid are aligned with the principal directions of groundwater
oscillations due to spatial discretization when its value is less                  velocity or the cross-terms of D are assumed to be negligible
than or equal to 2 (Daus and Friend 1985; Zheng and Ben-                           (and approaching zero), then equation AS reduces to a
nett 2002). The Peclet number is physically interpreted as the                     diagonal matrix containing only the diagonal terms of D such
ratio of advective (V) to dispersive (D) transport terms and is                    that (Zheng and Bennett 2002),
defined as

                                    p =VM                                   (A3)
                                     e     D     '                                                                                             (A6)


where
                         Peclet number [L 0];                                      where:
                         simulated groundwater-flow velocity
                         [LT- 1];
            M            a characteristic length [L]; and                                                                                   (A7a)
             D           dispersion coefficient [L2T- 1]. 60
In a one-dimensional, uniform flow field, Equation A3
reduces to:
                                                                                                                                            (A7b)
                                                                            (A4)



where aL is the aquifer dispersivity in feet. Using the finite-
difference cell dimension assigned to the HPIA and HPLF area
fate and transport model subdomains of 50 ft, the calibrated aL
value of 25 ft (Table Al2), and substituting into Equation A4,
yields a Pe value of 2, thereby satisfying the aforementioned
criterion for controlling oscillations due to spatial discretiza-
tion. Because of aquifer heterogeneity and water-supply                                                                                     (A7d)
well operations, the flow field in the HPHB study area is not
uniform and is three dimensional. Therefore, a more robust
analysis for evaluating Pe (Equation A3) is presented.

   60
      L represents length units; T represents time units; L0 indicates a dimen-
sionless variable.




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Sensitivity Analysis - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Equation A3 can now be solved using the diagonal terms of                                  prior to cessation of pumping of water-supply well HP-608).
the dispersivity tensor (Equation A6) to define a Peclet number                            For the HPLF area, the cell nearest water-supply well HP-651
corresponding to each directional axis, as follows:                                        (Figure Al4) was used to compute Equation AS terms for con-
                                                                                           ditions during June 1972 (start ofoperations of the well) and
                                                                                           November 1984. Peclet number calculations for the calibrated
                                                                             (A8a)         HPIA and HPLF contaminant fate and transport subdomain
                                                                                           model locations are listed in Table A26 along with values for
                                                                                           components of velocity and the dispersion tensor.
                                                                                                 For water-supply well HP-608 (HPIA subdomain model),
                                             VyilY                                         results indicate that the computed Peclet numbers are below or
                                   p =--                                     (A8b)
                                       ey     D '                                          somewhat higher than 2, the criterion indicated by Daus and
                                                  Y.Y
                                                                                           Frind (1985) for controlling numerical oscillations. How-
                                                                                           ever, as the Peclet numbers were computed for a cell directly
                                                                                           impacted by water-supply well HP-608, cells further distant
                                   P        = VzAz                           (A8c)         from the well, would have substantially lower velocities,
                                       ez     Dzz •
                                                                                           thereby meeting the Peclet criterion. For water-supply well
                                                                                           HP-651 (HPLF subdomain model), results indicate that the
In EquationA8a--c, Ax, Ay, andAz correspond to the finite-                                 computed Peclet numbers are greater than 6 for the horizon-
difference cell dimensions along rows, columns, and model                                  tal Peclet number component (Pe) and less than 1 for the
layers, respectively for the HPIA and HPLF contaminant fate                                transverse and vertical Peclet number components (Pey and
and transport model subdomain areas.                                                       Pez' respectively). These results imply that the flow field near
      To compute the Peel et numbers defined in Equation A8a--c,                           water-supply well HP-651 is an advective-dominated flow
the directional values of velocity and the diagonal terms of                               field, principally because HP-651 was the only major water-
the dispersion tensor were extracted from the MT3DMS                                       supply well in the area and it was withdrawing groundwater
contaminant fate and transport model code for specific                                     solely from one zone-model layer 5. If the finite difference
finite-difference cells and simulation months of interest to                               grid is refined whereby cell dimensions are reduced to 25 ft
the ATSDR epidemiological studies. For the HPIA, the cell                                  per side or 12.5 ft per side in the areal discretization (Ax
nearest water-supply well HP-608 (Figure Al3) was used                                     and Ay) the resulting Peclet numbers in the vicinity of the
to compute Equation AS terms for conditions during Janu-                                   aforementioned water-supply wells would approximately be
ary 1968 (start of health studies) and November 1984 (month                                reduced by corresponding factors of 2 and 4, respectively.



  Table A26.   Results of Peclet number calculations for the Hadnot Point Industrial Area (HPIA) and Hadnot Point landfill (HPLF)
   area contaminant fate and transport subdomain models.
      Simulation month                                                                                                              Peclet number
                                  Cell dimensions (ft)                   Velocity (ft/d)              Dispersion (ft2/d)
           and year                                                                                                                 (Equation AB)
       (Stress period)           11x          ;l,.y        11z        vx        V        v,      0xx      D            D,,    P.x        P.         P.,
                                                        Hadnot Point Industrial Area, water-supply well HP-608 1
            Jan. 1968           50.0         50.0          33.6      12.9      0.7     -0.7        223      37.5       0.7    2.9        0.1        3.5
              (313)
            Nov. 1984           50.0         50.0          33.6       5.1    -0.1      -0.04       133      20.4       0.4    1.9        0.3        2.9
              (515)
                                                      Hadnot Point landfill (HPLF) area, water-supply well HP-65l2
            June 1972           50.0         50.0          57.2     -16.5    -0.05         0.0     126      47.6       1.1    6.6        0.1        0.0
              (367)
            Nov. 1984           50.0         50.0          57.2     -23.0    -0.3          0.02    176      64.5       1.6    6.6        0.2        0.8
              (515)
      1
          See Figure Al3 for well location; HPIA subdomain model cell location: row 184, column 114, layer 3
      2
          See Figure Al 4 for well location; HPLF subdomain model cell location: row! 60, column 166, layer 5




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To further assess the propensity for numerical oscillations                      finite-difference grid cell sizes of 50, 25, and 12.5 ft per side
because of inappropriate spatial discretization (resulting in                    (the 50-ft cell size represents the calibrated model). These
Peclet numbers greater than 2 in the vicinity of water-supply                    results indicate approximately the same results from the onset
well HP-651), descriptions of model simulations conducted                        of pumping during July 1972 to cessation of pumping dur-
using the aforementioned refined cell dimensions (25 ft and                      ing February 1985, a period of interest to the ATSDR health
12.5 ft per side) for the HPLF contaminant fate and transport                    studies. Additionally, simulated concentrations at water-supply
subdomain model are presented below.                                             well HP-651 are similar using the three different cell sizes
      Contaminant fate and transport simulations were con-                       (50 ft, 25 ft, and 12.5 ft) and range from about 7,100 µg/L to
ducted using reduced finite-difference grid cell sizes of 25 ft                  9,200 µg/L (Figure A39). By comparison, measured data range
and 12.5 ft per side. This grid refinement would effectively                     in value from 3,200 µg/L to 18,900 µg/L for the period Janu-
yield a reduction in the Peclet number by a factor of 2 to 4.                    ary 16-February 4, 1985 (Table A4). Thus, sensitvity analysis
Results of the contaminant fate and transport simulations                        results for variations in finite-difference cell sizes demonstrate
for the HPLF subdomain area for TCE concentrations in                            that concentrations simulated by the HPHB study area contam-
water-supply well HP-651 are shown in Figure A39. The                            inant fate and transport models were most likely unaffected
three concentration plots in the graph represent simulated                       by numerical oscillations caused by inappropriate (too large)
TCE concentrations in well HP-651 that result from using                         spatial (cell size) discretization.




                                                                             Epidemiological
                                                                                 studies


                                                EXPLANATION
                     a:
                     w       10,000
                     I-                           Cell dimensions,
                     ::::;
                                                    in feet per side
                     a:
                     w                    - - 50x50 (calibrated)
                     a..
                     Cl)
                                          - - 25x25
                     ~
                     <(
                     a:                   - - 12.5x12.5
                     (!J      1,000
                     0
                     a:                                     Maximum
                                               Local
                     ~                                      simulated
                     ~                          grid
                                                         concentration,
                                               size,
                     ~                                   in micrograms
                                              in feet
                     z'                                      per liter
                     0
                     i==       100         50x50              7,135
                     <(
                     a:                    25x25              9,186
                     I-
                     z
                     w
                     u
                     z
                                           12.5x12.5          8,103
                                                                                               •
                     0
                     u
                     w
                     u          10
                                          •    Measured concentration
                                                (See Table A4)                                       •
                     I-




                                  1940            1950         1960       1970        1980         1990      2000       2010

                                      Figure A39.  Simulated concentrations of trichloroethylene (TCE) in water-
                                      supply well HP-651 using finite-difference cell dimensions of 50, 25, and 12.5 feet
                                      per side, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base
                                      Camp Lejeune, North Carolina. (See Figure A13 for well location.)




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Sensitivity Analysis - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Time-Step Size Variation                                                            water-supply wells, groundwater-flow velocities ranged from
                                                                                    0.01 to 0.6 ft/d for the HPIA model subdomain area and from
       When conducting fate and transport simulations, numeri-                      0.01 to 1 ft/d for the HPLF model subdomain area. Thus,
cal instability related to inappropriate temporal discretization                    applying EquationA7 to each subdomain area yields the fol-
(i.e., time-step size) is minimized when the Courant number                         lowing values for Courant numbers:
(CN) equals 1 or less (Daus and Frind 1985; Zheng and Ben-                               HPIA subdomain area (FiguresA12 andA13):
nett 2002). The Courant number is defined as
                                                                                                         _0._0_lx_2_8 < C < _0._6x_3_1
                                                                                                             50       - N -     50
                                                                           (A9)
                                                                                                                                               (AlO)


where
                         Courant number [L0];                                       and for the HPLF subdomain area (Figures Al2 andA14):
                         simulated groundwater-flow velocity [LT-1];
                         stress-period length or time-step size                                          0.0lx28 s CNS 1.0x31
                         [T]; and                                                                           50           50
            M            a characteristic length [L].
                                                                                                                                               (All)
For the application of the MT3DMS model to the HPIA and
                                                                                                          0.006::::; CN ::::; 0.6.
HPLF area contaminant fate and transport subdomain models,
CN was set to a maximum value of 1. 61
       The characteristic length of finite-difference numeri-                             This demonstrates that for the HPHB study area, even
cal models is typically related to grid cell dimensions. The                        when using time steps as large as a month, the Courant number
MODFLOW and MT3DMS models applied to the HPHB                                       was less than 1 throughout the subdomain model areas except
study area fate and transport model subdomains are uniform                          in the immediate vicinity of operating water-supply wells.
at 50 ft per side. Therefore, the characteristic length, M,                               In the immediate vicinity of operating water-supply
becomes the length of the cell side or the distance between                         wells, velocities were simulated as high as 18 ft/d near HP-608
two adjacent cell centroids (50 ft). For the HPHB study area                        in the HPIA area and as high as 10 ft/d near HP-651 in the
groundwater-flow and contaminant fate and transport models,                         HPLF area. Substituting these values of velocity into Equa-
the stress periods were equal to the number of days in a month                      tion A 7 results in maximum-value Courant numbers of about
(i.e., 28, 29, 30, or 31). Except in the immediate vicinity of                      11 and 6 for the HPIA and HPLF fate and transport model
                                                                                    subdomain areas, respectively; these Courant numbers-
   61
      With the current model code version of MT3DMS applied to the HPHB             exceeding a value of 1-could be indicative of numerical
study area, the Courant condition is automatically checked at every cell in the     oscillations leading to inaccurate simulated concentrations.
computational grid by the MT3DMS code to assure that CN '.SI for every stress
                                                                                    However, MT3DMS decreases M (increases the number of
period. If the Courant condition is not met, MT3DMS increases the number
of transport time steps within a stress period, thus reducing the value of /1t in
                                                                                    transport time steps) to maintain a CN value of 1. To further
Equation A 7. In most cases, the stress period was discretized by MT3DMS into       assess the effect of numerical oscillations caused by an inap-
about 2-5 transport time steps to comply with a Courant condition of I.             propriate time discretization (that is, too large of a time step),




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contaminant fate and transport simulations were conducted                           well HP-651 are listed in Table A27 . These results show that
by assigning 1-day stress periods (M = 1) to the calibrated                         the relative absolute difference in simulated PCE and TCE
contaminant fate and transport model for the HPLF subdomain                         concentrations at water-supply well HP-651 between the
area from November 1, 1984, to January 31, 1985. Pump-                              1-day time step and the 3 0- and 31-day time steps is typically
age assigned to these months in the calibrated model was
                                                                                    less than 0.2 percent and never exceeds 0.25 percent. Thus,
assigned to every day of each respective month for the time-
                                                                                    PCE and TCE concentrations simulated by the HPHB study
step sensitivity analysis. Comparisons of calibrated (30- and
31-day time steps) and simulated (1-day time step) concentra-                       area contaminant fate and transport models were most likely
tions of PCE and TCE for the days of November 30, 1984,                             unaffected by numerical oscillations caused by inappropriate
December 31, 1984, and January 31, 1985 for water-supply                            temporal discretization.



Table A2.7.  Simulated tetrachloroethylene and trichloroethylene concentrations at water-supply well HP-651, November 1984-
January 1985, using 1-day stress periods and 30- or 31-day stress periods (calibrated model), Hadnot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.
[µg/L, microgram per liter; L1t, time of stress period]

                                                                                                                                                 2
                                              Simulated                                        1
                                                                                                   Simulated concentration, in 11g/L             Absolute
              Contaminant                    elapsed time,                Date                                                             relative difference,
                                                in days                                            Llt=1 day         LI t=30 or 31 days         in percent
 Tetrachloroethylene (PCE)                      15,675              Nov. 30, 1984                    348.557                 347.777                 0.22
                                                15,706              Dec. 31, 1984                    337.01                  336.601                 0.12
                                                15,737              Jan. 31, 1985                    343.498                 343.105                 0.11
 Trichloroethylene (TCE)                        15,675              Nov. 30, 1984                  6,910.40              6,894.63                    0.23
                                                15,706              Dec. 31, 1984                  6,589.20              6,582.72                    0.10
                                                15,737              Jan. 31, 1985                  6,779.30              6,772.31                    0.10
  1
   Simulated PCE and TCE concentrations for /', t ~ 30 or /', t ~ 31 days are from the calibrated fate and transport model for the Hadnot Point landfill (HPLF)
subdomain area, described in Jones et al. (2013)
  2
      Absolute relative difference ( IRe I) of simulated PCE and TCE concentrations are water-supply wells defined as:




          where

               C"1       is the calibrated PCE or TCE concentration simulated using a time-step size of 30 or 31 days, and

              CM~i       is the PCE or TCE concentration simulated using a time-step size of I day




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Uncertainty Analysis - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


Uncertainty Analysis                                               that exhibited the highest sustained contribution to contamina-
                                                                   tion in finished water. Observations about uncertainty from
      Variability and uncertainty are inherent features of the     this selective analysis were then qualitatively extended to the
data, analyses, models, and calibrated model parameters            other contaminants and areas of concern.
described in detail in other HPHB supplemental informa-                  TCE is the contaminant that is characterized by the
                                                                   longest duration exceeding its respective MCL (Table Al4)
tion texts (Table Al). The purpose of this report section is to
                                                                   and the maximum reconstructed and measured concentrations
summarize the characterization of uncertainty of model output
                                                                   (Table Al8). Therefore, TCE was selected as the contaminant
(e.g., simulated concentrations) due to model input parameter
                                                                   used in the MC uncertainty analysis. The uncertainty analy-
uncertainty and variability. The USEPA describes three types
                                                                   sis was conducted by using two approaches: (1) the LCM
of uncertainty (USEPA 1992), and each is encountered in
                                                                   methodology and (2) Latin hypercube sampling (LHS) 62 . Both
the HPHB historical reconstruction analyses: (1) uncertainty
                                                                   approaches offer substantially reduced computational burdens
pertaining to missing or incomplete information (e.g., lack of
                                                                   compared to conducting a robust two-stage MC simulation
VOC-specific concentration data for drinking-water prior to
                                                                   when using the numerical models MODFLOW and MT3DMS
1982), (2) uncertainty pertaining to a specific model parameter
                                                                   (e.g., Maslia ct al. [2007, 2009b]). Recall that reconstructed
(e.g., contaminant-source characterization data), and (3) uncer-
                                                                   TCE concentrations derived using the LCM methodology are
tainty regarding gaps in scientific theory or model uncertainty
                                                                   in good agreement with reconstructed TCE concentrations
(e.g., use of LCM methodology as a surrogate for sequential
                                                                   derived by using the aforementioned numerical models and
degradation at supply wells). Numerous methods are described
                                                                   observed data (Figure A25).
in the literature for conducting uncertainty analysis (Cullen
and Frey 1999; Saltelli et al. 2000; Tung and Yen 2005; Hill
and Tiedeman 2007). Within the generalized classification          Analysis Using Linear Control Model
of uncertainty analysis, Monte Carlo (MC) simulation is a
particularly well-known numerical method (USEPA 1997;                    The LCM system-state equations are deterministic in
Tung and Yen 2005). To evaluate uncertainty associated with        nature and therefore do not incorporate numerical errors that
modeling analyses of groundwater flow, contaminant fate and        may originate from modeling or measurement errors from
transport, and transfer of finished water from Hadnot Point to     field data collection efforts. To analyze the effect of such
Holcomb Boulevard, selected probabilistic analyses using MC        errors on the contaminant concentration distributions that are
simulation were conducted. These analyses and evaluations of       reconstmcted, a Kalman filter 63 is coupled with MC simula-
MC simulation results are described below.                         tion within the LCM methodology. Specific details about the
                                                                   development of the uncertainty analysis for the LCM meth-
                                                                   odology are presented in Guan et al. (2013). Concentrations
Probabilistic Analyses of Groundwater and                          of TCE in water-supply well HP-651 derived from the LCM
Finished-Water Contaminant Concentrations                          methodology uncertainty analysis by using a Kalman filter and
                                                                   MC simulation are shown in Figure A40. In this graph, a band
      The use of MC simulation as part of an uncertainty           is shown that represents 95 percent of the MC realizations
analysis, while widely accepted and used, is often computa-        along with the reconstructed TCE concentrations. During the
tionally expensive and time consuming. Maslia et al. (2007,        operational period of water-supply well HP-651 (July 1972-
2009b) applied MC simulation to the TT study area to assess        January 1985), MC simulation-derived concentrations vary by
uncertainty associated with reconstructed groundwater and          about ±50 percent about the reconstructed (mean) concentra-
finished-water concentrations of PCE and its degradation           tions. During the same period, observed data exhibit substan-
products originating from one contaminant source. For the          tially greater variation (Figure A40). For the requirements of
HPHB study area, there are five contaminants of concern            the ATSDR health studies-monthly finished-water concentra-
(PCE, TCE, 1,2-tDCE, VC, and benzene) and multiple con-            tions-the uncertainty bounds of ±50 percent of monthly mean
taminant sources that required the application of one regional     finished-water concentrations are acceptable, particularly
groundwater model and two fate and transport subdomain             when compared to limited data availability and data variation
models representing the HPIA and HPLF areas. Replicat-             (Figure A40).
ing the approach described in Maslia et al. (2007, 2009b) for
                                                                     62
conducting a similar uncertainty analysis for the HPHB study            Latin hypercube sampling (LHS) is a form of stratified sampling that is
                                                                   typically used to reduce the number of Monte Carlo simulations (realizations)
area was not computationally feasible. To meet timelines and       by a significant factor.
priorities associated with the ATSDR health studies, a more
                                                                      63
strategic approach was implemented to assess uncertainty                 A Kalman filter is a general mathematical approach for integrating noisy
                                                                   data in a way that minimizes the mean of the error squared; the method is used
associated with reconstructed groundwater and finished-water       in many branches of science and engineering and allows for efficient estima-
concentrations within the HPHB study area. In essence, MC          tion of past, present, and future states, even when a precise definition of the
methods were applied to a single contaminant in the study area     modeled system is unknown.




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                                                                                                            January 1992-
                                                            January 1945-January 1992                        January 2005
                                                                    (Period 1)                                 (Period 2)
                              20,000


                              18,000
                                                            EXPLANATION
                                                          LCM reconstruction
                                                                                                    ''
                                                                                                    I

                      a:
                      w
                      I-
                              16,000
                                                KJ        Bounds for 95 percent of
                                                                                             1
                      ::::;                                                                   "
                                                                                             ..c
                                                           Monte Carlo realizations           "'
                      a:
                      w
                      a..     14,000            V                                            ~
                                                                                             "-
                      Cl)
                      ~
                      <(
                                                 •        Measured concentration
                                                           (See Table A4)
                                                                                             :r:

                                                                                             1.?-
                      a:      12,000
                      (!J                                                                     C.
                                                                                              C.
                      0
                      a:                                                                      ""'
                      ~
                                                                                               "'
                      ~       10,000                                                         ~
                      ~
                      z'
                      0
                      i==      8,000
                      <(
                      a:
                      I-
                      z
                      w        6,000
                      u
                      z
                      0
                      u
                      w        4,000
                      u                    Note: Maximum contaminant level for
                      I-
                                           TCE (MCL) is 5 micrograms per liter

                               2,000


                                  0
                                  1945             1955             1965         1975         1985          1995            2005


                                       Figure A40. Concentrations of trichloroethylene (TCE) in water-supply
                                       well HP-651 derived from uncertainty analysis using Monte Carlo simulation
                                       and the linear control model (LCM) methodology, Hadnot Point-Holcomb
                                       Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.
                                       (See Figure A14 for well location; Guan et al. 2013 for details on LCM and
                                       uncertainty analysis.)



Analysis Using Latin Hypercube Sampling                                                For this analysis, MATLAB® (version R2012b, 2012) was
                                                                                 used to generate the Latin hypercube samples for the pump-
      In order to demonstrate the effect of uncertainty in the                   ing schedules of the wells providing groundwater to HPWTP
pumping schedules of water-supply wells, the LHS method-                         and HBWTP. The default criterion for LHS is to maximize
ology is used. LHS is a useful tool for generating a limited                     the minimum distance between points. For this analysis, the
number of random samples that are evenly distributed over
                                                                                 number of random variables can be calculated as the product
a multidimensional random field. In this respect, LHS is an
                                                                                 of number of wells and number of months (i.e., 72 wells x
ideal approach to overcome the computational expense posed
                                                                                 792 months= 57,024 for HPWTP, and 24 wells x 792 months
by the MC simulation by reducing the number of simulations
required. The LHS technique was first introduced by McKay                        = 19,008 for HBWTP). Replicating the robust approach
et al. (1979). Helton and Davis (2003) provide a summary on                      described in Masha et al. (2007, 2009b) for conducting uncer-
LHS used for uncertainty analyses of the complex systems.                        tainty analyses for the HPHB study area was not computation-
LHS was used to model spatial uncertainty in forest landscape                    ally feasible even when using the LHS as described herein.
simulations by Xu et al. (2005). Lahkim et al. (1999) applied                          The MATLAB® LHS function that was used generates
LHS methodology to reduce the number of simulations                              10 Latin hypercube samples for the monthly flow produced
required for the uncertainty analysis for the exposure and risk                  by all 96 wells included in the analysis. Initially, the values
analyses in a polluted aquifer.                                                  assigned to each well for each month range from 0 to 1. These



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normalized samples are then scaled to the actual monthly                      Probabilistic Analyses of Finished-Water
flows reported by Telci et al. (2013) by multiplying with a
                                                                              Transfers from Hadnot Point to
range of flows for each well and each month. These flow
ranges were determined by finding the difference between the                  Holcomb Boulevard
maximum and minimum flows generated for 1,000 MC Mar-
kov Chain scenarios that satisfy conservation of mass at the                        For the periods of finished-water transfers from Hadnot
WTP within an error range of ±40 percent. The revised pump-                   Point to the Holcomb Boulevard water-distribution system,
ing schedules (relative to the calibrated schedules reported                  MC simulation realizations were generated by using the
in Telci et al. [2013]) are used as an input to the contaminant               parameter estimation code PEST (Doherty 2003, 2010). MC
fate and transport models of the HPIA and HPLF area to                        simulations consisted of 1,000 realizations and assumed a
reconstruct ICE concentrations delivered to the HPWTP by                      normal distribution for parameter variants. As demonstrated
each well. Reconstructed ICE concentrations at the HPWTP                      in Maslia et al. (2009b ), the Holcomb Boulevard water-
derived from applying the LHS methodology to water-supply                     distribution system is insensitive to variation in pipe rough-
well monthly operational schedules are shown in Figure A41.                   ness coefficient (C-factor), which is a parameter that affects
In this figure, the red line indicates the ICE concentration                  pressures (and resulting hydraulic heads) in water-distribution
obtained from the calibrated models. The gray lines indicate                  system pipelines. Therefore, the parameter that was varied
the ICE concentration variation over time for the 10 random                   for calibration purposes was nodal demand. Uncertainty of
scenarios obtained by LHS methodology. Results shown in                       this parameter was assessed by using a probabilistic analysis
Figure A4 l indicate that observed data exhibit substantially                 for simulating water-transfer events. Results for variation in
greater variation than reconstructed concentrations generated                 ICE concentrations at five demand locations within Holcomb
using the LHS-MC uncertainty analysis.                                        Boulevard family housing areas are shown in Figure A42.




                          1,000
                                                      EXPLANATION
                                         - - Calibrated (Jones et al. 2013)
                                                                                                           •
                                         - - Monte Carlo (LHS) realization
                    a:
                    LU
                    I-
                                            •      Measured concentratin
                    ::;                             (Table A18)
                    a:
                    LU
                    CL
                    Cl)
                    ~
                    c:(
                    a:
                    ~
                    0
                    a:     100
                    u
                    ~
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                                                                                        Maximum contaminant level




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                              JAN.          JAN.         JAN.       JAN.      JAN.     JAN.        JAN.         JAN.       JAN.
                              1950          1955         1960       1965      1970     1975        1980         1985       1990


                                  Figure A41. Variations in reconstructed (simulated) finished-water concentrations of
                                  trichloroethylene (TCE) derived using Latin hypercube sampling (LHS) methodology on
                                  water-supply well monthly operational schedules, Hadnot Point water treatment plant,
                                  Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune,
                                  North Carolina. [J, estimated]


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        24,000

                  June 1978                                          Midway Park                 May 1982                                            Midway Park
                                                                               JJ-18111                                                                        JJ-18111
        20,000                                Naval
                                                                                   31
                                                                                                                              Naval
                                                                                                                                                                   10
                                                                                   23                                                                               6
                                                                                   17                                                                               2

        16,000

  a,
 .l'c
 .0:
  t 12,000
  C
                 Paradise
                  Point
                                    "'
                                     0
                                      0
                                                                                               Paradise
                                                                                                Point
                                                                                                               "'
                                                                                                                0
                                                                                                                 0
                         JJ -8895                                                                       JJ -8895
 fl                          1                                                                             0
 ci                         0                                                                              0
         8,000              0                                                                              0




         4,000
                                                                    Booster                                                                         Booster
                                              Marston                                                                         Marston
                                              Pavilion             Pump 742                                                   Pavilion             Pump 742
                                               valve              (333 µg/L TCE)                                               valve              (438 µg/L TCE)


                            5,000         10,000         15,000         20,000        25,000               5,000          10,000         15,000         20,000          25,000
                                           Distance, in feet                                                               Distance, in feet

        24,000

                   February 1985

        20,000                                Naval
                                                                                                                           EXPLANATION
                                                                                                          6. Elevated storage tank
        16,000
                                                                                                          O Holcomb Boulevard water treatment
  a,                                                                                                               plant (HBWTP)
 .l'c
 .0:
                 Paradise        "'                                                            JJ-2888 •       EPANET 2 node and number, and simulated
  ~-    12,000
  C
                  Point           0
                                   0                                                               67           TCE concentrations, in micrograms per
                         JJ -8895                                                                  63            liter (pg/L)-Top number is 97.5 percentile,
 fl                         66
 ci                         62                                                                     6l              middle number is 50 percentile, and bottom
         8,000              59                                                                                     number is 2.5 percentile




         4,000       N


                     i                        Marston
                                              Pavilion
                                               valve
                                                                    Booster
                                                                   Pump 742
                                                                  (324 µg/L TCE)


                            5,000         10,000         15,000         20,000        25,000

                                          Distance, in feet



            Figure A42.    Variations in reconstructed (simulated) concentrations of trichloroethylene (TCE) contamination at selected
            locations within the Holcomb Boulevard water treatment plant service area resulting from supply of contaminated Hadnot
            Point finished water, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina,
            June 1978, May 1982, and February 1985.




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Uncertainty Analysis - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Results are provided for two Paradise Point locations (a                       in housing areas shown in Figure A42. MC simulation results
northern and southern location on Seth Williams Boulevard),                    listed in Tables A28 and A29 are provided for the 2.5 percen-
and one location each for Berkeley Manor, Watkins Village,                     tile (P 2 ) , 50 percentile (P 50 ), and 97.5 percentile (P 975 ) values.
and Midway Park. For the locations shown, the top number                       Because a normal distribution was assumed, the P 50 values
is a maximum (P 97 ) concentration, the middle number is                       should be nearly the same as the calibrated monthly mean
the median (P 50 ) concentration, and the lower number is                      finished-water concentrations (deterministic values)-results
the minimum (P 25 ) concentration that resulted from apply-                    listed in in Tables A28 and A29 confirm this observation.
ing an MC simulation to the water-transfer events shown in                           Results listed in Table A28 can be interpreted as follows.
FigureA28.                                                                     For a Holcomb Boulevard housing area (e.g., Watkins Vil-
     Probabilistic analysis results for reconstructed TCE                      lage), 95 percent of the MC simulated TCE finished-water
finished-water concentrations are also listed in Tables A28                    concentrations will be between the P 97 _5 percentile and the
and A29. Table A28 provides results that were averaged                         P 25 percentile values. For example, for June 1978 for the Wat-
over an entire housing area (e.g., Watkins Village) whereas                    kins Village housing area, 95 percent of MC simulated TCE
Table A29 lists MC simulation results for the specific locations               finished-water concentrations will be in the range of 32 µg/L


Table A28.    Reconstructed (simulated) trichloroethylene                       TableA29.     Reconstructed (simulated) trichloroethylene
 (TCE) concentrations in finished water distributed to Holcomb                  (TCE) concentrations in finished water at selected locations
 Boulevard family housing areas derived from probabilistic                      within Holcomb Boulevard family housing areas derived from
 analysis using Monte Carlo simulation, Hadnot Point-Holcomb                    probabilistic analysis using Monte Carlo simulation, Hadnot
 Boulevard study area, U.S. Marine Corps Base Camp Lejeune,                     Point-Holcomb Boulevard study area, U.S. Marine Corps
 North Carolina, June 1978, May 1982, and February 1985.                        Base Camp Lejeune, North Carolina, June 1978, May 1982, and
                                                                                February 1985.
                                  Reconstructed TCE concentration,
                                      in micrograms per liter                                                  Reconstructed TCE concentration,
   Housing area                                                                                       Selected       in micrograms per liter
                        Calibrated 1          Monte Carlo simulated 2
                           Mean                                                  Housing area          node Calibrated 2   Monte Carlo simulated 3
                                                                                                      number 1
                                    June 1978                                                                  Mean          P2.5    p5()    p97.5

 Paradise Point               3              2             4               8                                      June 1978
 Midway Park                23              18            23              30    Paradise Point        JJ-2888          6             2         6         11
 Berkeley Manor             51              44            49              59    Paradise Point        JJ-8895          0             0         0
 Watkins Village            38              32            38              48    Midway Park           JJ-18lll        23           17         23         31
                                    May 1982                                    Berkeley Manor JJ-5418                49           45         51         60
 Paradise Point                              0                             2    Watkins Village JJ-5119               36           32         39         50
 Midway Park                  6              2             6               9                                       May 1982
 Berkeley Manor             20              17            20              25    Paradise Point        JJ-2888          1             0                    3
 Watkins Village            13              11            14              19    Paradise Point        JJ-8895          0             0         0          0
                                  February 1985                                 Midway Park           JJ-18lll         6             2         6         10
 Paradise Point             66              62            65              70    Berkeley Manor JJ-5418                24           17         23         29
 Midway Park                53              52            53              55    Watkins Village JJ-5119               12             9        13         20
 Berkeley Manor             54              53            55              57                                     February 1985
 Watkins Village            56              54            56              59    Paradise Point        JJ-2888         63           61         63         67
   1
       Calibrated values derived from a single deterministic simulation         Paradise Point        JJ-8895         61           59         62         66
   2
      Monte Carlo simulated values generated using PEST (Doherty                Midway Park           JJ-18lll        57           56         58         60
 2003, 2010) consist of 1,000 realizations using normal distribution;
 P25 , 2.5 percentile; P50 , 50 percentile; P975 , 97.5 percentile              Berkeley Manor JJ-5418                52           50         52         54
                                                                                Watkins Village JJ-5119               55           54         56         59
                                                                                  1
                                                                                      See Figure A42; node references EPANET 2 model input file
                                                                                  2
                                                                                      Calibrated values derived from a single deterministic simulation
                                                                                  3
                                                                                     Monte Carlo simulated values generated using PEST (Doherty 2003,
                                                                                2010) consist of 1,000 realizations using normal distribution;
                                                                                P25 , 2.5 percentile; P50 , 50 percentile; P975 , 97.5 percentile



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to 48 µg/L. For February 1985 for the Paradise Point housing       which is a range of about a factor of 2. For the 8-day period
area, 95 percent of MC simulated TCE finished-water concen-        of January 28-February 4, 1985, when the HBWTP was shut
trations will be in the range of 62 µg/L to 70 µg/L. The proba-    down and all finished water was supplied by the HPWTP
bilistic results listed in Table A28 indicate small variations     (represented by February 1985 in Figure A42 and Table A29),
(factors of 2 or less) in finished-water concentrations for TCE    TCE concentrations at the selected Holcomb Boulevard housing
and that the probabilistically determined monthly mean con-        locations derived from the MC simulations vary from 50 µg/L
centrations (P 50 values) are nearly identical to the calibrated   (Berkeley Manor, node JJ-5418) to 67 µg/L (Paradise Point,
monthly mean concentrations (deterministically determined).        node JJ-2888). For the 8-day period of January 28-February 4,
      Probabilistic concentration distributions at selected        1985, represented by February 1985 results listed in Tables A28
model nodes and housing areas (Figure A4 l and Table A29)          and A29, variations in concentrations are relatively small.
indicate a range of a factor of about 2 to 3 for a 95-percentile   This may be indicative that finished-water within the Holcomb
range (97.5 percentile-2.5 percentile) for most locations (e.g.,   Boulevard water-distribution system during the period Janu-
Midway Park for June 1978, Paradise Point for May 1982,            ary 28-February 4, 1985 was uniformly mixed with contami-
and Watkins Village for February 1985). For example, refer-        nated Hadnot Point finished water. MC simulation results for
ring to Table A29, for Midway Park for June 1978, the              each month of water transfer for the period June 1972-Febru-
97.5-percentile (P 975 ) TCE concentration value is 31 µg/L, and   ary 1985 (34 EPANET 2 simulations) are provided in Sautner et
the 2.5-percentile (P 25 ) TCE concentration value is 17 µg/L,     al. (2013b).




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Discussion - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


Discussion                                                                         Information Sources and Data Mining

      A study of the complexity reported herein, coupled with                             As a result of the historical reconstruction process, many
the use and application of numerical and computational mod-                        of the environmental data collected by USM CB Camp Lejeune
els can benefit from external expert scientific input. There-                      and its contractors that are relevant to the HPHB study area
fore, a brief discussion is provided on scientific input and                       are now compiled in publicly available reports. For example,
expert review that was part of the HPHB study effort. Also,                        data relevant to groundwater contaminants at 18 CERCLA
five topical areas presented in this Summary and Findings                          (i.e., IRP) sites at USMCB Camp Lejeune are now tabulated
report are worthy of additional discussion so that the reader is                   and presented in the Chapter C report (Faye et al. 2010);
fully aware oflimitations of information, data, and estimated                      data relevant to groundwater contamination from 64 RCRA
finished-water concentrations that are part of the historical                      (AST/UST) sites are tabulated and presented in the Chapter D
reconstruction process applied to the HPHB study area. The                         report (Faye et al. 2012). However, information discovery and
five areas are related to: (1) information sources and data min-                   data mining are not exact processes that can be relied upon to
ing, (2) source characterization, (3) historical reconstruction                    identify a specific piece of information or data point. Although
results, (4) linear control model methodology, and (5) expo-                       every attempt has been made to cull information and data
sure estimates.                                                                    from disparate and numerous sources such as web portals,
                                                                                   consulting reports, and data files for relevant, model-specific
                                                                                   information and data (Appendix A2), the processes described
Expert Panel Review                                                                herein cannot be used to state unequivocally that every piece
                                                                                   of information or every data point has been obtained, viewed,
      Because the application of simulation tools and models                       categorized, or interpreted-best practices for model calibra-
requires knowledge and expertise from a variety of scientific                      tion do not require this.
and engineering disciplines and the application and develop-
ment of specific model databases, ATSDR sought independent
expert scientific input and review of the project. An expert                       Source Characterization
panel was convened during the early stages of the HPHB
                                                                                         Identification and knowledge of sources for contaminants
study to provide technical advice and guidance on methods,
                                                                                   of concern to this study (e.g., PCE, TCE, and benzene) are
approaches, and interpretations to the historical reconstruc-
                                                                                   requisites for model input data and reconstmction ofwater-
tion process. During April 29-30, 2009, ATSDR convened
                                                                                   supply well concentrations and finished-water concentrations
an external expert panel to review the approach and methods
                                                                                   at the WTPs. For the HPHB study area and specifically within
used in conducting the historical reconstruction analysis and
                                                                                   the HPIA, numerous AST/UST and IRP sites were identified
to provide input and recommendations on preliminary data
                                                                                   containing potential contaminant source locations (Table A 7).
analyses, interpretations, and modeling results (Maslia 2009) 64 .
                                                                                   Specific data relevant to contaminant source operations and
The panel was composed of 13 experts with professional
                                                                                   chronologies of operations (e.g., dates and times when con-
backgrounds from government, academia, and the private sec-                        taminants were used, spilled, or deposited) were generally not
tor. Areas of expertise included geohydrologic data analysis,                      available, nor were the temporal variations in concentrations
statistical analysis, numerical model development and calibra-                     of contaminant sources available. Thus, for the HPHB study
tion, groundwater-flow and contaminant fate and transport                          area contaminant fate and transport subdomain models (Fig-
analysis, hydraulics of water-distribution systems, epidemiol-                     ures Al2-Al4), determining these types of source identifica-
ogy, and public health. Panel members made recommenda-                             tion and characterization data became part of the calibration
tions in the following six general areas: (1) modeling, (2)                        process. Some of the areas identified as potential sources in
calibration, (3) epidemiologic study needs, (4) interconnection                    Table A 7 were included in the calibrated fate and transport
between Hadnot Point and Holcomb Boulevard, (5) additional                         models to achieve a "best fit" calibration. Reconstructed (sim-
data needs, and (6) time line of the project65 . Specific recom-                   ulated) water-supply well and WTP finished-water concentra-
mendations based on the aforementioned six overarching areas                       tions represent contaminant contributions from confirmed and
and ATSDR's responses to the recommendations are provided                          potential sources.
in Maslia (2009).


  64
     A similar expert review panel was convened for the TT study area histori-
cal reconstruction analyses during March 28-29, 2005 (Maslia 2005).
  65
     Prior to the end of the expert panel meeting on April 30, 2009, each of the
13 panelists individually provided their final overall comments and recom-
mendations to ATSDR. The verbatim transcript of the meeting contains the
comments and recommendations expressed by each panelist (Maslia 2009,
Volume II of the transcript on the CD-ROM).




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Historical Reconstruction Results                                    Linear Control Model Methodology
      Results of the historical reconstruction process-(1) con-            As part of the historical reconstruction process, a simpler
centrations at water-supply wells (Appendix A3), (2) finished-       method to determine contaminant concentrations at water-
water concentrations at the HPWTP (Appendix A 7), and (3) fin-       supply wells was developed-the linear control model (LCM)
ished water distributed to Holcomb Boulevard housing areas           methodology (Chapter A-Supplement 5 [Guan et al. 2012]).
(Appendix AS)- represent the last day of the month listed in         Results obtained using the LCM methodology show very
the aforementioned appendixes in terms of model output. For          good agreement with available field data for water-supply well
example, for January 1968, the simulated TCE concentration at        HP-651 (Figures A25). Although these results appear promis-
water-supply well HP-602 of 463 µg/L (Appendix A3) should            ing, caution should be used in generalizing the applicability of
be interpreted as occurring (in the model) on January 31, 1968;      the LCM methodology and results because sufficient data were
likewise, results listed for November 1984 for a simulated PCE       available solely for analyses at water-supply well HP-651
concentration of 31 µg/L at the HPWTP (Appendix A 7) should          (HPLF area); data were insufficient to apply the LCM meth-
be interpreted as occurring on November 30, 1984. These              odology to other historically contaminated water-supply wells
monthly concentrations represent the most likely estimates of        at the HPIA (e.g., HP-602, HP-634). The LCM methodology
concentration occurring on a typical day during a month and are      is a novel method and has not been documented or applied
designated herein as monthly mean concentrations.                    elsewhere in published literature.
      Simulated (reconstructed) benzene concentrations in
water-supply wells HP-602 and HP-603 (Figure A20, Appen-
dix A3) indicate concentration ranges of approximately               Exposure Estimates
40-200 µg/L and 5-100 µg/L, respectively, during the core
                                                                          The reconstructed finished-water concentrations of con-
period of interest (1968-1985) for the epidemiological stud-
                                                                     taminants of concern (PCE, TCE, 1,2-tDCE, VC, and benzene)
ies. Although reconstructed benzene concentrations for well
                                                                     are monthly mean estimates and are not accurate enough to
HP-602 are in reasonable agreement with field data, recon-
                                                                     be interpreted on a daily basis. Instead, these contaminant
structed benzene concentrations for water-supply well HP-603
                                                                     estimates can be used to look for trends in the exposed popula-
are less consistent with field data (Table AS). One or all of sev-
                                                                     tion by helping to differentiate between those with little or no
eral lines of reasoning possibly explain the disparity between
                                                                     exposure and other exposure groupings. The health studies
reconstructed and sampled benzene concentrations in well
                                                                     do not determine the disease risks to individuals who may
HP-603: (1) the release date of hydrocarbon fuels in the vicin-
                                                                     have been exposed to these contaminants. Rather, these health
ity of Building 1613 is unknown and its representation in the
                                                                     studies are conducted to improve scientific knowledge of the
numerical model is uncertain, (2) the source concentration and
                                                                     possible health effects of these contaminants. This is not a
size of the source area during much of the period of simulation
                                                                     limitation of the water modeling but a reflection of the goal to
are unknown and their representation in a numerical model is
                                                                     have these types of estimates for the epidemiological investi-
consequently highly uncertain, and (3) local hydraulic, fate,
                                                                     gations planned by ATSDR.
and transport characteristics in the vicinity of Building 1613
and water-supply well HP-603 may be different from the
average hydraulic, fate, and transport properties defined within
the model subdomain (Figure Al3 and Table Al2). Issues
pertaining to source release and concentration were addressed
by conducting sensitivity analyses varying model source area
location, concentration, release date, and the contribution of
benzene-contaminated and TCE-contaminated groundwater
to finished-water concentrations at the HPWTP. For benzene,
results indicated somewhat improved reconstructed concentra-
tions in well HP-603 (Figure A35 and Table A25) compared to
field data (Table AS); however, the corresponding changes in
reconstructed benzene concentrations at the HPWTP are mini-
mal (Figure A36). Differences in TCE source-release dates
(from calibrated source-release dates) indicate that variations
(and uncertainty) due to a lack of documentation and data do
not appear to have a substantial effect on historical reconstruc-
tion results of interest to the ATSDR epidemiological stud-
ies-finished-water concentrations ofTCE during the period
1968-1985 (FigureA37).




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Summary and Conclusions - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


Summary and Conclusions                                           For the Hadnot Point landfill (HPLF) area:
                                                                      • The maximum reconstructed (simulated) monthly mean
      The Agency for Toxic Substances and Disease Registry              TCE concentration at water-supply well HP-651 was
(ATSDR) is conducting epidemiological studies to evaluate the           7,135 µg/L during December 1978 (TableA14). Mea-
potential for health effects from exposures to volatile organic         sured TCE concentrations during the period of record,
compounds [tetrachloroethylene (PCE), trichloroethylene                 January 1985 to January 1991, ranged from 13 µg/L to
(TCE), trans-1,2-dichloroethylene (1,2-tDCE), vinyl chloride            18,900 µg/L (Table A4).
(VC), and benzene] in finished water at U.S. Marine Corps
                                                                      • The maximum reconstructed (simulated) monthly
Base Camp Lejeune, North Carolina. To obtain estimates of
                                                                        PCE concentration at water-supply well HP-651 was
historical exposures, the ATSDR is using water-modeling tech-
                                                                        353 µg/L during December 1982 (Table Al4). Mea-
niques and the process of historical reconstruction to quantify
                                                                        sured PCE concentrations during the period of record,
concentrations of particular contaminants in finished water
                                                                        January 1985 through January 1991, ranged from
and to compute the level and duration of human exposure to
                                                                        45 µg/L to 400 µg/L (Table A4).
contaminated drinking water. Based on information sources,
field data, modeling analyses and results, and the historical         • The maximum reconstructed (simulated) monthly
reconstruction process, the following conclusions are made              mean 1,2-tDCE concentration at water-supply well
with respect to groundwater and finished-water contamination            HP-651 was about 4,030 µg/L during December 1984
for the Hadnot Point-Holcomb Boulevard (HPHB) study area.               (Table Al4). Measured 1,2-tDCE concentrations dur-
For the Hadnot Point Industrial Area (HPIA):                            ing the period of record, January 1985 to November
                                                                        1986, ranged from 140 µg/L to 8,070 µg/L (Table A4).
       • The maximum reconstructed (simulated) monthly mean
         TCE concentrations at water-supply wells HP-602,             • The maximum reconstructed (simulated) monthly mean
         HP-608, and HP-634 were 658 micrograms per liter               VC concentration at water-supply well HP-651 was
         (µg/L) during January 1959, 50 µg/L during Septem-             660 µg/L during November 1984 (Table Al4). Mea-
         ber 1972, and 659 µg/L during October 1968, respec-            sured VC concentrations during the period or record,
         tively (Table Al4). Measured TCE concentrations at             January 1985 to January 1991, ranged from 70 µg/L to
         well HP-602 ranged from an estimated 0.7 µg/L to               655 µg/L (Table A4).
         1,600 µg/L during the period of record, July 1984 to
         January 1991 (TableA4). Corresponding concentra-         For the Hadnot Point water treatment plant (HPWTP)
         tions at well HP-608 ranged from 9 µg/L to 110 µg/L      service area:
         during the period of record, December 1984 to Novem-         • The reconstructed duration of exposure to finished
         ber 1986. In well HP-634 between December 1984 and             water exceeding the current maximum contaminant
         January 1991, TCE concentrations ranged from less              level (MCL) for TCE was 374 months (August 1953-
         than detection limits to 1,300 µg/L.                           January 1985) (Table Al4). With the onset of pump-
                                                                        ing at well HP-651 during July 1972, the concentra-
       • At water-supply wells with measured benzene con-
                                                                        tion ofTCE in well HP-651 affected the resulting
         centrations exceeding detection limits (HP-602 and
                                                                        finished-water concentrations ofTCE at the HPWTP,
         HP-608), the maximum reconstructed (simulated)
                                                                        which exceeded 750 µg/L during November 1983
         monthly benzene concentration was 236 µg/L at
                                                                        (Table Al4). Measured TCE concentrations in finished
         well HP-602 during November 1984 and 11 µg/L
                                                                        water at the HPWTP during the period May 1982
         at well HP-608 during September 1979 (Table Al 4,
                                                                        through February 1985 ranged from 1.2 µg/L to
         Appendix A3). Measured benzene concentrations at               1,400 µg/L (Faye et al. 2010, Table Cll).
         well HP-602 during the period of record, July 1984
         to January 1991, ranged from less than 1.0 µg/L to           • The reconstructed duration of exposure to finished
         720 µg/L. Measured benzene concentrations at well              water exceeding the current MCL for PCE was
         HP-608 during the period of record, December 1984 to           114 months (August 1974-January 1985) (TableA14),
         November 1986, ranged from 1.6 µg/L to an estimated            also a consequence of the onset of pumping of well
         4.0 µg/L. All measured benzene concentrations in well          HP-651. The maximum reconstructed finished-water
         HP-603 were below detection limits (Table AS).                 concentration of PCE was about 40 µg/L during
                                                                        November 1983 (Table Al4). Measured PCE concentra-
                                                                        tions at the HPWTP ranged from below detection limits
                                                                        (1-10 µg/L) to 100 µg/L during the period May 1982-
                                                                        February 1985 (Faye et al. 2010, Table Cll).




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     • The reconstructed duration of exposure to finished               Based on data, analyses, interpretations, model
       water exceeding the current MCL for benzene                calibrations, and sensitivity and uncertainty analyses, the
       was 63 months (January 1979-November 1984)                 historical reconstruction process provides evidence that
       (Table Al4); the maximum reconstructed finished            finished-water concentrations at the HPWTP substantially
       water concentration of benzene was about 12 µg/L           exceeded the MCL for TCE (5 µg/L) prior to and during the
       during April 1984 (Table Al4). Measured benzene con-       core period (1968-1985) oftheATSDR epidemiological
       centrations at the HPWTP ranged from below detection       studies (Figure A27, Table Al4). It is most likely that TCE
       limits (10 µg/L) to 38 µg/L during the period Decem-       first exceeded its current MCL during August 1953, but this
       ber 1984-December 1985. An unexplained value of            exceedance could have been as early as November 1948 if
       2,500 µg/L of benzene was measured on November 11,         releases ofTCE to the subsurface began during or immediately
       1985 (Faye et al. 2010, Table Cl2).                        following the onset of construction (1941/1942) ofUSMCB
                                                                  Camp Lejeune. (Figure A37). Finished-water concentrations
For the Holcomb Boulevard housing area:
                                                                  exceeded the MCL for PCE (5 µg/L) during the period 1975-
     • When this housing area was serviced by the HPWTP           1985; 1,2-tDCE and VC also exceeded their respective MCLs
       (prior to June 1972), the maximmn reconstructed            (100 µg/L and 2 µg/L, respectively) during the period 1975-
       (simulated) monthly mean TCE concentration in              1985. Although substantial volumes of fuel were lost due to
       finished water of interest to the ATSDR health studies     leakage to the subsurface (range of 0.9 to 1.6 million gallons,
       (January 1968-December 1985) was 32 µg/L during            Table Al6), finished-water concentrations only slightly
       August 1968 andAugust 1969 (AppendixA7). The               exceeded the MCL for benzene (5 µg/L) during the period
       minimum reconstructed (simulated) monthly mean             1980-1985 (FigureA27). Within the Holcomb Boulevard
       TCE concentration in finished water of interest to the
                                                                  housing area, except for the 8-day period of January 28-
       health studies (January 1968-December 1985) was
                                                                  February 4, 1985, when the HBWTP was out of service, only
       8 µg/L (September and October 1969). TCE concentra-
                                                                  TCE routinely exceeded its MCL during intermittent periods
       tions in finished water first exceeded the MCL during
                                                                  of connection with the Hadnot Point water-distribution system
       August 1953 (Appendix A 7).
                                                                  (TableA21).
     • Subsequent to June 1972 when the Holcomb Boulevard               Using the historical reconstruction process, monthly mean
       water treatment plant (HBWTP) came online to service       concentrations of contaminants of concern in finished water
       this housing area, an interconnection analysis indicates   have been estimated. Bounds of variation about the recon-
       that the maximmn reconstructed (simulated) TCE con-        structed monthly mean finished-water concentrations generally
       centration in finished water was 66 µg/L during Febru-     have a range of about an order of magnitude or less. These
       ary 1985 for the Paradise Point area (Figure A29).         results allow epidemiologists to categorize exposure into several
                                                                  categories rather than relying on crude classification estimates of
     • Subsequent to June 1972 when the HBWTP came                exposed versus unexposed populations for the epidemiological
       online to service this housing area, the maximmn           studies at USMCB Camp Lejeune, North Carolina.
       reconstructed (simulated) monthly concentrations
       for PCE, 1,2-tDCE, and VC in finished water for the
       Holcomb Boulevard housing area occurred during
       February 1985 and were 3 µg/L, 33 µg/L, and 6 µg/L,
       respectively (Table A2 l ). The maximum reconstructed
       (simulated) monthly concentration for benzene was
       3 µg/L, occurring during January, February, April,
       May, and June 1972 (Table A21).




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Availability of Input Data Files, Models, and Simulation Results - - - - - - - - - - - - - - - - - - - - - -


Availability of Input Data Files, Models,                         developed for reconstructing monthly historical water-supply
                                                                  well operations (TechWellOp), estimating light nonaqeuous
and Simulation Results                                            phase liquid (LNAPL) volume (mass) in groundwater
                                                                  (TechNAPLVol), simulating three-dimensional LNAPL migra-
      Calibrated model input data files developed for simulat-    tion (TechFlowMP), reconstructing contaminant concentrations
ing predevelopment groundwater flow, transient groundwater        in water-supply wells by using a linear control model method-
flow, contaminant fate and transport of PCE, TCE, and ben-        ology (TechControl), and conducting probabilistic analyses of
zene dissolved in groundwater, and the distribution of water      intermittent connections (1972-1985) of the Hadnot Point and
and contaminants in a water-distribution system are provided      Holcomb Boulevard water-distribution systems using a Markov
with this report in a CD-ROM format. Public domain model          Chain model (TechMarkovChain). These models are described
codes used with these input files are available on the Internet   and applied in Telci et al. (2013), Guan et al. (2013), Jang et
at the following Web sites:                                       al. (2013), and Sautner et al. (2013b). Contact information and
      Predevelopment and transient groundwater flow               questions related to these codes are provided on the Internet at
       • Model code: MODFLOW-2005                                 the MESL Web site at http://mesl.ce.gatech.edu.
       • Web site: http://water.usgs.gov/nrplgwsofiware/                Also included on the CD-ROM accompanying this report
         mod.flow.html                                            is a file that contains results for monthly simulated concentra-
                                                                  tions of PCE, TCE, 1,2-tDCE, VC, and benzene at histori-
    Fate and transport of contaminants dissolved in ground-
                                                                  cally operated water-supply wells (Appendix A3), in finished
water as a single specie
                                                                  water at the HPWTP for the period January 1942-June 2008
       • Model code: MT3DMS-5.3                                   (Appendix A 7), and at Holcomb Boulevard housing areas
       • Web site: http://hydro.geo.ua.edu/                       for the period January 1972-December 1985 (Appendix AS).
                                                                  These files are prepared in Adobe® Portable Document Format
      Distribution of water and contaminants in a water-
                                                                  (PDF).
distribution system
                                                                        Readers desiring information about the model input data
       • Model code: EPANET 2 (Build 2.00.12)                     files or the simulation results contained on the CD-ROM also
       • Web site: http://www.epa.gov/nrmrl/wswrd/dw/epanet.      may contact the Project Officer of ATSDR's Exposure-Dose
         html                                                     Reconstruction Project at the following address:
       Objective parameter estimation and uncertainty analysis         Morris L. Maslia, MSCE, PE, D.WRE, DEE
                                                                       Exposure-Dose Reconstruction Project
       • Model code: PEST-12
                                                                       Division of Community Health Investigations
       • Web site: http://www.pesthomepage.org/                        Agency for Toxic Substances and Disease Registry
     Specialized model codes and model input data files                4 770 Buford Highway, NE
were developed specifically for the Hadnot Point-Holcomb               Mail Stop F-59
Boulevard study area analyses by the Multimedia Environ-               Atlanta, Georgia 30341-3717
mental Simulations Laboratory (MESL) at the School of                  Telephone: (770) 488-3842
Civil and Environmental Engineering, Georgia Institute of              Fax: (770) 488-1536
Technology. These specialized codes and input data files were          E-mail: mmaslia@cdc.gov




A102                Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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Acknowledgments                                                    retired water treatment plant operators of the USM CB Camp
                                                                   Lejeune Public Works Department Utility Section.
      A study of this complexity and magnitude is dependent              The authors acknowledge members of the USMCB Camp
upon the assistance, input, and suggestions of many col-           Lejeune Community Assistance Panel (CAP). In particular,
leagues. The authors of this report and all chapter reports        Jerome M. Ensminger (USMC, Retired), Michael S. Partain,
acknowledge the managers and staff of the U.S. Geological          and Tom Townsend (USMC, Retired) are acknowledged
Survey Water Science Centers in Raleigh, North Carolina, and       for their input, dogged review of the many historical docu-
Atlanta, Georgia. In particular, the contributions of Melinda J.   ments, and perspectives on historical activities at USMCB
Chapman, Douglas A. Hamed, and Stephen S. Howe are                 Camp Lejeune.
acknowledged for providing the majority of well, water-                  The authors acknowledge colleagues at ATSDR, Eastern
level, and pumpage data used in this study. John S. Clark and      Research Group, Inc., and the Multimedia Environmental Sim-
Edward H. Martin also are acknowledged for their administra-       ulations Laboratory at the Georgia Institute of Technology for
tive assistance.                                                   providing assistance and advice with all aspects of this study.
      The authors acknowledge the staff of the Environmental             The authors acknowledge colleagues, external peer
Management Division, USMCB Camp Lejeune, North Caro-               reviewers, the Office of Science, and the Office of the Director
lina. In particular, Scott R. Williams (currently at Headquar-     (National Center for Environmental Health/Agency for Toxic
ters, U.S. Marine Corps) and Charity M. Rychak are acknowl-        Substances and Disease Registry) for their reviews and sug-
edged for their assistance and cooperation during the course of    gestions, which resulted in enhancing this report and associ-
this study, especially for providing a large number of technical   ated supplemental texts.
reports, maps, and historical documents, which summarize                 The authors greatly acknowledge Caryl J. Wipperfurth
the results of groundwater remedial investigations and related     and Kimberly A. Waltenbaugh, U.S. Geological Survey Sci-
monitoring throughout the HPHB study area. The authors are         ence Publishing Network, for their expert and highly profes-
especially appreciative of the historical information perspec-     sional assistance in the preparation of text, illustrations, and
tives provided by Joel Hartsoe, Danny E. Hill, and several         electronic media.




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  grated Risk Information System (IRIS); 2012. Report No.:        sional Multi-Species Model for Simulation of Advection
  EPA/635/R-08/0llA. [cited 2012 February 16]; Available          Dispersion, and Chemical Reactions of Contaminants in'
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  ters Marine Corps and Marine Corps Base Camp Lejeune)
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Appendix A1. Summaries of Hadnot Point-Holcomb Boulevard chapter
reports and supplemental information, U.S. Marine Corps Base Camp Lejeune,
North Carolina
      Summaries of Hadnot Point-Holcomb Boulevard                          Chapter A-Supplement 1: Descriptions and Char-
(HPHB) chapter reports (A, B, C, and D) and supplemental             acterizations of Data Pertinent to Water-Supply Well
information sections of Chapter A (Supplements 1-8) are              Capacities, Histories, and Operations (Sautner ct al. 2013a)
described below. Electronic versions of each chapter report          provides specific documentation for 96 water-supply wells
and each Chapter A supplement are on the computer disc,              in terms of capacities, histories, and operations that operated
read-only memory (CD-ROM) media provided in the back                 during the period 1942-June 2008 and provided groundwater
pocket of the Chapter A report. The chapter reports and sup-         to the HPWTP and HBWTP. Hundreds of documents and
plements will be made available on the ATSDR Camp Lejeune            reports were reviewed, and numerous discussions with former
Web site at http://w1vw.atsdr.cdc.gov/sitesllejeune/index.html.      and current water treatment plant (WTP) operators took place.
      Chapter A: Summary and Findings (Maslia et al. 2013-           Notable information was recorded and analyzed for each
this report) provides both a summary of technical findings and       specific water-supply well to determine the chronological
detailed analyses of historical reconstruction of groundwater        record of a well's operation (well history) starting from the
flow, contaminant fate and transport, and distribution of finished   time the well was placed into service and ending with the time
water within the Hadnot Point and Holcomb Boulevard water            the well was abandoned. A listing of the documented historical
treatment plant (HPWTP and HBWTP, respectively) service              well operations has been created for each water-supply well
areas. Contaminants of concern to the ATSDR health studies           and is used to better understand how the Hadnot Point and
described in this report are tetrachloroethylene (PCE), trichlo-     Holcomb Boulevard water-distribution systems were histori-
roethylene (TCE), lrans-1,2-dichloroethylene (1,2-tDCE), vinyl       cally operated. This information and data are used to assist
chloride (VC), and benzene. Among the topics covered in this         with the reconstruction of historical monthly operations for
chapter are (1) the purpose of the HPHB study area historical        each water-supply well when little or no information is avail-
reconstruction analysis, (2) review of contaminants of concern
                                                                     able. Tabulated well histories from the 96 water-supply wells
(volatile organic compounds [VOCs])for ATSDR health studies,
                                                                     described in this Supplement 1 report were used to reconstruct
(3) base-housing information and water-supply data (4) methods
                                                                     historical monthly operations for water-supply wells. Informa-
for reconstructing historical concentrations in finished water,
                                                                     tion contained in Chapter A-Supplement 1 was necessary to
which include data mining and contaminant-source identifica-
                                                                     conduct groundwater-flow and contaminant fate and transport
tion and characterization, (5) application of numerical models
                                                                     modeling as part of the historical reconstruction process.
and computational tools, (6) historical reconstruction analyses
                                                                           Chapter A-Supplement 2: Development and Appli-
and results for the Hadnot Point Industrial Area (HPIA) and
                                                                     cation of a Methodology to Characterize Present-Day
Hadnot Point landfill (HPLF) area, (7) reconstructed concentra-
                                                                     and Historical Water-Supply Well Operations (Telci et al.
tions in finished water at the HPWTP, (8) analyses ofintcnnit-
tent transfers of contaminated finished water from the HPWTP         2013) describes a methodology that is developed to estimate
to the Holcomb Boulevard family housing areas during years           the historical monthly volume of groundwater pumped from
1972-1985, and (9) selected bounding estimates of histori-           water-supply wells in the HPHB study area. The available
cal reconstruction results using sensitivity and m1certainty         data on operational patterns of water-supply wells consist of
analyses. Historical reconstruction results summarized in            the capacities of the wells, the operational state of the wells
Chapter A provide considerable evidence that concentrations of       on a daily basis, and the volume of water delivered to the
several contaminants of interest in finished water delivered by      WTPs on daily and monthly bases. The overall operational
the HPWTP substantially exceeded current maximum contami-            timeframe of the Hadnot Point and Holcomb Boulevard water-
nant levels (MCLs) during all or much of the epidemiological         distribution systems is divided into two periods: "present-day"
study period of 1968-1985. Included in this chapter report is        (1998-2008) and "Reconstruction" (1942-1997). In Supple-
a comprehensive table listing disparate information sources          ment 2, the present-day period is defined as the time during
used to extract pertinent information and data that were needed      which daily water-supply well operational data arc available.
to develop model input databases used to conduct historical          The reconstruction period is defined as the time when water-
reconstruction analyses. In this report, a CD-ROM is included        supply well operational data are limited or unavailable. The
that contains all chapter reports (A-D), Chapter A supplements       methodology is an efficient and effective way of integrating
(1-8), selected calibrated model input files, and reconstructed      available data for present-day conditions (1998-2008) with
(simulated) concentrations at selected water-supply wells and        the prediction process for the historical years (1942-1998).
in finished-water at the HPWTP and within the Holcomb Bou-           Results demonstrate that historical estimates of water-supply
levard water-distribution system.                                    well operations using this methodology are reasonable, and


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therefore, can be readily applied to groundwater-flow and con-       predevelopment calibration represents long-term average con-
taminant fate and transport model simulations for the HPHB           ditions, and transient simulations represent conditions occur-
study area.                                                          ring as a consequence of water-supply well operations. The
      Chapter A-Supplement 3: Descriptions and Charac-               798 monthly stress periods were used to represent transient
terizations of Water-Level Data and Groundwater Flow for             conditions during the period January 1942-June 2008. Model
the Brewster Boulevard and Castle Hayne Aquifer Systems              cells coincident with water-supply wells were assigned recon-
and the Tarawa Terrace Aquifer (Faye et al. 2013) provides           structed pumpage values based on the methodology described
summaries of the results of analyses of groundwater-level data       in Telci et al. (2013).
and describes corresponding elements of groundwater flow                   Chapter A-Supplement 5: Theory, Development,
such as vertical hydraulic gradients useful for groundwater-         and Application of Linear Control Model Methodology to
flow model calibration. Field data and theoretical concepts          Reconstruct Historical Contaminant Concentrations at
indicate that potentiometric surfaces within the study area are      Selected Water-Supply Wells (Guan et al. 2013) describes
shown to resemble to a large degree a subdued replica of sur-        the development of an alternate modeling approach using a
face topography. Consequently, precipitation that infiltrates to     linear state-space representation of a contaminated aquifer
the water table flows laterally from highland to lowland areas       system, designated in this Supplement 5 report as a linear con-
and eventually discharges to streams such as Northeast and           trol model (LCM). The LCM is used to reconstruct historical
Wallace Creeks and New River. Vertically downward hydraulic          concentrations at water-supply wells. The LCM approach is
gradients occur in highland areas, resulting in the transfer of      substantially less resource-intensive and requires less effort in
groundwater from shallow relatively unconfined aquifers to           terms of model parameter identification and calibration than
underlying confined or semi-confined aquifers. Conversely,           traditional (numerical) groundwater-flow and contaminant
in the vicinity of large streams such as Wallace and Frenchs         fate and transport modeling approaches. The mathematical
Creeks, diffuse upward leakage occurs from underlying con-           development for the LCM approach is described in detail and
fined or semi-confined aquifers. Point water-level data indicat-     then verified by using synthesized data from the numerical
ing water-table altitudes, water-table altitudes estimated using a   groundwater model developed for the Tarawa Terrace study
regression equation, and estimates of stream levels determined       area (Faye and Green 2007; Faye and Valenzuela 2007). The
from a digital elevation model (DEM) and topographic maps            LCM (TechControl) is then applied to the HPLF to recon-
were used to estimate a predevelopment water-table surface           struct the history of chlorinated solvent contamination at
in the study area. Approximate flow lines along hydraulic            water-supply well HP-651; the well was shut down in early
gradients are shown on a predevelopment potentiometric               1985 when chlorinated solvents were detected in the well. The
surface map and extend from highland areas where potentio-           LCM approach utilizes the historical operating schedule of
metric levels are greatest toward streams such as Northeast and      water-supply well HP-651 in conjunction with post-shutdown
Wallace Creeks. The distribution ofpotentiometric levels and         (1985-2004) measured contaminant concentrations in ground-
corresponding groundwater-flow directions conform closely to         water to reconstruct the history of contaminants in the water-
related descriptions of the conceptual model.                        supply well prior to 1985.
      Chapter A-Supplement 4: Simulation of Three-                         Chapter A-Supplement 6: Source Characterization
Dimensional Groundwater Flow (Suarez-Soto et al. 2013)               and Simulation of Fate and Transport of Selected Volatile
provides detailed analyses of groundwater flow based on data         Organic Compounds in the Vicinities of the Hadnot Point
and model simulations for the HPHB study area. Predevelop-           Industrial Area and Landfill (Jones et al. 2013) describes
ment (steady state) and transient three-dimensional ground-          reconstruction (simulation) of historical concentrations oftet-
water-flow models were developed using MODFLOW-2005                  rachloroethylene (PCE), trichloroethylene (TCE), and benzene
(Harbaugh 2005). Multiple groundwater-flow models were               in finished water in the vicinities of the HPIA and the HPLF
necessary to describe both predevelopment and transient              area. A contaminant fate and transport model was used to sim-
conditions, which focused on the HPIA and HPLF subdomain             ulate contaminant migration from source locations through the
areas. The predevelopment model is characterized by a uni-           groundwater system and to estimate monthly mean contami-
form finite-difference grid consisting of300-ft x 300-ft cells.      nant concentrations in water withdrawn from production wells
Transient models-one for the HPIA and one for the HPLF               in the vicinity of the HPIA and the HPLF area. The monthly
subdomain areas-were characterized by variably spaced                mean contaminant concentrations were subsequently input to a
finite-difference grids consisting of cells ranging in size from     mixing model to quantify monthly mean concentrations of the
300 ft x 300 ft to 50 ft x 50 ft-the 50-ft x 50-ft cells being       contaminants in finished water that supplied the housing areas
necessary to meet fate and transport numerical modeling              and other facilities served by the HPWTP. Review of avail-
requirements. The variably spaced grid models were used to           able records indicates that the earliest production wells began
simulate local transient conditions and contaminant fate and         operation in the early 1940s, and contaminants leaked into the
transport in the HPIA and HPLF subdomain areas (Jones et             subsurface as early as the late 1940s. Concentrations of the
al. 2013). All models consist of seven layers representing           contaminants were simulated using monthly intervals for the
the Brewster Boulevard and Castle Hayne aquifer systems              entire period of production-well operation from January 1942
and Tarawa Terrace aquifer described by Faye (2012). The             through June 2008, the date of the most recently available

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data. The applied and calibrated fate and transport models,       data used to develop the geohydrologic framework of the
described in Supplement 6, were based on the groundwater-         Brewster Boulevard and Castle Hayne aquifer systems and the
flow models that are described in Suarez-Soto et al. (2013).      Tarawa Terrace aquifer. The geometry and lithology of seven
      Chapter A-Supplement 7: Source Characterization             aquifers and related confining units are described in a series of
and Simulation of the Migration of Light Nonaqueous               sections, maps, and tables. Hydraulic characteristics, includ-
Phase Liquids (LNAPLs) in the Vicinity of the Hadnot
                                                                  ing hydraulic conductivity, transmissivity, storativity, and
Point Industrial Area (Jang et al. 2013) describes (1) the
                                                                  leakance parameters, are tabulated for several geohydrologic
migration potential and distribution of LNAPLs for several
                                                                  units. Where data density is sufficient, maps showing spatial
hypothetical scenarios, (2) the estimation ofLNAPL volume
based on field measurements ofLNAPL thicknesses in the            distributions of hydraulic conductivity are included.
HPIA, and (3) the transport of dissolved contaminants within            Chapter C: Occurrence of Selected Contaminants in
the HPIA. The analysis was carried out by using complex           Groundwater at Installation Restoration Program Sites
modeling of multiphase flow through pore spaces. The              (Faye et al. 2010) provides detailed accounting of the known
analysis ofLNAPL flow delineated the migration and expan-         occurrences of contaminants of concern (e.g., PCE and TCE)
sion of free-phase LNAPL plumes and the spatial variation in      and their related degradation products in groundwater at
LNAPL saturation in the modeling domain with time. Based          selected Installation Restoration Program (IRP) sites within
on available field data ofLNAPL thickness from observa-           the HPWTP and HBWTB service areas at U.S. Marine Corp
tion wells, the mass distribution and volume ofLNAPLs in          Base (USMCB) Camp Lejeune. These sites were identified by
the subsurface at the HPIA were estimated using the Tech-         the Department of the Navy under the auspices of the Compre-
NAPLVol model code. The computed LNAPL volume ranged
                                                                  hensive Environmental Response, Compensation, and Liability
from approximately 0.9 to 1.6 million gallons. The mass
                                                                  Act (CERCLA). Concentrations of these constituents in water-
distribution (or saturation profile) ofLNAPLs in the sub-
surface was used as the contaminant-source input for a fate       supply wells and in finished water of the HPWTP and HBWTP
and transport analysis of dissolved LNAPL components in           also are described. Collectively, these data provide most of the
groundwater at the HPIA. The TechFlowMP multiphase flow           base of information necessary to construct the fate and trans-
and multispecies contaminant transport model was used to          port models used to reconstruct (simulate) historical concen-
simulate the dissolution and subsequent fate and transport of     trations of contaminants within the water-distribution systems
dissolved-phase benzene and xylenes in the HPIA.                  serviced by the HPWTP and HBWTP. Additionally, this report
      Chapter A-Supplement 8: Field Tests, Data Analyses,         provides a detailed summary of historical information useful
and Simulation of the Distribution of Drinking Water with         to ongoing and future exposure and health studies at USMCB
Emphasis on Intermittent Transfers of Drinking Water              Camp Lejeune, including a chronology of residential housing
Between the Hadnot Point and Holcomb Boulevard Water-             areas served by the HPWTP and HBWTP, annual operational
Distribution Systems (Sautner et al. 2013b) provides detailed     capacities of the WTPs, locations and construction details of
information on the design of field tests conducted during 2004
                                                                  water-supply wells and water-quality monitor wells, and a
to ascertain water-distribution system properties for Hadnot
                                                                  summary and discussion of relevant environmental investiga-
Point and Holcomb Boulevard. By using information and data
gathered during the field tests, along with data provided by      tions at 18 IRP sites within the study area where contaminated
Camp Lejeune water utility staff, an extended period simu-        groundwater occurred or was thought to have occurred.
lation model for water-distribution system hydraulics and               Chapter D: Occurrence of Selected Contaminants in
water-quality dynamics was developed and calibrated using         Groundwater at Above-Ground and Underground Storage
EPANET 2 (Rossman 2000). The calibrated EPANET 2 model            Tank Sites (Faye et al. 2012) provides summaries of results
of the Holcomb Boulevard water-distribution system was used       of investigations at 64 designated Resource Conservation
in conjunction with Markov Chain analysis to estimate the         and Recovery Act (RCRA) study areas and emphasizes the
concentrations ofVOCs during the period 1972-1985. Dur-           occurrence and distribution of benzene, toluene, ethylbenzene,
ing this time, contaminated Hadnot Point finished water was       and xylenes (BTEX) components within groundwater of the
intermittently provided to the Holcomb Boulevard housing          areas served by the HPWTP and HBWTP. The volume of
areas. Within the Holcomb Boulevard housing area, except
                                                                  BTEX mass removed from the subsurface during remediation
for the 8-day period of January 28-February 4, 1985, when
                                                                  at selected locations within the service areas also is summa-
the HBWTP was out of service, only TCE routinely exceeded
its MCL during intermittent periods of connection with the        rized. Results of analyses of samples collected in monitor
Hadnot Point water-distribution system.                           wells at several CERCLA investigation study areas co-located
      Chapter B: Geohydrologic Framework of the Brew-             with RCRA areas are also included herein. Concentrations of
ster Boulevard and Castle Hayne Aquifer Systems and               chlorinated alkenes such as PCE and TCE are also described
the Tarawa Terrace Aquifer (Faye 2012) provides detailed          where plumes of BTEX and chlorinated alkenes are mixed at
analyses and interpretations of well, borehole, and geophysical   several locations.



Chapter A: Summary and Findings                                                                                             A115
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 Appendix A2. Information sources used to extract model-related
 data for historical reconstruction analyses, U.S. Marine Corps
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AppendixA2.   Information sources used to extract model-specific data for historical reconstruction analyses, U.S. Marine Corps Base
Camp Lejeune, North Carolina.
[Refer to end of Appendix A2 for a list of abbreviations and acronyms]

                                                Supplier or                                                                                 Date obtained,
       Information           Original                                     Approximate
                                                location of                                                 Description                         (date of
          source              media                                      quantity or size
                                            information source                                                                               information)
                                               ATSDR information requests and selected authored reports
ATSDR information          CD-ROM         Camp Lejeune               CD-ROMs with           Final Basewide Remediation Assessment            Aug. 2003
  request,                                                            numerous files          Groundwater Study (Baker 1998a);                (varies)
  July 11, 2003                                                                               GIS data for Camp Lejeune; historical
                                                                                              water-supply well data from wellhead
                                                                                              management program study (Geophex
                                                                                              Ltd. 1991); wellhead protection plan
                                                                                              update (AH Environmental Consultants
                                                                                              2002); historical water treatment plant
                                                                                              booster pump information (Henry
                                                                                              Von Oesen and Associates, Inc. 1979)
ATSDR information          CD-ROM, Camp Lejeune                      About25                Natural color digital orthophotography;           Nov. 2004
  request, 2004              DVD                                       gigabytes              data layers maintained in the integrated       (Feb. 2004)
                                                                                              geographic information repository (IGIR)
                                                                                              master database, Feb. 2004; TIFF files
ATSDR information             Paper       Camp Lejeune               12 pages               Documentation for startup of Holcomb             Sept. 2005
  request, 2005                                                                               Boulevard water treatment plant;               (June-Dec.
                                                                                              acquisition data form, April 1973;                1972)
                                                                                              plant account record card, July 1990;
                                                                                              Newspaper (Globe) article, August 1972;
                                                                                              Command chronology, July-Dec 1972
ATSDR information          CD-ROM         Camp Lejeune               3 CD-ROMs              VOC impacted drinking water document             Dec. 2005
  request,                                                                                   database (CLW database); TCE/PCE               (1980-1986)
  Dec. 1, 2005                                                                               sample result summary spreadsheet;
                                                                                             JTC historical laboratory analytical results
                                                                                             (subset ofCLW database, about 34 files)
ATSDR information          CD-ROM, Camp Lejeune                      1 CD-ROM,              Natural color digital orthophotography of         Sept. 2006
  request, 2006              DVD                                       1 DVD                  entire base, Feb. 2004, MrSID image            (Nov. 2004;
                                                                                              format; color infrared color digital           Mar. 1996)
                                                                                              orthophotography of entire base,
                                                                                              Mar. 1996, MrSID image format
ATSDR information          CD-ROM, Camp Lejeune                      CD-ROM,                186 documents (PDFs) from the Camp                July 2009
  request, May 2009         DVD,                                      DVD,                    Lejeune Historic Drinking Water                  (varies)
                             paper                                    paper                   Consolidated Document Repository
                                                                                              (f/k/a BAH files); 31 sets of contract
                                                                                              drawings from Public Works vault;
                                                                                              Raw Water Master Plan (AH Environmental
                                                                                              Consultants 2005); Draft (2009) USGS
                                                                                              groundwater- level report, (published
                                                                                              as Mcswain 2010); Permit to Construct
                                                                                              Municipal Solid Waste Landfill (Dewberry
                                                                                              and Davis 1995); Evaluation of Cogdell's
                                                                                              Creek (CH2M HILL, Inc. 1998);
                                                                                              Corrosion Control Study, Hadnot Point
                                                                                              and Marine Corps Air Station (MCAS)
                                                                                              New River (Malcolm Pirnie 1999)
ATSDR information          CD-ROM         Camp Lejeune               1 CD-ROM               Site Management Plans for 2007, 2008,             Dec. 2009
  request, Nov. 2009                                                   (about 160              2009, and 2010 (CH2M HILL 2007a,b,            (Apr. 2007-
                                                                       megabytes)              2008,2009)                                    Aug. 2009)
ATSDR information          CD-ROM         USEPA, Region IV           57 files,              JTC Laboratory analyses on Naval samples          Sept. 2011
  request, Apr. 2011                                                   19 megabytes                                                          (Feb. 1985-
                                                                                                                                              Apr. 1986)



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Appendix A2.  Information sources used to extract model-specific data for historical reconstruction analyses, U.S. Marine Corps Base
Camp Lejeune, North Carolina.-Continued
[Refer to end of Appendix A2 for a list of abbreviations and acronyms]

                                                Supplier or                                                                                  Date obtained
      Information            Original                                     Approximate
                                                location of                                                  Description                         (date of
         source               media                                      quantity or size
                                            information source                                                                                information)
                                          ATSDR information requests and selected authored reports-Continued
 Hadnot Point-                Paper;      ATSDR                 11rree reports               Analyses and interpretations of data to           Oct. 2010,
   Holcomb                  electronic    http://www.atsdr.cdc.   (Chapters B,                 develop geohydrologic framework of              Jan. 2012,
   Boulevard                  (PDF)          gov/sites/lejeune/   C, and D),                   the Brewster Boulevard and Castle               Dec. 2012
   reports                                   watermodeling.html   about40                      Hayne aqufier systems and the Tarawa          (l 940s-2008)
                                                                  megabytes                    Terrace aquifer; analyses of selected
                                                                                               contaminants within the HPWTP and
                                                                                               HBWTP service areas and vicinities at
                                                                                               Camp Lejeune; among contaminants of
                                                                                               interest in this report series, PCE, TCE,
                                                                                               1,2-tDCE, benzene, and vinyl chloride
 Public Health                Paper       ATSDR records room         1 folder in             Administrative records for 1990 public           Aug. 1990;
   Assessment for                           and LAN                     records room           health assessment; 1996 site review and         Sept. 1996
   ABC One-Hour                                                                                update also available                          (Aug. 1990;
   Cleaners                                                                                                                                   Sept. 1996)
 Public Health                Paper       ATSDR records room 52 folders in                   Administrative records for 1997 public           Aug. 1997
   Assessment for                           and LAN            records room                    health assessment                             (Aug. 1997)
   Camp Lejeune                                                and numerous
                                                               electronic files
 Tarawa Terrace              Paper;       ATSDR                 Executive         Analyses of the Tarawa Terrace drinking-                    2007-2009
   reports                  electronic    http://www.atsdr.cdc.   summary           water system at Camp Lejeune that                        (1950s-1994)
                              (PDF)          gov/sites/lejeune/   report and 9      was contaminated with PCE and its
                                             watermodeling.html   report volumes    degradation by-products from the nearby,
                                                                  (Chapters A-I);   off-base, ABC One-Hour Cleaners
                                                                  about 100
                                                                  megabytes
                                                              Databases and information portals
 ABC One-Hour                 Paper;      USEPA Web site:       About25                      Reports primarily related to CERCLA              2003-2007
  Cleaners site             electronic      http://www.epa.gov/   electronic files             activities at ABC One-Hour Cleaners           (1986-2007)
  reports                     (PDF)                               (PDF), 125                   site; files vary in size from a few pages
                                                                 megabytes                     to several hundred pages
 Camp Lejeune               Electronic    Camp Lejeune               514 pages (index        The index (f/k/a BAH index) is a list of         Apr. 2009
   Historic Drinking          (PDF)                                    only); about            documents compiled from a base-wide             (varies)
   Water Consolidated                                                  8,000-10,000            search of buildings and documents; a
   Document                                                            documents               single index entry may reference several
   Repository                                                                                  boxes to tens of boxes of documents and
   (CLHDWCDR)                                                                                  information records
 Camp Lejeune               Electronic    Camp Lejeune               7,403 files,            Documents, handwritten notes, reports, lab       Mar. 2011
   Historic Drinking          (PDF)                                     158 gigabytes          analyses, water-supply data, compiled           (varies)
   Water Consolidated                                                                          from a base-wide search of buildings and
   Document                                                                                    documents; a single file may reference
   Repository                                                                                  several one-page documents or several
   (CLHDWCDR)                                                                                  hundred pages of information and records
 Camp Lejeune              CD-ROM         Camp Lejeune               About                   Documents, handwritten notes, reports,           Dec. 2005
   water document                                                      574 megabytes;          lab analyses primarily related to water         (varies)
   (CLW files)                                                         about                   supply, distribution, and water-quality
                                                                       1,100 files             issues; files vary in size from a few pages
                                                                                               to several hundred pages
 CERCLA                     Paper and     USEPA Web site:       About 100 files              Documents, handwritten notes, and reports        2003-2007
   administrative           electronic      http://www.epa.gov/   listed on                    primarily related to CERCLA activities        (1986-1994)
   record for                 (PDF)                               CERCLA                       at ABC One-Hour Cleaners site; files
   ABC One-Hour                                                   administrative               vary in size from a few pages to several
   Cleaners                                                       record index                 hundred pages


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Appendix A2.  Information sources used to extract model-specific data for historical reconstruction analyses, U.S. Marine Corps Base
Camp Lejeune, North Carolina.-Continued
[Refer to end of Appendix A2 for a list of abbreviations and acronyms]

                                                Supplier or                                                                               Date obtained
       Information           Original                                     Approximate
                                                location of                                                 Description                       (date of
          source              media                                      quantity or size
                                            information source                                                                             information)
                                                       Databases and information portals-Continued

 CERCLA                    Hard drive     Baker Engineers,           About                  Documents, handwritten notes,                   Jan.2006
   administrative          (provided        Inc., Web portal;          15 gigabytes;          and reports primarily related to               (varies)
   record for              by Camp          http://www.                about                  installation restoration program sites at
   Camp Lejeune             Lejeune)        bakerenv.com/              3,700 files            Camp Lejeune; files vary in size from a
                                            camplejeune_irp                                   few pages to several hundred pages
 Environmental              Electronic Camp Lejeune                  Hundreds to            Reports and documents related to base          2003-2010
   Management              (MS Excel;                                  thousands of           IRP, wastewater, drinking water, surface      (varies)
   Division (EMD)             PDF)                                     reports and            water, groundwater, indoor air quality,
   document index                                                      documents              vapor intrusion, solid waste, landfill
                                                                                              activities, environmental conservation,
                                                                                              compliance, wellhead management, etc.
 Terrabase-                CD-ROM Catlin/Camp Lejeune About 1.3 million Analytical data associated with base IRP                           Apr. 2010
   IRP sites              (MS Access)                   records of        provided to Catlin by Camp Lejeune;                             (1984-2010)
                                                        analytical data   IRP data derived from other source
                                                                                              documents
 Terrabase-                CD-ROM Catlin/Camp Lejeune About 700,000                         Time frame of data is 1984 to 2005.            Mar. 2010
   UST sites              (MS Access)                   records of                            Database developed from database            (1984-2005)
                                                                          analytical data     provided to Catlin by Camp Lejeune
                                                                                              during November 2005; contains
                                                                                              analytical data for UST sites
 UST files                 Electronic Camp Lejeune;      1,535 files                        Information, site data, meeting minutes,       Mar. 2010
                          (Web portal)  Catlin Engineers                                      monitoring data, etc., related to all       (1986-2009)
                                        and Scientists                                        UST sites and activities at Camp
                                        http://lejeune.                                        Lejeune; files vary in size from a few
                                        Webmainframe.com                                       pages to exceeding 1,000 pages
                                        (proprietary)
                                                       Drinking-water system information and data

 AH Environmental             Paper       Camp Lejeune               6 reports, about       Cataloging and information gathering          Aug. 2003-
   reports on                                                           250 pages             of drinking-water systems at Camp            Dec. 2005
   drinking-water                                                                             Lejeune; all reports by AH Environmental    (2001-2005)
   systems                                                                                    Consultants: (1) Long Term Water System
                                                                                              Master Plan (Dec. 2001 ), (2) Wellhead
                                                                                              Protection Plan-2002 Update
                                                                                              (Aug. 2002), (3) Water Distribution
                                                                                              System Modeling Support (Aug. 2004),
                                                                                              (4) ATS DR Support-Estimation of
                                                                                              VOC Removal (Dec. 2004), (5) Meter
                                                                                              Installation Work Plan (Dec. 2004), and
                                                                                              Raw Water Master Plan (March 2005)
 Golf course                  Paper       Camp Lejeune               5 electronic files     Scanned images (PDFs and TIFFs) of              Sept. 2010
  watering                                                                                    golf course sprinkler locations and          (Mar. 1969;
   information                                                                                information                                  Aug. 1991;
                                                                                                                                           June 1993)
 Pump rating                  Paper       Camp Lejeune               4 pages                Pump rating curves for finished water          Mar. 2004
   curves                                                                                     pumps at Hadnot Point and Holcomb            (-1985?)
                                                                                              Boulevard water treatment plants




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                 Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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AppendixA2. Information sources used to extract model-specific data for historical reconstruction analyses, U.S. Marine Corps Base
Camp Lejeune, North Carolina.-Continued
[Refer to end of Appendix A2 for a list of abbreviations and acronyms]

                                                Supplier or                                                                                    Date obtained
      Information            Original                                     Approximate
                                                location of                                                   Description                          (date of
         source               media                                      quantity or size
                                            information source                                                                                  information)
                                                Drinking-water system information and data-Continued

 Survey of selected         Electronic U.S. Geological               27 fire hydrants        Horizontal and vertical survey                    May-July 2004
   water-distribution      (MS Excel)    Survey, North                 and 7 water-            data for selected hydrants and                     (May-
   system locations                      Carolina Water                storage tanks           water-storage tanks                              July 2004)
                                         Science Center

 Survey of selected         Electronic Parker and Associates 56 fire hydrants,               Horizontal and vertical survey                      Oct. 2004
   water-distribution      (MS Excel)    (subcontractor to     21 monuments,                   data for selected hydrants and                   (Oct. 2004)
   system locations                      Eastern Research      and 6 water-                    water-storage tanks
                                         Group, Inc.)          storage tanks

 Water treatment plant     CD-ROM         Camp Lejeune               About 100               2-minute SCADA data for various times               2004-2007
  flow data                                                            megabytes               during 2004-2005                                 (Mar. 2004-
                                                                                                                                                 Sept. 2005)

 Water treatment plant Electronic Camp Lejeune                       About 15                Daily and monthly flows from water                 2004-2009
  flow data            (MS Excel);                                     megabytes               treatment plants; 1995-1999 in paper            (1999-2005)
                         paper                                                                 format; 2000-2005 in electronic format

 Water utility maps        CD-ROM; Camp Lejeune                      About                   Historical (1956-1987) water utility maps,          July 2006
                             paper                                     100-150 files,          scanned in as TIFFs, showing water-             (1956-1987)
                                                                       500 megabytes           distribution systems aboard Camp Lejeune

 Water utility and         CD-ROM         Camp Lejeune               About                   Historical (1940s and 1950s) water utility          Oct. 2003
  housing maps                                                         500 files,              and housing maps, scarmed in as TIFFs,          (1940s-1950s)
                                                                       525 megabytes           50-ft and 500-ft scales

 Water plant log              Paper       Camp Lejeune               About                   CLW files 6610.pdf-8761.pdf; handwritten            Dec. 2005
  books                                                                2,100 pages             entries in water utility log books containing      (varies)
                                                                                               information on mechanical repairs, water-
                                                                                               supply operations, water-quality issues, and
                                                                                               customer contacts and complaints

 Water-supply wells           Paper       Camp Lejeune               About 110 wells         Historical and present-day notes, information      Aug. 2003-
  capacity data                                                                                and data on operations and capacity histories     Aug. 2010
                                                                                                of Tarawa Terrace, Holcomb Boulevard,          (1940s-2010)
                                                                                               and Hadnot Point water-supply wells

 Water-supply well         CD-ROM         Camp Lejeune               10,000                  Ten years of daily records, 1999-2008,               2009
  operational data                                                     scanned pages           indicating water-supply well on-off             (1999-2008)
                                                                                               cycling operations-handwritten entries

                                                              Housing records and information

 Housing maps                 Paper       Camp Lejeune               About 10 maps           Paper maps that show housing units,               Date unknown
                                                                       (sheets)                addition of housing units, and estimated        (1940s-1990s)
                                                                                               number of housing units

 Housing records              Paper       Camp Lejeune               About                   Camp Lejeune housing records used for              Aboutl994
                                                                       90,000 records          identifying enlisted and officer personal       (1950s-l 995)
                                                                                               housing locations; obtained for small for
                                                                                               gestational age study (ATSDR 1998)




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AppendixA2.   Information sources used to extract model-specific data for historical reconstruction analyses, U.S. Marine Corps Base
Camp Lejeune, North Carolina.-Continued
[Refer to end of Appendix A2 for a list of abbreviations and acronyms]

                                                Supplier or                                                                                  Date obtained
       Information           Original                                     Approximate
                                                location of                                                 Description                          (date of
          source              media                                      quantity or size
                                            information source                                                                                information)
                                                                 Map information and data

Airborne laser digital        DVD         Spectrum Mapping           44 DVDs (about         Digital orthophotographs of                       Nov. 2004
  imagery; spatial                          Corporation,               170 gigabytes)         Onslow County, North Carolina                  (Feb. 2003?)
  data, Onslow                              North Carolina
  County, NC
AutoCAD files              CD-ROM         Camp Lejeune               About 100 mega- Quadrangle maps of Camp Lejeune                          Oct. 2003
                                                                       bytes; 70 files containing features such as topography,                 (1996)
                                                                                       utility lines, wastewater and water-
                                                                                       distribution systems, housing locations, etc.
Camp Lejeune                  Paper       Camp Lejeune               1 report               Report on geodetic survey to upgrade                2005
  survey control data                                                   (85 pages)            and update horizontal control aboard           (Sept. 19 84)
                                                                                              U.S. Marine Corps Base Camp Lejeune
 Digital elevation            DVD         U.S. Geological            1.9 gigabytes          LIDAR-derived DEM data for Camp                   Jan. 2004;
   model (DEM)                              Survey, North                                     Lejeune area, 20-ft and 5-ft grids;             Aug. 2010
   data                                     Carolina Water                                    obtained from the NC Flood                       (May 31,
                                            Science Center                                    Mapping Program                                   2002)
 Digital topographic       CD-ROM         U.S. Geological            650 megabytes          2-ft contours created from the 20-ft              Feb.2004
   contour data                             Survey, North                                      LIDAR-derived DEM, available from the          (May 31,
                                            Carolina Water                                     NC Flood Mapping Program; projection             2002)
                                            Science Center                                     is NC State Plane, NAD 83, units feet
Geographic                 CD-ROM; Camp Lejeune                      Several dozen          Installation geospatial information and           Aug. 2003-
  information                DVD                                       CD-ROMs                historical satellite imagery files               July 2009
  sys tern files                                                       and DVDs                                                                 (1938-
                                                                                                                                              June 2009)
 Soil Survey                Electronic    Natural Resources          1.6 megabytes          Georeferenced digital map data and tabular        Nov. 2010
   Geographic                               Conservation                                      data of soils and attribute data for           (Sept. 2003-
   (SSURGO)                                 Service, United                                   Onslow County, NC, provided in                  June 2009)
   database for                             States Department                                 ESRI Arcview shapefile format
   Onslow County,                           of Agriculture
   North Carolina                           http://soildatamart.
                                            nrcs. usda.gov

                                                          North Carolina documents and reports

Central Coastal             Electronic    NCDENR, Division    1 report                      Report describing the central coastal plain        Nov. 2003
  Plain Capacity              (PDF)        of Water Resources    (24 pages)                   capacity use area under the 1967 Water          (Nov. 1998)
  Use Investigation                                                                           Use Act (NCDENR 1998)
  Report
 Detailed soil maps        CD-ROM         North Carolina Center 52 megabytes                Detailed digital soils maps for Onslow            Apr. 2005
   for Onslow                               for Geographic                                    County, North Carolina                         (2003-2004)
   County, NC                               Information and
                                            Analysis
North Carolina              Electronic    North Carolina             1 report and           Compilation of more than 500 water-supply         Nov. 2003
  water-supply plan           (PDF)         Department of               20 appendixes         plans developed by local government water      (1998-1999)
                                            Environment and             (about                systems to assess water-supply needs over
                                            Natural Resources           150 pages)            the next 20 years; report dated January 2001
                                            (NCDENR)                                          and based on local water-supply plans
                                                                                              developed during 1998 and 1999


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AppendixA2. Information sources used to extract model-specific data for historical reconstruction analyses, U.S. Marine Corps Base
Camp Lejeune, North Carolina.-Continued
[Refer to end of Appendix A2 for a list of abbreviations and acronyms]

                                                   Supplier or                                                                                   Date obtained
         Information            Original                                   Approximate
                                                   location of                                                   Description                         (date of
            source               media                                    quantity or size
                                               information source                                                                                 information)
                                                       North Carolina documents and reports-Continued
 State of North               CD-ROM, NCDENRand                         5 CD-ROMs,             Historical and present-day water-supply            Mar. 2004;
   Carolina Records            DVD,    historical archives                I DVD,                 information; water-supply well construction      June 2010;
                                 paper          in Raleigh and            (historical files      information; site information for Hadnot         Aug. 2010
                                                Wilmington 1              unknown)               Point fuel farm (IR site 22) and Hadnot         (1980-2007)
                                                                                                 Point Industrial Area (IR site 78)
 State of North                  Paper       NCDENR                     I report               Documentation of North Carolina vital               Unknown
   Carolina vital                                                          (116 pages)           statistic data files available for public use    (Oct. 1993)
   statistics data files
                                                          Miscellaneous information, data, and reports
 Community group               Electronic    http://www.           NIA                         Former marine's and citizen's Web sites               NIA
   Web sites                                    watersurvivors.com                               containing miscellaneous information               (NIA)
                                                                                                 and numerous Camp Lejeune documents
                                                http://www.tftptf                                (current and historical). Historical
                                                com/                                             obtained from the U.S. Marine Corps
                                                                                                 through FOIA requests
 National Climatic             Electronic    NCDC, Asheville, NC 6 files, about                Precipitation and evaporation data for the         Dec. 2008
   Data Center                               http ://www. ncdc. noaa. 6 megabytes                Hoffman/Maysville station, NC                   (Dec. 1945-
      (NCDC)                                    gov/oa/ncdc. html                                                                                 Dec. 2008)
 National Geophysical          Electronic    NGDC, Boulder, CO          4 files, about         Bathymetry survey data for New River               Dec. 2008
   Data Center                                http://www.ngdc.             600 kilobytes         area of Camp Lejeune, NC; 5 surveys:            (1927, 1933,
      (NGDC)                                  noaa.gov                                           H04697 (1927), H05277 (1933),                      1980)
                                                                                                 H05301 (1933), H05302 (1933), and
                                                                                                 H09882 (1980)
 Onslow County,                  Paper       U.S. Department of         I report               Information that can be used for land-             May 2003
   NC Soil Survey                              Agriculture, Soil           (152 pages)           planning programs in Onslow County;               (1982)
                                               Conservation                                      report contains predictions of soil
                                               Service                                           behavior for selected land uses
 Specific DON and             CD-ROM; Camp Lejeune                      10-15 volumes          Base Master Plans for 1972 (CERCLA          2005-2010
   USMC reports                electronic                                                        Administrative Record File #0368)        (1984-2009)
                                 (PDF);                                                          and 1988 (NAVFAC 1988?); Water
                                 paper                                                           Conservation Study (ECG Inc. 1999); Site
                                                                                                 Management Plans 2005-2011 (CH2M
                                                                                                 HILL and Baker Environmental, Inc.
                                                                                                 2005; CH2M HILL 2006, 2007a, 2007b,
                                                                                                 2008, 2009, 2010); Range Environmental
                                                                                                 Vulnerability Assessment report (Malcolm
                                                                                                 Pirnie 2009); Vapor Intrusion report
                                                                                                 (AGVIQ-CH2M HILL 2009)
 Technical                     Electronic    Camp Lejeune               Several                SWMU 350, IR site 88, Area of Potential            May 2010
   Memoranda                     (PDF)                                    electronic            Concern reports 9, 10, and 11                      (Mar.-
                                                                          files                                                                   May 2010)
 U.S. Geological                 Paper       USGS, North Carolina Several hundred to Files on well construction, well locations,                   Mar. 2004
   Survey open files                           Water Science        thousand pages;     and water use at Camp Lejeune;                           (1940s-1987)
   and reports                                 Center, Raleigh      published reports   published reports on Camp Lejeune
 Vapor intrusion               Electronic    USEPA; NAVFAC              Several reports        Reports describing vapor intrusion                 2007-2009
   activities                    (PDF);        (Camp Lejeune)             including one          activities at ABC One-Hour Cleaners,            (2007-2009)
                                 paper                                    6-volume               Tarawa Terrace Elementary School, and
                                                                          report                 Camp Lejeune (Mainside)
  1
      In searching the historical archives in Raleigh, North Carolina, information contained in files folders dated 1969-1989 were missing.

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Appendix A2.  Information sources used to extract model-specific data for historical reconstruction analyses, U.S. Marine Corps Base
Camp Lejeune, North Carolina.-Continued
[Refer to end of Appendix A4 for a list of abbreviations and acronyms]


   List of abbreviations and acronyms:
       1,2-tDCE, trans-1,2-dichloroethylene
       ATS DR, Agency for Toxic Substances and Disease Registry
       BAH, Booze Allen Hamilton
       Catlin, Richard Catlin and Associates, Inc. or Catlin Engineers and Scientists (see Rerference Section)
       CD-ROM, computer disc, read-only memory
       CERCLA, Comprehensive Environmental Response, Compensation, and Liability Act of 1980
       CLW, Camp Lejeune water document
       DEM, digital elevation model
       DON, Department of the Navy
       DVD, digital video disc
       ESRI, Environmental Systems Research Institute
       f/k/a, formerly known as
       FOIA, Freedom of Information Act
       ft, foot
       GIS, geographic information system
       HBWTP, Holcomb Boulevard water treatment plant
       HPWTP, Hadnot Point water treatment plant
       IGIR, integrated geographic information repository
       IRP, Installation Restoration Program
       JTC, JTC Environmental Consultants, Inc. (see Reference Section)
       LAN, local area network
       LIDAR, line detection and ranging
       MS, Microsoft, Excel, and Access are either registered trademarks or trademarks of Microsoft Corporation in the United States and/or other countries
       NIA, not available
       NAD 83, North American Datum of 1983
       NAVFAC, Naval Facilities Engineering Command
       NC, North Carolina
       NCDC, National Climatic Data Center
       NCDENR, North Carolina Department of Environment and Natural Resources
       NGDC, National Geophysical Data Center
       PCE, tetrachloroethylene
       PDF, portable document file format
       PHA, public health assessment
       SCADA, supervisory control and data acquisition
       SWMU, solid waste management unit
       TCE, trichloroethylene
       TIFF, tagged image file format
       USEPA, U.S. Environmental Protection Agency
       USGS, U.S. Geological Survey
       USMC, U.S. Marine Corps
       UST, underground storage tank
       VOC, volatile organic compound




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                 Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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Appendix A3. Reconstructed (simulated) mean concentrations in
groundwater at selected water-supply wells for tetrachloroethylene
(PCE), trichloroethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE),
vinyl chloride (VC), and benzene, Hadnot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina,
January 1942-June 2008




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Appendix A3.      Reconstructed (simulated) mean concentrations in groundwater at selected water-supply wells for tetrachloroethylene
(PCE), trichloroethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene, Hadnot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.
[-, no pumping]

                                                                     Concentration, in micrograms per liter
            Month
 Stress                                                                                                                                                I
             and         'PCE                                 'TCE                                  '1,2-tDCE    'VC               Benzene
 period
             year
                        HP-651   HP-651   HP-601    HP-602       HP-608        HP-634     HP-660      HP-651    HP-651   'HP-602   'HP-603   'HP-608
1-6       Jan. 1942-      -        -        -        -                -          -          -           -        -         -         -         -


          June 1942
7-114     July 1942-      -        -            0         0               0      -          -           -        -             0         0         0
          June 1951
115       July 1951       -        -            0         1               0      -          -           -        -             0         0         0
116       Aug. 1951       -        -            0         2               0      -          -           -        -             0         0         0
117       Sept. 1951      -        -            0         4               0      -          -           -        -             0         0         0
118       Oct. 1951       -        -            0         5               0      -          -           -        -             0         0         0
119       Nov. 1951       -        -            0         9               0      -          -           -        -             0         0         0
120       Dec. 1951       -        -            0        12               0      -          -           -        -             0         0         0
121       Jan. 1952       -        -            0        18               0      -          -           -        -             0         0         0
122       Feb. 1952       -        -            0        23               0      -          -           -        -             0         0         0
123       Mar. 1952       -        -            0        27               0      -          -           -        -             0         0         0
124       Apr. 1952       -        -            0        34               0      -          -           -        -             0         0         0
125       May 1952        -        -            0        42               0      -          -           -        -             0         0         0
126       June 1952       -        -            0        49               0      -          -           -        -             0         0         0
127       July 1952       -        -            0        58               0      -          -           -        -             0         0         0
128       Aug. 1952       -        -            0        71               0      -          -           -        -             0         0         0
129       Sept. 1952      -        -            0        81               0      -          -           -        -             0         0         0
130       Oct. 1952       -        -            0        92               0      -          -           -        -             0         0         0
131       Nov. 1952       -        -            0    106                  0      -          -           -        -             0         0         0
132       Dec. 1952       -        -            0    120                  0      -          -           -        -             0         0         0
133       Jan. 1953       -        -            0    136                  0      -          -           -        -             0         0         0
134       Feb. 1953       -        -            0    148                  0      -          -           -        -             0         0         0
135       Mar. 1953       -        -            0    157                  0      -          -           -        -             0         0         0
136       Apr. 1953       -        -            0    170                  0      -          -           -        -             0         0         0
137       May 1953        -        -            0    181                  0      -          -           -        -             0         0         0
138       June 1953       -        -            0    191                  0      -          -           -        -             0         0         0
139       July 1953       -        -            0    201                  0      -          -           -        -             0         0         0
140       Aug. 1953       -        -            0    218                  0      -          -           -        -             0         0         0
141       Sept. 1953      -        -            0    229                  0      -          -           -        -             0         0         0
142       Oct. 1953       -        -            0    238                  0      -          -           -        -             0         0         0
143       Nov. 1953       -        -            0    252                  0      -          -           -        -             0         0         0
144       Dec. 1953       -        -            0    264                  0      -          -           -        -             0         0         0
145       Jan. 1954       -        -            0    275                  0      -          -           -        -             0         0         0
146       Feb. 1954       -        -            0    283                  0      -          -           -        -             0         0         0
147       Mar. 1954       -        -            0    287                  0      -          -           -        -             0         0         0
148       Apr. 1954       -        -            0    296                  0      -          -           -        -             0         0         0
149       May 1954        -        -            0    303                  0      -          -           -        -             0         0         0
150       June 1954       -        -            0    311                  0      -          -           -        -             0         0         0



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- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - AppendixA3

Appendix A3. Reconstructed (simulated) mean concentrations in groundwater at selected water-supply wells for tetrachloroethylene
(PCE), trichloroethylene (TCE), trans-1,2- dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene, Handot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
[-, no pumping]

                                                                 Concentration, in micrograms per liter
            Month
 Stress                                                                                                                                            I
             and       'PCE                               'TCE                                  '1,2-tDCE    'VC               Benzene
 period
             year
                       HP-651   HP-651   HP-601    HP-602    HP-608        HP-634     HP-660      HP-651    HP-651   'HP-602   'HP-603   'HP-608
 151      July 1954     -        -          0       320               0      -          -           -        -           0           0         0
 152      Aug. 1954     -        -          0       334               0      -          -           -        -           0           0         0
 153      Sept. 1954    -        -          0       346           -          -          -           -        -           0           0     -



 154      Oct. 1954     -        -          0       356           -          -          -           -        -           0           0     -



 155      Nov. 1954     -        -          0       375           -          -          -           -        -           0           0     -



 156      Dec. 1954     -        -          0       388           -          -          -           -        -           0           0     -



 157      Jan. 1955     -        -          0       403           -          -          -           -        -           0           0     -



 158      Feb. 1955     -        -          0       413           -          -          -           -        -           0       -         -



 159      Mar. 1955     -        -          0       419           -          -          -           -        -           0       -         -



 160      Apr. 1955     -        -          0       433           -          -          -           -        -           0       -         -



 161      May 1955      -        -          0       443           -          -          -           -        -           1       -         -



 162      June 1955     -        -          0       453           -          -          -           -        -           1       -         -



 163      July 1955     -        -          0       464               0      -          -           -        -           1           0         0
 164      Aug. 1955     -        -          0       484               0      -          -           -        -           1           0         0
 165      Sept. 1955    -        -          0       514               0      -          -           -        -           1           0         0
 166      Oct. 1955     -        -          0       524               0      -          -           -        -           1           0         0
 167      Nov. 1955     -        -          0       532               1      -          -           -        -           1           0         0
 168      Dec. 1955     -        -          0       537               1      -          -           -        -           1           0         0
 169      Jan. 1956     -        -          0       543               1      -          -           -        -           1           0         0
 170      Feb. 1956     -        -          0       547               1      -          -           -        -           1           0         0
 171      Mar. 1956     -        -          1       547               1      -          -           -        -           1           0         0
 172      Apr. 1956     -        -          1       548               1      -          -           -        -           1           0         0
 173      May 1956      -        -          1       552               1      -          -           -        -           1           0         0
 174      June 1956     -        -          1       554               1      -          -           -        -           1           0         0
 175      July 1956     -        -          1       557               2      -          -           -        -           2       -             0
 176      Aug. 1956     -        -          1       565               2      -          -           -        -           2       -             0
 177      Sept. 1956    -        -          1       571               2      -          -           -        -           2       -             1
 178      Oct. 1956     -        -          1       576               2      -          -           -        -           2       -             1
 179      Nov. 1956     -        -          1       584               2      -          -           -        -           2       -             1
 180      Dec. 1956     -        -          1       588               3      -          -           -        -           2       -             1
 181      Jan. 1957     -        -          1       596               3      -          -           -        -           2       -             1
 182      Feb. 1957     -        -          1       598               3      -          -           -        -           2       -             1
 183      Mar. 1957     -        -          1       598               4      -          -           -        -           2       -             1
 184      Apr. 1957     -        -          1       602               4      -          -           -        -           3       -             1
 185      May 1957      -        -          1       605               4      -          -           -        -           3           0         1
 186      June 1957     -        -          1       608               5      -          -           -        -           3           0         1
 187      July 1957     -        -          1       609               5      -          -           -        -           3           0         1
 188      Aug. 1957     -        -          2       613               5      -          -           -        -           3           0         1
 189      Sept. 1957    -        -          2       619               6      -          -           -        -           3           0         1
 190      Oct. 1957     -        -          2       619               6      -          -           -        -           3           0         1
 191      Nov. 1957     -        -          2       627               7      -          -           -        -           4           0         1
 192      Dec. 1957     -        -          2       631               7      -          -           -        -           4           0         1



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AppendixA3 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Appendix A3.      Reconstructed (simulated) mean concentrations in groundwater at selected water-supply wells for tetrachloroethylene
(PCE), trichloroethylene (TCE), trans-1,2- dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene, Handot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
[-, no pumping]

                                                                 Concentration, in micrograms per liter
            Month
 Stress                                                                                                                                            I
             and         'PCE                             'TCE                                  '1,2-tDCE    'VC               Benzene
 period
             year
                        HP-651   HP-651   HP-601   HP-602    HP-608        HP-634      HP-660     HP-651    HP-651   'HP-602   'HP-603   'HP-608

193       Jan. 1958       -        -        2       637           7          -          -           -        -           4         0        1

194       Feb. 1958       -        -        2       639           8          -          -           -        -           4         0        1

195       Mar. 1958       -        -        2       638           8          -          -           -        -           4         0       2

196       Apr. 1958       -        -        2       640           9          -          -           -        -           5         0       2

197       May 1958        -        -        2       642          10          -          -           -        -           5         0       2

198       June 1958       -        -        2       643          10          -          -           -        -           5         0       2

199       July 1958       -        -        3       644          11          -          -           -        -           5         0       2

200       Aug. 1958       -        -        3       646          11          -          -           -        -           5         0       2

201       Sept. 1958      -        -        3       650          12          -          -           -        -           6         0       2

202       Oct. 1958       -        -        3       651          13          -          -           -        -           6         0       2

203       Nov. 1958       -        -        3       656          14          -          -           -        -           6         0       2

204       Dec. 1958       -        -        3       657          14          -          -           -        -           6         0       2

205       Jan. 1959       -        -        3       658          15          -          -           -        -           7         0       2

206       Feb. 1959       -        -        3       658          15          -          -           -        -           7         0       2

207       Mar. 1959       -        -        3       655          16          -          -           -        -           7         0       2

208       Apr. 1959       -        -        3       654          17          -          -           -        -           7         0       2

209       May 1959        -        -        4       653          18          -          -           -        -           8         0       2

210       June 1959       -        -        4       650          18          -          -           -        -           8         0       2

211       July 1959       -        -        4       649          19          -          -           -        -           8         0       2

212       Aug. 1959       -        -        4       650          20          -          -           -        -           8         0       2

213       Sept. 1959      -        -        4       651          21          -          -           -        -           9         0       2

214       Oct. 1959       -        -        4       648          22          -          -           -        -           9         0       2

215       Nov. 1959       -        -        4       652          23          -          -           -        -           9         0       2

216       Dec. 1959       -        -        4       652          24          -          -           -        -          10         0       2

217       Jan. 1960       -        -        4       654          25               0     -           -        -          10         0       3

218       Feb. 1960       -        -        4       652          26               0     -           -        -          10         0       3

219       Mar. 1960       -        -        5       647          27               0     -           -        -          10         0       3

220       Apr. 1960       -        -        5       645          27               0     -           -        -          11         0       3

221       May 1960        -        -        5       643          28               1     -           -        -          11         0       3

222       June 1960       -        -        5       639          29               2     -           -        -          11         0       3

223       July 1960       -        -        5       640          30               3     -           -        -          11         0       3

224       Aug. 1960       -        -        5       638          31               6     -           -        -          12         0       3

225       Sept. 1960      -        -        5       637          32               9     -           -        -          12         0       3

226       Oct. 1960       -        -        5       632          33              14     -           -        -          12         0       3

227       Nov. 1960       -        -        5       632          33              19     -           -        -          13         0       3

228       Dec. 1960       -        -        5       630          34              25     -           -        -          13         0       3



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- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - AppendixA3

Appendix A3. Reconstructed (simulated) mean concentrations in groundwater at selected water-supply wells for tetrachloroethylene
(PCE), trichloroethylene (TCE), trans-1,2- dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene, Handot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
[-, no pumping]

                                                                 Concentration, in micrograms per liter
            Month
 Stress                                                                                                                                            I
             and       'PCE                               'TCE                                  '1,2-tDCE    'VC               Benzene
 period
             year
                       HP-651   HP-651   HP-601    HP-602    HP-608        HP-634     HP-660      HP-651    HP-651   'HP-602   'HP-603   'HP-608

 229      Jan. 1961     -        -          5       629          34           32        -           -        -          14         0       3

 230      Feb. 1961     -        -          5       626          35           41        -           -        -          14         0       3

 231      Mar. 1961     -        -          5       621          35           51        -           -        -          14         0       3

 232      Apr. 1961     -        -          5       621          36           63        -           -        -          15         0       3

 233      May 1961      -        -          6       621          37           74        -           -        -          15         0       3

 234      June 1961     -        -          6       622          38           88        -           -        -          15         0       3

 235      July 1961     -        -          6       620          39          102        -           -        -          16         0       3

 236      Aug. 1961     -        -          6       620          40          120        -           -        -          16         0       3

 237      Sept. 1961    -        -          6       620          40          133        -           -        -          16         0       3

 238      Oct. 1961     -        -          6       615          41          149        -           -        -          17         0       3

 239      Nov. 1961     -        -          6       614          41          161        -           -        -          17         0       3

 240      Dec. 1961     -        -          6       610          41          175        -           -        -          17         0       3

 241      Jan. 1962     -        -          6       607          41          188        -           -        -          18         0       3

 242      Feb. 1962     -        -          6       602          41         209         -           -        -          18         0       3

 243      Mar. 1962     -        -          6       594          41         226         -           -        -          18         0       3

 244      Apr. 1962     -        -          6       590          41         245         -           -        -          19         0       3

 245      May 1962      -        -          6       588          41         258         -           -        -          19         0       3

 246      June 1962     -        -          6       587          42         279         -           -        -          19         0       4

 247      July 1962     -        -          7       585          43         300         -           -        -          20         0       4

 248      Aug. 1962     -        -          7       584          44         325         -           -        -          20         0       4

 249      Sept. 1962    -        -          7       583          45         339         -           -        -          20         0       4

 250      Oct. 1962     -        -          7       577          45         357         -           -        -          21         0       4

 251      Nov. 1962     -        -          7       574          45         370         -           -        -          21         0       4

 252      Dec. 1962     -        -          7       571          45         382         -           -        -          22         0       4

 253      Jan. 1963     -        -          7       569          45         395         -           -        -          22         0       4

 254      Feb. 1963     -        -          7       566          45         412         -           -        -          22         0       4

 255      Mar. 1963     -        -          7       559          45         424         -           -        -          22         0       4

 256      Apr. 1963     -        -          7       553          45         438         -           -        -          23         0       4

 257      May 1963      -        -          7       550          45         448         -           -        -          23         0       4

 258      June 1963     -        -          7       545          45         457         -           -        -          24         0       4

 259      July 1963     -        -          7       540          45         466         -           -        -          24         0       4

 260      Aug. 1963     -        -          8       538          45         483         -           -        -          25         0       4

 261      Sept. 1963    -        -          8       536          45         492         -           -        -          25         0       4

 262      Oct. 1963     -        -          8       532          45         504         -           -        -          25         0       4

 263      Nov. 1963     -        -          8       531          45          511        -           -        -          26         0       4

 264      Dec. 1963     -        -          8       529          45         517         -           -        -          26         0       4



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AppendixA3 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Appendix A3.      Reconstructed (simulated) mean concentrations in groundwater at selected water-supply wells for tetrachloroethylene
(PCE), trichloroethylene (TCE), trans-1,2- dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene, Handot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
[-, no pumping]

                                                                 Concentration, in micrograms per liter
            Month
 Stress                                                                                                                                            I
             and         'PCE                             'TCE                                  '1,2-tDCE    'VC               Benzene
 period
             year
                        HP-651   HP-651   HP-601   HP-602    HP-608        HP-634     HP-660      HP-651    HP-651   'HP-602   'HP-603   'HP-608

265       Jan. 1964       -        -        8       529          45         524         -           -        -         27          0       4

266       Feb. 1964       -        -        8       527          45         534         -           -        -         27          0       4

267       Mar. 1964       -        -        8       522          45         539         -           -        -         27          0       4

268       Apr. 1964       -        -        8       518          45         547         -           -        -         28          0       4

269       May 1964        -        -        8       516          45         552         -           -        -         28          0       4

270       June 1964       -        -        8       512          45         556         -           -        -         28          0       4

271       July 1964       -        -        8       510          46         563         -           -        -         29          0       4

272       Aug. 1964       -        -        8       508          46         573         -           -        -         29          0       4

273       Sept. 1964      -        -        8       507          46         580         -           -        -         30          0       5

274       Oct. 1964       -        -        8       505          47         589         -           -        -         30          0       5

275       Nov. 1964       -        -        9       503          47         589         -           -        -         31          0       5

276       Dec. 1964       -        -        9       501          46         591         -           -        -         31          0       5

277       Jan. 1965       -        -        9       499          46         588         -           -        -         31          0       5

278       Feb. 1965       -        -        9       497          46         592         -           -        -         32          0       5

279       Mar. 1965       -        -        9       492          46         594         -           -        -         32          0       5

280       Apr. 1965       -        -        9       487          45         595         -           -        -         32          0       5

281       May 1965        -        -        9       484          45         594         -           -        -         33          0       5

282       June 1965       -        -        9       483          46         597         -           -        -         33          0       5

283       July 1965       -        -        9       481          46         600         -           -        -         33          0       5

284       Aug. 1965       -        -        9       478          46         604         -           -        -         34          0       5

285       Sept. 1965      -        -        9       475          46         601         -           -        -         34          1       5

286       Oct. 1965       -        -        9       470          45         600         -           -        -         35          1       5

287       Nov. 1965       -        -        9       468          45         594         -           -        -         35          1       5

288       Dec. 1965       -        -        9       465          44         588         -           -        -         36          1       5

289       Jan. 1966       -        -        9       464          43         586         -           -        -         36          1       5

290       Feb. 1966       -        -        9       462          43         589         -           -        -         36          1       5

291       Mar. 1966       -        -        9       458          43         590         -           -        -         36          2       5

292       Apr. 1966       -        -        9       455          42         591         -           -        -         37          2       5

293       May 1966        -        -        9       454          43         591         -           -        -         37          2       5

294       June 1966       -        -        9       452          42         593         -           -        -         38          2       5

295       July 1966       -        -        9       452          43         598         -           -        -         38          3       5

296       Aug. 1966       -        -        9       453          43         610         -           -        -         39          3       5

297       Sept. 1966      -        -       10       454          44         613         -           -        -         39          3       5

298       Oct. 1966       -        -       10       450          44         615         -           -        -         39          4       5

299       Nov. 1966       -        -       10       450          43         612         -           -        -         40          4       5

300       Dec. 1966       -        -       10       451          43         613         -           -        -         41          4       5



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Appendix A3.      Reconstructed (simulated) mean concentrations in groundwater at selected water-supply wells for tetrachloroethylene
(PCE), trichloroethylene (TCE), trans-1,2- dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene, Handot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
[-, no pumping]

                                                                 Concentration, in micrograms per liter
            Month
 Stress                                                                                                                                            I
             and       'PCE                               'TCE                                  '1,2-tDCE    'VC               Benzene
 period
             year
                       HP-651   HP-651   HP-601    HP-602    HP-608        HP-634     HP-660      HP-651    HP-651   'HP-602   'HP-603   'HP-608

 301      Jan. 1967     -        -         10       452          43         613         -           -        -          42         4       5
 302      Feb. 1967     -        -         10       453          43         619         -           -        -          42         4       5
 303      Mar. 1967     -        -         10       449          43         619         -           -        -          42         4       5
 304      Apr. 1967     -        -         10       449          42         623         -           -        -          43         5       5
 305      May 1967      -        -         10       448          42         622         -           -        -          43         5       5
 306      June 1967     -        -         10       447          42         623         -           -        -          43         5       5
 307      July 1967     -        -         10       448          43         630         -           -        -          44         5       5
 308      Aug. 1967     -        -         11       452          43         642         -           -        -          45         5       5
 309      Sept. 1967    -        -         11       454          43         646         -           -        -          45         5       6
 310      Oct. 1967     -        -         11       453          43         651         -           -        -          46         5       6
 311      Nov. 1967     -        -         11       457          44         652         -           -        -          47         6       6
 312      Dec. 1967     -        -         11       461          44         657         -           -        -          47         6       6
 313      Jan. 1968     -        -         11       463          44         656         -           -        -          48         6       6
 314      Feb. 1968     -        -         11       463          44         657         -           -        -          48         6       6
 315      Mar. 1968     -        -         11       459          44         654         -           -        -          48         6       6
 316      Apr. 1968     -        -         11       459          44         654         -           -        -          49         6       6
 317      May 1968      -        -         11       458          44         648         -           -        -          49         6       6
 318      June 1968     -        -         11       456          44         646         -           -        -          49         7       6
 319      July 1968     -        -         11       457          44         649         -           -        -          50         7       6
 320      Aug. 1968     -        -         11       459          44         655         -           -        -          51         7       6
 321      Sept. 1968    -        -         11       460          45         655         -           -        -          51         7       6
 322      Oct. 1968     -        -         11       460          45         659         -           -        -          51         7       6
 323      Nov. 1968     -        -         12       465          45         658         -           -        -          52         8       6
 324      Dec. 1968     -        -         12       467          45         658         -           -        -          53         8       6
 325      Jan. 1969     -        -         12       469          45         653         -           -        -          53         8       6
 326      Feb. 1969     -        -         12       469          45         654         -           -        -          53         8       6
 327      Mar. 1969     -        -         12       466          45         651         -           -        -          53         8       6
 328      Apr. 1969     -        -         12       466          46         652         -           -        -          54         8       6
 329      May 1969      -        -         12       466          46         647         -           -        -          55         9       6
 330      June 1969     -        -         12       466          46         648         -           -        -          55         8       6
 331      July 1969     -        -         12       467          47         647         -           -        -          56         8       6
 332      Aug. 1969     -        -         12       467          47         636         -           -        -          56        10       6
 333      Sept. 1969    -        -         12       466          48         609         -           -        -          56        11       6
 334      Oct. 1969     -        -         12       459          48         582         -           -        -          55        12       6
 335      Nov. 1969     -        -         12       452          48         581         -           -        -          57        13       6
 336      Dec. 1969     -        -         12       452          48         576         -           -        -          58        14       6



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                                                                                                  CLJA_WATERMODELING_01-0000942733
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AppendixA3 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Appendix A3.      Reconstructed (simulated) mean concentrations in groundwater at selected water-supply wells for tetrachloroethylene
(PCE), trichloroethylene (TCE), trans-1,2- dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene, Handot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
[-, no pumping]

                                                                   Concentration, in micrograms per liter
            Month
 Stress                                                                                                                                                I
             and         'PCE                               'TCE                                  '1,2-tDCE     'VC                Benzene
 period
             year
                        HP-651    HP-651    HP-601   HP-602    HP-608        HP-634     HP-660      HP-651     HP-651    'HP-602   'HP-603   'HP-608
1
 337      Jan. 1970       -        -         12       453          48         566         -           -         -           59        15       6
 338      Feb. 1970       -        -         12       454          48         563         -           -         -           59        16       6
 339      Mar. 1970       -        -         12       452          48         556         -           -         -           59        17       6
 340      Apr. 1970       -        -         12       451          47         550         -           -         -           60        18       6
 341      May 1970        -        -         12       452          47         540         -           -         -           61        18       6
 342      June 1970       -        -         11       451          47         533         -           -         -           61        19       6
 343      July 1970       -        -         11       453          47         529         -           -         -           62        20       6
 344      Aug. 1970       -        -         12       457          48         529         -           -         -           63        20       6
 345      Sept. 1970      -        -         11       459          49         524         -           -         -           64        21       6
 346      Oct. 1970       -        -         11       459          48         519         -           -         -           64        22       6
 347      Nov. 1970       -        -         11       461          48         509         -           -         -           65        23       6
 348      Dec. 1970       -        -         11       463          48         502         -           -         -           66        24       6
 349      Jan. 1971       -        -         11       466          48         493         -           -         -           67        25       6
 350      Feb. 1971       -        -         11       468          48         490         -           -         -           67        26       6
 351      Mar. 1971       -        -         11       467          48         485         -           -         -           67        26       6
 352      Apr. 1971       -        -         11       466          48         481         -           -         -           68        27       6
 353      May 1971        -        -         11       468          48         474         -           -         -           69        28       6
 354      June 1971       -        -         11       470          48         470         -           -         -           70        29       6
 355      July 1971       -        -         11       472          48         468         -           -         -           70        29       7
 356      Aug. 1971       -        -         11       474          49         468         -           -         -           71        30       7
 357      Sept. 1971      -        -         11       477          49         464         -           -         -           72        31       7
 358      Oct. 1971       -        -         11       482          50         466         -           -         -           73        31       7
 359      Nov. 1971       -        -         11       484          50         461         -           -         -           74        32       7
 360      Dec. 1971       -        -         11       488          50         454         -           -         -           75        33       7
 361      Jan. 1972       -        -         11       491          50         447         -           -         -           76        34       7
 362      Feb. 1972       -        -         11       493          50         446         -           -         -           76        35       7
 363      Mar. 1972       -        -         11       492          50         441         -           -         -           77        36       7
 364      Apr. 1972       -        -         11       489          50         437         -           -         -           78        37       7
 365      May 1972        -        -         10       490          50         430         -           -         -           79        38       7
 366      June 1972       -        -         10       490          50         426         -           -         -           79        38       7
 367      July 1972           0         1    10       490          50         422         -               69         8      80        39       7
 368      Aug. 1972           0         9    10       490          50         420         -           634           16      81        40       7
 369      Sept. 1972          0        27    10       490          50         415         -          1102           25      82        41       7
 370      Oct. 1972           0        31    10       487          50         410         -          1491           33      82        42       7
 371      Nov. 1972           1        94    10       487          50         404         -          1815           41      83        42       7
 372      Dec. 1972           2    215       10       487          50         398         -          2083           49      84        43       7



A132                  Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                  Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                                                                                          CLJA_WATERMODELING_01-0000942734
               Contains Information Subject to Protective Order: Do Not Disclose to Unauthorized Persons



- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - AppendixA3

Appendix A3.      Reconstructed (simulated) mean concentrations in groundwater at selected water-supply wells for tetrachloroethylene
(PCE), trichloroethylene (TCE), trans-1,2- dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene, Handot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
[-, no pumping]

                                                                  Concentration, in micrograms per liter
              Month
  Stress
               and       'PCE                              'TCE                                  '1,2-tDCE    'VC               Benzene
  period
               year
                         HP-651   HP-651   HP-601   HP-602    HP-608        HP-634     HP-660      HP-651    HP-651   'HP-602   'HP-603   'HP-608 I
 373        Jan. 1973       2       283     10       487          50         392         -         2,306       57        85        44        7

 374        Feb. 1973       3       391     10       486          49         389         -         2,492       64        85        45        7

 375        Mar. 1973       5       538      9       483          49         383         -         2,646       72        85        46        7

 376        Apr. 1973       6       636      9       479          49         381         -         2,773       80        87        46        7

 377        May 1973        8       771      9       477          49         374         -         2,880       87        87        48        7

 378        June 1973      10       954      9       477          49         372         -         2,968       95        88        48        7

 379        July 1973      13     1,187      9       474          49         367         -         3,041      102        88        49        7

 380        Aug. 1973      18     1,530      9       472          49         366         -         3,102      ll0        89        50        8

 381        Sept. 1973     22     1,761      9       471          49         362         -         3,152      ll7        90        51        8

 382        Oct. 1973      22     1,738      9       467          48         358         -         3,194      124        91        52        8

 383        Nov. 1973      31     2,209      9       465          47         348         -         3,229      131        92        52        7

 384        Dec. 1973      39     2,637      9       465          47         344         -         3,258      139        92        52        8

 385        Jan. 1974      43     2,776      8       465          47         339         -         3,282      146        93        52        8

 386        Feb. 1974      48     2,998      8       463          46         337         -         3,302      152        93        53        8

 387        Mar. 1974      54     3,234      8       461          46         332         -         3,318      159        93        53        8

 388        Apr. 1974      57     3,344      8       456          46         330         -         3,332      166        95        54        8

 389        May 1974       62     3,501      8       457          46         326         -         3,344      173        95        53        8

 390        June 1974      68     3,7ll      8       455          47         324         -         3,353      179        96        54        8

 391        July 1974      75     3,947      8       453          47         321         -         3,361      186        97        55        8

 392        Aug. 1974      84     4,255      8       453          47         322         -         3,368      192        98        55        8

 393        Sept. 1974     91     4,406      8       452          47         318         -         3,373      199        98        55        8

 394        Oct. 1974      90     4,256      8       449          47         315         -         3,377      205        99        57        8

 395        Nov. 1974     103     4,749      8       446          46         308         -         3,381      2ll       100        57        8

 396        Dec. 1974     ll4     5,039      8       444          46         304         -         3,384      217       101        58        8

 397        Jan. 1975     ll9     5,061      8       444          46         300         -         3,387      223       102        58        8

 398        Feb. 1975     126     5,205      7       443          45         298         -         3,389      229       102        59        8

 399        Mar. 1975     133     5,338      7       438          45         293         -         3,391      235       102        60        8

 400        Apr. 1975     136     5,372      7       434          45         292         -         3,392      241       103        60        8

 402        May 1975      141     5,425      7       433          45         288         -         3,394      247       104        60        8

 402        June 1975     147     5,550      7       431          45         286         -         3,395      253       104        61        8

 403        July 1975     154     5,677      7       431          45         285         -         3,395      258       105        60        9

 404        Aug. 1975     163     5,840      7       429          45         285         -         3,396      264       106        61        9

 405        Sept. 1975    168     5,899      7       432          46         285         -         3,397      270       107        60        9

 406        Oct. 1975     165     5,647      7       430          46         283         -         3,397      275       108        62        9

 407        Nov. 1975     178     6,061      7       428          46         278         -         3,398      280       109        62        9

 408        Dec. 1975     188     6,208      7       427          46         274         -         3,398      286       ll0        63        9



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                                                                                                   CLJA_WATERMODELING_01-0000942735
                  Contains Information Subject to Protective Order: Do Not Disclose to Unauthorized Persons



AppendixA3 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Appendix A3.      Reconstructed (simulated) mean concentrations in groundwater at selected water-supply wells for tetrachloroethylene
(PCE), trichloroethylene (TCE), trans-1,2- dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene, Handot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
[-, no pumping]

                                                                  Concentration, in micrograms per liter
            Month
 Stress
             and         'PCE                              'TCE                                  '1,2-tDCE    'VC               Benzene
 period
             year
                        HP-651   HP-651   HP-601    HP-602    HP-608        HP-634     HP-660      HP-651    HP-651   'HP-602   'HP-603   'HP-608 I

409       Jan. 1976      193     6,211          7    425          45         271         -         3,398      291       111        64           9

410       Feb. 1976      199     6,297          7    423          44         269         -         3,398      296       111        65           9

411       Mar. 1976      206     6,390          7    418          44         267         -         3,399      301       111        66           9

412       Apr. 1976      209     6,374          7    415          43         265         -         3,399      306       113        67           9

413       May 1976       213     6,411          6    415          43         263         -         3,399      311       113        67           9

414       June 1976      220     6,490          6    416          43         263         -         3,399      316       113        67           9

415       July 1976      226     6,574          6    415          43         263         -         3,399      321       114        67           9

416       Aug. 1976      234     6,700          6    417          43         265         -         3,399      326       116        68           9

417       Sept. 1976     239     6,724          6    419          44         265         -         3,399      331       117        68           9

418       Oct. 1976      234     6,484          6    418          44         266         -         3,399      335       117        69           9

419       Nov. 1976      247     6,792          6    419          44         263         -         3,400      340       119        70           9

420       Dec. 1976      256     6,915          6    421          43         262         -         3,400      345       120        70           9

421       Jan. 1977      258     6,860          6    422          43         259         -         3,400      349       121        71           9

422       Feb. 1977      262     6,906          6    420          43         260         -         3,400      354       121        72           9

423       Mar. 1977      267     6,933          6    418          43         258         -         3,400      358       121        72           9

424       Apr. 1977      267     6,881          6    417          42         258         -         3,399      363       122        73           9

425       May 1977       270     6,885          6    418          42         257         -         3,367      368       123        73           9

426       June 1977      274     6,917          6    417          42         257         -         3,341      372       124        74           9

427       July 1977      278     6,957          6    416          42         256         -         3,320      377       124        74           9

428       Aug. 1977      283     7,032          6    417          42         258         -         3,302      382       126        75           9

429       Sept. 1977     286     7,027          6    418          42         258         -         3,287      386       126        76           9

430       Oct. 1977      279     6,771          6    419          42         260         -         3,274      390       127        76           9

431       Nov. 1977      291     7,042          6    421          42         259         -         3,264      395       129        76           9

432       Dec. 1977      297     7,107          6    423          42         258         -         3,255      399       129        77           9

433       Jan. 1978      297     7,039          6    427           -         259         -         3,248      404       131        78       -




434       Feb. 1978      300     7,055          6    427           -         261         -         3,242      408       131        80       -




435       Mar. 1978      303     7,062          6    425           -         261         -         3,238      412       131        81       -




436       Apr. 1978      302     6,998          6    427           -         264         -         3,233      416       133        81       -




437       May 1978       303     6,982          6    428           -         264         -         3,230      420       134        82       -




438       June 1978      306     6,998          6    427           -         263         -         3,227      424       135        83       -




439       July 1978      310     7,039          6    427           -         264         -         3,225      428       136        84       -




440       Aug. 1978      314     7,095          6    430           -         268         -         3,223      432       137        85       -




441       Sept. 1978     316     7,086          6    431           -         268         -         3,222      436       138        86       -




442       Oct. 1978      308     6,849          6    431           -         270         -         3,220      440       138        87       -




443       Nov. 1978      318     7,072          6    434           -         269         -         3,219      443       140        88       -




444       Dec. 1978      323     7,135      -        438           -         269         -         3,218      447       143        90       -




A134                  Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                  Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                                                                                      CLJA_WATERMODELING_01-0000942736
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- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - AppendixA3

Appendix A3.      Reconstructed (simulated) mean concentrations in groundwater at selected water-supply wells for tetrachloroethylene
(PCE), trichloroethylene (TCE), trans-1,2- dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene, Handot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
[-, no pumping]

                                                                 Concentration, in micrograms per liter
            Month
 Stress                                                                                                                                             I
             and       'PCE                               'TCE                                  '1,2-tDCE    'VC               Benzene
 period
             year
                       HP-651   HP-651   HP-601    HP-602    HP-608        HP-634     HP-660      HP-651    HP-651   'HP-602   'HP-603    'HP-608

 445      Jan. 1979     322     7,062      -        444           -          -          -         3,218      449       145           91     -




 446      Feb. 1979     324     7,068      -        448           -          -          -         3,173      451       146           93     -




 447      Mar. 1979     325     7,066      -        449           -          -          -         3,118      452       148           95     -




 448      Apr. 1979     324     6,995      -         -            -          -          -         3,073      453       -             97     -




 449      May 1979      324     6,968      -         -            -          -          -         3,035      454       -             98     -




 450      June 1979     324     6,958      -         -            -          -          -         3,004      455       -             99     -




 451      July 1979     326     6,969      -         -            -         212         -         2,978      456       -         100        -




 452      Aug. 1979     329     7,015      -         -            -         219         -         2,956      457       -         -          -




 453      Sept. 1979    330     6,989      -         -           30         224         -         2,938      459       -         100        11
 454      Oct. 1979     322     6,756      -         -           29         230         -         2,923      460       -         101       10
 455      Nov. 1979     329     6,934      -        357          29         229         -         2,911      461       141       102       10
 456      Dec. 1979     332     6,977      -        359          29         230         -         2,901      462       145       102       10
 457      Jan. 1980     331     6,915      -        363          29         231         -         2,892      463       148       103       10
 458      Feb. 1980     333     6,943      -        365          28         237         -         2,885      464       150       104       10
 459      Mar. 1980     335     6,964      -        366          29         243         -         2,898      466       151       104       10
 460      Apr. 1980     334     6,912      -        369          28         249         -         2,921      467       154       106       10
 461      May 1980      333     6,879      -        374          29         252         -         2,940      469       156       105       10
 462      June 1980     334     6,888      -        376          29         255         -         2,956      471       158       106       10
 463      July 1980     336     6,911      -        378          29         260         -         2,969      472       160       107       10
 464      Aug. 1980     337     6,926      -        379          29         264         -         2,980      474       161       108       10
 465      Sept. 1980    337     6,912      -        381          29         266         -         2,989      475       163       108       10
 466      Oct. 1980     328     6,652      -        382          29         271         -         2,997      477       165       109       10
 467      Nov. 1980     336     6,870      -        384          29         272         -         3,003      478       167       110       10
 468      Dec. 1980     340     6,926      -        387          29         274         -         3,008      480       168       110       10
 469      Jan. 1981     339     6,882      -        390          29         277         -         3,013      481       170       111       10
 470      Feb. 1981     339     6,880      -        391          29         281         -         3,016      483       171       112       10
 471      Mar. 1981     340     6,888      -        390          29         284         -         3,019      484       173       113       10
 472      Apr. 1981     339     6,844      -        390          28         289         -         3,022      486       174       114            9
 473      May 1981      339     6,844      -        393          28         294         -         3,024      487       175       114            9
 474      June 1981     340     6,849      -        394          29         298         -         3,025      488       176       114            9
 475      July 1981     342     6,879      -        397          29         305         -         3,027      490       178       114       10
 476      Aug. 1981     344     6,930      -        403          30         314         -         3,058      495       180       113       10
 477      Sept. 1981    345     6,928      -        405          30         318         -         3,206      499       182       115       10
 478      Oct. 1981     337     6,730      -         -           30         327         -         3,329      504       -         116       10
 479      Nov. 1981     345     6,921      -        393          30         326         -         3,431      508       182       117       10
 480      Dec. 1981     348     6,984      -        394          29         327         -         3,516      513       184       117       10



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                                                                                                  CLJA_WATERMODELING_01-0000942737
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AppendixA3 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Appendix A3.      Reconstructed (simulated) mean concentrations in groundwater at selected water-supply wells for tetrachloroethylene
(PCE), trichloroethylene (TCE), trans-1,2- dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene, Handot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
[-, no pumping]

                                                                  Concentration, in micrograms per liter
            Month
 Stress
             and         'PCE                              'TCE                                  '1,2-tDCE    'VC               Benzene
 period
             year
                        HP-651   HP-651   HP-601   HP-602     HP-608        HP-634     HP-660      HP-651    HP-651   'HP-602   'HP-603   'HP-608 I

481       Jan. 1982      349     6,975      -        400          29         336         -         3,587      517       185       117       10
482       Feb. 1982      350     6,996      -        405          30         346         -         3,646      521       187       118       10
483       Mar. 1982      351     7,008      -        405          30         350         -         3,694      526       189       118       10
484       Apr. 1982      350     6,970      -        406          30         356         -         3,735      530       190       119       10
485       May 1982       350     6,958      -        408          30         358         -         3,769      534       191       120       10
486       June 1982      350     6,964      -        409          30         362         -         3,796      538       193       120       10
487       July 1982      351     6,975      -        410          30         364         -         3,820      542       194       120       10
488       Aug. 1982      353     7,011      -        411          30         370         -         3,839      546       196       121       10
489       Sept. 1982     353     7,017      -        414          30         376         -         3,855      550       197       121       10
490       Oct. 1982      347     6,852      -        415          31         382         -         3,868      555       199       121       10
491       Nov. 1982      352     6,976      -        419          31         384         -         3,877      559       199       121       10
492       Dec. 1982      353     7,012      -        424          31         387         -         3,884      564      201        121       10
493       Jan. 1983      352     6,975      -        427          31         387         -         3,891      568      203        121       10
494       Feb. 1983      352     6,971      -        432          32         391         -         3,896      573      205        120       10
495       Mar. 1983      352     6,972      -        435          33         396         -         3,900      577      208        120       10
496       Apr. 1983      350     6,920      -        434          33         400         -         3,904      581      208        121       10
497       May 1983       350     6,903      -        435          33         399         -         3,907      585      210        121       10
498       June 1983      350     6,923      -        435          33         399         -         3,909      590      212        122       10
499       July 1983      352     6,958      -        434          34         400         -         3,911      594      213        122       10
 500      Aug. 1983      353     6,985      -        435          34         402         -         3,913      598      214        123       10
 501      Sept. 1983     353     6,976      -        438          34         399         -         3,915      602      215        123       10
 502      Oct. 1983      346     6,809      -        441          34         403         -         3,927      606      216        123       10
 503      Nov. 1983      352     6,963      -        447          35          -          -         3,945      611      217        123       10
 504      Dec. 1983      353     7,004      -        454          35          -          -         3,961      615      219        123       10
 505      Jan. 1984      353     6,988      -        464           -          -          -         3,973      620      220        125       -




 506      Feb. 1984      353     6,992      -        472          35         370         -         3,984      624      222        124       10
 507      Mar. 1984      353     6,998      -        477          35         383         -         3,993      628      226        124       10
 508      Apr. 1984      352     6,969      -        481          35         403         -         4,000      632      225        124       10
 509      May 1984       352     6,975      -        490          36         420         -         4,006      637      227        124       10
 510      June 1984      352     6,975      -        494          37         433         -         4,011      641      230        124       10
 511      July 1984      352     6,978      -        496          38         444             1     4,015      645      231        124       10
 512      Aug. 1984      352     6,983      -        495          38         456             1     4,019      649      232        124       10
 513      Sept. 1984     351     6,966      -        499          40         469             1     4,022      653      233        123       10
 514      Oct. 1984      342     6,721      -        495          40         480             1     4,024      656      235        124       10
 515      Nov. 1984      348     6,895      -        493          41         478             1     4,027      660      236        123       10
 516      Dec. 1984      337     6,583      -        -             -          -          -         4,037      653       -         125       -




A136                  Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                  Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                                                                                      CLJA_WATERMODELING_01-0000942738
             Contains Information Subject to Protective Order: Do Not Disclose to Unauthorized Persons



- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - AppendixA3

Appendix A3.      Reconstructed (simulated) mean concentrations in groundwater at selected water-supply wells for tetrachloroethylene
(PCE), trichloroethylene (TCE), trans-1,2- dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene, Handot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
[-, no pumping]

                                                                Concentration, in micrograms per liter
            Month
 Stress                                                                                                                                           I
             and       'PCE                              'TCE                                  '1,2-tDCE    'VC               Benzene
 period
             year
                       HP-651   HP-651   HP-601    HP-602    HP-608       HP-634     HP-660      HP-651    HP-651   'HP-602   'HP-603   'HP-608

 517      Jan. 1985     343     6,772      -         -           -          -          -         3,400      652       -         128       -




 518      Feb. 1985     -        -         -         -           -          -          -           -        -         -         129       -




 519      Mar. 1985     -        -         -         -           -          -          -           -        -         -         130       -




 520      Apr. 1985     -        -         -         -           -          -          -           -        -         -         131       -




 521      May 1985      -        -         -         -           -          -          -           -        -         -         132       -




 522      June 1985     -        -         -         -           -          -          -           -        -         -         133       -




 523      July 1985     -        -         -         -           -          -          -           -        -         -         133       -




 524      Aug. 1985     -        -         -         -           -          -          -           -        -         -         133       -




 525      Sept. 1985    -        -         -         -           -          -          -           -        -         -         133       -




 526      Oct. 1985     -        -         -         -           -          -          -           -        -         -         133       -




 527      Nov. 1985     -        -         -         -           -          -          -           -        -         -         133       -




 528      Dec. 1985     -        -         -         -           -          -          -           -        -         -         134       -




 529      Jan. 1986     -        -         -         -           -          -          -           -        -         -         135       -




 530      Feb. 1986     -        -         -         -           -          -          -           -        -         -         136       -




 531      Mar. 1986     -        -         -         -           -          -          -           -        -         -         136       -




 532      Apr. 1986     -        -         -         -           -          -          -           -        -         -         137       -




 533      May 1986      -        -         -         -           -          -          -           -        -         -         138       -




 534      June 1986     -        -         -         -           -          -          -           -        -         -         138       -




 535      July 1986     -        -         -         -           -          -          -           -        -         -         137       -




 536      Aug. 1986     -        -         -         -           -          -          -           -        -         -         137       -




 537      Sept. 1986    -        -         -         -           -          -          -           -        -         -         138       -




 538      Oct. 1986     -        -         -         -           -          -          -           -        -         -         139       -




 539      Nov. 1986     -        -         -         -           -          -          -           -        -         -         139       -




 540      Dec. 1986     -        -         -         -           -          -          -           -        -         -         140       -




 541      Jan. 1987     -        -         -         -           -          -          -           -        -         -         139       -




 542      Feb. 1987     -        -         -         -           -          -          -           -        -         -         141       -




 543      Mar. 1987     -        -         -         -           -          -          -           -        -         -         141       -




 544      Apr. 1987     -        -         -         -           -          -          -           -        -         -         142       -




 545      May 1987      -        -         -         -           -          -          -           -        -         -         142       -




 546      June 1987     -        -         -         -           -          -          -           -        -         -         142       -




 547      July 1987     -        -         -         -           -          -          -           -        -         -         142       -




 548      Aug. 1987     -        -         -         -           -          -          -           -        -         -         143       -




 549      Sept. 1987    -        -         -         -           -          -          -           -        -         -         143       -




 550      Oct. 1987     -        -         -         -           -          -          -           -        -         -         145       -




 551      Nov. 1987     -        -         -         -           -          -          -           -        -         -         145       -




 552      Dec. 1987     -        -         -         -           -          -          -           -        -         -         146       -




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AppendixA3 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Appendix A3.      Reconstructed (simulated) mean concentrations in groundwater at selected water-supply wells for tetrachloroethylene
(PCE), trichloroethylene (TCE), trans-1,2- dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene, Handot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
[-, no pumping]

                                                                Concentration, in micrograms per liter
            Month
 Stress
             and         'PCE                            'TCE                                  '1,2-tDCE    'VC               Benzene
 period
             year
                        HP-651   HP-651   HP-601   HP-602    HP-608       HP-634     HP-660      HP-651    HP-651   'HP-602   'HP-603   'HP-608 I

 553      Jan. 1988       -        -        -        -           -          -          -           -        -         -         146       -




 554      Feb. 1988       -        -        -        -           -          -          -           -        -         -         147       -




 555      Mar. 1988       -        -        -        -           -          -          -           -        -         -         147       -




 556      Apr. 1988       -        -        -        -           -          -          -           -        -         -         148       -




 557      May 1988        -        -        -        -           -          -          -           -        -         -         148       -




 558      June 1988       -        -        -        -           -          -          -           -        -         -         148       -




 559      July 1988       -        -        -        -           -          -          -           -        -         -         148       -




 560      Aug. 1988       -        -        -        -           -          -          -           -        -         -         148       -




 561      Sept. 1988      -        -        -        -           -          -          -           -        -         -         149       -




 562      Oct. 1988       -        -        -        -           -          -          -           -        -         -         150       -




 563      Nov. 1988       -        -        -        -           -          -          -           -        -         -         150       -




 564      Dec. 1988       -        -        -        -           -          -          -           -        -         -         151       -




 565      Jan. 1989       -        -        -        -           -          -          -           -        -         -         151       -




 566      Feb. 1989       -        -        -        -           -          -          -           -        -         -         151       -




 567      Mar. 1989       -        -        -        -           -          -          -           -        -         -         152       -




 568      Apr. 1989       -        -        -        -           -          -          -           -        -         -         151       -




 569      May 1989        -        -        -        -           -          -          -           -        -         -         152       -




 570      June 1989       -        -        -        -           -          -          -           -        -         -         152       -




 571      July 1989       -        -        -        -           -          -          -           -        -         -         152       -




 572      Aug. 1989       -        -        -        -           -          -          -           -        -         -         151       -




 573      Sept. 1989      -        -        -        -           -          -          -           -        -         -         151       -




 574      Oct. 1989       -        -        -        -           -          -          -           -        -         -         152       -




 575      Nov. 1989       -        -        -        -           -          -          -           -        -         -         153       -




 576      Dec. 1989       -        -        -        -           -          -          -           -        -         -         153       -




 577      Jan. 1990       -        -        -        -           -          -          -           -        -         -         154       -




 578      Feb. 1990       -        -        -        -           -          -          -           -        -         -         155       -




 579      Mar. 1990       -        -        -        -           -          -          -           -        -         -         155       -




 580      Apr. 1990       -        -        -        -           -          -          -           -        -         -         156       -




 581      May 1990        -        -        -        -           -          -          -           -        -         -         156       -




 582      June 1990       -        -        -        -           -          -          -           -        -         -         157       -




 583      July 1990       -        -        -        -           -          -          -           -        -         -         157       -




 584      Aug. 1990       -        -        -        -           -          -          -           -        -         -         157       -




 585      Sept. 1990      -        -        -        -           -          -          -           -        -         -         158       -




 586      Oct. 1990       -        -        -        -           -          -          -           -        -         -         159       -




 587      Nov. 1990       -        -        -        -           -          -          -           -        -         -         159       -




 588      Dec. 1990       -        -        -        -           -          -          -           -        -         -         160       -




A138                  Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                  Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - AppendixA3

Appendix A3.      Reconstructed (simulated) mean concentrations in groundwater at selected water-supply wells for tetrachloroethylene
(PCE), trichloroethylene (TCE), trans-1,2- dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene, Handot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
[-, no pumping]

                                                                Concentration, in micrograms per liter
            Month
 Stress                                                                                                                                           I
             and       'PCE                              'TCE                                  '1,2-tDCE    'VC               Benzene
 period
             year
                       HP-651   HP-651   HP-601    HP-602    HP-608       HP-634     HP-660      HP-651    HP-651   'HP-602   'HP-603   'HP-608

 589      Jan. 1991     -        -         -         -           -          -          -           -        -         -         159       -




 590      Feb. 1991     -        -         -         -           -          -          -           -        -         -         160       -




 591      Mar. 1991     -        -         -         -           -          -          -           -        -         -         160       -




 592      Apr. 1991     -        -         -         -           -          -          -           -        -         -         160       -




 593      May 1991      -        -         -         -           -          -          -           -        -         -         161       -




 594      June 1991     -        -         -         -           -          -          -           -        -         -         160       -




 595      July 1991     -        -         -         -           -          -          -           -        -         -         159       -




 596      Aug. 1991     -        -         -         -           -          -          -           -        -         -         160       -




 597      Sept. 1991    -        -         -         -           -          -          -           -        -         -         160       -




 598      Oct. 1991     -        -         -         -           -          -          -           -        -         -         161       -




 599      Nov. 1991     -        -         -         -           -          -          -           -        -         -         162       -




 600      Dec. 1991     -        -         -         -           -          -          -           -        -         -         162       -




 601      Jan. 1992     -        -         -         -           -          -          -           -        -         -         162       -




 602      Feb. 1992     -        -         -         -           -          -          -           -        -         -         164       -




 603      Mar. 1992     -        -         -         -           -          -          -           -        -         -         164       -




 604      Apr. 1992     -        -         -         -           -          -          -           -        -         -         165       -




 605      May 1992      -        -         -         -           -          -          -           -        -         -         164       -




 606      June 1992     -        -         -         -           -          -          -           -        -         -         165       -




 607      July 1992     -        -         -         -           -          -          -           -        -         -         165       -




 608      Aug. 1992     -        -         -         -           -          -          -           -        -         -         164       -




 609      Sept. 1992    -        -         -         -           -          -          -           -        -         -         165       -




 610      Oct. 1992     -        -         -         -           -          -          -           -        -         -         166       -




 611      Nov. 1992     -        -         -         -           -          -          -           -        -         -         166       -




 612      Dec. 1992     -        -         -         -           -          -          -           -        -         -         167       -




 613      Jan. 1993     -        -         -         -           -          -          -           -        -         -         167       -




 614      Feb. 1993     -        -         -         -           -          -          -           -        -         -         168       -




 615      Mar. 1993     -        -         -         -           -          -          -           -        -         -         168       -




 616      Apr. 1993     -        -         -         -           -          -          -           -        -         -         169       -




 617      May 1993      -        -         -         -           -          -          -           -        -         -         169       -




 618      June 1993     -        -         -         -           -          -          -           -        -         -         170       -




 619      July 1993     -        -         -         -           -          -          -           -        -         -         170       -




 620      Aug. 1993     -        -         -         -           -          -          -           -        -         -         171       -




 621      Sept. 1993    -        -         -         -           -          -          -           -        -         -         170       -




 622      Oct. 1993     -        -         -         -           -          -          -           -        -         -         170       -




 623      Nov. 1993     -        -         -         -           -          -          -           -        -         -         171       -




 624      Dec. 1993     -        -         -         -           -          -          -           -        -         -         172       -




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AppendixA3 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Appendix A3.      Reconstructed (simulated) mean concentrations in groundwater at selected water-supply wells for tetrachloroethylene
(PCE), trichloroethylene (TCE), trans-1,2- dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene, Handot Point-Holcomb Boulevard
study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
[-, no pumping]

                                                                            Concentration, in micrograms per liter
               Month
 Stress
                and         'PCE                                     'TCE                                  '1,2-tDCE    'VC               Benzene
 period
                year
                           HP-651      HP-651     HP-601      HP-602     HP-608       HP-634     HP-660      HP-651    HP-651   'HP-602   'HP-603   'HP-608

625         Jan. 1994        -           -          -           -            -          -          -           -        -         -         172       -




626         Feb. 1994        -           -          -           -            -          -          -           -        -         -         172       -




627         Mar. 1994        -           -          -           -            -          -          -           -        -         -         172       -




628         Apr. 1994        -           -          -           -            -          -          -           -        -         -         173       -




629         May 1994         -           -          -           -            -          -          -           -        -         -         173       -




630         June 1994        -           -          -           -            -          -          -           -        -         -         174       -




631         July 1994        -           -          -           -            -          -          -           -        -         -         173       -




632         Aug. 1994        -           -          -           -            -          -          -           -        -         -         174       -




633         Sept. 1994       -           -          -           -            -          -          -           -        -         -         174       -




634         Oct. 1994        -           -          -           -            -          -          -           -        -         -         174       -




635         Nov. 1994        -           -          -           -            -          -          -           -        -         -         174       -




636         Dec. 1994        -           -          -           -            -          -          -           -        -         -         174       -




637         Jan. 1995        -           -          -           -            -          -          -           -        -         -         174       -




638         Feb. 1995        -           -          -           -            -          -          -           -        -         -         175       -




639         Mar. 1995        -           -          -           -            -          -          -           -        -         -         175       -




640         Apr. 1995        -           -          -           -            -          -          -           -        -         -         176       -




641         May 1995         -           -          -           -            -          -          -           -        -         -         176       -




642         June 1995        -           -          -           -            -          -          -           -        -         -         175       -




643         July 1995        -           -          -           -            -          -          -           -        -         -         176       -




644         Aug. 1995        -           -          -           -            -          -          -           -        -         -         176       -




645         Sept. 1995       -           -          -           -            -          -          -           -        -         -         177       -




646         Oct. 1995        -           -          -           -            -          -          -           -        -         -         177       -




647         Nov. 1995        -           -          -           -            -          -          -           -        -         -         177       -




648         Dec. 1995        -           -          -           -            -          -          -           -        -         -         178       -




649         Jan. 1996        -           -          -           -            -          -          -           -        -         -         177       -




650         Feb. 1996        -           -          -           -            -          -          -           -        -         -         178       -




651         Mar. 1996        -           -          -           -            -          -          -           -        -         -         178       -




652         Apr. 1996        -           -          -           -            -          -          -           -        -         -         179       -




653         May 1996         -           -          -           -            -          -          -           -        -         -         179       -




654-798 June 1996-
                             -           -          -           -            -          -          -           -        -         -         -         -
        June 2008
 1
     Results obtained using MT3DMS model (Jones et al. 2013)
 2
     Results obtained using linear control model, Tech Control (Guan et al. 2013)
 3
     Results obtained using LNAPL model, TechFlowMP (Jang et al. 2013)




A140                   Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                                                                                                                   CLJA_WATERMODELING_01-0000942742
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 Appendix A4. Maps showing reconstructed (simulated) water
 levels and distribution of trichloroethylene (TCE) within the
 Hadnot Point Industrial Area fate and transport model subdomain,
 model layers 1, 3, and 5, Hadnot Point-Holcomb Boulevard study
 area, U.S. Marine Corps Base Camp Lejeune, North Carolina,
 January 1951, January 1968, November 1984, and June 2008




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AppendixA4 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -



                                       January 1951                                                   January 1968




                                     November 1984                                                     June 2008




                                                                                                                                                      N


                                                                                                                                                      i
                                                                                                                           1,000         2,000 FEET
       Base modifed from U.S. Marine Corps
       digital data files
                                                                                                                          250         500 METERS


                                                                      EXPLANATION
               -     8-         Simulated potentiometric contour-Shows simulated potentiometric              TCE concentration, in
                                  surface. Hachures indicate depression. Contour interval 1 foot.              micrograms per liter
                                  Datum is National Geodetic Vertical Datum of 1929                            1 to 5
                     78                                                                                  •     Greater than 5 to 50
                                Installation Restoration Program site boundary and number                •     Greater than 50 to 500
                                                                                                         •     Greater than 500 to 5,000
               • HP-634         Water-supply well and number                                             •     Greater than 5,000 to 1,000,000


       Figure A4.1. Reconstructed (simulated) water levels and distribution of trichloroethylene (TCE) within the Hadnot Point Industrial
       Area fate and transport model subdomain, model layer 1, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base
       Camp Lejeune, North Carolina, January 1951, January 1968, November 1984, and June 2008.




A142                   Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                   Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                                                                                    CLJA_WATERMODELING_01-0000942744
               Contains Information Subject to Protective Order: Do Not Disclose to Unauthorized Persons



- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - AppendixA4



                                   January 1951                                                  January 1968




                                 November 1984                                                    June 2008




                                                                                                                                                 N


                                                                                                                                                 i
                                                                                                                      1,000         2,000 FEET
   Base modifed from U.S. Marine Corps
   digital data files
                                                                                                                     250         500 METERS


                                                                  EXPLANATION
           -     8-         Simulated potentiometric contour-Shows simulated potentiometric             TCE concentration, in
                              surface. Hachures indicate depression. Contour interval 1foot.              micrograms per liter
                              Datum is National Geodetic Vertical Datum of 1929                           1 to 5
                 78                                                                                 •     Greater than 5 to 50
                            Installation Restoration Program site boundary and number               •     Greater than 50 to 500
                                                                                                    •     Greater than 500 to 5,000
           • HP-634         Water-supply well and number                                            •     Greater than 5,000 to 1,000,000


  Figure A4.2. Reconstructed (simulated) water levels and distribution of trichloroethylene (TCE) within the Hadnot Point Industrial
  Area fate and transport model subdomain, model layer 3, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base
  Camp Lejeune, North Carolina, January 1951, January 1968, November 1984, and June 2008.




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                                                                                               CLJA_WATERMODELING_01-0000942745
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AppendixA4 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -



                                       January 1951                                                   January 1968




                                     November 1984                                                     June 2008




                                                                                                                                                      N


                                                                                                                                                      i
                                                                                                                           1,000         2,000 FEET
       Base modifed from U.S. Marine Corps
       digital data files
                                                                                                                          250         500 METERS


                                                                      EXPLANATION
               -      8-        Simulated potentiometric contour-Shows simulated potentiometric              TCE concentration, in
                                  surface. Hachures indicate depression. Contour interval 1 foot.              micrograms per liter
                                  Datum is National Geodetic Vertical Datum of 1929                            1 to 5
                     78                                                                                  •     Greater than 5 to 50
                                Installation Restoration Program site boundary and number                •     Greater than 50 to 500
                                                                                                         •     Greater than 500 to 5,000
                   • HP-634     Water-supply well and number                                             •     Greater than 5,000 to 1,000,000


       Figure A4.3. Reconstructed (simulated) water levels and distribution of trichloroethylene (TCE) within the Hadnot Point Industrial
       Area fate and transport model subdomain, model layer 5, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base
       Camp Lejeune, North Carolina, January 1951, January 1968, November 1984, and June 2008.




A144                    Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                                                                                                    CLJA_WATERMODELING_01-0000942746
  Contains Information Subject to Protective Order: Do Not Disclose to Unauthorized Persons




   Appendix A5. Maps showing reconstructed (simulated) water
   levels and distribution of benzene within the Hadnot Point
   Industrial Area fate and transport model subdomain, model
   layers t 3, and 5, Hadnot Point-Holcomb Boulevard study
   area, U.S. Marine Corps Base Camp Lejeune, North Carolina,
   January 1951, January 1968, November 1984, and June 2008




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                                                                  CLJA_WATERMODELING_01-0000942747
                   Contains Information Subject to Protective Order: Do Not Disclose to Unauthorized Persons



AppendixA5 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -



                                       January 1951                                                   January 1968




                                     November 1984                                                     June 2008




                                                                                                                                                      N


                                                                                                                                                      i
       Base modifed from U.S. Marine Corps                                                                                 1,000         2,000 FEET
       digital data files
                                                                                                                          250         500 METERS


                                                                      EXPLANATION
               -      8-        Simulated potentiometric contour-Shows simulated potentiometric              Benzene concentration, in
                                  surface. Hachures indicate depression. Contour interval 1 foot.              micrograms per liter
                                  Datum is National Geodetic Vertical Datum of 1929                            1 to 5
                     78                                                                                  •     Greater than 5 to 50
                                Installation Restoration Program site boundary and number                •     Greater than 50 to 500
                                                                                                         •     Greater than 500 to 5,000
                • HP-634        Water-supply well and number                                             •     Grea~r~an~OO0~l~0~OO0


       Figure A5.1. Reconstructed (simulated) water levels and distribution of benzene within the Hadnot Point Industrial Area fate and
       transport model subdomain, model layer 1, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune,
       North Carolina, January 1951, January 1968, November 1984, and June 2008.




A146                   Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                   Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                 Contains Information Subject to Protective Order: Do Not Disclose to Unauthorized Persons



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                                   January 1951                                                  January 1968




                                 November 1984                                                    June 2008




                                                                                                                                                N


                                                                                                                                                i
   Base modifed from U.S. Marine Corps                                                                               1,000         2,000 FEET
   digital data files
                                                                                                                    250         500 METERS


                                                                  EXPLANATION
           -      8-        Simulated potentiometric contour-Shows simulated potentiometric             Benzene concentration, in
                              surface. Hachures indicate depression. Contour interval 1foot.              micrograms per liter
                              Datum is National Geodetic Vertical Datum of 1929                          1 to 5
                  78                                                                                •    Greater than 5 to 50
                            Installation Restoration Program site boundary and number               •    Greater than 50 to 500
                                                                                                    •    Greater than 500 to 5,000
               • HP-634     Water-supply well and number                                            •    Greater than 5,000 to 1,000,000


  Figure A5.2. Reconstructed (simulated) water levels and distribution of benzene within the Hadnot Point Industrial Area fate and
  transport model subdomain, model layer 3, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune,
  North Carolina, January 1951, January 1968, November 1984, and June 2008.




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                                                                                               CLJA_WATERMODELING_01-0000942749
                   Contains Information Subject to Protective Order: Do Not Disclose to Unauthorized Persons



AppendixA5 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -



                                       January 1951                                                   January 1968




                                     November 1984                                                     June 2008




                                                                                                                                                      N


                                                                                                                                                      i
       Base modifed from U.S. Marine Corps                                                                                 1,000         2,000 FEET
       digital data files
                                                                                                                          250         500 METERS


                                                                      EXPLANATION
               -      8-        Simulated potentiometric contour-Shows simulated potentiometric              Benzene concentration, in
                                  surface. Hachures indicate depression. Contour interval 1 foot.              micrograms per liter
                                  Datum is National Geodetic Vertical Datum of 1929                           1 to 5
                     78                                                                                  •     Greater than 5 to 50
                                Installation Restoration Program site boundary and number                •     Greater than 50 to 500
                                                                                                         •     Greater than 500 to 5,000
                • HP-634        Water-supply well and number                                             •     Greater than 5,000 to 1,000,000


       Figure A5.3. Reconstructed (simulated) water levels and distribution of benzene within the Hadnot Point Industrial Area fate and
       transport model subdomain, model layer 5, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune,
       North Carolina, January 1951, January 1968, November 1984, and June 2008.




A148                   Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                   Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                                                                                    CLJA_WATERMODELING_01-0000942750
  Contains Information Subject to Protective Order: Do Not Disclose to Unauthorized Persons




Appendix A6. Maps showing reconstructed (simulated)
water levels and distribution of trichloroethylene (TCE) and
tetrachloroethylene (PCE) within the Hadnot Point landfill area
fate and transport model subdomain, model layers t 3, and 5,
Hadnot Point-Holcomb Boulevard study area, U.S. Marine
Corps Base Camp Lejeune, North Carolina, January 1968,
June 1978, November 1984, and June 2008




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                                                                  CLJA_WATERMODELING_01-0000942751
                 Contains Information Subject to Protective Order: Do Not Disclose to Unauthorized Persons



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                                   January 1968                                                       June 1978




                                  November 1984                                                       June 2008




   Base modifed from U.S. Marine Corps                                                                                     1,000        2,000 FEET
   digital data files
                                                                                                                         250         500 METERS


                                                                    EXPLANATION
           -      8-         Simulated potentiometric contour-Shows simulated potentiometric              TCE concentration, in
                               surface. Hachures indicate depression. Contour interval, in feet,             micrograms per liter
                               is variable. Datum is National Geodetic Vertical Datum of 1929               1 to 5
                 82                                                                                   •     Greater than 5 to 50
                             Installation Restoration Program site boundary and number                •     Greater than 50 to 500
                                                                                                      •     Greater than 500 to 5,000
           • HP-651          Water-supply well and number                                             •     Greater than 5,000 to 400,000



   Figure A6.1. Reconstructed (simulated) water levels and distribution oftrichloroethylene (TCE) within the Hadnot Point landfill area
   fate and transport model subdomain, model layer 1, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp
   Lejeune, North Carolina, January 1968, June 1978, November 1984, and June 2008.




A150                 Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                                 January 1968                                                       June 1978




                                November 1984                                                       June 2008




 Base modifed from U.S. Marine Corps                                                                                     1,000        2,000 FEET
 digital data files
                                                                                                                       250         500 METERS


                                                                  EXPLANATION
         -      8-         Simulated potentiometric contour-Shows simulated potentiometric              TCE concentration, in
                             surface. Hachures indicate depression. Contour interval, in feet,             micrograms per liter
                             is variable. Datum is National Geodetic Vertical Datum of 1929               1 to 5
               82                                                                                   •     Greater than 5 to 50
                           Installation Restoration Program site boundary and number                •     Greater than 50 to 500
                                                                                                    •     Greater than 500 to 5,000
         • HP-651          Water-supply well and number                                             •     Greater than 5,000 to 400,000



 Figure A6.2. Reconstructed (simulated) water levels and distribution of trichloroethylene (TCE) within the Hadnot Point landfill area
 fate and transport model subdomain, model layer 3, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp
 Lejeune, North Carolina, January 1968, June 1978, November 1984, and June 2008.




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                                   January 1968                                                       June 1978




                                  November 1984                                                       June 2008




   Base modifed from U.S. Marine Corps                                                                                     1,000        2,000 FEET
   digital data files
                                                                                                                         250         500 METERS


                                                                    EXPLANATION
           -      8-         Simulated potentiometric contour-Shows simulated potentiometric              TCE concentration, in
                               surface. Hachures indicate depression. Contour interval, in feet,             micrograms per liter
                               is variable. Datum is National Geodetic Vertical Datum of 1929               1 to 5
                 82                                                                                   •     Greater than 5 to 50
                             Installation Restoration Program site boundary and number                •     Greater than 50 to 500
                                                                                                      •     Greater than 500 to 5,000
           • HP-651          Water-supply well and number                                             •     Greater than 5,000 to 400,000



   Figure A6.3. Reconstructed (simulated) water levels and distribution of trichloroethylene (TCE) within the Hadnot Point landfill area
   fate and transport model subdomain, model layer 5, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp
   Lejeune, North Carolina, January 1968, June 1978, November 1984, and June 2008.




A152                 Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                 Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                 January 1968                                                       June 1978




                                November 1984                                                       June 2008




 Base modifed from U.S. Marine Corps                                                                                     1,000        2,000 FEET
 digital data files
                                                                                                                       250         500 METERS


                                                                  EXPLANATION
         -      8-         Simulated potentiometric contour-Shows simulated potentiometric              PCE concentration, in
                             surface. Hachures indicate depression. Contour interval, in feet,             micrograms per liter
                             is variable. Datum is National Geodetic Vertical Datum of 1929               1 to 5
               82                                                                                   •     Greater than 5 to 50
                           Installation Restoration Program site boundary and number                •     Greater than 50 to 500
                                                                                                    •     Greater than 500 to 5,000
         • HP-651          Water-supply well and number                                             •     Greater than 5,000 to 400,000



 Figure A6.4. Reconstructed (simulated) water levels and distribution of tetrachloroethylene (PCE) within the Hadnot Point landfill
 area fate and transport model subdomain, model layer 1, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base
 Camp Lejeune, North Carolina, January 1968, June 1978, November 1984, and June 2008.




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                                   January 1968                                                       June 1978




                                  November 1984                                                       June 2008


                                                                                                                                              6'




                                                                                                                                                     N




   Base modifed from U.S. Marine Corps                                                                                     1,000
                                                                                                                                            10 -
                                                                                                                                        2,000 FEET
                                                                                                                                                     i
   digital data files
                                                                                                                         250         500 METERS


                                                                    EXPLANATION
           -      8-         Simulated potentiometric contour-Shows simulated potentiometric              PCE concentration, in
                               surface. Hachures indicate depression. Contour interval, in feet,             micrograms per liter
                               is variable. Datum is National Geodetic Vertical Datum of 1929               1 to 5
                 82                                                                                   •     Greater than 5 to 50
                             Installation Restoration Program site boundary and number                •     Greater than 50 to 500
                                                                                                      •     Greater than 500 to 5,000
           • HP-651          Water-supply well and number                                             •     Greater than 5,000 to 400,000



   Figure A6.5. Reconstructed (simulated) water levels and distribution of tetrachloroethylene (PCE) within the Hadnot Point landfill
   area fate and transport model subdomain, model layer 3, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base
   Camp Lejeune, North Carolina, January 1968, June 1978, November 1984, and June 2008.




A154                 Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                 Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                 January 1968                                                       June 1978




                                November 1984                                                       June 2008




 Base modifed from U.S. Marine Corps                                                                                     1,000        2,000 FEET
 digital data files
                                                                                                                       250         500 METERS


                                                                  EXPLANATION
         -      8-         Simulated potentiometric contour-Shows simulated potentiometric              PCE concentration, in
                             surface. Hachures indicate depression. Contour interval, in feet,             micrograms per liter
                             is variable. Datum is National Geodetic Vertical Datum of 1929               1 to 5
               82                                                                                   •     Greater than 5 to 50
                           Installation Restoration Program site boundary and number                •     Greater than 50 to 500
                                                                                                    •     Greater than 500 to 5,000
         • HP-651          Water-supply well and number                                             •     Greater than 5,000 to 400,000



 Figure A6.6. Reconstructed (simulated) water levels and distribution of tetrachloroethylene (PCE) within the Hadnot Point landfill
 area fate and transport model subdomain, model layer 5, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base
 Camp Lejeune, North Carolina, January 1968, June 1978, November 1984, and June 2008.




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A156         Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
         Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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 Appendix A7. Reconstructed (simulated) monthly mean
 concentrations in finished water for tetrachloroethylene (PCE),
 trichloroethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE),
 and vinyl chloride (VC) at the Hadnot Point water treatment plant,
 Hadnot Point-Holcomb Boulevard Study Area, U.S. Marine Corps
 Base Camp Lejeune, North Carolina, January 1942-June 2008




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AppendixA7


Appendix A7. Reconstructed (simulated) monthly mean concentrations in finished water for tetrachloroethylene (PCE), trichloro-
ethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE), and vinyl chloride (VC) at the Hadnot Point water treatment plant, Hadnot Point-
Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.
 [Concentrations in finished water computed using mixing-model approach; - , water treatment plant not operating; *, model simulations not conducted]

                                                                  Concentrations in finished water, in micrograms per liter
  Stress              Month                                                                  Trans-1,2-
  period             and year           Tetrachloroethylene      Trichloroethylene                                Vinyl chloride
                                                                                         dichloroethylene                                   Benzene
                                               (PCE)                   (TCE)                                           (VC)
                                                                                            (1,2,-tDCE)
  1-6             Jan.-June 1942
  7-12            July-Dec. 1942                  0                       0                       *                      *                      0
  13-120           Jan. 1943-                     0                       0                      0                      0                       0
                   Dec. 1951
  121              Jan. 1952                      0                       1                      0                      0                       0
  122              Feb. 1952                      0                       0                      0                      0                       0
  123              Mar. 1952                      0                       0                      0                      0                       0
  124              Apr. 1952                      0                                              0                      0                       0
  125              May 1952                       0                                              0                      0                       0
  126              June 1952                      0                                              0                      0                       0
  127              July 1952                      0                                              0                      0                       0
  128              Aug. 1952                      0                       2                      0                      0                       0
  129              Sept. 1952                     0                       2                      0                      0                       0
  130              Oct. 1952                      0                       2                      0                      0                       0
  131              Nov. 1952                      0                       3                      0                      0                       0
  132              Dec. 1952                      0                       3                      0                      0                       0
  133              Jan. 1953                      0                       4                      0                      0                       0
  134              Feb. 1953                      0                       3                      0                      0                       0
  135              Mar. 1953                      0                       3                      0                      0                       0
  136              Apr. 1953                      0                       5                      0                      0                       0
  137              May 1953                       0                       4                      0                      0                       0
  138              June 1953                      0                       3                      0                      0                       0
  139              July 1953                      0                       4                      0                      0                       0
  140              Aug. 1953                      0                       6                      0                      0                       0
  141              Sept. 1953                     0                       5                      0                      0                       0
  142              Oct. 1953                      0                       4                      0                      0                       0
  143              Nov. 1953                      0                       7                      0                      0                       0
  144              Dec. 1953                      0                       6                      0                      0                       0
  145              Jan. 1954                      0                       6                      0                      0                       0
  146              Feb. 1954                      0                       5                      0                      0                       0
  147              Mar. 1954                      0                       4                      0                      0                       0
  148              Apr. 1954                      0                       7                      0                      0                       0
  149              May 1954                       0                       5                      0                      0                       0
  150              June 1954                      0                       7                      0                      0                       0
  151              July 1954                      0                       7                      0                      0                       0
  152              Aug. 1954                      0                      10                      0                      0                       0
  153              Sept. 1954                     0                       9                      0                      0                       0
  154              Oct. 1954                      0                       8                      0                      0                       0
  155              Nov. 1954                      0                      14                      0                      0                       0
  156              Dec. 1954                      0                      11                      0                      0                       0


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                                                                                                                                             AppendixA7


 Appendix A7.    Reconstructed (simulated) monthly mean concentrations in finished water for tetrachloroethylene (PCE), trichloro-
 ethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE), and vinyl chloride (VC) at the Hadnot Point water treatment plant, Hadnot Point-
 Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
 [Concentrations in finished water computed using mixing-model approach; - , water treatment plant not operating; *, model simulations not conducted]

                                                                  Concentrations in finished water, in micrograms per liter
  Stress              Month                                                                  Trans-1,2-
  period             and year           Tetrachloroethylene      Trichloroethylene                                Vinyl chloride
                                                                                         dichloroethylene                                   Benzene
                                               (PCE)                   (TCE)                                           (VC)
                                                                                            (1,2,-tDCE)
  157              Jan. 1955                      0                      12                      0                      0                       0
  158              Feb. 1955                      0                       9                      0                      0                       0
  159              Mar. 1955                      0                       7                      0                      0                       0
  160              Apr. 1955                      0                      14                      0                      0                       0
  161              May 1955                       0                      11                      0                      0                       0
  162              June 1955                      0                      10                      0                      0                       0
  163              July 1955                      0                      10                      0                      0                       0
  164              Aug. 1955                      0                      14                      0                      0                       0
  165              Sept. 1955                     0                      13                      0                      0                       0
  166              Oct. 1955                      0                      11                      0                      0                       0
  167              Nov. 1955                      0                      19                      0                      0                       0
  168              Dec. 1955                      0                      14                      0                      0                       0
  169              Jan. 1956                      0                      15                      0                      0                       0
  170              Feb. 1956                      0                      11                      0                      0                       0
  171              Mar. 1956                      0                       8                      0                      0                       0
  172              Apr. 1956                      0                      17                      0                      0                       0
  173              May 1956                       0                      13                      0                      0                       0
  174              June 1956                      0                      11                      0                      0                       0
  175              July 1956                      0                      12                      0                      0                       0
  176              Aug. 1956                      0                      16                      0                      0                       0
  177              Sept. 1956                     0                      14                      0                      0                       0
  178              Oct. 1956                      0                      13                      0                      0                       0
  179              Nov. 1956                      0                      21                      0                      0                       0
  180              Dec. 1956                      0                      17                      0                      0                       0
  181              Jan. 1957                      0                      17                      0                      0                       0
  182              Feb. 1957                      0                      12                      0                      0                       0
  183              Mar. 1957                      0                       9                      0                      0                       0
  184              Apr. 1957                      0                      19                      0                      0                       0
  185              May 1957                       0                      14                      0                      0                       0
  186              June 1957                      0                      12                      0                      0                       0
  187              July 1957                      0                      12                      0                      0                       0
  188              Aug. 1957                      0                      16                      0                      0                       0
  189              Sept. 1957                     0                      14                      0                      0                       0
  190              Oct. 1957                      0                      12                      0                      0                       0
  191              Nov. 1957                      0                      20                      0                      0                       0
  192              Dec. 1957                      0                      16                      0                      0                       0


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AppendixA7


Appendix A7. Reconstructed (simulated) monthly mean concentrations in finished water for tetrachloroethylene (PCE), trichloro-
ethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE), and vinyl chloride (VC) at the Hadnot Point water treatment plant, Hadnot Point-
Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
 [Concentrations in finished water computed using mixing-model approach; - , water treatment plant not operating; *, model simulations not conducted]

                                                                  Concentrations in finished water, in micrograms per liter
  Stress              Month                                                                  Trans-1,2-
  period             and year           Tetrachloroethylene      Trichloroethylene                                Vinyl chloride
                                                                                         dichloroethylene                                   Benzene
                                               (PCE)                   (TCE)                                           (VC)
                                                                                            (1,2,-tDCE)
  193              Jan. 1958                      0                      17                      0                      0                       0
  194              Feb. 1958                      0                      12                      0                      0                       0
  195              Mar. 1958                      0                       9                      0                      0                       0
  196              Apr. 1958                      0                      18                      0                      0                       0
  197              May 1958                       0                      14                      0                      0                       0
  198              June 1958                      0                      12                      0                      0                       0
  199              July 1958                      0                      13                      0                      0                       0
  200              Aug. 1958                      0                      18                      0                      0                       0
  201              Sept. 1958                     0                      15                      0                      0                       0
  202              Oct. 1958                      0                      13                      0                      0                       0
  203              Nov. 1958                      0                      22                      0                      0                       0
  204              Dec . 1958                     0                      17                      0                      0                       0
  205              Jan. 1959                      0                      18                      0                      0                       0
  206              Feb. 1959                      0                      13                      0                      0                       0
  207              Mar. 1959                      0                       9                      0                      0                       0
  208              Apr. 1959                      0                      19                      0                      0                       0
  209              May 1959                       0                      14                      0                      0                       0
  210              June 1959                      0                      13                      0                      0                       0
  211              July 1959                      0                      13                      0                      0                       0
  212              Aug. 1959                      0                      18                      0                      0                       0
  213              Sept. 1959                     0                      15                      0                      0                       0
  214              Oct. 1959                      0                      14                      0                      0                       0
  215              Nov. 1959                      0                      22                      0                      0                       0
  216              Dec. 1959                      0                      17                      0                      0                       0
  217              Jan. 1960                      0                      16                      0                      0                       0
  218              Feb. 1960                      0                      11                      0                      0                       0
  219              Mar. 1960                      0                       9                      0                      0                       0
  220              Apr. 1960                      0                      16                      0                      0                       0
  221              May 1960                       0                      13                      0                      0                       0
  222              June 1960                      0                      12                      0                      0                       0
  223              July 1960                      0                      12                      0                      0                       0
  224              Aug. 1960                      0                      15                      0                      0                       0
  225              Sept. 1960                     0                      14                      0                      0                       0
  226              Oct. 1960                      0                      13                      0                      0                       0
  227              Nov. 1960                      0                      18                      0                      0                       0
  228              Dec. 1960                      0                      14                      0                      0                       0



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                                                                                                                                             AppendixA7


 Appendix A7.    Reconstructed (simulated) monthly mean concentrations in finished water for tetrachloroethylene (PCE), trichloro-
 ethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE), and vinyl chloride (VC) at the Hadnot Point water treatment plant, Hadnot Point-
 Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
 [Concentrations in finished water computed using mixing-model approach; - , water treatment plant not operating; *, model simulations not conducted]

                                                                  Concentrations in finished water, in micrograms per liter
  Stress              Month                                                                  Trans-1,2-
  period             and year           Tetrachloroethylene      Trichloroethylene                                Vinyl chloride
                                                                                         dichloroethylene                                   Benzene
                                               (PCE)                   (TCE)                                           (VC)
                                                                                            (1,2,-tDCE)
  229              Jan. 1961                      0                      16                      0                      0                       0
  230              Feb. 1961                      0                      12                      0                      0                       0
  231              Mar. 1961                      0                      10                      0                      0                       0
  232              Apr. 1961                      0                      18                      0                      0                       0
  233              May 1961                       0                      15                      0                      0                       0
  234              June 1961                      0                      14                      0                      0                       0
  235              July 1961                      0                      14                      0                      0                       0
  236              Aug. 1961                      0                      19                      0                      0                       0
  237              Sept. 1961                     0                      17                      0                      0                       0
  238              Oct. 1961                      0                      17                      0                      0                       0
  239              Nov. 1961                      0                      19                      0                      0                       0
  240              Dec. 1961                      0                      15                      0                      0                       0
  241              Jan. 1962                      0                      16                      0                      0                       0
  242              Feb. 1962                      0                      14                      0                      0                       0
  243              Mar. 1962                      0                      12                      0                      0                       0
  244              Apr. 1962                      0                      19                      0                      0                       0
  245              May 1962                       0                      16                      0                      0                       0
  246              June 1962                      0                      15                      0                      0                       0
  247              July 1962                      0                      16                      0                      0                       0
  248              Aug. 1962                      0                      21                      0                      0                       0
  249              Sept. 1962                     0                      18                      0                      0                       0
  250              Oct. 1962                      0                      19                      0                      0                       0
  251              Nov. 1962                      0                      22                      0                      0
  252              Dec. 1962                      0                      20                      0                      0                       0
  253              Jan. 1963                      0                      20                      0                      0                       0
  254              Feb. 1963                      0                      20                      0                      0                       0
  255              Mar. 1963                      0                      17                      0                      0                       0
  256              Apr. 1963                      0                      24                      0                      0
  257              May 1963                       0                      19                      0                      0                       0
  258              June 1963                      0                      19                      0                      0                       0
  259              July 1963                      0                      19                      0                      0                       0
  260              Aug. 1963                      0                      24                      0                      0
  261              Sept. 1963                     0                      21                      0                      0                       0
  262              Oct. 1963                      0                      22                      0                      0                       0
  263              Nov. 1963                      0                      24                      0                      0
  264              Dec. 1963                      0                      21                      0                      0



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                                                                                                        CLJA_WATERMODELING_01-0000942763
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AppendixA7


Appendix A7. Reconstructed (simulated) monthly mean concentrations in finished water for tetrachloroethylene (PCE), trichloro-
ethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE), and vinyl chloride (VC) at the Hadnot Point water treatment plant, Hadnot Point-
Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
 [Concentrations in finished water computed using mixing-model approach; - , water treatment plant not operating; *, model simulations not conducted]

                                                                  Concentrations in finished water, in micrograms per liter
  Stress              Month                                                                  Trans-1,2-
  period             and year           Tetrachloroethylene      Trichloroethylene                                Vinyl chloride
                                                                                         dichloroethylene                                   Benzene
                                               (PCE)                   (TCE)                                           (VC)
                                                                                            (1,2,-tDCE)
  265              Jan. 1964                      0                      22                      0                      0
  266              Feb. 1964                      0                      21                      0                      0                       0
  267              Mar. 1964                      0                      18                      0                      0                       0
  268              Apr. 1964                      0                      25                      0                      0
  269              May 1964                       0                      21                      0                      0
  270              June 1964                      0                      20                      0                      0                       0
  271              July 1964                      0                      21                      0                      0                       0
  272              Aug. 1964                      0                      25                      0                      0
  273              Sept. 1964                     0                      22                      0                      0
  274              Oct. 1964                      0                      24                      0                      0
  275              Nov. 1964                      0                      25                      0                      0
  276              Dec. 1964                      0                      23                      0                      0
  277              Jan. 1965                      0                      22                      0                      0
  278              Feb. 1965                      0                      23                      0                      0
  279              Mar. 1965                      0                      19                      0                      0                       0
  280              Apr. 1965                      0                      26                      0                      0
  281              May 1965                       0                      21                      0                      0
  282              June 1965                      0                      21                      0                      0
  283              July 1965                      0                      21                      0                      0
  284              Aug. 1965                      0                      25                      0                      0
  285              Sept. 1965                     0                      22                      0                      0
  286              Oct. 1965                      0                      23                      0                      0
  287              Nov. 1965                      0                      23                      0                      0
  288              Dec. 1965                      0                      21                      0                      0
  289              Jan. 1966                      0                      21                      0                      0
  290              Feb. 1966                      0                      22                      0                      0
  291              Mar. 1966                      0                      19                      0                      0                       0
  292              Apr. 1966                      0                      26                      0                      0
  293              May 1966                       0                      21                      0                      0
  294              June 1966                      0                      21                      0                      0
  295              July 1966                      0                      21                      0                      0
  296              Aug. 1966                      0                      26                      0                      0
  297              Sept. 1966                     0                      23                      0                      0
  298              Oct. 1966                      0                      25                      0                      0
  299              Nov. 1966                      0                      26                      0                      0
  300              Dec. 1966                      0                      26                      0                      0



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                                                                                                                                             AppendixA7


 Appendix A7.    Reconstructed (simulated) monthly mean concentrations in finished water for tetrachloroethylene (PCE), trichloro-
 ethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE), and vinyl chloride (VC) at the Hadnot Point water treatment plant, Hadnot Point-
 Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
 [Concentrations in finished water computed using mixing-model approach; - , water treatment plant not operating; *, model simulations not conducted]

                                                                  Concentrations in finished water, in micrograms per liter
  Stress              Month                                                                  Trans-1,2-
  period             and year           Tetrachloroethylene      Trichloroethylene                                Vinyl chloride
                                                                                         dichloroethylene                                   Benzene
                                               (PCE)                    (TCE)                                          (VC)
                                                                                            (1,2,-tDCE)
  301              Jan. 1967                      0                      25                      0                      0
  302              Feb. 1967                      0                      26                      0                      0
  303              Mar. 1967                      0                      23                      0                      0
  304              Apr. 1967                      0                      30                      0                      0
  305              May 1967                       0                      24                      0                      0
  306              June 1967                      0                      24                      0                      0
  307              July 1967                      0                      25                      0                      0
  308              Aug. 1967                      0                      31                      0                      0
  309              Sept. 1967                     0                      26                      0                      0
  310              Oct. 1967                      0                      29                      0                      0
  311              Nov. 1967                      0                      29                      0                      0
  312              Dec. 1967                      0                      28                      0                      0
  313              Jan. 1968                      0                      27                      0                      0
  314              Feb. 1968                      0                      26                      0                      0
  315              Mar. 1968                      0                      23                      0                      0
  316              Apr. 1968                      0                      30                      0                      0
  317              May 1968                       0                      24                      0                      0
  318              June 1968                      0                      24                      0                      0
  319              July 1968                      0                      25                      0                      0
  320              Aug. 1968                      0                      32                      0                      0
  321              Sept. 1968                     0                      28                      0                      0
  322              Oct. 1968                      0                      31                      0                      0
  323              Nov. 1968                      0                      31                      0                      0                       2
  324              Dec. 1968                      0                      29                      0                      0
  325              Jan. 1969                      0                      28                      0                      0
  326              Feb. 1969                      0                      28                      0                      0
  327              Mar. 1969                      0                      23                      0                      0
  328              Apr. 1969                      0                      32                      0                      0                       2
  329              May 1969                       0                      26                      0                      0
  330              June 1969                      0                      26                      0                      0
  331              July 1969                      0                      24                      0                      0
  332              Aug. 1969                      0                      18                      0                      0
  333              Sept. 1969                     0                       8                      0                      0
  334              Oct. 1969                      0                       8                      0                      0
  335              Nov. 1969                      0                      24                      0                      0                       2
  336              Dec. 1969                      0                      24                      0                      0                       2



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                                                                                                       CLJA_WATERMODELING_01-0000942765
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AppendixA7


Appendix A7. Reconstructed (simulated) monthly mean concentrations in finished water for tetrachloroethylene (PCE), trichloro-
ethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE), and vinyl chloride (VC) at the Hadnot Point water treatment plant, Hadnot Point-
Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
 [Concentrations in finished water computed using mixing-model approach; - , water treatment plant not operating; *, model simulations not conducted]

                                                                  Concentrations in finished water, in micrograms per liter
  Stress              Month                                                                  Trans-1,2-
  period             and year           Tetrachloroethylene      Trichloroethylene                                Vinyl chloride
                                                                                         dichloroethylene                                   Benzene
                                               (PCE)                   (TCE)                                           (VC)
                                                                                            (1,2,-tDCE)
  337              Jan. 1970                      0                      23                      0                      0                       2
  338              Feb. 1970                      0                      23                      0                      0                       2
  339              Mar. 1970                      0                      19                      0                      0
  340              Apr. 1970                      0                      26                      0                      0                       2
  341              May 1970                       0                      20                      0                      0                       2
  342              June 1970                      0                      20                      0                      0                       2
  343              July 1970                      0                      20                      0                      0                       2
  344              Aug. 1970                      0                      24                      0                      0                       2
  345              Sept. 1970                     0                      21                      0                      0                       2
  346              Oct. 1970                      0                      23                      0                      0                       2
  347              Nov. 1970                      0                      25                      0                      0                       3
  348              Dec . 1970                     0                      22                      0                      0                       2
  349              Jan. 1971                      0                      22                      0                      0                       2
  350              Feb. 1971                      0                      21                      0                      0                       2
  351              Mar. 1971                      0                      17                      0                      0                       2
  352              Apr. 1971                      0                      24                      0                      0                       3
  353              May 1971                       0                      19                      0                      0                       2
  354              June 1971                      0                      19                      0                      0                       2
  355              July 1971                      0                      19                      0                      0                       2
  356              Aug. 1971                      0                      24                      0                      0                       3
  357              Sept. 1971                     0                      21                      0                      0                       2
  358              Oct. 1971                      0                      22                      0                      0                       2
  359              Nov. 1971                      0                      25                      0                      0                       3
  360              Dec. 1971                      0                      22                      0                      0                       3
  361              Jan. 1972                      0                      22                      0                      0                       3
  362              Feb. 1972                      0                      21                      0                      0                       2
  363              Mar. 1972                      0                      17                      0                      0                       2
  364              Apr. 1972                      0                      24                      0                      0                       3
  365              May 1972                       0                      19                      0                      0                       3
  366              June 1972                      0                      19                      0                      0                       3
  367              July 1972                      0                      16                      3                      0                       2
  368              Aug. 1972                      0                      20                     38                                              3
  369              Sept. 1972                     0                      18                     50                                              2
  370              Oct. 1972                      0                      18                     12                      0                       3
  371              Nov. 1972                      0                      25                    133                      3                       3
  372              Dec. 1972                      0                      32                    146                      3                       2



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                                                                                                                                             AppendixA7


 Appendix A7.    Reconstructed (simulated) monthly mean concentrations in finished water for tetrachloroethylene (PCE), trichloro-
 ethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE), and vinyl chloride (VC) at the Hadnot Point water treatment plant, Hadnot Point-
 Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
 [Concentrations in finished water computed using mixing-model approach; - , water treatment plant not operating; *, model simulations not conducted]

                                                                  Concentrations in finished water, in micrograms per liter
  Stress              Month                                                                  Trans-1,2-
  period             and year           Tetrachloroethylene      Trichloroethylene                                Vinyl chloride
                                                                                         dichloroethylene                                   Benzene
                                               (PCE)                   (TCE)                                           (VC)
                                                                                            (1,2,-tDCE)
  373              Jan. 1973                      0                      27                     74                      2                       3
  374              Feb. 1973                      0                      34                    113                      3                       2
  375              Mar. 1973                      0                      38                    123                      3                       2
  376              Apr. 1973                      0                      38                     80                      2                       3
  377              May 1973                       0                      43                    104                      3                       3
  378              June 1973                      0                      57                    131                      4                       3
  379              July 1973                                             73                    149                      5                       3
  380              Aug. 1973                                           109                     184                      7                       3
  381              Sept. 1973                                            96                    143                      5                       3
  382              Oct. 1973                      0                      31                     26                                              3
  383              Nov. 1973                      2                    187                    249                      10                       3
  384              Dec. 1973                      3                    201                    230                      10                       2
  385              Jan. 1974                                           106                     106                      5                       3
  386              Feb. 1974                      2                    152                     151                      7                       2
  387              Mar. 1974                      3                    163                     155                      7                       2
  388              Apr. 1974                      2                     116                     97                      5                       3
  389              May 1974                       2                    142                     122                      6                       2
  390              June 1974                      3                    179                     149                      8                       2
  391              July 1974                      4                    209                     166                      9                       2
  392              Aug. 1974                      5                    274                    203                      12                       3
  393              Sept. 1974                     4                    217                     155                      9                       3
  394              Oct. 1974                                             50                     28                      2                       3
  395              Nov. 1974                      8                    399                    273                      17                       3
  396              Dec. 1974                      8                    369                    239                      15                       3
  397              Jan. 1975                      4                    179                     109                      7                       3
  398              Feb. 1975                      6                    252                     155                     11                       3
  399              Mar. 1975                      6                    261                     159                     11                       2
  400              Apr. 1975                      4                    174                      99                      7                       3
  401              May 1975                       5                    211                     124                      9                       3
  402              June 1975                      7                    260                     151                     11                       2
  403              July 1975                      8                    294                     168                     13                       3
  404              Aug. 1975                     10                    368                    205                      16                       3
  405              Sept. 1975                     8                    285                     156                     12                       3
  406              Oct. 1975                                             61                     28                      2                       3
  407              Nov. 1975                     14                    503                    274                      23                       3
  408              Dec. 1975                     13                    451                    240                      20                       3



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AppendixA7


Appendix A7. Reconstructed (simulated) monthly mean concentrations in finished water for tetrachloroethylene (PCE), trichloro-
ethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE), and vinyl chloride (VC) at the Hadnot Point water treatment plant, Hadnot Point-
Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
 [Concentrations in finished water computed using mixing-model approach; - , water treatment plant not operating; *, model simulations not conducted]

                                                                  Concentrations in finished water, in micrograms per liter
  Stress              Month                                                                  Trans-1,2-
  period             and year           Tetrachloroethylene      Trichloroethylene                                Vinyl chloride
                                                                                         dichloroethylene                                   Benzene
                                               (PCE)                   (TCE)                                           (VC)
                                                                                            (1,2,-tDCE)
  409              Jan. 1976                      7                    227                     116                     10                       3
  410              Feb. 1976                     10                    317                     164                     14                       3
  411              Mar. 1976                     10                    323                     166                     15                       2
  412              Apr. 1976                      6                    212                     104                      9                       4
  413              May 1976                       8                    257                     130                     12                       3
  414              June 1976                     10                    314                     158                     15                       3
  415              July 1976                     12                    348                     174                     16                       3
  416              Aug. 1976                     15                    436                    214                      20                       4
  417              Sept. 1976                    11                    336                     163                     16                       3
  418              Oct. 1976                      2                      70                     29                      3                       3
  419              Nov. 1976                     19                    543                    264                      26                       4
  420              Dec. 1976                     19                    520                    249                      25                       3
  421              Jan. 1977                      9                    249                     116                     12                       4
  422              Feb. 1977                     13                    346                     164                     17                       3
  423              Mar. 1977                     13                    342                     162                     17                       2
  424              Apr. 1977                      8                    218                      99                     11                       4
  425              May 1977                      10                    264                     123                     13                       3
  426              June 1977                     12                    320                     149                     17                       3
  427              July 1977                     14                    355                     164                     19                       3
  428              Aug. 1977                     17                    440                     199                     23                       4
  429              Sept. 1977                    13                    338                     152                     18                       4
  430              Oct. 1977                      2                      69                     27                      3                       4
  431              Nov. 1977                     22                    544                    245                      30                       4
  432              Dec. 1977                     21                    513                    229                      28                       4
  433              Jan. 1978                     10                    250                     109                     14                       4
  434              Feb. 1978                     14                    348                     154                     19                       3
  435              Mar. 1978                     15                    352                     157                     20                       3
  436              Apr. 1978                      9                    231                      99                     13                       5
  437              May 1978                      12                    278                     123                     16                       4
  438              June 1978                     14                    333                     148                     19                       3
  439              July 1978                     17                    388                     172                     23                       3
  440              Aug. 1978                     20                    475                    209                      28                       4
  441              Sept. 1978                    16                    364                     159                     22                       4
  442              Oct. 1978                      3                      74                     28                      4                       4
  443              Nov. 1978                     24                    544                    240                      33                       5
  444              Dec. 1978                     24                    546                    240                      33                       4



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                                                                                                                                             AppendixA7


 Appendix A7.    Reconstructed (simulated) monthly mean concentrations in finished water for tetrachloroethylene (PCE), trichloro-
 ethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE), and vinyl chloride (VC) at the Hadnot Point water treatment plant, Hadnot Point-
 Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
 [Concentrations in finished water computed using mixing-model approach; - , water treatment plant not operating; *, model simulations not conducted]

                                                                  Concentrations in finished water, in micrograms per liter
  Stress              Month                                                                  Trans-1,2-
  period             and year           Tetrachloroethylene      Trichloroethylene                                Vinyl chloride
                                                                                         dichloroethylene                                   Benzene
                                               (PCE)                   (TCE)                                           (VC)
                                                                                            (1,2,-tDCE)
  445              Jan. 1979                     12                    268                     117                     16                       6
  446              Feb. 1979                     17                    370                     163                     23                       5
  447              Mar. 1979                     17                    378                     165                     24                       5
  448              Apr. 1979                     11                    230                     101                     15                       4
  449              May 1979                      13                    274                     119                     18                       3
  450              June 1979                     15                    320                     138                     21                       3
  451              July 1979                     17                    361                     152                     23                       3
  452              Aug. 1979                     22                    483                    201                      31                       0
  453              Sept. 1979                    17                    358                     148                     23                       3
  454              Oct. 1979                      3                      71                     27                      4                       4
  455              Nov. 1979                     23                    507                    207                      33                       6
  456              Dec. 1979                     23                    504                    205                      33                       6
  457              Jan. 1980                     12                    264                     104                     17                       7
  458              Feb. 1980                     17                    378                     152                     24                       6
  459              Mar. 1980                     20                    433                     175                     28                       6
  460              Apr. 1980                     12                    273                     108                     17                       8
  461              May 1980                      15                    322                     131                     21                       6
  462              June 1980                     18                    394                     163                     26                       6
  463              July 1980                     20                    415                     173                     27                       6
  464              Aug. 1980                     23                    496                    206                      33                       7
  465              Sept. 1980                    18                    388                     162                     26                       7
  466              Oct. 1980                      3                      88                     32                      5                       8
  467              Nov. 1980                     25                    524                    222                      35                       7
  468              Dec. 1980                     26                    541                    229                      37                       6
  469              Jan. 1981                     14                    295                     122                     19                       8
  470              Feb. 1981                     18                    387                     163                     26                       7
  471              Mar. 1981                     19                    397                     169                     27                       6
  472              Apr. 1981                     12                    266                     109                     17                       9
  473              May 1981                      15                    322                     135                     22                       7
  474              June 1981                     18                    380                     161                     26                       7
  475              July 1981                     21                    436                     185                     30                       6
  476              Aug. 1981                     30                    631                    270                      44                       8
  477              Sept. 1981                    25                    516                    231                      36                       7
  478              Oct. 1981                      5                     115                     50                      8                       5
  479              Nov. 1981                     36                    748                     362                     54                       8
  480              Dec. 1981                     37                    753                     370                     54                       8



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AppendixA7


Appendix A7. Reconstructed (simulated) monthly mean concentrations in finished water for tetrachloroethylene (PCE), trichloro-
ethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE), and vinyl chloride (VC) at the Hadnot Point water treatment plant, Hadnot Point-
Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
 [Concentrations in finished water computed using mixing-model approach; - , water treatment plant not operating; *, model simulations not conducted]

                                                                  Concentrations in finished water, in micrograms per liter
  Stress              Month                                                                  Trans-1,2-
  period             and year           Tetrachloroethylene      Trichloroethylene                                Vinyl chloride
                                                                                         dichloroethylene                                   Benzene
                                               (PCE)                   (TCE)                                           (VC)
                                                                                            (1,2,-tDCE)
  481              Jan. 1982                     19                    406                     199                     29                       9
  482              Feb. 1982                     26                    529                    266                      38                       7
  483              Mar. 1982                     27                    556                    285                      41                       6
  484              Apr. 1982                     18                    376                     189                     27                     10
  485              May 1982                      21                    438                    227                      32                       8
  486              June 1982                     25                    505                    266                      38                       7
  487              July 1982                     27                    551                    293                      42                       7
  488              Aug. 1982                     33                    670                     355                     51                       9
  489              Sept. 1982                    29                    588                     311                     44                       9
  490              Oct. 1982                      6                    138                      64                      9                       9
  491              Nov. 1982                     34                    706                     379                     55                     10
  492              Dec. 1982                     35                    721                     388                     56                       8
  493              Jan. 1983                     19                    389                    206                      30                       8
  494              Feb. 1983                     26                    526                    284                      42                       7
  495              Mar. 1983                     29                    588                     319                     47                       6
  496              Apr. 1983                     18                    372                     196                     29                     10
  497              May 1983                      22                    449                    243                      36                       8
  498              June 1983                     27                    546                    298                      45                       7
  499              July 1983                     30                    618                     337                     51                       7
  500              Aug. 1983                     32                    659                     357                     54                       9
  501              Sept. 1983                    26                    543                    292                      45                       9
  502              Oct. 1983                      5                    134                      61                      9                     10
  503              Nov. 1983                     39                    783                    435                      67                     10
  504              Dec. 1983                     34                    688                     381                     59                       9
  505              Jan. 1984                     21                    427                    233                      36                     11
  506              Feb. 1984                     27                    560                     303                     47                       8
  507              Mar. 1984                     28                    587                     320                     50                       7
  508              Apr. 1984                     18                    400                    206                      33                     12
  509              May 1984                      23                    491                    262                      42                     10
  510              June 1984                     22                    471                    256                      41                       7
  511              July 1984                     24                    507                    278                      45                       7
  512              Aug. 1984                     26                    539                    295                      48                       8
  513              Sept. 1984                    21                    443                    241                      39                       8
  514              Oct. 1984                      3                      94                     40                      6                       8
  515              Nov. 1984                     31                    639                     358                     59                       8
  516              Dec. 1984                      2                      43                     26                      4                       2



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                                                                                                                                             AppendixA7


 Appendix A7.    Reconstructed (simulated) monthly mean concentrations in finished water for tetrachloroethylene (PCE), trichloro-
 ethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE), and vinyl chloride (VC) at the Hadnot Point water treatment plant, Hadnot Point-
 Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
 [Concentrations in finished water computed using mixing-model approach; - , water treatment plant not operating; *, model simulations not conducted]

                                                                  Concentrations in finished water, in micrograms per liter
  Stress              Month                                                                  Trans-1,2-
  period             and year           Tetrachloroethylene      Trichloroethylene                                Vinyl chloride
                                                                                         dichloroethylene                                   Benzene
                                               (PCE)                   (TCE)                                           (VC)
                                                                                            (1,2,-tDCE)
  517              Jan. 1985                     16                    324                     163                     31                       4
  518              Feb. 1985                      0                       0                      0                      0                       3
  519              Mar. 1985                      0                       0                      0                      0                       3
  520              Apr. 1985                      0                       0                      0                      0                       4
  521              May 1985                       0                       0                      0                      0                       3
  522              June 1985                      0                       0                      0                      0                       3
  523              July 1985                      0                       0                      0                      0                       3
  524              Aug. 1985                      0                       0                      0                      0                       3
  525              Sept. 1985                     0                       0                      0                      0                       3
  526              Oct. 1985                      0                       0                      0                      0                       3
  527              Nov. 1985                      0                       0                      0                      0                       3
  528              Dec. 1985                      0                       0                      0                      0                       3
  529              Jan. 1986                      0                       0                      0                      0                       3
  530              Feb. 1986                      0                       0                      0                      0                       3
  531              Mar. 1986                      0                       0                      0                      0                       3
  532              Apr. 1986                      0                       0                      0                      0                       4
  533              May 1986                       0                       0                      0                      0                       3
  534              June 1986                      0                       0                      0                      0                       3
  535              July 1986                      0                       0                      0                      0                       3
  536              Aug. 1986                      0                       0                      0                      0                       3
  537              Sept. 1986                     0                       0                      0                      0                       3
  538              Oct. 1986                      0                       0                      0                      0                       3
  539              Nov. 1986                      0                       0                      0                      0                       3
  540              Dec. 1986                      0                       0                      0                      0                       3
  541              Jan. 1987                      0                       0                      0                      0                       2
  542              Feb. 1987                      0                       0                      0                      0                       3
  543              Mar. 1987                      0                       0                      0                      0                       2
  544              Apr. 1987                      0                       0                      0                      0                       3
  545              May 1987                       0                       0                      0                      0                       2
  546              June 1987                      0                       0                      0                      0                       2
  547              July 1987                      0                       0                      0                      0                       3
  548              Aug. 1987                      0                       0                      0                      0                       3
  549              Sept. 1987                     0                       0                      0                      0                       3
  550              Oct. 1987                      0                       0                      0                      0                       3
  551              Nov. 1987                      0                       0                      0                      0                       2
  552              Dec. 1987                      0                       0                      0                      0                       2



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AppendixA7


Appendix A7. Reconstructed (simulated) monthly mean concentrations in finished water for tetrachloroethylene (PCE), trichloro-
ethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE), and vinyl chloride (VC) at the Hadnot Point water treatment plant, Hadnot Point-
Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
 [Concentrations in finished water computed using mixing-model approach; - , water treatment plant not operating; *, model simulations not conducted]

                                                                  Concentrations in finished water, in micrograms per liter
  Stress              Month                                                                  Trans-1,2-
  period             and year           Tetrachloroethylene      Trichloroethylene                                Vinyl chloride
                                                                                         dichloroethylene                                   Benzene
                                               (PCE)                   (TCE)                                           (VC)
                                                                                            (1,2,-tDCE)
  553              Jan. 1988                      0                       0                      0                      0                       3
  554              Feb. 1988                      0                       0                      0                      0                       3
  555              Mar. 1988                      0                       0                      0                      0                       3
  556              Apr. 1988                      0                       0                      0                      0                       4
  557              May 1988                       0                       0                      0                      0                       3
  558              June 1988                      0                       0                      0                      0                       3
  559              July 1988                      0                       0                      0                      0                       3
  560              Aug. 1988                      0                       0                      0                      0                       3
  561              Sept. 1988                     0                       0                      0                      0                       3
  562              Oct. 1988                      0                       0                      0                      0                       3
  563              Nov. 1988                      0                       0                      0                      0                       3
  564              Dec . 1988                     0                       0                      0                      0                       3
  565              Jan. 1989                      0                       0                      0                      0                       3
  566              Feb. 1989                      0                       0                      0                      0                       3
  567              Mar. 1989                      0                       0                      0                      0                       3
  568              Apr. 1989                      0                       0                      0                      0                       3
  569              May 1989                       0                       0                      0                      0                       3
  570              June 1989                      0                       0                      0                      0                       3
  571              July 1989                      0                       0                      0                      0                       3
  572              Aug. 1989                      0                       0                      0                      0                       3
  573              Sept. 1989                     0                       0                      0                      0                       3
  574              Oct. 1989                      0                       0                      0                      0                       3
  575              Nov. 1989                      0                       0                      0                      0                       3
  576              Dec. 1989                      0                       0                      0                      0                       3
  577              Jan. 1990                      0                       0                      0                      0                       3
  578              Feb. 1990                      0                       0                      0                      0                       3
  579              Mar. 1990                      0                       0                      0                      0                       3
  580              Apr. 1990                      0                       0                      0                      0                       3
  581              May 1990                       0                       0                      0                      0                       3
  582              June 1990                      0                       0                      0                      0                       3
  583              July 1990                      0                       0                      0                      0                       3
  584              Aug. 1990                      0                       0                      0                      0                       3
  585              Sept. 1990                     0                       0                      0                      0                       3
  586              Oct. 1990                      0                       0                      0                      0                       3
  587              Nov. 1990                      0                       0                      0                      0                       2
  588              Dec. 1990                      0                       0                      0                      0                       3



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                                                                                                                                             AppendixA7


 Appendix A7.    Reconstructed (simulated) monthly mean concentrations in finished water for tetrachloroethylene (PCE), trichloro-
 ethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE), and vinyl chloride (VC) at the Hadnot Point water treatment plant, Hadnot Point-
 Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
 [Concentrations in finished water computed using mixing-model approach; - , water treatment plant not operating; *, model simulations not conducted]

                                                                  Concentrations in finished water, in micrograms per liter
  Stress              Month                                                                  Trans-1,2-
  period             and year           Tetrachloroethylene      Trichloroethylene                                Vinyl chloride
                                                                                         dichloroethylene                                   Benzene
                                               (PCE)                    (TCE)                                          (VC)
                                                                                            (1,2,-tDCE)
  589              Jan. 1991                      0                       0                      0                      0                       2
  590              Feb. 1991                      0                       0                      0                      0                       3
  591              Mar. 1991                      0                       0                      0                      0                       3
  592              Apr. 1991                      0                       0                      0                      0                       3
  593              May 1991                       0                       0                      0                      0                       3
  594              June 1991                      0                       0                      0                      0                       3
  595              July 1991                      0                       0                      0                      0                       3
  596              Aug. 1991                      0                       0                      0                      0                       3
  597              Sept. 1991                     0                       0                      0                      0                       3
  598              Oct. 1991                      0                       0                      0                      0                       3
  599              Nov. 1991                      0                       0                      0                      0                       2
  600              Dec. 1991                      0                       0                      0                      0                       3
  601              Jan. 1992                      0                       0                       *                     0                       2
  602              Feb. 1992                      0                       0                       *                     0                       3
  603              Mar. 1992                      0                       0                       *                     0                       3
  604              Apr. 1992                      0                       0                       *                     0                       3
  605              May 1992                       0                       0                       *                     0                       3
  606              June 1992                      0                       0                       *                     0                       3
  607              July 1992                      0                       0                       *                     0                       3
  608              Aug. 1992                      0                       0                       *                     0                       3
  609              Sept. 1992                     0                       0                       *                     0                       3
  610              Oct. 1992                      0                       0                       *                     0                       3
  611              Nov. 1992                      0                       0                       *                     0                       3
  612              Dec. 1992                      0                       0                       *                     0                       3
  613              Jan. 1993                      0                       0                       *                     0                       3
  614              Feb. 1993                      0                       0                       *                     0                       3
  615              Mar. 1993                      0                       0                       *                     0                       3
  616              Apr. 1993                      0                       0                       *                     0                       4
  617              May 1993                       0                       0                       *                     0                       3
  618              June 1993                      0                       0                       *                     0                       3
  619              July 1993                      0                       0                       *                     0                       3
  620              Aug. 1993                      0                       0                       *                     0                       4
  621              Sept. 1993                     0                       0                       *                     0                       3
  622              Oct. 1993                      0                       0                       *                     0                       4
  623              Nov. 1993                      0                       0                       *                     0                       3
  624              Dec. 1993                      0                       0                       *                     0                       3



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                                                                                                       CLJA_WATERMODELING_01-0000942773
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AppendixA7


Appendix A7. Reconstructed (simulated) monthly mean concentrations in finished water for tetrachloroethylene (PCE), trichloro-
ethylene (TCE), trans-1,2-dichloroethylene (1,2-tDCE), and vinyl chloride (VC) at the Hadnot Point water treatment plant, Hadnot Point-
Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, January 1942-June 2008.-Continued
[Concentrations in finished water computed using mixing-model approach; - , water treatment plant not operating; *, model simulations not conducted]

                                                                 Concentrations in finished water, in micrograms per liter
 Stress              Month                                                                  Trans-1,2-
 period             and year           Tetrachloroethylene      Trichloroethylene                                Vinyl chloride
                                                                                        dichloroethylene                                   Benzene
                                              (PCE)                   (TCE)                                           (VC)
                                                                                           (1,2,-tDCE)
 625              Jan. 1994                      0                       0                       *                     0                       3
 626              Feb. 1994                      0                       0                       *                     0                       4
 627              Mar. 1994                      0                       0                       *                     0                       3
 628              Apr. 1994                      0                       0                       *                     0                       4
 629              May 1994                       0                       0                       *                     0                       3
 630              June 1994                      0                       0                       *                     0                       4
 631              July 1994                      0                       0                       *                     0                       4
 632              Aug. 1994                      0                       0                       *                     0                       4
 633              Sept. 1994                     0                       0                       *                     0                       4
 634              Oct. 1994                      0                       0                       *                     0                       4
 635              Nov. 1994                      0                       0                       *                     0                       3
 636              Dec. 1994                      0                       0                       *                     0                       4
 637              Jan. 1995                      0                       0                       *                     0                       3
 638              Feb. 1995                      0                       0                       *                     0                       4
 639              Mar. 1995                      0                       0                       *                     0                       4
 640              Apr. 1995                      0                       0                       *                     0                       4
 641              May 1995                       0                       0                       *                     0                       3
 642              June 1995                      0                       0                       *                     0                       4
 643              July 1995                      0                       0                       *                     0                       4
 644              Aug. 1995                      0                       0                       *                     0                       4
 645              Sept. 1995                     0                       0                       *                     0                       4
 646              Oct. 1995                      0                       0                       *                     0                       4
 647              Nov. 1995                      0                       0                       *                     0                       3
 648              Dec. 1995                      0                       0                       *                     0                       3
 649              Jan. 1996                      0                       0                       *                     0                       3
 650              Feb. 1996                      0                       0                       *                     0                       4
 651              Mar. 1996                      0                       0                       *                     0                       3
 652              Apr. 1996                      0                       0                       *                     0                       4
 653              May 1996                       0                       0                       *                     0                       3
 654-798          June 1996-                     0                       0                       *                     0                       0
                   June 2008




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                                                                                                           CLJA_WATERMODELING_01-0000942774
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Appendix A8. Reconstructed (simulated) monthly mean
concentrations of tetrachloroethylene (PCE), trichloroethylene
(TCE), trans-1,2-dichloroethylene (1,2-tDCE), vinyl chloride (VC),
and benzene in finished water distributed to Holcomb Boulevard
family housing areas, Hadnot Point-Holcomb Boulevard study area,
U.S. Marine Corps Base Camp Lejeune, North Carolina,1972-1985




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                                                                  CLJA_WATERMODELING_01-0000942775
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AppendixAB - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


Table A8.1.Reconstructed (simulated) monthly mean tetrachloroethylene (PCE) concentrations in finished water distributed to
Holcomb Boulevard family housing areas for interconnection events, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps
Base Camp Lejeune, North Carolina, 1972-1985. 1
[PP, Paradise Point; MP, Midway Park; BM, Berkeley Manor; WV, Watkins Village;-, not applicable; concentration in micrograms per liter (µg/L)]

                          2
                              1972                          1973                              1974                              1975                             1976
 Month
             pp      MP          BM      'WV     pp    MP      BM        'WV     pp      MP      BM      'WV      pp      MP        BM     'WV      pp      MP          BM   'WV
  Jan.       0        0              0   -       0      0          0     -       0        0          0    -        0        0          0    -        0       0          0        -



  Feb.       0        0              0   -       0      0          0     -       0        0          0    -        0        0          0    -        0       0          0        -



  Mar.       0        0              0   -       0      0          0     -       0        0          0    -        0        0          0    -        0       0          0        -



  Apr.       0        0              0   -       0      0          0     -       0        0          0    -        0        0          0    -        0       0          0        -



  May        0        0              0   -       0      0          0     -       0        0          0    -        0        0          0    -        0       0          0        -



  June       0        0              0   -       0      0          0     -       0        0          0    -        0        0          0    -        0       0          0        -



  July       0        0              0   -       0      0          0     -       0        0          0    -        0        0          0    -        0       0          0        -


  Aug.       0        0              0   -       0      0          0     -       0        0          0    -        0        0          0    -        0       0          0        -



  Sept.      0        0              0   -       0      0          0     -       0        0          0    -        0        0          0    -        0       0          0        -



  Oct.       0        0              0   -       0      0          0     -       0        0          0    -        0        0          0    -        0       0          0        -



  Nov.       0        0              0   -       0      0          0     -       0        0          0    -        0        0          0    -        0       0          0        -



  Dec.       0        0              0   -       0      0          0     -       0        0          0    -        0        0          0    -        0       0          0        -



                          1977                              1978                              1979                              1980                             1981
 Month
             pp      MP          BM      'WV     pp    MP      BM        'WV     pp      MP      BM      WV       pp      MP        BM      WV      pp      MP          BM   WV
  Jan.       0        0              0   -       0      0          0         0   0        0          0        0    0        0          0        0    0       0          0            0
  Feb.       0        0              0   -       0      0          0         0   0        0          0        0    0        0          0        0    0       0          0            0
  Mar.       0        0              0   -       0      0          0         0   0        0          0        0    0        0          0        0    0       0          0            0
  Apr.       0        0              0   -       0      0          0         0   0        0          0        0    0        0          0        0    0       0          2            1
  May        0        0              0   -       0      0          0         0   0        0          0        0    0        0          0        0    0       0          1            0
  June       0        0              0   -       0      1          2         2   0        0          0        0    0        0          1        1    0       0          0            0
  July       0        0              0   -       0      0          0         0   0        0          0        0    0        0          0        0    0       0          0            0
  Aug.       0        0              0   -       0      0          0         0   0        0          0        0    0        0          0        0    0       0          0            0
  Sept.      0        0              0   -       0      0          0         0   0        0          0        0    0        0          0        0    0       0          0            0
  Oct.       0        0              0   -       0      0          0         0   0        0          0        0    0        0          0        0    0       0          0            0
  Nov.       0        0              0   -       0      0          0         0   0        0          0        0    0        0          0        0    0       0          0            0
  Dec.       0        0              0   -       0      0          0         0   0        0          0        0    0        0          0        0    0       0          0            0
                                                                                                                                4
                          1982                              1983                              1984                              1985                             1986
 Month
             pp      MP          BM      WV      pp    MP      BM        WV      pp      MP      BM      WV       pp      MP        BM      WV      pp      MP          BM   WV
  Jan.       0        0              0       0   0      0          0         0   0        0          0        0    2        2          2        2
  Feb.       0        0              0       0   0      0          0         0   0        0          0        0    3        3          3        3
  Mar.       0        0              0       0   0      0          0         0   0        0          0        0    0        0          0        0
  Apr.       0        0              0       0   0      0          0         0   0        0          0        0    0        0          0        0
  May        0        0              1       1   0      0          1         0   0        0          0        0    0        0          0        0
  June       0        0              1       0   0      0          0         0   0        0          0        0    0        0          0        0
  July       0        0              1       0   0      0          0         0   0        0          0        0    0        0          0        0
  Aug.       0        0              0       0   0      0          0         0   0        0          0        0    0        0          0        0
  Sept.      0        0              0       0   0      0          0         0   0        0          0        0    0        0          0        0
  Oct.       0        0              0       0   0      0          0         0   0        0          0        0    0        0          0        0
  Nov.       0        0              0       0   0      0          0         0   0        0          0        0    0        0          0        0
  Dec.       0        0              0       0   0      0          0         0   0        0          0        0    0        0          0        0
  1
   Derived from multiplying monthly mean concentrations in finished water from the Hadnot Point water treatment plant (Appendix A7) by average percentage (unrounded) of
Hadnot Point water distributed through Booster Pump 742 (Table A20); current maximum contaminant level (MCL) for PCE is 5 µg/L
   2
     Prior to June 1972 when Holcomb Boulevard water treatment plant came online, I 00 percent of Hadnot Point water was delivered to Holcomb Boulevard family housing areas
(seeAppendixA7 for January-May 1972)
  3
    Watkins Village housing was not built and occupied until about 1978 (Faye et al. 2010), and the first documented interconnection occurs during May 1978 (U.S. Marine Corps
Camp Lejeune Water Documents CLW #7023, #7031, and #7033)
  4
    For period of January 28-February 4, 1985, booster pump 742 operated continuously due to shutdown of Holcomb Boulevard water treatment plant; this continuous event is
not included in the Markov Chain analysis




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                                                                                                                           CLJA_WATERMODELING_01-0000942776
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Table A8.2. Reconstructed (simulated) monthly mean trichloroethylene (TCE) concentrations in finished water distributed to Holcomb
Boulevard family housing areas for interconnection events, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base
Camp Lejeune, North Carolina, 1972-1985. 1
[PP, Paradise Point; MP, Midway Park; BM, Berkeley Manor; WV, Watkins Village;-, not applicable; concentration in micrograms per liter (µg/L)]

                           2
                               1972                          1973                             1974                              1975                             1976
 Month
             pp      MP           BM       'WV     pp   MP      BM       'WV     pp     MP       BM        'WV      pp    MP        BM      'WV     pp      MP          BM    'WV
  Jan.       22      22               22   -       0     0           0   -       0        0          0      -        0      0           0   -        0       0           0       -



  Feb.       21      21               21   -       0     0           0   -       0        0          0      -        0      0           0   -        0       0           0       -



  Mar.       17      17               17   -       0     0           0   -       0        0          0      -        0      0           0   -        0       0           0       -



  Apr.       24      24               24   -       0     0           0   -       0        0          0      -        0      0           0   -        0       0           0       -



  May        19      19               19   -       0     0           0   -       0        0          0      -        0      0           0   -        0       0           0       -



  June       19      19               19   -       0     0           I   -       0        0          0      -        0      0           0   -        I       2           3       -



  July        I        0               0   -       0     0           0   -       0        0          0      -        0      0           0   -        0       0           0       -


  Aug.        0        0               0   -       0     0           0   -       0        0          0      -        0      0           0   -        0       0           0       -



  Sept.       0        0               0   -       0     0           0   -       0        0          0      -        0      0           0   -        0       0           0       -



  Oct.        0        0               0   -       0     0           0   -       0        0          0      -        0      0           0   -        0       0           0       -



  Nov.        0        0               0   -       0     0           0   -       0        0          0      -        0      0           0   -        0       0           0       -



  Dec.        0        0               0   -       0     0           0   -       0        0          0      -        0      0           0   -        0       0           0       -



                           1977                              1978                             1979                              1980                             1981
 Month
             pp      MP           BM       'WV     pp   MP      BM       'WV     pp     MP       BM        WV       pp    MP        BM      WV      pp      MP          BM    WV
  Jan.        0        0               0   -       0     0           0       0   0        0          0          0    0      0           0       0    0       0           0           0
  Feb.        0        0               0   -       0     0           0       0   0        0          0          0    0      0           0       0    0       0           0           0
  Mar.        0        0               0   -       0     0           0       0   0        0          0          0    0      0           0       0    0       0           0           0
  Apr.        0        I               2   -       0     0           0       0   0        I          2          I    0      0           0       0    0       4          39       28
  May         I        I               3   -       0     2           6       4   0        I          3          2    0      0           0       0    0       4          13       10
  June        I        2               3   -       3    23          51   38      0        2          6          4    2      8          17   13       0       4          10           7
  July        I        2               3   -       0     0           I       I   0        I          4          2    0      0           0       0    0       2           4           3
  Aug.        I        2               4   -       0     0           0       0   0        2          5          3    0      0           0       0    0       2           6           4
  Sept.       0        0               0   -       0     0           0       0   0        0          0          0    0      0           0       0    0       0           0           0
  Oct.        0        0               0   -       0     0           0       0   0        0          0          0    0      0           0       0    0       0           0           0
  Nov.        0        0               0   -       0     0           0       0   0        0          0          0    0      0           0       0    0       0           0           0
  Dec.        0        0               0   -       0     0           0       0   0        0          0          0    0      0           0       0    0       0           0           0
                                                                                                                                4
                           1982                              1983                             1984                              1985                             1986
 Month
             pp      MP           BM       WV      pp   MP      BM       WV      pp     MP       BM        WV       pp    MP        BM      WV      pp      MP          BM    WV
  Jan.        0        0               0       0   0     0           0       0   0        0          0          0   34     31          32   34
  Feb.        0        0               0       0   0     0           0       0   0        0          0          0   66     53          54   56
  Mar.        0        0               0       0   0     0           0       0   0        0          0          0    0      0           0       0
  Apr.        0        3               9       7   0     0           0       0   0        2          5          3    0      0           0       0
  May         I        6              20   13      I     5          14   10      0        0          0          0    0      0           0       0
  June        0        4              10       7   0     0           2       2   0        0          0          0    0      0           0       0
  July        0        4              12       8   0     0           3       2   0        0          0          0    0      0           0       0
  Aug.        1        3               6       4   0     2           5       3   0        0          0          0    0      0           0       0
  Sept.       0        0               0       0   0     0           0       0   0        0          0          0    0      0           0       0
  Oct.        0        0               0       0   0     0           0       0   0        0          0          0    0      0           0       0
  Nov.        0        0               0       0   0     0           0       0   0        0          0          0    0      0           0       0
  Dec.        0        0               0       0   0     0           0       0   0        0          0          0    0      0           0       0
  1
   Derived from multiplying monthly mean concentrations in finished water from the Hadnot Point water treatment plant (Appendix A7) by average percentage (unrounded) of
Hadnot Point water distributed through Booster Pump 742 (Table A20); current maximum contaminant level (MCL) for PCE is 5 µg/L
   2
     Prior to June 1972 when Holcomb Boulevard water treatment plant came online, I 00 percent of Hadnot Point water was delivered to Holcomb Boulevard family housing areas
(seeAppendixA7 for January-May 1972)
  3
    Watkins Village housing was not built and occupied until about 1978 (Faye et al. 2010), and the first documented interconnection occurs during May 1978 (U.S. Marine Corps
Camp Lejeune Water Documents CLW #7023, #7031, and #7033)
  4
    For period of Jauuary 28-February 4, 1985, booster pump 742 operated continuously due to shutdown of Holcomb Boulevard water treatment plant; this continuous event is
not included in the Markov Chain analysis




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AppendixAB - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


Table A8.3.    Reconstructed (simulated) monthly mean trans-1,2-dichloroethylene (1,2-tDCE) concentrations in finished water
distributed to Holcomb Boulevard family housing areas for interconnection events, Hadnot Point-Holcomb Boulevard study area,
U.S. Marine Corps Base Camp Lejeune, North Carolina, 1972-1985. 1
[PP, Paradise Point; MP, Midway Park; BM, Berkeley Manor; WV, Watkins Village;-, not applicable; concentration in micrograms per liter (µg/L)]

                          2
                              1972                           1973                             1974                              1975                              1976
 Month
             pp      MP          BM       'WV     pp   MP       BM       'WV     pp      MP      BM      'WV      pp      MP        BM      'WV      pp     MP           BM   'WV
  Jan.       0        0              0    -       0      0           0   -       0        0          0    -         0       0           0    -       0       0           0       -



  Feb.       0        0              0    -       0      0           0   -       0        0          0    -         0       0           0    -       0       0           0       -



  Mar.       0        0              0    -       0      0           0   -       0        0          0    -         0       0           0    -       0       0           0       -



  Apr.       0        0              0    -       0      0           0   -       0        0          0    -         0       0           0    -       0       0           0       -



  May        0        0              0    -       0      0           0   -       0        0          0    -         0       0           0    -       0       0           0       -



  June       0        0              0    -       0      1           1   -       0        0          0    -         0       0           0    -       0        1          2       -



  July       0        0              0    -       0      0           0   -       0        0          0    -         0       0           0    -       0       0           0       -


  Aug.       0        0              0    -       0      0           0   -       0        0          0    -         0       0           0    -       0       0           0       -



  Sept.      0        0              0    -       0      0           0   -       0        0          0    -         0       0           0    -       0       0           0       -



  Oct.       0        0              0    -       0      0           0   -       0        0          0    -         0       0           0    -       0       0           0       -



  Nov.       0        0              0    -       0      0           0   -       0        0          0    -         0       0           0    -       0       0           0       -



  Dec.       0        0              0    -       0      0           0   -       0        0          0    -         0       0           0    -       0       0           0       -



                          1977                               1978                             1979                              1980                              1981
 Month
             pp      MP          BM       'WV     pp   MP       BM       'WV     pp      MP      BM      WV       pp      MP        BM       WV      pp     MP           BM   WV
  Jan.       0        0              0    -       0      0           0       0   0        0          0        0     0       0           0        0   0       0           0           0
  Feb.       0        0              0    -       0      0           0       0   0        0          0        0     0       0           0        0   0       0           0           0
  Mar.       0        0              0    -       0      0           0       0   0        0          0        0     0       0           0        0   0       0           0           0
  Apr.       0        1               1   -       0      0           0       0   0        1          1        1     0       0           0        0   0       2           16      12
  May        0        1               1   -       0      1           3       2   0        0          1        1     0       0           0        0   0       2           6           4
  June       0        1               1   -       2    10           22   17      0        1          3        2     1       3           7        5   0       2           4           3
  July       0        1              2    -       0      0           0       0   0        0          1        1     0       0           0        0   0        1          2           1
  Aug.       0        1              2    -       0      0           0       0   0        1          2        1     0       0           0        0   0        1          3           2
  Sept.      0        0              0    -       0      0           0       0   0        0          0        0     0       0           0        0   0       0           0           0
  Oct.       0        0              0    -       0      0           0       0   0        0          0        0     0       0           0        0   0       0           0           0
  Nov.       0        0              0    -       0      0           0       0   0        0          0        0     0       0           0        0   0       0           0           0
  Dec.       0        0              0    -       0      0           0       0   0        0          0        0     0       0           0        0   0       0           0           0
                                                                                                                                4
                          1982                               1983                             1984                              1985                              1986
 Month
             pp      MP          BM       WV      pp   MP       BM       WV      pp      MP      BM      WV       pp      MP        BM       WV      pp     MP           BM   WV
  Jan.       0        0              0        0   0      0           0       0   0        0          0        0    17      16          16    17
  Feb.       0        0              0        0   0      0           0       0   0        0          0        0   33       27          27    28
  Mar.       0        0              0        0   0      0           0       0   0        0          0        0     0       0           0        0
  Apr.       0        2              4        3   0      0           0       0   0        1          2        2     0       0           0        0
  May        0        3              10       7   0     3            8       5   0        0          0        0     0       0           0        0
  June       0        2              6        4   0      0           1       1   0        0          0        0     0       0           0        0
  July       0        2              6        4   0      0           2       1   0        0          0        0     0       0           0        0
  Aug.       0        2              3        2   0      1           3       2   0        0          0        0     0       0           0        0
  Sept.      0        0              0        0   0      0           0       0   0        0          0        0     0       0           0        0
  Oct.       0        0              0        0   0      0           0       0   0        0          0        0     0       0           0        0
  Nov.       0        0              0        0   0      0           0       0   0        0          0        0     0       0           0        0
  Dec.       0        0              0        0   0      0           0       0   0        0          0        0     0       0           0        0
  1
   Derived from multiplying monthly mean concentrations in finished water from the Hadnot Point water treatment plant (Appendix A7) by average percentage (unrounded) of
Hadnot Point water distributed through Booster Pump 742 (Table A20); current maximum contaminant level (MCL) for PCE is 5 µg/L
   2
     Prior to June 1972 when Holcomb Boulevard water treatment plant came online, I 00 percent of Hadnot Point water was delivered to Holcomb Boulevard family housing areas
(seeAppendixA7 for January-May 1972)
  3
    Watkins Village housing was not built and occupied until about 1978 (Faye et al. 2010), and the first documented interconnection occurs during May 1978 (U.S. Marine Corps
Camp Lejeune Water Documents CLW #7023, #7031, and #7033)
  4
    For period of January 28-February 4, 1985, booster pump 742 operated continuously due to shutdown of Holcomb Boulevard water treatment plant; this continuous event is
not included in the Markov Chain analysis




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                                                                                                                           CLJA_WATERMODELING_01-0000942778
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Table A8.4. Reconstructed (simulated) monthly mean vinyl chloride (VC) concentrations in finished water distributed to Holcomb
Boulevard family housing areas for interconnection events, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base
Camp Lejeune, North Carolina, 1972-1985. 1
[PP, Paradise Point; MP, Midway Park; BM, Berkeley Manor; WV, Watkins Village;-, not applicable; concentration in micrograms per liter (µg/L)]

                          2
                              1972                           1973                             1974                               1975                            1976
I Month      pp                                  pp                              pp                                 pp                              pp
                     MP          BM      'WV           MP       BM      'WV              MP      BM        'WV             MP       BM      'WV             MP          BM    'WV
    Jan.     0        0              0   -       0       0          0   -        0        0          0      -        0      0           0   -        0       0          0        -



    Feb.     0        0              0   -       0       0          0   -        0        0          0      -        0      0           0   -        0       0          0        -



    Mar.     0        0              0   -       0       0          0   -        0        0          0      -        0      0           0   -        0       0          0        -



    Apr.     0        0              0   -       0       0          0   -        0        0          0      -        0      0           0   -        0       0          0        -



    May      0        0              0   -       0       0          0   -        0        0          0      -        0      0           0   -        0       0          0        -



    June     0        0              0   -       0       0          0   -        0        0          0      -        0      0           0   -        0       0          0        -



    July     0        0              0   -       0       0          0   -        0        0          0      -        0      0           0   -        0       0          0        -


    Aug.     0        0              0   -       0       0          0   -        0        0          0      -        0      0           0   -        0       0          0        -



    Sept.    0        0              0   -       0       0          0   -        0        0          0      -        0      0           0   -        0       0          0        -



    Oct.     0        0              0   -       0       0          0   -        0        0          0      -        0      0           0   -        0       0          0        -



    Nov.     0        0              0   -       0       0          0   -        0        0          0      -        0      0           0   -        0       0          0        -



    Dec.     0        0              0   -       0       0          0   -        0        0          0      -        0      0           0   -        0       0          0        -




IMonth       pp      MP
                          1977
                                 BM      'WV     pp    MP
                                                             1978
                                                                BM      'WV      pp      MP
                                                                                              1979
                                                                                                 BM        WV       pp     MP
                                                                                                                                 1980
                                                                                                                                    BM      WV      pp      MP
                                                                                                                                                                 1981
                                                                                                                                                                        BM    WV
    Jan.     0        0              0   -       0       0          0       0    0        0          0          0    0      0           0       0    0       0          0            0
    Feb.     0        0              0   -       0       0          0       0    0        0          0          0    0      0           0       0    0       0          0            0
    Mar.     0        0              0   -       0       0          0       0    0        0          0          0    0      0           0       0    0       0          0            0
    Apr.     0        0              0   -       0       0          0       0    0        0          0          0    0      0           0       0    0       0          3            2
    May      0        0              0   -       0       0          0       0    0        0          0          0    0      0           0       0    0       0           1           1
    June     0        0              0   -       0       1          3       2    0        0          0          0    0       1          1       1    0       0           1           0
    July     0        0              0   -       0       0          0       0    0        0          0          0    0      0           0       0    0       0          0            0
    Aug.     0        0              0   -       0       0          0       0    0        0          0          0    0      0           0       0    0       0          0            0
    Sept.    0        0              0   -       0       0          0       0    0        0          0          0    0      0           0       0    0       0          0            0
    Oct.     0        0              0   -       0       0          0       0    0        0          0          0    0      0           0       0    0       0          0            0
    Nov.     0        0              0   -       0       0          0       0    0        0          0          0    0      0           0       0    0       0          0            0
    Dec.     0        0              0   -       0       0          0       0    0        0          0          0    0      0           0       0    0       0          0            0
                                                                                                                                4
                          1982                               1983                             1984                               1985                            1986
I Month      pp                                  pp                              pp                                 pp                              pp
                     MP          BM      WV            MP       BM      WV               MP      BM        WV              MP       BM      WV              MP          BM    WV
    Jan.     0        0              0       0   0       0          0       0    0        0          0          0    3      3           3       3
    Feb.     0        0              0       0   0       0          0       0    0        0          0          0   6       5           5       5
    Mar.     0        0              0       0   0       0          0       0    0        0          0          0    0      0           0       0
    Apr.     0        0              1       0   0       0          0       0    0        0          0          0    0      0           0       0
    May      0        0              1       1   0       0          1       1    0        0          0          0    0      0           0       0
    June     0        0              1       1   0       0          0       0    0        0          0          0    0      0           0       0
    July     0        0              1       1   0       0          0       0    0        0          0          0    0      0           0       0
    Aug.     0        0              0       0   0       0          0       0    0        0          0          0    0      0           0       0
    Sept.    0        0              0       0   0       0          0       0    0        0          0          0    0      0           0       0
    Oct.     0        0              0       0   0       0          0       0    0        0          0          0    0      0           0       0
    Nov.     0        0              0       0   0       0          0       0    0        0          0          0    0      0           0       0
    Dec.     0        0              0       0   0       0          0       0    0        0          0          0    0      0           0       0
    1
   Derived from multiplying monthly mean concentrations in finished water from the Hadnot Point water treatment plant (Appendix A 7) by average percentage (unrounded) of
Hadnot Point water distributed through Booster Pump 742 (Table A20); current maximum contaminant level (MCL) for PCE is 5 µg/L
   2
     Prior to June 1972 when Holcomb Boulevard water treatment plant came online, I 00 percent of Hadnot Point water was delivered to Holcomb Boulevard family housing areas
(seeAppendixA7 for January-May 1972)
  3
    Watkins Village housing was not built and occupied until about 1978 (Faye et al. 2010), and the first documented interconnection occurs during May 1978 (U.S. Marine Corps
Camp Lejeune Water Documents CLW #7023, #7031, and #7033)
  4
    For period of January 28-February 4, 1985, booster pump 742 operated continuously due to shutdown of Holcomb Boulevard water treatment plant; this continuous event is
not included in the Markov Chain analysis




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Table A8.5.  Reconstructed (simulated) monthly mean benzene concentrations in finished water distributed to Holcomb Boulevard
family housing areas for interconnection events, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune,
North Carolina, 1972-1985. 1
[PP, Paradise Point; MP, Midway Park; BM, Berkeley Manor; WV, Watkins Village;-, not applicable; concentration in micrograms per liter (µg/L)]


r Month
                          2
                              1972                           1973                             1974                               1975                            1976                    I
             pp      MP          BM      'WV     pp    MP       BM      'WV      pp      MP      BM      'WV      pp       MP       BM      'WV      pp     MP          BM    'WV
  Jan.       3        3              3   -       0       0          0   -        0        0          0    -         0       0           0    -       0       0          0        -



  Feb.       3        3              3   -       0       0          0   -        0        0          0    -         0       0           0    -       0       0          0        -



  Mar.       2        2              2   -       0       0          0   -        0        0          0    -         0       0           0    -       0       0          0        -



  Apr.       3        3              3   -       0       0          0   -        0        0          0    -         0       0           0    -       0       0          0        -



  May        3        3              3   -       0       0          0   -        0        0          0    -         0       0           0    -       0       0          0        -



  June       3        3              3   -       0       0          0   -        0        0          0    -         0       0           0    -       0       0          0        -



  July       0        0              0   -       0       0          0   -        0        0          0    -         0       0           0    -       0       0          0        -


  Aug.       0        0              0   -       0       0          0   -        0        0          0    -         0       0           0    -       0       0          0        -



  Sept.      0        0              0   -       0       0          0   -        0        0          0    -         0       0           0    -       0       0          0        -



  Oct.       0        0              0   -       0       0          0   -        0        0          0    -         0       0           0    -       0       0          0        -



  Nov.       0        0              0   -       0       0          0   -        0        0          0    -         0       0           0    -       0       0          0        -



  Dec.       0        0              0   -       0       0          0   -        0        0          0    -         0       0           0    -       0       0          0        -




I Month
                          1977                               1978                             1979                               1980                            1981                    I
             pp      MP          BM      'WV     pp    MP       BM      'WV      pp      MP      BM      WV       pp       MP       BM       WV      pp     MP          BM    WV         I
  Jan.       0        0              0   -       0       0          0       0    0        0          0        0     0       0           0        0   0       0          0            0
  Feb.       0        0              0   -       0       0          0       0    0        0          0        0     0       0           0        0   0       0          0            0
  Mar.       0        0              0   -       0       0          0       0    0        0          0        0     0       0           0        0   0       0          0            0
  Apr.       0        0              0   -       0       0          0       0    0        0          0        0     0       0           0        0   0       0           1           1
  May        0        0              0   -       0       0          0       0    0        0          0        0     0       0           0        0   0       0          0            0
  June       0        0              0   -       0       0          1       0    0        0          0        0     0       0           0        0   0       0          0            0
  July       0        0              0   -       0       0          0       0    0        0          0        0     0       0           0        0   0       0          0            0
  Aug.       0        0              0   -       0       0          0       0    0        0          0        0     0       0           0        0   0       0          0            0
  Sept.      0        0              0   -       0       0          0       0    0        0          0        0     0       0           0        0   0       0          0            0
  Oct.       0        0              0   -       0       0          0       0    0        0          0        0     0       0           0        0   0       0          0            0
  Nov.       0        0              0   -       0       0          0       0    0        0          0        0     0       0           0        0   0       0          0            0
  Dec.       0        0              0   -       0       0          0       0    0        0          0        0     0       0           0        0   0       0          0            0

I Month
                          1982                               1983                             1984                              4
                                                                                                                                 1985                            1986                    I
             pp      MP          BM      WV      pp    MP       BM      WV       pp      MP      BM      WV       pp       MP       BM       WV      pp     MP          BM    WV
  Jan.       0        0              0       0   0       0          0       0    0        0          0        0     0       0           0        0
  Feb.       0        0              0       0   0       0          0       0    0        0          0        0     1        1          1        1
  Mar.       0        0              0       0   0       0          0       0    0        0          0        0     0       0           0        0
  Apr.       0        0              0       0   0       0          0       0    0        0          0        0     0       0           0        0
  May        0        0              0       0   0       0          0       0    0        0          0        0     0       0           0        0
  June       0        0              0       0   0       0          0       0    0        0          0        0     0       0           0        0
  July       0        0              0       0   0       0          0       0    0        0          0        0     0       0           0        0
  Aug.       0        0              0       0   0       0          0       0    0        0          0        0     0       0           0        0
  Sept.      0        0              0       0   0       0          0       0    0        0          0        0     0       0           0        0
  Oct.       0        0              0       0   0       0          0       0    0        0          0        0     0       0           0        0
  Nov.       0        0              0       0   0       0          0       0    0        0          0        0     0       0           0        0
  Dec.       0        0              0       0   0       0          0       0    0        0          0        0     0       0           0        0
  1
   Derived from multiplying monthly mean concentrations in finished water from the Hadnot Point water treatment plant (Appendix A 7) by average percentage (unrounded) of
Hadnot Point water distributed through Booster Pump 742 (Table A20); current maximum contaminant level (MCL) for PCE is 5 µg/L
   2
     Prior to June 1972 when Holcomb Boulevard water treatment plant came online, I 00 percent of Hadnot Point water was delivered to Holcomb Boulevard family housing areas
(seeAppendixA7 for January-May 1972)
  3
    Watkins Village housing was not built and occupied until about 1978 (Faye et al. 2010), and the first documented interconnection occurs during May 1978 (U.S. Marine Corps
Camp Lejeune Water Documents CLW #7023, #7031, and #7033)
   4
     For period of January 28-February 4, 1985, booster pump 742 operated continuously due to shutdown of Holcomb Boulevard water treatment plant; this continuous event is
not included in the Markov Chain analysis




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 Appendix A9. Questions and answers

 What is the purpose of the ATSDR health studies?
 The three distribution systems of interest to this study-Tarawa Terrace, Hadnot Point, and Holcomb
 Boulevard-have historically supplied drinking water to the majority of family housing units at the
 U.S. Marine Corps Base (USMCB) Camp Lejeune, North Carolina. Groundwater within the Tarawa
 Terrace water treatment plant (WTP) service area was contaminated mostly with tetrachloroethylene (PCE).
 Groundwater within the Hadnot Point WTP (HPWTP) service area was contaminated mostly with trichlo-
 roethylene (TCE), as well as PCE and refined petroleum products, such as benzene, toluene, ethylbenzene,
 and xylenes (BTEX). Groundwater within the Holcomb Boulevard WTP (HBWTP) service area remained
 largely uncontaminated with the exception of intermittent supply by contaminated Hadnot Point water
 during 1972-1985. The contaminated Hadnot Point wells were continuously used until 1985. The ATS DR
 health studies are evaluating the potential for health effects from exposures to volatile organic compounds
 (VOCs) such as PCE, TCE, trans,1-2,dichloroethylene (1,2-tDCE), vinyl chloride (VC), and benzene in
 drinking water at USMCB Camp Lejeune.


 Why is ATSDR studying exposure to VOC-contaminated drinking water since other
 studies have already done this?
 Only a few studies have looked at the risk of adverse health effects from these volatile organic compounds
 (VO Cs) such as TCE and PCE in drinking water. These studies are unique because they will estimate
 monthly levels of drinking-water contaminants to determine exposures.


 What is in the ATS DR reports about the Hadnot Point and Holcomb Boulevard
 drinking-water systems?
 Chapter A provides a summary of detailed technical findings for the HPWTP and HBWTP service areas
 that are presented in Chapters B, C, and D and 8 supplemental information texts that provide details on
 water-modeling analyses . Included with Chapter A is a compact disc, read-only memory (CD-ROM) that
 contains all chapter reports (A-D), supplemental information texts (Chapter A, Supplements 1-8), selected
 calibrated model input files, and selected simulated water-supply well and finished-water concentrations.
 Information from the water-modeling analyses will be given to researchers conducting the health study.


 Why is ATSDR using water modeling to estimate exposure rather than real data?
 Data on the levels ofVOC contaminants in drinking water are not available before 1982. To determine
 levels before 1982, ATSDR is using a process called "historical reconstruction." This process uses data on
 the amount of the chemicals dumped on the ground. It also uses the properties of the soil, the groundwater,
 and the water-distribution system. These data are then used in computer models. The models estimate when
 contaminants first reached drinking-water wells. The models also estimate monthly levels of contaminants
 in drinking water at family housing units. This information is important for the health studies. It can also be
 used by those who lived in base family housing to estimate their exposures.


 What is a water model?
 A water model is a general term that describes a computer program used to solve a set of mathematical
 equations that describe the




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                •    flow of groundwater in aquifers,
                •    movement of a contaminant mixed with groundwater,
                •    mixing of water from contaminated and uncontaminated water-supply wells at a water treat-
                     ment plant, or
                •    flow of water and contaminants from reservoirs, wells, and storage tanks through a network
                     of pipelines.


       What information did ATSDR use to develop the water models and what were the
       sources of the information?
       The historical reconstruction process required information and data pertinent to the physical characteristics
       of the groundwater-flow system, conservation principles that describe the flow system, the specific data on
       the contaminants such as PCE, TCE, vinyl chloride (VC), and benzene, and the waterdistribution systems.
       The following specific data needs were required:
                •    aquifer characteristics: geohydrologic, hydraulic, water production, fate, transformation,
                     and transport;
                •    chemical properties characteristics: physical, fate, transformation, and transport;
                •    water-supply well characteristics: construction dates, operating schedules, and dates taken out
                     of service; and
                •    water-distribution system characteristics: pipeline characteristics, storage-tank geometry,
                     pumps, water-production data, and water-quality parameters.
       Information and data used to conduct the historical reconstruction analysis were obtained from a variety
       of sources. These sources included ATS DR, U.S. Environmental Protection Agency, Environmental
       Management Division ofUSMCB Camp Lejeune, U.S. Geological Survey, private consulting organiza-
       tions, published scientific literature, and community groups representing former marines and their families.
       Searchable electronic databases-on DVD format-of information and data sources used to conduct the
       historical reconstruction analysis are available by request from the ATSDR Camp Lejeune Web site.


       How can ATSDR be sure that water-modeling results represent historical "real-world"
       conditions?
       A water model requires information on the specific properties or "parameters" of the soil, groundwater,
       and water system at the base. Often assumptions are needed because complete and accurate data are not
       available for of all the parameters that must be modeled. In particular, historical data are often lacking. To
       be sure that water-modeling results are accurate and represent historical "real-world" conditions, a model
       needs to be calibrated. A calibration process compares model results with available "real-world" data to see
       if the model's results reasonably reflect "real-world" conditions. This is done in the following way. Models
       are constructed using different combinations of values for the parameters. Each model makes a prediction
       about the groundwater flow rate, the amount of water produced by each well, and the contamination level in
       the drinking-water system at a particular point in time. These predictions are then compared to "real-world"
       data (for example, measured water treatment plant concentrations). When the combination of parameter
       values that best predict the actual "real-world" conditions is selected, the model is "calibrated." The model
       is now ready to make predictions about historical conditions.




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          Why is ATS DR providing simulated VOC concentrations in finished water at the
          HPWTP rather than at locations of specific housing units for Hadnot Point?
          ATSDR did in-depth reviews of historical data, including water-supply well and WTP operational data
          when available. ATSDR concluded that the Hadnot Point water-distribution system-including the
          HPWTP-was not interconnected with other water-distribution systems at Camp Lejeune for any time
          longer than 2 weeks. All water arriving at the HPWTP was obtained solely from supply wells providing
          water to the HPWTP. Also, water provided by all wells to the HPWTP was mixed prior to delivery to
          residents of Hadnot Point and other facilities. On a monthly basis, the concentration ofVOCs delivered to
          specific housing units and other facilities within the HPWTP service area was assumed to be the same as
          the simulated concentration ofVOCs in finished water at the HPWTP.
          During the selected months of June 1972-Febmary 1985, the HPWTP did provide contaminated finished
          water to Holcomb Boulevard housing areas. During these brief periods, a more sophisticated water model
          was necessary to determine the VOC concentrations in finished water at different housing areas throughout
          the Holcomb Boulevard water-distribution system.


          Can ATSDR water modeling results be used to determine the concentration of VOCs
          that my family and I were exposed to on a daily basis?
         No. The available data are not specific enough to accurately estimate daily levels ofVOCs (PCE, TCE,
         1,2-tDCE, VC, and benzene) in the Hadnot Point-Holcomb Boulevard (HPHB) study area. The modeling
         approach used by ATSDR provides a high level of detail to estimate monthly VOC concentrations in finished
         water at the HPWTP and Holcomb Boulevard housing areas. It is assumed that simulated monthly concentra-
         tions ofVOCs represent a typical day during a month. The actual level that a person may have been exposed to
         could have been lower or higher than the estimated average.


          Were my family and I exposed to other contaminants besides PCE, TCE, or
          benzene in finished water while living in family housing at Hadnot Point or
          Holcomb Boulevard?
          Yes. At Hadnot Point, some of the TCE degraded in the groundwater to 1,2-tDCE and VC. Degradation
          by-products ofTCE were found in water samples from Hadnot Point water-supply wells, and these data are
          reported in the Chapter C and Chapter D reports. Historical reconstruction analyses conducted by ATSDR
          and its partners provide simulated monthly concentrations of PCE, TCE, 1,2-tDCE, VC, and benzene.


          How can I get a list of the monthly VOC concentrations in finished water that my
          family and I were exposed to at Hadnot Point or Holcomb Boulevard?
          A list of reconstructed (estimated) monthly concentrations for contaminants of concern to the ATSDR
          health studies are provided in the HPHB Chapter A report, which is available on the ATSDR Camp Lejeune
          Web site.




Chapter A: Summary and Findings                                                                                         A181
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       ATSDR's historical reconstruction analysis documents that HPWTP finished
       water was contaminated with TCE that most likely first exceeded the maximum
       contaminant level (MCL) of 5 micrograms per liter (pg/L) during August 1953 and
       reached a maximum value of 783 pg/L during November 1983. What does this mean
       in terms of my family's health?
       ATSDR's exposure estimates cannot be used alone to determine whether you, or your family, suffered any
       health effects as a result of past exposure to TCE-contaminated drinking water at USMCB Camp Lejeune.
       The studies that the ATSDR is conducting may help determine if there are associations between certain
       health effects and exposures to contaminated drinking water. Epidemiological studies such as these help
       improve scientific knowledge of the health effects of these chemicals.
       The U.S. Environmental Protection Agency in 2011 classified TCE as "carcinogenic in humans by all
       routes of exposure," and in 2012 classified PCE as "likely carcinogenic in humans by all routes of expo-
       sure." However, the lowest levels ofTCE and PCE in finished water at which health effects begin to occur
       is unknown. The MCL for TCE was set at 5 µg/L (or 5 parts per billion) in 1989, and the MCL for PCE
       was set at 5 µg/L in 1992 because, given the technology at that time, 5 µg/L was the lowest level that water
       systems could be required to achieve. In addition, VC and benzene are known to cause cancers in humans.
       Many factors determine whether people will suffer adverse health effects because of chemical exposures.
       These factors include
                • dose (how much),
                •    duration (how long the contact period is),
                •    when in the course oflife the exposures occurred (for example, while in utero, during early
                     childhood, or in later years oflife),
                •    genetic traits that might make a person more vulnerable to the chemical exposure, and
                •    other factors such as occupational exposures, exposures to other chemicals in the environ-
                     ment, gender, diet, lifestyle, and overall state of health.


       How certain is ATS DR that finished water exceeding the MCL for TCE was
       delivered from the HPWTP beginning August 1953?
       Historical data on the levels of contaminants in the drinking water are very limited. That is why there is
       uncertainty and variability concerning when the MCL of 5 µg/L was reached at the HPWTP. Therefore,
       ATSDR conducted simulations to estimate ranges of dates for exceeding the MCLs because of data limita-
       tions and modeling uncertainty.


       How does ATSDR know where all of the Hadnot Point and Holcomb Boulevard
       water-supply wells were located if some have been destroyed? What is the
       accuracy of this information?
       ATSDR relied on a variety of sources to obtain information on the location of Hadnot Point water-supply
       wells. These included historical water utility maps, well construction and location maps, aerial photographs,
       use of geographic information system technology, and assistance from Environmental Management Divi-
       sion staff at USM CB Camp Lejeune. The accuracy of this information is believed to be within± 50 feet of
       the actual well location.




A182          Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
          Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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          What did ATSDR do to be sure that water-modeling analyses are scientifically
          credible?
          Throughout this investigation, ATSDR has sought external expert input and review. Activities included
          convening an expert review panel and submitting individual chapter reports and supplemental information
          texts to outside national and international experts for technical reviews. For example, during April 29-30,
          2009, ATSDR convened an external expert panel to review the approach used in conducting the historical
          reconstruction analysis. The panel also provided input and recommendations on preliminary analyses and
          modeling. ATSDR also used technical comments from outside expert reviewers when finalizing reports on
          HPHB water-modeling analyses.


          Where and how can I get a copy of this ATS DR report and the information and data
          that were used in the Hadnot Point-Holcomb Boulevard water-modeling analyses?
          A limited number of printed copies of this report (Chapter A) and other HPHB chapter (C and D) will be
          available to interested parties and placed in public repositories. Electronic versions of all chapter reports
          and supplemental information texts will be available on the ATSDR Camp Lejeune Web site at http://www.
          atsdr. cdc.gov/si tes/lejeune/index. html.




Chapter A: Summary and Findings                                                                                           A183
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             Analyses and Historical Reconstruction of Groundwater Flow, Contaminant Fate and Transport, and Distribution of Drinking Water Within the Service
             Areas of the Hadnot Point and Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina-         00
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